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                          EXHIBIT 9
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                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                               TEXARKANA DIVISION


   CITY OF NEW BOSTON, TEXAS

           Plaintiff
                                                Civil Action No. 5:20-ev-00135 RWS
   vs.
                                                Hon. Robert W. Schroeder III
   NETFLIX, INC., ET AL.

           Defendants.


         EXPERT REBUTTAL REPORT OF STEVEN TURNER IN OPPOSITION TO
                PLAINTIFF’S MOTION FOR CLASS CERTIFICATION




                                    June 21, 2021
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  I.     Qualifications
         1.      My name is Steven E. Turner. I am a Senior Managing Director at FTI Consulting,

  Inc. (“FTI”) and co-lead the Telecom, Media, and Technology Dispute Advisory practice. I hold

  a Bachelor of Science degree in Electrical Engineering from Auburn University in Auburn,

  Alabama and a Master of Business Administration in Finance from Georgia State University in

  Atlanta, Georgia. A copy of my curriculum vitae is attached to this report as Exhibit SET-A, which

  includes my past testimony.

         2.      I have worked in the telecommunications industry since 1987 and have extensive

  experience in many different aspects of the business, including switch engineering, transport

  engineering, signaling, network operations (including system development), fiber and access

  network design and deployment, access management, tariffs, sales, billing, regulatory, Internet

  services, and content distribution over multiple platforms (e.g., copper, coax, and fiber). From

  1986 through 1987, I was a Research Engineer for General Electric in its Advanced Technologies

  Department developing high-speed graphics simulators. In 1987, I joined AT&T and, during my

  career there, held a variety of engineering, operations, and management positions in both its long

  distance and local services businesses. These positions spanned the switching, transport, and

  signaling disciplines within AT&T. From 1989 to 1990, I served as the Quality Assurance

  Manager for AT&T Network Operations where I was responsible for reviewing outside plant

  installation and maintenance issues, including the installation and maintenance of fiber optic cable

  in public and private rights-of-way utilized by AT&T for its network.

         3.      From 1995 until 1997, I worked in the Local Infrastructure and Access

  Management organization within AT&T. In this organization, I gained familiarity with many of

  the regulatory issues surrounding AT&T’s local market entry, including issues concerning the


                                                                                                    1
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  unbundling of incumbent local exchange carrier networks. I was responsible for designing and

  engineering AT&T’s local networks within the five-state region of Texas, Missouri, Oklahoma,

  Kansas, and Arkansas. I also participated on the AT&T team that negotiated interconnection

  contract terms and conditions with then-Southwestern Bell Telephone Company, including

  unbundled network element definitions and methods of interconnection.

         4.      From 1997 to 2006, I was President of my own consulting firm, Kaleo Consulting,

  specializing in providing strategic consulting services to companies regarding where and how to

  enter various telecommunications markets. I also provided expert testimony in technical and

  financial areas related to telecommunications. My projects involved resolving contractual terms

  and conditions disputes and issues that arose between telecommunications service providers,

  assessing networks and performing due diligence work, estimating universal service funding, and

  identifying underlying costs for network elements including interoffice transport, collocation,

  loops (media used to connect to end-user premises), switching, and signaling.

         5.      Within the same period, from 1998-1999, I also co-founded and served as President

  for ALT Communications, a Competitive Local Exchange Company (CLEC) in Texas. In this

  role, we operated the first platform-based CLEC 1 within the state of Texas. My responsibilities

  included all aspects of the business: sales, service delivery, maintenance, operations, and finance.

  In 1999, my partner and I sold ALT Communications to Birch Telecom, and I continued to lead

  the operations in Texas for the next year.

         6.      In December 2006, I joined FTI and have continued to provide consulting services




  1
      “Platform-based” refers to the practice of using a combination of all the Unbundled Network
      Elements (“UNEs”) available under the Communications Act of 1996 and subsequent
      Federal Communications Commission (“FCC”) orders and rulings to provide an end-to-end
      circuit used for telecommunications service.
                                                                                                    2
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  in the telecommunications, media, and technology industries, with a primary focus on integrated

  communications. As part of this practice, I lead a team of individuals with exceptional technical

  expertise in designing, implementing, and operating various types of networks. We have worked

  with wired (copper, coaxial, fiber, hybrid), wireless (fixed and mobile), and satellite carriers to

  design specific solutions that provide network access. I also routinely perform technical and

  financial due diligence projects to evaluate companies’ communications service architecture as

  well as their provisioning and operations practices. I routinely operate as our chief network

  engineer on technical network engagements and have performed detailed network assessments on

  over 25 network-related transactions involving telecommunications providers in the fiber, cable,

  wireless (fixed and mobile), satellite, and tower industries. I am knowledgeable in all of the access

  technologies that these various carriers utilize including fiber-to-the-home, digital loop carrier,

  DOCSIS (1.0, 2.0, 3.0, 3.1, and 4.0), and fixed and mobile wireless technologies. I am also

  knowledgeable in the operation of the transport and data layers within these businesses and have

  testified as an expert in the operation of networks on many occasions.

         7.      My consulting assignments regularly involve negotiating interconnection

  agreement terms and conditions between telecommunications companies and resolving disputes

  arising from those agreements.       These negotiations require a sound understanding of the

  Communications Act of 1934, as amended by the Telecommunications Act of 1996 and associated

  FCC regulations, along with a knowledge of state, county, and city regulations. I also stay well

  abreast of network engineering technology and standards as part of my ongoing work that often

  involves network design and evaluation, financial forecasts, cost-of-service analysis, and rate

  development.

         8.      My prior industry work and continued consulting services provide me with

  historical knowledge of the development of the integrated communications industry and
                                                                                                     3
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  regulations. I necessarily keep abreast of new developments, including the regulatory framework

  within which my clients operate, to maintain my practice. I have provided expert testimony on

  integrated communications regulation before the public utility commissions of most of the states

  within the United States (including Texas) and its territories, before the FCC on many occasions,

  and before the Canadian Radio and Television Commission. I have also provided expert testimony

  in federal court proceedings and arbitrations involving integrated communications provider

  disputes. Details related to my expert testimony within the past four years are included in my CV,

  Exhibit SET-A.

         9.      I have decades of experience working with FCC regulations and the evolution of

  those regulations in the cable, Internet, and telecommunications disciplines including extensive

  experience with the Cable Communications Policy Act of 1984 and the Telecommunications Act

  of 1996 among others. With respect to the cable industry, I have performed a number of important

  engagements both in litigation and in diligence assignments, and I am highly knowledgeable on

  regulatory matters related to the cable industry. I have worked with Altice (in a litigation with

  Viacom), Astound Broadband, Charter Communications, and Viya. I have also worked with many

  fiber-to-the-home companies providing linear television programming 2 using various

  technologies, including Aureon (Iowa Network Services), Blue Stream Fiber, Hotwire

  Communications, MetroNet, Northstate Communications, and Telefonica. I have also worked

  closely with companies that are considered to be traditional telecom carriers but that have deployed

  various forms of infrastructure to enable the delivery of linear television programming, including

  Cincinnati Bell, Frontier, Lumen, and Viya. Further, I have worked closely with companies that




  2
      As will be discussed further, the term “linear television” means television programming
      provided at a pre-set time.
                                                                                                    4
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  operate in the Internet and content transmission network spaces including Lumen (Level 3) and

  Zayo. I have detailed knowledge of the various aspects of these businesses not only from a

  regulatory standpoint but also from a technology and service delivery standpoint. I have been

  involved in the industry long enough to understand the evolution of the business over time,

  particularly as it relates to moving large amounts of streaming video content through networks.

           10.     FTI is being compensated at a rate of $855 per hour for my services, and the rates

  for FTI personnel working on this assignment under my direction range from $250 to $750 per

  hour. FTI’s fees are not contingent upon the outcome of this matter.



  II.      Description of Assignment and Summary of Opinions
           11.     I understand that the City of New Boston, Texas (“City”) has filed a putative class

  action complaint (“Complaint”) 3 against Netflix, Inc. (“Netflix”) asserting that Netflix “should be

  and [is] required by law to pay [Texas] municipalities a franchise fee of 5% percent of its gross

  revenue, as derived from [its] providing video service in that municipality.” 4

           12.     This report sets forth my expert opinion based on information available to me as of

  the filing of this report. The source files relied upon in my analysis are identified in Exhibit SET-

  B. The opinions set forth in this report, which are my present opinions, are based on my review

  of this information as well as my knowledge, education, experience, and training. The information

  I rely upon in forming my opinions is consistent with materials I review in my normal course of

  business. 5 To the extent that additional documents, data, or other information is made available



  3
        For ease of reading, I have used short citations in my report, but the full citations for FCC
        documents, court filings and rulings, and federal laws are included in Exhibit SET-B.
  4
        Complaint, ¶ 2.
  5
        This includes the materials I relied upon that are referenced in Exhibit SET-B.
                                                                                                        5
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  to me, I will review such documents, data, and/or other information and may incorporate that

  additional information learned about the facts or circumstances of this matter into my analyses,

  conclusions, and/or opinions. I reserve the right to update, supplement, and amend my opinions

  as additional information becomes available and to provide additional information and opinions

  regarding the merits of Plaintiff’s claims and Netflix’s defenses and counterclaims.

         13.     After reviewing the information in this proceeding, and based on my many years of

  experience working in the communications space and its associated regulatory framework, I have

  reached the following conclusions and opinions:

                 •   Netflix does not provide “video programming,” as that term is understood in
                     the industry, that is comparable to video programming delivered by a television
                     broadcast station (or cable company). Netflix does not provide channels of
                     content, does not provide content on a linear (i.e., scheduled or pre-set) basis,
                     and does not offer live content. Netflix’s content does not include commercial
                     interruptions, and Netflix’s service includes interactive features that are not
                     present in broadcast or cable service. Netflix’s content is also not disseminated
                     over the airwaves; Netflix users instead request to access and stream the Netflix
                     content they wish to watch, when they wish to watch it, over the Internet.

                 •   Netflix does not provide its content over or through, or otherwise use, wireline
                     facilities that are in any public rights-of-way in the City or in Texas, as those
                     terms are understood in the industry. Netflix does not construct, install, place,
                     maintain, operate, repair, replace, own, manage, work within, occupy, or
                     control any wireline facilities in any public rights-of-way in Texas. Netflix
                     content is instead retrieved by viewers through their separate Internet service
                     provider (“ISP”) over the Internet.

                 •   It is generally accepted in the industry that franchise fees apply only to
                     providers that have physical facilities in the rights-of-way of a municipality and
                     deliver video programming over a closed transmission path (i.e., channels that
                     only allow a user to watch the content that the provider chooses to make
                     available). This is how cable service and fiber-to-the-home service operate.
                     Netflix, in contrast, has no facilities in any public rights-of-way, and its content
                     is transmitted over the Internet, which is a necessarily open pathway that allows
                     users to access a wide and vast array of information.

                 •   Netflix does not have “service addresses,” as that term is understood in the
                     communications industry. “Service address” in the communications industry
                     generally refers to the location where service is actually consumed or used.
                     Netflix’s service, however, is not tied to any particular location or address, and

                                                                                                       6
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                  Netflix customers can stream content wherever they are in the United States
                  and approximately 190 countries so long as they have a capable Internet
                  connection.

              •   Even if one were to conclude (incorrectly) that Netflix can provide “video
                  service” over the wireline facilities of others, Netflix’s service is often retrieved
                  other than through wireline facilities crossing public rights-of-way.

                      o Some Texas municipalities lack wireline broadband facilities altogether.
                        As a result, it cannot be determined on a class-wide basis whether there
                        are wireline facilities located at least in part in the public rights-of-way
                        of each Texas municipality through which Netflix content could be
                        viewed using an Internet connection provided by an ISP.

                      o It also cannot be determined on a class-wide basis whether (and to what
                        extent) the public rights-of-way in each Texas municipality are in fact
                        being used by ISPs for the provision of Netflix content.

                              ♦ There are more than 200 ISPs providing various types of
                                service—including fiber, cable, satellite, mobile, and fixed
                                wireless—to various parts of Texas.

                              ♦ All municipalities in Texas are served by ISPs that offer satellite
                                service that does not use wireline facilities in the public rights-
                                of-way.

                              ♦ All municipalities are served by mobile service providers, and
                                those providers do not or may not use wireline facilities in the
                                public rights-of-way of the particular municipality.

                              ♦ Many Texas municipalities are served by ISPs relying on fixed
                                wireless technology that do not or may not rely on wireline
                                facilities in the public rights-of-way of the particular
                                municipality.

              •   I understand that video content provided to subscribers of commercial mobile
                  service is not considered “video service.” It cannot be determined on a class-
                  wide basis whether (and to what extent) commercial mobile service is being
                  used by ISPs for the provision of Netflix content in a particular municipality.

              •   It cannot be determined on a class-wide basis whether (and to what extent)
                  Netflix content is streamed using other ISPs that may be exempt from franchise
                  fees. For example, there are 21 rural broadband providers receiving Connect
                  America Fund Broadband Loop Support, which creates the possibility that
                  interactive, on-demand video programming provided by these ISPs would be
                  exempt from franchise fees, even if franchise fees otherwise applied.


                                                                                                     7
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   III.   Netflix Does Not Offer Video Programming Considered in the Industry
          to Be Comparable to Programming Provided by Television Broadcast
          Stations
          14.     I understand that Plaintiff alleges that Netflix offers “video programming that is

   comparable to that provided by cable companies and television-broadcast stations.” 6 Netflix is not

   a television broadcast station or a cable service. Netflix’s content is not video programming that

   is comparable to programming provided by a television broadcast station or cable service as that

   type of video programming is generally understood in the industry.

          A.      Television Broadcast Stations Transmit Linear, Channelized
                  Programming to All Viewers

          15.     My analysis begins with an understanding of the type of programming provided by

   television broadcast stations and cable companies.

          16.     Broadcast television (sometimes referred to as over-the-air television) is sent out

   (i.e., broadcast) as radio waves from a network of transmitters and was originally received as

   analog channels using aerial antennae.        Broadcast television was subsequently digitalized,

   requiring an additional receiving device that could be built into the television or a digital set-top

   box and that decodes the received signals. Anyone with compatible equipment can receive these

   types of broadcast signals for free (i.e., without a subscription). Major broadcast channels include

   ABC, CBS, and NBC.

          17.     Cable television 7 relies on satellite technology to receive the television content at a

   receiver station, and the content is then transmitted to the subscribers’ homes through coaxial




   6
       Complaint, ¶ 9, and ¶ 9 fn.1, fn.2, and fn.3.
   7
       CATV, an acronym for “Community Access [or Antenna] Television,” alludes to cable
       television’s roots as a community-based approach to offering broadcast programming and is
       now synonymous with the services offered by the cable television industry.
                                                                                                        8
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   cables and/or fiber optic cables. Cable customers typically require a set-top box to decode and

   process encrypted digital signals. Comcast Corporation (Xfinity) 8 and Charter Communications

   (Spectrum) 9 are examples of cable service providers in the State of Texas.

           B.      Unlike Television Broadcast Programming, Netflix Content Is On-
                   Demand, Is Not Channelized or Linear, and Is Made Available over
                   the Internet

           18.     Television broadcast programming is sent out to all viewers over the airwaves,

   organized into separate channels of content, and aired at pre-set or pre-scheduled times. Netflix’s

   streaming service does not involve any of these elements: Netflix content is not channelized, is

   available whenever a subscriber wishes to stream it, and accessed by Netflix members over the

   Internet.

                   1.     Netflix Content Is Not Channelized

           19.     The term “channel,” from a technical perspective, refers to the specific frequency

   used to transmit content by a broadcast television station or cable company. 10 This term is also

   understood in the industry to reflect specific programming made available by a television broadcast

   station or cable network and delivered across the specific frequency for the channel across all of

   the channels in the lineup to all users within their service territory. Examples of television channels

   would be the programming made available by ABC, CBS, FOX, NBC, PBS, ESPN, MTV, and the

   Discovery Channel. Each channel’s content is curated, scheduled, and distributed in a linear



   8
        https://www.xfinity.com/local/tx.html last accessed on June 18, 2021.
   9
        https://www.spectrum.com/services/texas, last accessed on June 18, 2021.
   10
        The definition of “channel” found in the 1996 Communications Act is as follows: “the terms
        ‘cable channel’ or ‘channel’ means a portion of the electromagnetic frequency spectrum
        which is used in a cable system and which is capable of delivering a television channel (as
        television channel is defined by the Commission by regulation).” 1996 Communications Act,
        § 602(4).
                                                                                                        9
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   fashion at a specific time as determined by the television network, and channels often cater to a

   specific genre (e.g., sports, comedy, news) or demographic (e.g., adults, children) at a specific

   time. Publications like the “TV Guide” then often identify which television shows, sporting

   events, or movies are being shown on which channels at what times.

           20.     Netflix’s service does not provide channels of content at all. Rather, Netflix hosts

   content on its servers (called Open Connect Appliances or OCAs), and that content is accessible

   on-demand by anyone with an Internet connection in exchange for a monthly fee. Netflix does not

   provide a predetermined channel schedule for the content it provides to its subscribers. While

   Netflix does make available some content that was initially aired on television, that content is not

   made available at any particular time or only on specific channels. It is instead available when the

   user desires to watch it, without commercial interruptions, like all of Netflix’s content. Netflix’s

   service is user-driven, not channel-driven or time-driven as is the case with broadcast television.

   There is no “TV Guide” or schedule for viewing Netflix content.

                   2.     Netflix Content Is Not Linear, Scheduled, or Curated

           21.     The term “linear” refers to the fact that television broadcast programming is aired

   at a pre-set time. 11 Without the use of additional equipment, the episodes, shows, or events can

   only be viewed sequentially and at the pre-set time, with no ability for the viewer to pause, skip

   ahead, or rewind the content unless and until it has been exhibited and recorded.

           22.     The programmer, not the user, determines what is sent out on a specific frequency

   to viewers of linear television. The user then has the option to watch the content on that frequency,



   11
        The FCC also recognizes that “linear” is generally understood to mean broadcast at a set
        time: “[l]inear channels offer specific video programs at a specific time of day.” FCC 2020
        Communications Marketplace Report, ¶ 151, fn. 439. See also, “We use the terms linear and
        pre-scheduled interchangeably, consistent with prior Commission use.” FCC 2014 MVPD
        NPRM ¶ 13, fn. 26.
                                                                                                     10
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   switch to a different frequency (different channel) to watch different content, or to not watch

   anything at all. The system is necessarily closed, and the user can only watch what is made

   available by the programmer at any given time.

           23.     Netflix users, on the other hand, select what they want to watch, when, and where

   they want to watch it, on whatever device they choose. A Netflix user can ask to pause, rewind,

   or fast forward the selected content and can ask to search for and receive additional information

   about the selected content. Users can also exit the show completely and restart it at any other time

   or skip episodes in a series and watch only those episodes they desire to watch. Nothing about the

   Netflix experience is “prescheduled” or “linear” in nature. 12

           24.     Netflix also does not provide live content, such as talk shows, soap operas, sporting

   events, and award shows when they are occurring. Plaintiff’s expert, Mr. Simon, admits that

   Netflix does not provide live news, sports, live programming, or award shows. 13 Television

   broadcast networks and cable providers, in contrast, negotiate deals with groups such as the

   National Football League, the Olympics, and the Academy Awards to carry these live events.

   Television broadcast networks and cable providers strive to earn viewers by providing live content

   that will attract viewers to maximize these providers’ advertising and subscription revenue. This

   business model is based on the principle of attracting customers to maximize viewership to sell

   advertising time. 14 Netflix content, in contrast, does not have advertisements, and Netflix does not

   attract customers based on this type of live programming.




   12
        Simon 5/3/21 Deposition, p. 86:9-17.
   13
        Id., pp. 85:23-86:8.
   14
        Id., pp. 39:15-40:10.
                                                                                                     11
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                   3.      Netflix Content Is Requested by Subscribers and Accessed over the
                           Internet

           25.     A defining characteristic of television broadcast programming is that it is

   disseminated to viewers over the airwaves by the broadcast station. Netflix, in contrast, is not

   disseminated over the airwaves. Instead, Netflix users request to access and stream the Netflix

   content they wish to watch, when they wish to watch it, over the Internet.

           26.     Access to the Internet is provided by an ISP, which provides users the “capability

   to transmit data to and receive data from all or essentially all internet end points,” 15 including, for

   example, all of the results of a Google search, Gmail and other email services, online streaming

   services like Netflix, Hulu, ESPN+, and YouTube, social media like Facebook and Instagram, and

   news sources like The New York Times, CNN and FOX News. These online services are

   sometimes referred to as “edge” or “over-the-top” services: they make data or information

   available on privately owned servers, and they are all accessed and made available via broadband

   Internet access service. 16

           27.     The Internet translates a request for information from the ISP customer and

   connects that customer’s device to the requested information through what are known as network

   routers and switches. The ISP provides access to the content using a group of standards that

   computers use to communicate with each other on the Internet called the Transmission Control

   Protocol/Internet Protocol (“TCP/IP”) suite. TCP establishes connections between two devices

   (often referred to as the client and the server) that are attempting to exchange data and ensures that

   no data is lost when it is transmitted. IP provides for communication across the Internet and assigns




   15
        47 C.F.R. § 8.1(b).
   16
        FCC 2018 Restoring Internet Freedom Order, ¶ 145 (describing Netflix as an “‘Over the
        Top’ video service[]”).
                                                                                                        12
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   an IP address to a device so that data is sent to and from the correct devices. These two systems

   are what facilitate communication over the Internet.

           28.     Netflix’s service is accessed by Netflix members over the Internet, and Netflix

   members can access Netflix’s service and content simply by having a broadband Internet

   connection. Netflix content is transmitted to a customer’s device over the Internet using a TCP/IP

   connection from servers called Open Connect Appliances, or OCAs, on which Netflix’s library of

   content is stored. OCAs are located either at Internet exchange Points (“IXPs”) 17 or deployed

   within ISP networks. In other words, OCAs are connected to the infrastructure of the Internet and

   house Netflix’s library of content for Netflix customers to stream over the Internet using their ISP.

           29.     When a customer selects an episode of Netflix content to watch, a request is sent to

   an OCA to provide the content that the customer is seeking, and the content is provided to the

   customer by his or her ISP over the Internet from that OCA using a TCP/IP connection. A Netflix

   member can choose to stream Netflix content on a wide variety of personal devices connected to

   the Internet, including computers, televisions, smartphones, tablets, and game consoles, as well as

   through the Netflix website when using common browsers like Safari, Google Chrome, and

   Mozilla Firefox. This stands in contrast to television broadcast programming, which is not

   accessed over the Internet and is instead transmitted over the airwaves at preset times using

   channels of content.

           C.      Netflix Is Not a Multichannel Video Programming Distributor
           30.     The federal regulatory environment regarding television over nearly thirty years



   17
        “An Internet eXchange Point (IXP) is a physical location through which Internet
        infrastructure companies such as Internet Service Providers (ISPs), CDNs, web enterprises,
        communication service providers, cloud and SaaS providers connect to exchange Internet
        traffic.” https://www.thousandeyes.com/learning/techtorials/internet-exchange-point, last
        accessed June 18, 2021.
                                                                                                     13
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   has focused on a group of services referred to as Multichannel Video Programming Distributors

   (“MVPDs”). MVPDs are providers that broadcast multiple channels of video programming to

   their subscribers. MVPDs in particular have been defined as follows:

            A person such as, but not limited to, a cable operator, a multichannel multipoint distribution
            service, a direct broadcast satellite service, or a television receive-only satellite program
            distributor, who makes available for purchase, by subscribers or customers, multiple
            channels of video programming. 18

            31.     As already discussed, Netflix does not provide channels of content or linear or

   prescheduled content. The FCC has also expressed that services like Netflix are not comparable

   to traditional MVPD television services because Netflix “do[es] not provide prescheduled

   programming that is comparable to programming provided by a television broadcast channel.” 19

   In 2020, the FCC stated that “MVPDs sell channel packages, which typically include linear

   channels from cable networks and retransmitted broadcast television stations” 20 in which “[l]inear

   channels offer specific video programs at a specific time of day in a manner akin to broadcast

   television.” 21 To the best of my knowledge, the FCC has never taken the position that Netflix is

   comparable to MVPDs.

            32.     The FCC, more recently, has adopted the phrase “virtual MVPD” (or “vMVPD”)

   to refer to online video distributors (such as YouTube TV) that are “[l]ike traditional MVPDs” in

   that they “offer consumers access to a package of streaming linear channels[,]” but do so “via the




   18
        1996 Communications Act, §602(13).
   19
        FCC 2014 MVPD NPRM, ¶ 14 (footnotes omitted). See also, the FCC offered an even
        narrower definition of MVPDs, ruling that the “channel” aspect of multichannel distributors
        necessarily entails the ownership of the paths of transmission that these channels travel
        along. FCC 2010 Sky Angel Denial, ¶ 7.
   20
        FCC 2020 Communications Marketplace Report, ¶ 151 (emphasis added).
   21
        Id., ¶ 151, fn. 439.
                                                                                                       14
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   Internet.” 22 The FCC, however, does not consider Netflix to be a vMVPD, 23 which further

   indicates and supports the view that Netflix’s streaming service is not similar to broadcast

   programming from a technical or operational standpoint.

           D.       Mr. Simon Is Wrong to Conclude That Evaluating Video
                    Programming Is Based Only on the Content Itself
           33.      I disagree with Mr. Simon’s extremely limited view of the meaning of the term

   “video programming.” To Mr. Simon, “video programming” only means “content,” 24 and his

   comparison of content is limited to comparing “format,” “genre” and “quality.” 25 Mr. Simon may

   use the term “video programming” in this manner as a producer of television content, but in the

   telecommunications industry, “video programming” includes the manner in which content is

   scheduled (e.g., linear, pre-set) and presented (e.g., channelized).

           34.      Mr. Simon’s self-defined view of evaluating video programming based only on the

   format, genre, and quality of the content is also so broad that nothing would likely be excluded.

   In his deposition, Mr. Simon agrees that there is nothing that would be excluded from his definition

   of a “format”:

                    Q. Okay. So when we think about formats, you’re defining it in a way that
                       actually doesn’t exclude anything, like everything counts for purposes of
                       being comparable to television programming?

                    A. Yes. 26




   22
        Id., ¶ 185 (footnotes omitted).
   23
        Id., ¶¶ 176-188.
   24
        Simon 5/3/21 Deposition, pp. 37:23-38:16.
   25
        Id., pp. 188:16-189:6, p. 261:6-19.
   26
        Id., p. 200:17-22.
                                                                                                    15
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           35.     Mr. Simon similarly agrees that there is nothing that would be excluded from his

   definition of genre:

                   Q. . . . I’m just trying to get a sense of examples of what genre of videos would
                      not . . . be considered comparable under your understanding of what that term
                      [genre] means.

                   A. I -- I don’t think there is anything, that I’ve listed everything in my report that
                      I think is comparable, and I think in general most of the OTT [over-the-top]
                      program services carry comparable programming, whether it’s original or
                      rerun off-network. 27

           36.     Mr. Simon also ignores that Netflix offers formats that cannot exist on broadcast

   television.   In 2018, for example, Netflix released Black Mirror: Bandersnatch, a Netflix

   interactive original powered by videogame programming language. This hour-and-a-half special

   enables viewers to select their own outcome for the protagonist, resulting in alternative endings of

   the film. This interactive ability for users to craft their own narrative is a unique capability of

   streaming services and is not possible on the one-way transmission of broadcast or cable television,

   in which the same information is distributed to all subscribers. 28



   IV.     Netflix Does Not Have or Use Any Wireline Facilities in Any Public
           Rights-of-Way in Texas
           37.     Netflix does not, to my knowledge, own or operate any facilities, networks, or other

   equipment in the public rights-of-way in the City or in Texas. Netflix also does not provide its

   content through or over, or otherwise use, any facilities, networks, or other equipment that are in

   any public rights-of-way in the City or in Texas, as those terms are understood in the industry.

   Netflix does not construct, install, place, maintain, operate, repair, replace, own, manage, work




   27
        Id., pp. 214:19-215:4.
   28
        Netflix offers a dozen such interactive movies and series. https://www.whats-on-
        netflix.com/library/interactive-titles-on-netflix/, last accessed June 18, 2021.
                                                                                                            16
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   within, occupy, or control any wireline facilities or equipment in any public rights-of-way in

   Texas. Netflix content is instead retrieved by viewers over the Internet through their separate ISPs,

   as discussed above.

            A.    Netflix Does Not Have or Place Any Facilities, Networks, or Other
                  Equipment in any Public Rights-of-Way in Texas
            38.   I am not aware that Netflix has any facilities, networks, or other equipment located

   in any public rights-of-way in the City or in Texas.

            39.   I understand that the Texas Public Utility Regulatory Act (“PURA”) authorizes a

   video service provider to “install, construct, and maintain a communications network within a

   public right-of-way.” 29 I also understand that a “communications network” means “a component

   or facility that is, wholly or partly, physically located within a public right-of-way and that is used

   to provide video programming, cable, voice, or data services.” 30 I am not aware that Netflix has

   any components or facilities that are physically located in any way within a public right-of-way in

   Texas.

            40.   I also understand that PURA authorizes “the construction or operation of a cable or

   video services network in the public rights-of-way.” 31 I am not aware that Netflix has constructed

   or operates any network in the public rights-of-way.

            41.   Netflix’s content is instead housed on servers called OCAs, and Netflix members

   can request to access and view that content using their Internet connection provided by an ISP.

   There are a total of 312 OCAs located in Texas in 60 locations from which Netflix members can




   29
        PURA § 66.010(a).
   30
        PURA § 66.002(4).
   31
        PURA § 66.002(5).
                                                                                                       17
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   request to stream content over the Internet using their Internet connection through an ISP. 32 213

   of these OCAs are located at IXP sites, and the other 99 OCAs are embedded within ISP networks.

   None of these OCAs is in the City, and none of these OCAs is located in any public right-of-way

   in Texas.

           B.       Netflix Does Not Provide Its Content Over or Otherwise Use Any
                    Wireline Facilities or Networks in the Public Rights-of-Way

           42.      Netflix also does not provide its content over or otherwise use wireline facilities,

   networks, or other equipment that are in any public rights-of-way in the City or in Texas, as those

   terms are understood in the industry.

           43.      The general industry understanding is that the use of public rights-of-way turns on

   physical access to that right-of-way for the purpose of constructing a network. The common usage

   of the term “occupy” or “use” relates to constructing, repairing, maintaining, or operating physical

   equipment (e.g., poles, cables, pipes) in the right-of-way. A video service network, for example,

   refers to physical assets, not the content that traverses those physical assets, and there is widespread

   acceptance in the industry that the term “facility” refers to something physical that is owned or

   leased. 33    Right-of-way fees are similarly understood to relate to physical access, and the

   permitting process for installing facilities has always been based on the physical use of the right-

   of-way, not on the electrical or optical signals that go over or through wires or cables in that right-

   of-way.



   32
        NETFLIX_NEW BOSTON_0000318.
   33
        “Facilities-based competition . . . refers to competition among providers who actually own
        the physical facilities underlying communications networks.” Blevins, John, “A Fragile
        Foundation – The Role of ‘Intermodal’ and ‘Facilities-Based’ Competition in
        Communications Policy,” Alabama Law Review, Vol. 60:2:243,
        https://www.law.ua.edu/pubs/lrarticles/Volume%2060/Issue%202/Blevins-
        A_Fragile_Foundation.pdf, last accessed June 18, 2021.
                                                                                                        18
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           44.     This industry understanding is supported by a long federal history reinforcing the

   link between franchise fees and physical occupancy of the municipal right-of-way, such as

   articulated in the FCC 2007 Local Franchising First Order 34 and in the FCC 2019 Local

   Franchising Third Order. 35

           45.     This industry understanding is also consistent with the stated purpose of a franchise

   under PURA Chapter 66, which “authorizes the construction and operation of a cable or video

   services network in the public rights-of-way.” 36 PURA also refers to maps and records that must

   be provided by the company at a municipality’s request to identify where the network occupies

   the public rights-of-way:

                   . . . a municipality may request maps and records maintained in the ordinary course
                   of business for purposes of locating the portions of a communications network that
                   occupy public rights-of-way . . . 37

   I understand that a video service provider’s “network” in Texas can also refer to “the optical

   spectrum wavelengths, bandwidth, or other current or future technological capacity used for the

   transmission of video programming over wireline directly to subscribers within the geographic

   area within the municipality . . . .” 38 From an industry operator perspective, this language

   describing “optical spectrum wavelengths, bandwidth, or other current or future technological



   34
        “One of the primary justifications for cable franchising is the locality’s need to regulate and
        receive compensation for the use of public rights-of-way . . . . We thus find that a time limit
        is particularly appropriate for an applicant that already possesses authority to deploy
        telecommunications infrastructure in the public rights-of-way.” FCC 2007 Local
        Franchising First Order, ¶ 70 (footnotes omitted).
   35
        FCC 2019 Local Franchising Third Order, ¶ 57 (footnotes omitted). See also, “. . . under the
        Act, cable operators must compensate local governments for accessing public rights-of-way
        under a statutory framework different from that applicable to telecommunications providers.”
        FCC 2019 Local Franchising Third Order, ¶ 96, fn. 372. See also, FCC 1998 ECI Order, ¶ 4.
   36
        PURA § 66.002(5).
   37
        PURA § 66.011(a)(2).
   38
        PURA § 66.011(a)(6)(C).
                                                                                                         19
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   capacity used for the transmission of video programming over wireline directly to subscribers

   within the geographical area within the municipality” is defining a combination of fiber optic

   and/or coaxial cables that provide bandwidth to deliver video programming directly to subscribers.

   These are physical facilities that occupy rights-of-way to reach subscribers. Netflix does not

   construct fiber optic or coaxial cable systems to reach subscribers with its content, and Netflix thus

   does not have such a network.

           46.     Texas law further requires a franchisee to provide a “service area footprint” as part

   of the application process to obtain a franchise:

                   (4) a description of the service area footprint to be served within the municipality,
                   if applicable, otherwise the municipality to be served by the applicant, which may
                   include certain designations of unincorporated areas, which description shall be
                   updated by the applicant prior to the expansion of cable service or video service to
                   a previously undesignated service area and, upon such expansion, notice to the
                   commission of the service area to be served by the applicant; 39

           47.     A “service area footprint,” as that term is generally understood in the

   communications industry, refers to a static geographical service area served by a network

   occupying the public rights-of-way. Based on common industry understanding, Netflix does not

   occupy, use, or otherwise impact the public rights-of-way in the City or in Texas, and Netflix does

   not have a static “service area footprint.”

           48.     Netflix, to my knowledge, does not construct, install, place, maintain, operate,

   repair, replace, own, manage, work within, occupy, or control any wireline facilities, networks, or

   other equipment in any public rights-of-way within the City or other municipalities within Texas.40

   Because Netflix has no facilities in any public rights-of-way in the City or in Texas, Netflix cannot

   provide its content over such facilities. Instead, Netflix members request to stream Netflix content



   39
        PURA § 66.003(b)(4).
   40
        Smith Declaration, ¶ 6. See also, Malfara 4/29/21 Deposition, p. 107:5-21.
                                                                                                           20
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   through their ISPs, and the content is transmitted from an OCA by an ISP over that ISP’s physical

   network.

           49.     I am not aware of any industry participants that have ever believed streaming

   content providers like Netflix occupy or use the public rights-of-way for purposes of franchise

   fees. There is no generally accepted industry interpretation that would allow the conclusion that

   Netflix has or uses physical equipment, facilities, or networks in the public rights-of-way in Texas.



   V.      Netflix Does Not Have Service Addresses
           50.     Plaintiff states that “the video service provider fee is based upon gross revenue

   derived from the flat monthly subscriptions of subscribers with service addresses located in New

   Boston within any given quarter.” 41 I understand that PURA does not use or define the phrase

   “service addresses.”

           51.     The term “service address” in the telecommunications industry, however, generally

   relates to the location where a service is used or provided. 42 It is generally considered to be “the




   41
        Brief, p. 5. See also, PURA § 66.005(a)-(b).
   42
        “A service address in general is where a service is being consumed.” Malfara 4/29/21
        Deposition, p. 99:1-2. Mr. Malfara’s testimony is consistent with testimony Mr. Malfara
        previously provided in another proceeding in which we both testified. That proceeding
        involved, among other things, questions regarding the service address at which a customer of
        BellSouth was receiving 911 service. In that proceeding, Mr. Malfara testified that “[t]he
        ‘location’ referenced in the 100-line cap is the address at which a customer’s telephone is
        located and from which that telephone is connected through a BellSouth standard Network
        Interface, to a BellSouth central office by an ‘exchange access facility.’” See, Exhibit 4 to
        Malfara 4/29/21 Deposition. Cited as United States District Court Eastern District of
        Tennessee at Chattanooga, Hamilton County Emergency Communications District, et al.
        Plaintiffs, vs. BellSouth Telecommunications, LLC, d/b/a AT&T Tennessee, Defendant,
        Case Nos. 1:11-CV-330, et al., Declaration of David J. Malfara, Sr., September 1, 2017, ¶
        3.C.
                                                                                                     21
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   street address of the location where service is provided.” 43 Cable operators, such as Charter

   Spectrum, for example, define a service address as “the physical address where services are

   installed or will be installed.” 44 Similarly, Comcast’s Xfinity service has numerous references to

   looking up service outages based on a service address. 45 A service address is required for facilities-

   based cable operators because they need to perform work at the subscriber’s premise, such as

   installing equipment, testing service, and maintaining hardware, and the service would not work

   without a fixed, physical address associated with the provision of service to the subscriber.

           52.     The   generally    accepted    understanding     of    “service   address”    in   the

   telecommunications industry does not apply to Netflix’s streaming service. A Netflix subscriber

   does not need any physical equipment or physical service from Netflix to stream Netflix content.46

   Netflix’s service is not tied to any particular location or address, and Netflix customers can stream

   content wherever they are in the United States, as well as in approximately 190 countries, so long

   as they have a broadband Internet connection. Moreover, it is not possible to precisely determine

   the city in which a user is streaming content at any particular time based on the IP addresses

   associated with that viewing session. 47



   43
        Harry Newton and Steve Schoen, Newton’s Telecom Dictionary, (New York: Harry Newton,
        2018), p. 1133.
   44
        Spectrum, “How to Order Spectrum Services Online,” Spectrum Support, https://www.spe-
        ctrum.net/support/manage-account/online-ordering-reference/, Spectrum Support, last
        accessed June 18, 2021.
   45
        Comcast Xfinity, “How to Change, Move or Cancel Your Xfinity Services,” Xfinity Support,
        https://www.xfinity.com/support/articles/cancel-my-xfinity-services, last accessed June 18,
        2021.
   46
        Smith Declaration, ¶ 6. See also, Malfara 4/29/21 Deposition, pp. 96:18-97:3.
   47
        Malfara 4/29/21 Deposition, p. 108:6-22. See also,
        https://www.bigdatacloud.com/blog/how-accurate-can-ip-geolocation-get, last accessed June
        18, 2021. “IP Geolocation is categorically not suitable for tracking the exact geographical
        location of a person or device.”
                                                                                                       22
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           53.     “Service address” as used in the telecommunications industry also does not mean

   the same thing as “residential address,” as Ms. Elizabeth Lea, the city manager for the City of New

   Boston, suggests. 48   Communications companies, including telephone and cable companies,

   separately track service and billing addresses, and these addresses may be different than the

   subscriber’s residential address. 49 Even Ms. Lea acknowledges that the City of New Boston needs

   to know the location where the City provides service to its constituents. 50 From my experience,

   this information is needed in order to dispatch technicians in the event of installation, maintenance,

   and repair activities at the location where the service is physically provided.

           54.     I also understand that Netflix does not have information related to the residential

   addresses of its customers. 51 This is not surprising. While Netflix does have billing zip codes for

   certain of its customers, a billing zip code is not necessarily the same as a residential zip code.

   And even if it were, a billing zip code does not provide information about the municipality in

   which the customer resides because Texas zip codes do not correlate to municipal boundaries.




   48
        Lea Deposition, p. 58:15-22.
   49
        Spectrum, for example, informs customers that “Your service address is the physical address
        where Spectrum services are installed or will be installed. The billing address is the address
        you’d like your billing statement sent to and may differ from your service address.”
        https://www.spectrum.net/support/manage-account/online-ordering-reference/, last accessed
        June 18, 2021. See also, Mr. Malfara incorrectly suggested that a service address, in the
        context of traditional cable services, could be where “the bill is sent to.” Malfara 4/29/21
        Deposition, p. 100:14-25. This contradicts his earlier statement where he said: “[a] service
        address in general is where a service is being consumed.” Malfara 4/29/21 Deposition, pp.
        98:24-99:2. Every cable company I have worked with recognizes the difference between a
        service address and a billing address (as explained by Spectrum above).
   50
        Lea Deposition, pp. 58:15-59:4.
   51
        Long Declaration, ⁋ 15.
                                                                                                      23
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                                            Figure 1
        Distribution of Texas Zip Codes Across Municipalities and Unincorporated Areas 52




           55.     As indicated in the above chart, more than 77% of zip codes in Texas span multiple

   municipalities and unincorporated areas. Even assuming that billing zip codes were an accurate

   proxy for where the Netflix customer resides and for where Netflix service is actually being

   consumed (which they are not), the fact that the majority of zip codes in Texas span multiple



   52
        Zip code boundaries are based on the geographic files provided by the US Census Bureau.
        To determine the number of municipalities and unincorporated area(s) a zip code covers, I
        implemented a 1% household threshold (by total households within the given zip code) to
        remove “false positives” where municipalities and unincorporated area(s) appear to intersect
        additional zip codes despite negligible overlap. See, Exhibit SET-C for a detailed listing of
        municipalities and unincorporated area(s) associated with each zip code as well as the
        providers offering service in those intersections.
                                                                                                   24
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   municipalities and unincorporated areas makes it nearly impossible to determine the exact

   municipality in which most subscribers reside.



   VI.     The Industry Generally Understands that Franchise Fees Apply Only to
           Closed Transmission Paths That Are Not Used to Deliver Netflix
           Content
           56.    Since at least 1996, it has been generally accepted in the industry that franchise fees

   apply only to providers that (1) have physical facilities in the public rights-of-way of the

   municipality in which service is provided and (2) deliver so-called “video programming” over a

   closed transmission path. 53 A “closed” transmission path refers to specific channels or groups of

   channels that only allow a user to watch what the provider makes available.

           57.    Cable service and fiber-to-the-home service, and hybrids of fiber and coax or

   copper cable, such as AT&T’s U-verse, are the primary examples of providers that meet this

   definition. Cable, fiber-to-the-home, and hybrid providers install physical equipment in the rights-

   of-way of the cities they serve, and they deliver video programming over channels (i.e., closed

   transmission paths) using a cable modem termination system for cable or hybrid fiber-coax service,

   an optical line terminal for fiber-to-the-home service, or digital subscriber line access multiplexer

   for hybrid fiber-copper service. For all of these platforms, there are separate portions of the

   transmission platform broken into channels that enable closed communication with the cable or

   fiber-to-the-home customers.

           58.    Netflix, in contrast, does not have any facilities in the public rights-of-way and does

   not have any facilities or equipment similar to those operated by a cable provider (e.g., cable

   modem termination system, optical line terminal, coaxial or fiber cables, and the premises



   53
        1996 Communications Act, §§ 602(5), 602(7).
                                                                                                      25
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   equipment that communicates with these facilities and equipment). Netflix’s content is also

   provided only over the Internet, not the closed transmission paths of a cable system. The Internet

   is fundamentally not closed in that it allows users to access a vast amount of information and

   content made available by a wide variety of sources (e-mail, websites, audio content, video content,

   written content, etc.). In this way, Netflix is no different than other content providers such as

   Amazon Prime, ESPN+, YouTube TV, and many others, all of which are exclusively available

   over the Internet and do not function within the closed transmission paths of cable systems. Based

   on the general industry understanding, therefore, Netflix’s service is not the subject of franchise

   fees.



   VII. It Cannot Be Determined on a Class-Wide Basis Whether There Are
        Wireline Facilities Located at Least in Part in the Public Rights-of-Way
        in Each Texas Municipality Through Which ISPs Could Transmit
        Netflix Content

           59.    My understanding is that Plaintiff contends that Netflix provides “video service” in

   all Texas municipalities because Netflix content is viewed in each municipality over wireline

   facilities controlled by others and which are at least in part in the public rights-of-way. However,

   the ISPs, not Netflix, transmit Netflix content to users, at the user’s request, and Netflix has no

   wires, cables, or other infrastructure in the public rights-of-way in Texas.

           60.    Even if one were to conclude (incorrectly) that Netflix “provides video service”

   when its content is retrieved by viewers through the facilities of others with wireline facilities

   located at least in part in the public rights-of-way, it is not the case that Netflix’s content always

   transits such wireline facilities. Rather, determining whether a particular municipality is served

   by an ISP that has wireline facilities in the public rights-of-way of that municipality would require



                                                                                                      26
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   an individual and detailed investigation for each particular municipality regarding which ISPs offer

   service in that municipality and which, if any, of those ISPs offer wireline Internet access.

           61.    Based on available data, there are areas in Texas that are not served by any ISPs

   that deliver Internet service using wireline technologies. For example, and as seen below, the

   following rural municipalities in Texas do not have wireline broadband facilities available: Alba

   Town, Austwell City, Browndell City, Callisburg City, Cashion Community City, Celeste City,

   Chireno City, Coupland City, Coyote Flats City, Daisetta City, Dodd City Town, Dorchester City,

   Hawk Cove City, Jolly City, Kendleton City, Kurten Town, Leroy City, Liverpool City, Miller's

   Cove Town, Nevada City, Neylandville Town, Nordheim City, Novice City, Orchard City,

   Petronila City, Powell Town, Rice City, Rocky Mound Town, Ross City, Skellytown Town, South

   Frydek City, Stockdale City, Taylor Landing City, Tira Town, Webberville Village, and Windom

   Town. 54 Netflix users in these areas would not be able to stream Netflix content using wireline

   ISPs and would instead need to stream content using fixed wireless, mobile, or satellite technology.




   54
        FCC’s Fixed Broadband Deployment dataset.
                                                                                                    27
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                                            Figure 2
           Municipalities With No Wireline Access or Sub-Broadband Wireline Access 55




           62.    Even in Texas municipalities where there is some wireline broadband Internet

   service, many households do not have the opportunity to access such wireline service. In the

   following scatter chart, the X-Axis represents each of the municipalities in Texas. The Y-Axis

   identifies the percentage of that municipality that has wireline connectivity, based on FCC data.

   The dots at 0% show those municipalities that have no wireline broadband available. The dots

   between 0% and 100% identify municipalities where not all of the households have access to

   wireline broadband.




   55
        FCC’s Fixed Broadband Deployment dataset.
                                                                                                 28
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                                              Figure 3
                 Scatter Plot of Wireline Broadband Availability by Municipality 56




   VIII. It Cannot Be Determined on a Class-Wide Basis Whether (and to What
         Extent) Wireline Facilities in the Public Rights-of-Way in a Particular
         Texas Municipality Are Being Used by ISPs to Transmit Netflix Content
           63.    Even in Texas municipalities that are served by one or more ISPs that use wireline

   technology, it cannot be assumed that Netflix content is being transmitted by those ISPs to Netflix

   customers over wireline facilities in the public rights-of-way of those municipalities. As already

   discussed, many households in such areas are still not served by wireline ISP providers. In

   addition, several other types of ISPs provide broadband service without relying on wireline

   facilities in the public rights-of-way of the particular municipality.




   56
        FCC’s Fixed Broadband Deployment dataset.
                                                                                                   29
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           A.      Many Internet Technologies in Texas Do Not Use Wireline Facilities in
                   the Public Rights-of-Way of a Particular Municipality
           64.     There are more than 200 ISPs using different technologies to provide Internet

   access (e.g., fiber, cable, DSL, satellite, mobile wireless, and fixed wireless) to various parts of

   Texas. All municipalities in Texas are served by ISPs that offer satellite service that do not use

   wires or cables in the city’s public rights-of-way. All municipalities in Texas are served (at least

   in part) by mobile service providers, and many areas of Texas are served by ISPs that deliver

   Internet access using fixed wireless technology. These types of ISPs do not, or at least may not,

   rely on wireline facilities located at least in part in the public rights-of-way of a particular city, as

   described below. As a result, Netflix content delivered over these ISPs is not being transmitted by

   those ISPs using wireline facilities in the public rights-of-way of the municipality at issue.

           65.     Plaintiff’s expert, Mr. Malfara agrees. Mr. Malfara states that “all such wireline

   methods of content delivery rely on transmission of high-speed data over publicly-owned rights of

   way.” 57 During his deposition, however, Mr. Malfara testified:

                   Q. If . . . I asked you whether the following statement is true: All methods of
                      content delivery rely on transmission of high-speed data over publicly owned
                      rights-of-way, would you agree or disagree?

                   A. Disagree. 58

           66.     Mr. Malfara then testified that methods of content delivery that may not rely on the

   transmission of high-speed data over publicly owned rights-of-way include, for instance, direct

   satellite technologies, short hop mobile, and (potentially) fixed wireless. 59 Mr. Malfara thus




   57
        Malfara Report, ¶ 15.
   58
        Malfara 4/29/21 Deposition, p. 146:8-15.
   59
        Id., pp. 148:3-149:17.
                                                                                                         30
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   appears to agree that Netflix content can be retrieved by customers using technologies other than

   wires or cables in the public rights-of-way of a municipality.

                  1.      Satellite Providers

           67.    According to the FCC’s data, ViaSat, VSAT, and Hughes all provide satellite

   Internet access in the City, and ViaSat, VSAT, and Hughes all provide satellite Internet access

   everywhere in Texas. 60 ISPs that transmit Netflix content using satellite technology do not rely

   on the use of public rights-of-way in the particular Texas municipality at issue for the transmission

   of video content. These providers instead rely on transmitting signals from satellites to equipment

   installed on the subscriber’s property without accessing the rights-of-way of the municipality at

   issue. Netflix users that rely on a satellite ISP connection to stream Netflix content are not

   receiving content transmitted through wireline facilities located in the public rights-of-way of the

   particular Texas municipality, and determining whether and to what extent these satellite ISPs are

   transmitting Netflix content in a particular jurisdiction would require an investigation by

   municipality into which Netflix users in that municipality have a satellite Internet connection and

   whether that satellite Internet connection is used to stream Netflix content. Ultimately, this would

   require a user-by-user investigation as well as a municipality-by-municipality investigation.


                  2.      Mobile ISPs (Commercial Mobile Service)

           68.    A number of mobile ISPs provide Internet access in the City and throughout Texas.

   Mobile ISPs in the City include AT&T Mobility, Legacy Sprint & T-Mobile and Verizon. Mobile

   ISPs in Texas include the same carriers AT&T Mobility, Legacy Sprint & T-Mobile and Verizon,

   as well as ClearTalk, Cross Valliant Cellular, Evolve Broadband, United States Cellular




   60
        FCC’s Fixed Broadband Deployment dataset.
                                                                                                     31
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   Corporation, and West Central Wireless. These ISPs offer service to 99.9% of households in the

   state. Netflix users can rely on a mobile ISP connection to stream Netflix content.



                                              Figure 4
                                             Mobile ISPs 61




           69.    Mobile ISPs can provide service without ever touching the rights-of-way in a

   specific municipality. In particular, the wireless signals can travel from wireless towers outside a

   municipality to customers within a municipality without traveling through any wireline facilities

   in the public rights-of-way of that municipality. Even if some of these ISPs may connect their

   wireless towers to their core network using wireline facilities (as opposed to microwave facilities)



   61
        FCC’s Mobile Broadband Deployment dataset.
                                                                                                    32
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   in certain public rights-of-way, those wireline facilities traverse some municipalities but not others,

   such that the wireless signals that transmit data, including Netflix content, to customers can reach

   customers without accessing any wireline facilities in the public rights-of-way of the municipality

   at issue.

           70.    These companies provide nearly ubiquitous coverage throughout Texas, competing

   with each other for customers. Figure 5 that follows shows the number and percent of households

   served by mobile ISPs in Texas:




                                                                                                       33
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                                                 Figure 5
                                Households Served by Mobile ISPs in Texas 62


                                                          Households with Service Available
                     Provider                        4G                    5G                 Total
        AT&T Mobility                                 10,100,093                552,632       10,100,093
        ClearTalk                                         16,993                      -           16,993
        Cross Valliant Cellular                            1,563                      -            1,563
        Evolve Broadband                                  70,195                 51,624          121,819
        Sprint                                         9,620,949                      -        9,620,949
        T-Mobile                                      10,012,138              8,295,556       10,021,744
        United States Cellular Corporation                70,580                      -           70,580
        Verizon Wireless                              10,059,781                  9,152       10,059,781
        West Central Wireless                            142,288                      -          142,288

                                                           Percent of Households in Texas
                     Provider                        4G                    5G                 Total
        AT&T Mobility                                     100.0%                   5.5%          100.0%
        ClearTalk                                           0.2%                   0.0%            0.2%
        Cross Valliant Cellular                             0.0%                   0.0%            0.0%
        Evolve Broadband                                    0.7%                   0.5%            1.2%
        Sprint                                             95.2%                   0.0%           95.2%
        T-Mobile                                           99.1%                  82.1%           99.2%
        United States Cellular Corporation                  0.7%                   0.0%            0.7%
        Verizon Wireless                                   99.6%                   0.1%           99.6%
        West Central Wireless                               1.4%                   0.0%            1.4%


            71.      Determining whether and to what extent these mobile ISPs are delivering Netflix

   content would require an investigation by municipality into which Netflix users in that

   municipality have a mobile Internet connection and whether that mobile Internet connection is

   used to stream Netflix content. As just one example, Netflix users may use their mobile ISPs for

   all their Internet access, and either watch Netflix on a mobile phone or tablet or cast Netflix content

   to their TVs using any number of devices such as Google Chromecast, Amazon Fire TV, or smart

   televisions.



   62
        FCC’s Mobile Broadband Deployment dataset.
                                                                                                       34
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                  3.     Fixed Wireless ISPs

          72.     Based on FCC data, while there are no fixed wireless providers in the City, there

   are 155 fixed wireless providers in the State of Texas including, for example, AMG Technology

   Investment Group and JAB Wireless. These providers make fixed wireless service available to

   over 5.25 million households in the state (51.97% of households in the state of Texas). The

   following map illustrates the physical area of Texas served by at least one of these 155 fixed

   wireless providers. Netflix users can rely on a fixed ISP connection to stream Netflix content.




                                                                                                     35
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                                             Figure 6
                                     Fixed Wireless Coverage 63




           73.    ISPs that provide Internet access using fixed wireless technology can transmit

   Netflix content without using wireline facilities in a particular municipality. For example, fixed

   wireless networks can use antennas in one municipality to provide service to another municipality

   without having any physical equipment in the other municipality. 64 To demonstrate the point,




   63
        FCC’s Fixed Broadband Deployment dataset.
   64
        The same conclusions reached here regarding fixed wireless networks equally apply to
        mobile wireless network infrastructure.
                                                                                                  36
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   registered antenna structures used to deliver fixed wireless service are located in Lancaster city,

   DeSoto city, and Cedar Hill city; however, there are three incorporated nearby cities (Glenn

   Heights city, Ovilla city, and Oak Leaf city) that do not have any FCC registered wireless antennas

   within their geographical boundaries. Nevertheless, all report 50 Mbps or better fixed wireless

   service.

          74.     The map below shows all municipalities in Texas in which there is no registered

   antenna structure, yet as shown by the prior figure, most of these areas have access to fixed wireless

   service.




                                                                                                      37
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                                              Figure 7
                            Municipalities with No Registered Antenna 65




           75.    It is not, therefore, possible to generalize and say that content streamed in one

   municipality using fixed wireless technology has traversed the public right-of-way in that

   municipality. Determining whether wireline facilities in the municipality at issue are used would

   require identifying where each fixed wireless ISP that serves a particular municipality has




   65
        FCC Antenna Structure Registration (ASR) database for Texas where “Registration Status”
        is “Constructed.”.
                                                                                                 38
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   infrastructure and then whether particular subscribers in that municipality use that Internet

   connection to stream Netflix content.

           B.      Netflix Users Can and Do Stream Content at Different Locations
                   1.     Netflix Subscribers Stream Content at a Variety of Locations

           76.     As previously stated, Netflix’s content can be accessed by anyone with an Internet

   connection, anywhere, at any time, and on any compatible device. This includes all ISP categories,

   whether wireline, satellite, mobile, or fixed wireless. Half of all Netflix users watch Netflix on

   their mobile phones in any given month. 66 According to a Netflix survey, two-thirds of Americans

   stream movies and TV shows in public67 and as illustrated below, a significant portion of that

   occurs while traveling.




   66
        Dano, Mike, “Netflix: Half of all users watch video on phones, but only 10% of total viewing
        is mobile,” Fierce Video, February 24, 2016, https://www.fiercevideo.com/online-
        video/netflix-half-all-users-watch-video-phones-but-only-10-total-viewing-mobile, last
        accessed June 18, 2021.
   67
        Chokshi, Niraj, “Americans Are Watching Netflix at Work and in the Bathroom,” New York
        Times, November 17, 2017, https://www.nytimes.com/2017/11/17/business/media/watch-
        netflix-at-work.html, last accessed June 18, 2021.
                                                                                                  39
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                                               Figure 8
                                       Netflix Public Viewing 68




           77.    Given Netflix members’ propensity to view Netflix while traveling, it is likely that

   the viewing experience traverses multiple municipalities and uses multiple types of ISPs (wireline,

   fixed wireless, satellite, and mobile). Even when Netflix users do use wireline ISPs to stream

   content, they may do so entirely outside the city in which they have their residence because they

   are traveling or working in another location.




   68
        Chokshi, Niraj, “Americans Are Watching Netflix at Work and in the Bathroom,” New York
        Times, November 17, 2017, https://www.nytimes.com/2017/11/17/business/media/watch-
        netflix-at-work.html, last accessed June 18, 2021.
                                                                                                   40
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                   2.      Most Netflix Accounts Have Multiple Users in Different Households

           78.     Netflix offers three different packages that are distinguished by quality and number

   of screens a subscriber can watch at the same time. The basic subscription allows for a single

   viewer, while a standard subscription allows two viewers and premium subscription allows a

   maximum of four viewers at any time:



                                                Figure 9
                                     Netflix Subscription Options 69




           79.     According to S&P Global Market Intelligence, 61% of Netflix members subscribe

   to plans that allow at least one or more concurrent viewers, while only 34% of subscribers

   subscribe to plans that only allow one viewer to watch content at a time.




   69
        Netflix, “Plans and Pricing,” Netflix Help Center, https://help.netflix.com/en/node/24926, last
        accessed June 18, 2021.
                                                                                                    41
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                                               Figure 10
                                     Netflix Subscriptions by Tier 70




           80.     The basic plan only allows for one viewer, but that does not mean that the password

   cannot be shared. Netflix does not employ two-factor authentication, making sharing passwords

   easier. 71 Password sharing outside of members of a household is commonplace, as illustrated by

   the survey results below:




   70
        Fletcher, John, “Which Netflix Plan do you have?” S&P Market Intelligence, May 2, 2019,
        https://platform.marketintelligence.spglobal.com/web/client?auth=inherit#news/article?id=51
        387966, last accessed June 18, 2021.
   71
        Two-factor authentication generally refers to requiring two distinct forms of identification to
        be granted access. Often in addition to a username and password, a website will send an
        expiring code to a cell phone or email address to be entered as an additional layer of security.
                                                                                                      42
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                                              Figure 11
                              Netflix Password Sharing Survey Results 72




            81.    As the above chart indicates, nine percent of subscribers share their account with a

   child that does not live at home (whether it be a student away for college 73 or at boarding school)

   or an adult who has moved out of the home. Another 26 percent of subscribers share their account

   with a family member not in their immediate family, and 18 percent share their account with a

   friend. 74 Put another way, the majority (53 percent) of Netflix subscribers share their passwords

   with someone outside their household.




   72
        Parker, William, “Survey: 54% of Netflix Subscribers Share Their Account with People
        Outside Their Homes,” Kill the Cable Bill, November 5, 2020,
        https://www.killthecablebill.com/netflix-survey-password-sharing/, last accessed June 18,
        2021.
   73
        Parents giving their college children access to their Netflix account is a common situation.
        See, Brown, Mike, “Netflix & Millennials: Viewers, Not Subscribers,” LendEDU, April 6,
        2017, https://lendedu.com/blog/netflix-millennials-viewers-not-subscribers/, last accessed
        June 18, 2021.
   74
        Ibid.
                                                                                                       43
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            82.    The dynamic nature of where subscribers are actually using streaming service and

   whose account is actually being used to stream content is further borne out by a survey performed

   by CordCutting. CordCutting estimated for 2021 that nearly 214.3 million U.S. adults are using

   at least one streaming service, representing almost 82% of all U.S. adults. 75 However, only an

   estimated 60% of users are actually paying for the service, though CordCutting determined that

   the exact numbers vary by provider. 76 Specifically for Netflix, CordCutting’s survey estimated

   for 2021 that 13% of Netflix users were accessing the service via another subscriber’s account. 77

            83.    The prevalence of account sharing introduces additional variety into how and where

   the content is consumed. The extremely high incidence of password sharing with people outside

   of the subscriber’s home necessarily means that those other viewers of Netflix content are not at

   the same physical address, and may not be in the same municipality (or even state). Moreover, it

   is highly likely that many account holders do not even have an idea of how often their password

   has been shared and how many people are using their account. 78



   IX.      It Cannot Be Determined on a Class-Wide Basis Whether (and to What
            Extent) Commercial Mobile Service Is Being Used to Stream Netflix
            Content in a Particular Texas Municipality
            84.    I understand that video service content delivered to customers by “commercial

   mobile service providers,” including mobile ISPs, is not within the scope of the Texas statute,



   75
        Lovely, Stephen, “Subscription Mooching in 2021,” CordCutting, April 1, 2021,
        https://cordcutting.com/research/subscription-mooching/, last accessed June 18, 2021.
   76
        Ibid.
   77
        Ibid.
   78
        Emont, Jon, “You’ve Shared Your Netflix Password With Your Entire Family. Now You
        Can’t Watch Netflix,” Wall Street Journal, June 8, 2020,
        https://www.wsj.com/articles/youve-shared-your-netflix-password-with-your-entire-family-
        now-you-cant-watch-netflix-11591636619, last accessed June 18, 2021.
                                                                                                   44
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   regardless of whether wireline facilities in the public rights-of-way of a particular municipality are

   being used by the ISP. 79

           85.     As already discussed above, determining whether and to what extent mobile ISPs

   are delivering Netflix content would require an investigation by municipality into which Netflix

   users in that municipality have a mobile Internet connection and whether that mobile Internet

   connection is used to stream Netflix content.



   X.      It Cannot Be Determined on a Class-Wide Basis Whether (and to What
           Extent) Netflix Content Is Streamed Using ISPs That May Be Exempt
           from Franchise Fees
           86.     I understand that there are or may be additional exemptions to franchise fees. For

   example, I understand that common carriers may be exempt from paying franchise fees insofar as

   their facilities are used to provide interactive, on-demand services. 80 I further understand that

   certain rural local exchange carriers operating on a rate-of-return basis may provide broadband

   transmission service as a common-carrier service. 81 I understand that interactive services provided

   by such carriers may be exempt from franchise fees as a result.

           87.     Connect America Fund Broadband Loop Support (“CAF-BLS”)—a form of federal

   universal service support intended to promote broadband deployment in rural areas—is available




   79
        The definition of “video service provider” in PURA reads as follows: "‘Video service’
        means video programming services provided through wireline facilities located at least in
        part in the public right-of-way without regard to delivery technology, including Internet
        protocol technology. This definition does not include any video service provided by a
        commercial mobile service provider as defined in 47 U.S.C. Section 332(d).” [Emphasis
        added] PURA 66.002(10). Note that PURA points to the definition of commercial mobile
        service provider found in Federal law.
   80
        1996 Communications Act § 602(7)(C).
   81
        FCC 2018 Petition of NTCA, ¶ 4.
                                                                                                      45
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   only to rate-of-return carriers. Accordingly, a carrier’s receipt of such support is a proxy for a

   carrier operating on a rate-of-return basis and signals the possibility that the carrier is exempt from

   franchise fees.

           88.       The carriers receiving CAF-BLS in Texas include: (1) Alenco Communication; (2)

   Blossom Telephone Company; (3) Big Bend Telephone Company; (4) Brazoria Telephone

   Company; (5) Border To Border (6) Community Telephone Company; (7) Dell Telephone

   Cooperative; (8) Eastex Telephone Cooperative; (9) Electra Telephone Company; (10) Ganado

   Telephone Company; (11) Guadalupe Valley Telephone Company; (12) ETS Telephone

   Company; (13) La Ward Telephone Company; (14) Lake Livingston Telephone; (15) Lipan

   Telephone Company; (16) Livingston Telephone Company; (17) Muenster d/b/a Nortex

   Communications; (18) Peoples Telecom; (19) Southwest Texas Communications; (20) Tatum

   Telephone Company; and (21) Valley Telephone Cooperative. 82

           89.       These providers serve, at least in part, 512 zip codes and 230 municipalities in

   Texas. The map below identifies the service territories of these rural carriers. Determining on

   what basis these carriers are providing broadband transmission service would require an

   investigation into each municipality. Likewise, determining whether and to what extent these

   carriers are delivering Netflix content would require an investigation into which Netflix users in

   that municipality subscribe to one of these carriers and whether that Internet connection is used to

   stream Netflix content.




   82
        https://www.usac.org/wp-content/uploads/high-cost/documents/Tools/ACAM-ACAM-II-
        and-CAF-BLS-Buildout-Requirments.xlsx, “CAF-BLS Funded Locations” Worksheet, last
        accessed June 18, 2021.
                                                                                                       46
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                                        Figure 12
            Coverage Area of Common Carriers Receiving Broadband Loop Support 83




                                          Steven E. Turner
                                          June 21, 2021




   83
        FCC Fixed Broadband Deployment dataset. Big Bend Telephone Company is part of Nevill
        Holdings. Border to Border, Electra Telephone Company and Tatum Telephone Company
        are part of Hilliary Communications. ETS Telephone Company is En-Touch Systems, Inc.
        Livingston Telephone Company is part of USConnect Holdings.
                                                                                           47
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                                                                              Exhibit SET-A

    Steven Turner
    Senior Managing Director – Telecom | Media | Technology

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                                                    Professional Experience

FTI Consulting, Inc.
    Senior Managing Director, Telecommunications, Media & Technology            2013 – Present
    Managing Director, Network Industries Strategies                              2006 – 2012

Kaleo Consulting
    President                                                                     1997 – 2006

ALT Communications
    President                                                                     1998 – 1999

AT&T Communications
    District Manager, Local Infrastructure and Access Management                  1996 – 1996
    Manager, Strategic Access Planning                                            1994 – 1996
    Project Manager / System Engineer, Network Operations                         1992 – 1994
    Departmental Quality Manager, Network Operations                              1990 – 1992
    Engineer / Operations Supervisor, Network Operations                          1987 – 1989

General Electric
    Research Engineer, Advanced Technologies Department                           1986 – 1987


                                                          Education

Georgia State University
    Master of Business Administration in Finance                                         1990

Auburn University
    Bachelor of Science in Electrical Engineering                                        1986
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                                                                                                           Exhibit SET-A

   Steven Turner

                                                 Professional Biography

Steven Turner is a Senior Managing Director in the Telecom, Media, and Technology (“TMT”) industry practice and is Co-
Leader of the TMT Dispute Advisory group. He has over 30 years of experience providing expert testimony in a broad
range of technical and financial areas covering the engineering and operations of integrated communications networks,
transportation systems and transaction investigations. He also leads many of TMT’s due-diligence and performance
improvement engagements related to technology, engineering, and network operations, with his work covering the
breadth of the TMT industries.

In telecommunications, he and his team provide specific expertise in the wireline (copper, coaxial, fiber, HFC), wireless
(4G and 5G) and integrated communications arenas as both industry experts and testifying experts in the U.S. and abroad.
In media, Mr. Turner’s work focuses on digital content and distribution systems, often involving an evaluation of capacity
and contention issues. In technology, Mr. Turner specializes in transaction applications and technology, including funding
mechanisms, cost-of-service analysis, traffic forecasts, and toll road fee structures.

Mr. Turner has testified in nearly 150 separate proceedings on behalf of many of the largest integrated communications
carriers, toll roads and other service providers in a variety of jurisdictions on matters related to class certification under
Federal Rule 23, industry practices, regulatory compliance, contract interpretation, cost-of-service and pricing, damages,
fraud, lost profits, network performance and technical standards and capabilities. Outside of litigation, Mr. Turner
leverages his unique combination of engineering, financial, and industry expertise to advise stakeholders on company
strategy, acquisitions, divestitures, synergies, and due diligence.

Prior to joining FTI Consulting, Mr. Turner worked at AT&T and held a variety of engineering, operations and management
positions overseeing the switching, transport and signaling disciplines. Prior to the passage of the Telecom Act of 1996,
Mr. Turner worked in the organization responsible for AT&T’s re-entry strategy into the local infrastructure market and
evaluated AT&T’s potential entry alternatives through switch and fiber builds, hybrid fiber-coax service, broadband fixed
wireless, and others. Mr. Turner was ultimately responsible for developing AT&T’s market entry network plan for the
Southwestern Region and the regulatory issues associated with the unbundling of local exchange company networks.

In 1997, Mr. Turner founded Kaleo Consulting, a boutique consulting firm specializing in providing expert testimony in
the engineering and operations of integrated communications networks and market entry strategic consulting services.




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                                                                                                                    Exhibit SET-A

   Steven Turner

                                                   List of Proceedings/Cases

United States District Court for the Western District of Arkansas

    Civil Action No. 14-5258
    Susan Mojica, Individually and on behalf of All Others Similarly Situated, Plaintiffs, v. Securus Technologies, Inc., Defendant
    Expert Report of Steven E. Turner                                                                               September 7, 2016
    Steven E. Turner Response to Tardiff Rebuttal Report                                                             October 24, 2016
    Expert Report of Steven E. Turner                                                                                   April 27, 2017
    Expert Rebuttal Report of Steven E. Turner                                                                           May 22, 2017


In the United States District Court – Central District of California

    Case No. CV-04-10460 (PJWx)
    U.S. TelePacific Corp., d/b/a TelePacific Communications, a California corporation, Plaintiff, v. Qwest Communications
    Corporation, a Delaware corporation, Defendant
    Preliminary Expert Witness Report                                                                                  August 15, 2005
    Preliminary Rebuttal Expert Witness Report                                                                     September 14, 2005


In the United States District Court – Central District of California – Western Division

    Case No. CV 04-10081 (SSx)
    U.S. TelePacific Corp., d/b/a TelePacific Communications, a California corporation, Plaintiff/Counter-Defendant, v. MCI WorldCom
    Network Services, Inc., a Delaware corporation, Defendant/Counter-Claimant
    Preliminary Expert Witness Report                                                                                 October 11, 2005
    Preliminary Rebuttal Expert Witness Report                                                                       November 2, 2005


Before the United States District Court for the Northern District of Illinois – Eastern Division

    Case No. 16 cv 06976
    INTELIQUENT, INC., Plaintiff & Counterclaim Defendant, v. FREE CONFERENCING CORPORATION, individually and d/b/a HD
    TANDEM; HDPSTN, LLC d/b/a HD TANDEM; WIDE VOICE, LLC; and JOHN DOES 1-10, Defendants, and MATTHEW CARTER, JR.,
    Counterclaim Defendant.
    Expert Report of Steven E. Turner                                                                                   August 6, 2019
    Expert Rebuttal Report of Steven E. Turner                                                                     September 30, 2019


Before the United States District Court for the Southern District of Iowa

    Civil Action No. 09-CV-2393 CM/KGS
    In the Matter of Iowa Network Services, Inc., Complainant v. Sprint Nextel Corporation, Sprint United Management Company,
    and Sprint Corporation, Defendants
    Expert Report Regarding Tariffed Services and Functional Equivalency                                           September 27, 2010
    Responsive Expert Report Regarding Tariffed Services and Functional Equivalency                                  October 26, 2010




                                                                                                                                      3
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                                                                                                                     Exhibit SET-A

   Steven Turner

United States District Court for the Southern District of Mississippi (Hattiesburg Division)

    Civil Action No. 02:03cv115-KS-MTP
    Unity Communications, Inc., Plaintiff v. AT&T Mobility, LLC, Defendant
    Preliminary Responsive Analysis on Expert Witness Report of Mr. Allen G. Buckalew                                   March 17, 2009
    Amended Preliminary Responsive Analysis on Expert Witness Report of Mr. Allen G. Buckalew                             April 9, 2009


United States District Court District of Nevada

    Case No. 3:20-cv-00499-MMD-WGC
    City of Reno, Nevada, et al., Plaintiff, v. Netflix, Inc., et al., Defendants
    Expert Report of Steven E. Turner                                                                                     May 31, 2021


United States District Court Western District of North Carolina Charlotte Division

    Civil Action No. 3:11cv00597-FDW-DCK
    The FairPoint Communications, Inc., et al., Litigation Trust, Plaintiff, v. Verizon Communications Inc., The NYNEX Corporation,
    Verizon New England Inc., CELLCO Partnership d/b/a Verizon Wireless of the East LP, Defendants
    Expert Report of Steven E. Turner of FTI Consulting Submitted on behalf of Mark Holiday Litigation Trustee       December 3, 2012
         of the FairPoint Inc. et al. Litigation Trust


United States District Court Northern District of Ohio Eastern Division

    Case No. 1:20-CV-01872
    City of Maple Heights, Ohio, et al., Plaintiff, v. Netflix, Inc., et al., Defendants
    Expert Rebuttal Report of Steven E. Turner in Opposition to Plaintiff’s Motion for Class Certification                May 17, 2021
    Deposition of Steven E. Turner                                                                                        May 21, 2021


United States District Court of South Carolina Charleston and Columbia Division

    Case Nos. 2:17-cv-02534-RMG and 3:18-cv-01295-RMG
    County of Charleston, South Carolina, Plaintiff, v. AT&T Corp., et al., Defendants and County of Richland, South Carolina, Plaintiff,
    v. AT&T Corp.
    Rebuttal Expert Report of Steven E. Turner                                                                             July 17, 2019




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   Steven Turner

United States District Court Eastern District of Tennessee at Chattanooga

    Case No. 1:11-cv-330
    Hamilton County Emergency Communications District, Plaintiff v. BellSouth Telecommunications, LLC, Defendant
    Expert Report of Steven E. Turner on behalf of AT&T                                                       November 15, 2013
    Declaration of Steven E. Turner                                                                            December 3, 2013
    Expert Report of Steven E. Turner on behalf of AT&T Supplemented                                           February 28, 2014
    Expert Report of Steven E. Turner in Rebuttal to Expert Report Submitted by Dr. Mohammed Ahmadi               March 7, 2014
         and Randal B. Hebert
    Expert Report of Steven E. Turner on behalf of AT&T Second Supplement                                        March 21, 2014
    Expert Report of Steven E. Turner in Rebuttal to Expert Report Submitted by Dr. Mohammed Ahmadi and          March 21, 2014
         Randal B. Hebert First Supplement
    Supplemental Expert Report of Steven E. Turner on behalf of BellSouth                                        January 2, 2018
    Declaration of Steven E. Turner                                                                            February 13, 2018
    Supplemental Declaration of Steven E. Turner                                                                  March 6, 2018

    Case Nos. 1:14-cv-370 and 1:14-cv-371
    Blount County Emergency Communications District, et al., Plaintiffs, vs. AT&T Corp., Defendant and Blount County Emergency
    Communications District, et al., Plaintiffs, vs. Teleport Communications America, LLC
    Rebuttal Expert Report of Steven E. Turner                                                               September 30, 2019
    Declaration of Steven E. Turner in Support of AT&T                                                         October 28, 2019


In the United States District Court for the Northern District of Texas – Dallas Division

    Civil Action No. 3:10-CV-0868-G
    Mirna Reyes, et al., Plaintiffs, vs. North Texas Tollway Authority (NTTA), Defendant
    Oral and Videotaped Deposition of Steven Turner as the 30(b)(6) Representative of the North Texas               July 24, 2015
          Tollway Authority
    Expert Report of Steven E. Turner on behalf of North Texas Tollway Authority                                October 29, 2015
    Expert Rebuttal Report of Steven E. Turner on behalf of North Texas Tollway Authority                      December 4, 2015


In the United States District Court for the Southern District of Texas – Houston Division

    Civil Action No. 4-19-CV-04915
    Interfacing Company of Texas, Plaintiff, vs. Zayo Group, LLC, Defendant.
    Expert Report of Steven E. Turner                                                                              April 21, 2021


In the United States District Court – Eastern District of Virginia – Alexandria Division

    Civil Action No. 1:04-VC-1479
    MCI-WorldCom Network Services,            Inc.,   Plaintiff/Counterclaim   Defendant,   v.   PAETEC   Communications,   Inc.,
    Defendant/Counterclaim Plaintiff
    Expert Witness Report                                                                                          May 23, 2005
    Affidavit of Steven E. Turner                                                                                  July 15, 2005




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                                                                                                                  Exhibit SET-A

   Steven Turner

Superior Court of New Jersey – Law Division, Middlesex County

    Docket No. MID-L-3006-19
    James Long and Homer Walker, Plaintiffs, v. New Jersey Turnpike Authority, Defendant.
    Expert Report of Steven E. Turner and Brian F. Pitkin                                                           February 3, 2020
    Expert Reply Report of Steven E. Turner and Brian F. Pitkin                                                    February 11, 2020


In the Circuit Court of Cook County, Illinois

    Case No. 2015 L 003210 (Consolidated with 15 L 3448)
    Guaranteed Rate, Inc., Plaintiff/Counter-Defendant, v. Netrix, LLC, Defendant/Counter-Plaintiff
    Expert Rebuttal Report of Steven E. Turner                                                                         April 24, 2019


In the Court of Chancery of the State of Delaware

    C.A. No. 8508-VCL
    ACP Master, LTD., Aurelius Capital Master, LTD., and Aurelius Opportunities Fund II, LLC, Plaintiffs v. Sprint Corporation, Sprint
    Communications Inc., Starburst I, Inc. and Softbank Corp., Defendants
    Expert Rebuttal Report of Steven E. Turner                                                                      October 23, 2015


    C.A. No. 5878-VCL
    Hebert Chen and Derek Sheeler Individually and on Behalf of All Others Similarly Situated vs. Robert Howard-Anderson et al.
    Expert Report of Steven E. Turner                                                                              October 17, 2014
    Rebuttal Report of Steven E. Turner                                                                          November 18, 2014


In the United States Bankruptcy Court for the District of Hawaii

    Case No. 08-02005 (Chapter 11)
    In re: Hawaiian Telcom Communications, Inc. et al. Debtors and Debtors-in-Possession
    Valuation of the Telecommunications Assets of Hawaiian Telcom’s Network Located in the State of Hawaii           October 7, 2009
         on the Islands of Oahu, Maui, Hawaii, Kauai, Molokai, and Lanai for Unsecured Creditors Committee
         by Steven E. Turner, Managing Director, Network Industry Strategies – Telecom, FTI Consulting
    Declaration of Steven E. Turner in Support of the Objection of the Official Committee of Unsecured             November 2, 2009
         Creditors of Hawaiian Telcom Communications, Inc., to Confirmation of the Joint Chapter 11 Plan
         of Reorganization of Hawaiian Telcom Communications, Inc. and Its Debtor Affiliates




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   Steven Turner

In the United States Bankruptcy Court for the Western District of Texas – Austin Division

    Case Nos. 16-10262, 16-10263, and 16-10264 (Chapter 11) Jointly Administered Under Case No. 16-10262-TMD
    Adversary No.: 18-cv-01030
    In re: SH 130 Concession Company, LLC, Zachry Toll Road, Debtors and SH 130 Concession Company, LLC, Plaintiff, against Central
    Texas Highway Constructors, LLC, et al, Defendants
    Expert Report of Steven E. Turner                                                                           December 4, 2019
    Expert Rebuttal Report of Steven E. Turner                                                                      May 1, 2020


American Arbitration Association

    CarrierCom Corporation v. Lucent Technologies Inc., et al., Defendants
    Preliminary Responsive Analysis by Steven E. Turner                                                            March 24, 2003


Hong Kong International Arbitration Centre

    APPLE INC., Claimant, and CHINA IWNCOMM CO., LTD., Respondent
    Report of Steven E. Turner                                                                                        July 17, 2020


International Centre for Dispute Resolution

    Case No. 01-20-0005-0726
    WorldNet Telecommunications, Inc., Claimant, v. Puerto Rico Telephone Company, Inc., Respondent
    Direct Testimony of Steven E. Turner                                                                       November 23, 2020
    Reply Testimony of Steven E. Turner                                                                         February 26, 2021


    Case No. 01-19-0003-0648
    WorldNet Telecommunications, Inc., Claimant, v. Puerto Rico Telephone Company, Inc., Respondent
    Direct Testimony of Steven E. Turner                                                                            June 5, 2020
    Reply Testimony of Steven E. Turner                                                                         December 4, 2020


    Case No. 50 494 T 0035512
    WorldNet Telecommunications, Inc., Claimant, v. Puerto Rico Telephone Company, Inc., Respondent
    Direct Testimony of Steven E. Turner                                                                             July 17, 2013
    Direct Testimony of Steven E. Turner                                                                            August 5, 2013




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   Steven Turner

Financial Industry Regulatory Authority, Inc. (FINRA), Division of Arbitration

    FINRA Case No. 18-00974
    S. Robert Levine, Individually and as trustee of the Levine Family Charitable Trust, Tare Levine, Michael Allen, as trustee of the S.
    Robert Levine Retained Annuity Trust 2010 and the S. R. Levine Children’s Trust, and Joe Russillo, as trustee of the S.R. Levine
    Children’s Trust, Claimants, vs. Merrill Lynch, Pierce, Fenner & Smith Incorporated, Respondent.
    Live Testimony of Steven E. Turner                                                                                    April 25, 2019


JAMS/ENDISPUTE, San Francisco, California

    JAMS Reference No. 1110016198
    FORTIS ADVISORS LLC, as Effective Time Holders’ Agent, Claimant vs. SHORETEL, INC., Respondent
    Expert Report of Steven E. Turner on behalf of Fortis Advisors LLC                                                     July 31, 2014


Before the Canadian Radio-television and Telecommunications Commission

    CRTC 2010-43
    Proceeding to Review Access to Basic Telecommunications Services and Other Matters
    Expert Report of Mr. Steven E. Turner on behalf of Bell Canada and Bell Aliant                                        April 26, 2010


Before the Federal Communications Commission

    WC Docket No. 12-375
    Rates for Interstate Inmate Calling Services
    Report Implementing the FCC Mandatory Data Collection on behalf of Securus Technologies, Inc.                          July 17,2014
    Report on Price Elasticity of Demand for Interstate Inmate Calling Services on behalf of Securus                   January 12, 2015
          Technologies, Inc.
    Response to Second Further Notice Declaration of Coleman Bazelon and Expert Report of Don J. Wood                  January 27, 2015
          on behalf of Securus Technologies, Inc.
    FTI Consulting, Inc. Comments on FCC Order on behalf of Securus Technologies, Inc.                              December 22, 2015
    Declaration of Robert O. Fisher, Brian F. Pitkin and Steven E. Turner                                           November 23, 2020


    CG Docket Nos. 10-51 and 03-123
    In the Matter of Structure and Practices of the Video Relay Service Program; Telecommunications Relay Services and Speech-to-
    Speech Services for Individuals with Hearing and Speech Disabilities
    Report of Steven E. Turner                                                                                      November 14, 2012


    FCC File No. EB-07-MD-001
    In the Matter of Qwest Communications Corporation, Complainant v. Farmers and Merchants Mutual Telephone Company,
    Defendant
    Responsive Expert Report Regarding Functional Equivalency                                                           August 31, 2010




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                                                                                                               Exhibit SET-A

  Steven Turner


   CC Docket No. 03-XXX
   In the Matter of: IDS Complaint Against BellSouth Telecommunications Corp. Regarding Non Cost-Based Pricing of Daily Usage
   Feeds
   Affidavit of Steven E. Turner on behalf of IDS                                                                 September 2003


   CC Docket Nos. 00-218, 00-249, and 00-251
   In the Matter of Petition of WorldCom, Inc. Pursuant to Section 252(e)(5) of the Communications Act for Expedited Preemption of
   the Jurisdiction of the Virginia State Corporation Commission Regarding Interconnection Disputes with Verizon Virginia Inc., and
   for Expedited Arbitration, et al.
   Rebuttal Testimony of Steven E. Turner on behalf of AT&T and WorldCom                                          August 27, 2001
   Surrebuttal Testimony of Steven E. Turner on behalf of AT&T and WorldCom                                   September 20, 2001


   CC Docket No. 00-217
   In the Matter of Joint Application by SBC Communications Inc., Southwestern Bell Telephone Company, Southwestern Bell
   Communications Services, Inc. d/b/a Southwestern Bell Long Distance for Provision of In-Region, InterLATA Services in Kansas and
   Oklahoma
   Declaration of Steven E. Turner on behalf of AT&T Corp.                                                     November 12, 2000


   CC Docket No. 00-04
   In the Matter of Application of SBC Communications Inc., Southwestern Bell Telephone Company, and Southwestern Bell
   Communications Services, Inc., d/b/a Southwestern Bell Long Distance for Provision of In-Region, InterLATA Services in Texas
   Declaration of A. Daniel Kelley and Steven E. Turner on behalf of AT&T Corp.                                  January 31, 2000


   CC Docket No. 00-65
   In the Matter of Application of SBC Communications Inc., Southwestern Bell Telephone Company, and Southwestern Bell
   Communications Services, Inc., d/b/a Southwestern Bell Long Distance for Provision of In-Region, InterLATA Services in Texas
   Supplemental Declaration of A. Daniel Kelley and Steven E. Turner on behalf of AT&T Corp.                         April 24, 2000


   CC Docket No. 97-121
   In the Matter of Application of SBC Communication Inc. for Authorization Under Section 271 of the Communications Act to Provide
   In-Region, InterLATA Service in the State of Oklahoma
   Affidavit of Steven E. Turner on behalf of AT&T Corp.                                                                May 1997


Before the Enforcement Bureau of the Federal Communications Commission

   File No. EB-11-TC-028
   Purple Communications Inc. Letter of Inquiry from the FCC Enforcement Bureau of January 23, 2012
   Expert Report of Steven E. Turner on behalf of Purple Communications Inc. Regarding Internet Protocol Relay       July 20, 2012




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   Steven Turner

         Service Eligibility for ITRS Funds


State of Florida – Division of Administrative Hearings

    Case No. 15-5002BID
    AT&T Corp, Petitioners, vs. Department of Management Services, Respondent(s)
    Expert Deposition of Steven E. Turner on behalf of AT&T Corp.                                                 October 5, 2015
    Expert Deposition of Steven E. Turner on behalf of AT&T Corp.                                                October 12, 2015
    Oral Direct Testimony and Cross-Examination of Steven E. Turner on behalf of AT&T Corp.                      October 13, 2015


Before the State Office of Administrative Hearings for Texas

    SOAH Docket No. XXX-XX-XXXX, Texas PUC Docket No. 45470
    Complaint of Crown Castle NG Central LLC Against the City of Dallas for Imposition of a License Agreement and Fees for Use of
    Public Right-of-Way in Violation of Chapter 283 of the Texas Local Government Code and P.U.C. Subst. R. 26.461, 26.465 and
    26.467
    Direct Testimony of Steven E. Turner on behalf of the City of Dallas                                        September 7, 2016
    Rebuttal Testimony of Steven E. Turner on behalf of the City of Dallas                                       October 11, 2016
    Affidavit of Steven E. Turner                                                                                   August 8, 2017


    SOAH Docket No. XXX-XX-XXXX, Texas PUC Docket No. 45280
    Complaint of Extenet Network Systems, Inc. Against the City of Houston for Imposition of Fees for Use of Public Right-of-Way in
    Violation of Chapter 283 of the Texas Local Government Code and P.U.C. Subst. R. 26.461, 26.465 and 26.467
    Direct Testimony of Steven E. Turner on behalf of the City of Houston                                          August 9, 2016
    Rebuttal Testimony of Steven E. Turner on behalf of the City of Houston                                   September 13, 2016



Gwinnett County Superior Court

    Case No. 14-A-07233-1
    BellSouth Telecommunications v. Sago Networks, et al.
    Expert Report of Steven E. Turner – FTI Consulting, Inc. on behalf of BellSouth Telecommunications         November 10, 2014


In the District Court of Collin County, Texas 401st Judicial District

    Case No. 401-1014-01
    The Telephone Connection of Los Angeles Inc., Plaintiff, vs. Lucent Technologies Inc., Excel Switching Corporation, Intercall
    Communications and Consulting Inc., Nathan Franzmeier, and Emergent Network Solutions, Inc., Defendants
    Responsive Analysis on Preliminary Damages Report of Mr. George P. Roach by                                      June 11, 2002
         Kaleo Consulting – Steven E. Turner
    Responsive Analysis on Preliminary Damages Report of Mr. George P. Roach by                                   August 29, 2002
         Kaleo Consulting – Steven E. Turner




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   Steven Turner

Before the Alabama Public Service Commission

   Docket No. 29054
   In re: Implementation of Federal Communications Commission’s Triennial Review Order (Phase II – Local Switching for Mass
   Market Customers),
   Direct Testimony of Steven E. Turner on behalf of AT&T Communications of the Southern States, LLC         January 20, 2004
   Surrebuttal Testimony of Steven E. Turner on behalf of AT&T Communications of the Southern States, LLC     March 24, 2004
   Rebuttal Testimony of Steven E. Turner on behalf of the City of Houston                                September 13, 2016


Docket No. 25835
   In Re: Petition for Approval of a Statement of Generally Available Terms and Conditions Pursuant to §252(f) of the
   Telecommunications Act of 1996 and Notification of Intention to File a Petition for In-region InterLATA Authority with the FCC
   Pursuant to §271 of the Telecommunications Act of 1996
   Rebuttal Testimony of Steven E. Turner on behalf of AT&T Communications of the South Central States, Inc. and         June 5, 2001
        TCG Midsouth, Inc.


Before the Regulatory Commission of Alaska

   Docket No. U-14-113
   In the Matter of the Application Filed by Securus Technologies, Inc. for a Certificate of Public Convenience and Necessity
   Inmate Calling Services Cost Analysis for the State of Alaska                                                 November 13, 2014


Before the Public Service Commission of the State of Arkansas

   Docket No. 00-211-U
   In the Matter of the Application of Southwestern Bell Telephone Company for Authorization to Provide In-Region InterLATA
   Services Pursuant to Section 271 of the Telecommunications Act of 1996 and for Approval of the Arkansas 271 Interconnection
   Agreement
   Direct Testimony of Steven E. Turner on behalf of AT&T Communications of the Southwest, Inc.                     October 16, 2000


   Docket No. 97-XXX-U
   In the Matter of Southwestern Bell Telephone Company – Arkansas’ Application for Approval of SGAT
   Statement of Robert V. Falcone and Steven E. Turner on behalf of AT&T Communications of the Southwest, Inc.           June 5, 1997




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   Steven Turner

Before the Public Utilities Commission of the State of California

    Rulemaking 93-04-003 and Investigation 93-04-002
    Rulemaking on the Commission’s Own Motion to Govern Open Access to Bottleneck Services and Establish a Framework for
    Network Architecture Development of Dominant Carrier Networks and Investigation on the Commission’s Own Motion into Open
    Access and Network Architecture Development of Dominant Carrier Networks
    Declaration of John C. Donovan, Brian F. Pitkin, and Steven E. Turner in Support of Reply Comments               August 6, 2004
          of Joint Commentors
    Declaration of Robert A. Mercer and Steven E. Turner in Support of Reply Comments of Joint Commentors           October 8, 2004
    Joint Declaration of Robert A. Mercer, Brian F. Pitkin, and Steven E. Turner in Support of Reply Comments     November 9, 2004
          of Joint Commentors


    Case No. R.95-04-043 and Case No. I.95-04-044
    Order Instituting Rulemaking on the Commission’s Own Motion into Competition for Local Exchange Service; and Order Instituting
    Investigation on the Commission’s Own Motion into Competition for Local Exchange Service
    Rebuttal Testimony of Steven E. Turner on behalf of AT&T Communications of California, Inc.                    January 28, 2004


    Application 01-02-024 (Filed February 21, 2001)
    et al., Joint Application of AT&T Communications of California, Inc. (U 5002 C) and WorldCom, Inc. for the Commission to
    Reexamine the Recurring Costs and Prices of Unbundled Switching in Its First Annual Review of Unbundled Network Element Costs
    Pursuant to Ordering Paragraph 11 of D.99-11-050.
    Declaration of John C. Donovan, Brian F. Pitkin, and Steven E. Turner in support of Joint Applicants’ Reply    February 7, 2003
         Comments


    Docket Nos. R.93-04-003 (Filed April 7, 1993) – I.93-04-002 (Filed April 7, 1993)
    Rulemaking on the Commission’s Own Motion to Govern Open Access to Bottleneck Services and Establish a Framework for
    Network Architecture Development of Dominant Carrier Networks
    Investigation of the Commission’s Own Motion to Open Access and Network Architecture Development of Dominant Carrier
    Networks
    Supplemental Direct Testimony of Steven E. Turner on behalf of AT&T Communications of California, Inc.,         March 15, 2000
         Covad Communications Company, FirstWorld Communications, Inc., ICG Telecom Group, Inc.,
         WorldCom Inc., NEXTLINK California, and Rhythms Links, Inc.
    Supplemental Reply Testimony of Steven E. Turner on behalf of AT&T Communications of California, Inc.,            April 20, 2000
         Covad Communications Company, FirstWorld Communications, Inc., ICG Telecom Group, Inc.,
         WorldCom Inc., NEXTLINK California, and Rhythms Links, Inc.
    Supplemental Rebuttal Testimony of Steven E. Turner on behalf of AT&T Communications of California, Inc.,         April 26, 2000
         Covad Communications Company, FirstWorld Communications, Inc., ICG Telecom Group, Inc.,
         WorldCom Inc., NEXTLINK California, and Rhythms Links, Inc.
    Supplemental Testimony of Steven E. Turner on Collocation Outside the Central Office on behalf of                  May 2, 2000
         AT&T Communications of California, Inc., Covad Communications Company,
         FirstWorld Communications, Inc., ICG Telecom Group, Inc., MCI WorldCom Inc.,
         MGC Communications, Inc., New Edge Network, Inc. d/b/a New Edge Networks,
         NEXTLINK California, Northpoint Communications, Inc., and Rhythms Links, Inc.




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Steven Turner


Notice of Intent to File Section 271 Application of SBC Communications Inc., Pacific Bell, and Pacific Bell Communications Inc., for
Provision of In-Region, InterLATA Services in California
Affidavit of Steven E. Turner on behalf of AT&T Communications of California, Inc.                                 August 13, 1999


Docket Nos. R.93-04-003 (Filed April 7, 1993) – I.93-04-002 (Filed April 7, 1993)
Rulemaking on the Commission’s Own Motion to Govern Open Access to Bottleneck Services and Establish a Framework for
Network Architecture Development of Dominant Carrier Networks
Investigation of the Commission’s Own Motion to Open Access and Network Architecture Development of Dominant Carrier
Networks
Affidavit of Steven E. Turner Regarding Collocation Phase Questions Raised by the Administrative Law Judge            July 17, 1998


Docket Nos. R.93-04-003 – I.93-04-002 (Collocation Phase)
Rulemaking on the Commission’s Own Motion to Govern Open Access to Bottleneck Services and Establish a Framework for
Network Architecture Development of Dominant Carrier Networks
Investigation of the Commission’s Own Motion to Open Access and Network Architecture Development of Dominant Carrier
Networks
Direct Testimony of Steven E. Turner on behalf of Accelerated Connections, Inc.,                    December 18, 1998
      AT&T Communications of California, Inc., Covad Communications Company,
      FirstWorld Communications, Inc., ICG Telecom Group, Inc., NEXTLINK California,
      MCI Telecommunications Corporation, MGC Communications, Inc., and WorldCom Technologies, Inc.
Reply Testimony of Steven E. Turner on behalf of Accelerated Connections, Inc.,                       January 11, 1999
      AT&T Communications of California, Inc., Covad Communications Company,
      FirstWorld Communications, Inc., ICG Telecom Group, Inc., NEXTLINK California,
      MCI Telecommunications Corporation, MGC Communications, Inc., and WorldCom Technologies, Inc.
Rebuttal Testimony of Steven E. Turner on behalf of Accelerated Connections, Inc.,                    February 8, 1999
      AT&T Communications of California, Inc., Covad Communications Company,
      FirstWorld Communications, Inc., ICG Telecom Group, Inc., NEXTLINK California,
      MCI Telecommunications Corporation, MGC Communications, Inc., and WorldCom Technologies, Inc.


Docket Nos. R.93-04-003 – I.93-04-002 (Pacific Bell)
Rulemaking on the Commission’s Own Motion to Govern Open Access to Bottleneck Services and Establish a Framework for
Network Architecture Development of Dominant Carrier Networks
Investigation of the Commission’s Own Motion to Open Access and Network Architecture Development of Dominant Carrier
Networks
Direct Testimony of Steven E. Turner on behalf of AT&T Communications of the Southwest, Inc. and                      April 6, 1998
      MCIMetro Transmission Access Services, Inc.
Rebuttal Testimony of Steven E. Turner                                                                               April 22, 1998




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   Steven Turner

   Unknown
   Application of AT&T Communications of the Southwest, Inc. for Compulsory Arbitration to Establish an Interconnection
   Agreement between AT&T and Pacific Bell Telephone Company
   Joint Declaration of Steven E. Turner and Rick Bissell                                                        December 15, 1997
   Rebuttal Statement of Steven E. Turner                                                                            March 4, 1998
   Supplemental Rebuttal Statement of Steven E. Turner                                                              March 20, 1998


Public Utility Commission of Colorado

   Docket No. 97A-011T
   In Re: Application of US West Communications, Inc. for the Interconnection Cost Adjustment Mechanism
   Testimony of Steven E. Turner                                                                                      August 8, 1997


Before the Public Service Commission of Delaware

   PSC Docket No. 99-251
   In the Matter of the Application of Bell Atlantic-Delaware, Inc. for Approval of CLEC Collocation Interconnection Services (Filed
   May 28, 1999)
   Direct Testimony of Steven E. Turner                                                                             January 14, 2000
   Rebuttal Testimony of Steven E. Turner                                                                          February 24, 2000
   Surrebuttal Testimony of Steven E. Turner                                                                         March 31, 2000


Before the Florida Public Service Commission

   Docket No. 030851-TP
   In re: Implementation of Requirements Arising from Federal Communications Commission Triennial UNE Review: Local Circuit
   Switching for Mass Market Customers
   Direct Testimony of Steven E. Turner                                                                           December 4, 2003
   Supplemental Direct Testimony of Steven E. Turner                                                             December 22, 2003
   Surrebuttal Testimony of Steven E. Turner                                                                       January 27, 2004


   Docket No. 981834-TP and Docket No. 990321-TP
   In re: Petition of Competitive Carriers for Commission Action to Support Local Competition in BellSouth’s Service Territory; In re:
   Petition of ACI Corp. d/b/a Accelerated Connections, Inc. for Generic Investigation to Ensure that BellSouth Telecommunications,
   Inc., Sprint-Florida, Incorporated, and GTE Florida Incorporated Comply with Obligations to Provide Alternative Local Exchange
   Carriers with Flexible, Timely, and Cost-Efficient Physical Collocation
   Rebuttal Testimony of Steven E. Turner                                                                              April 18, 2003


   Docket No. 960786-TL
   In the Matter of Consideration of BellSouth Telecommunications, Inc.’s Entry into InterLATA Services Pursuant to Section 271 of
   the Federal Communications Act of 1996
   Rebuttal Testimony of Steven E. Turner                                                                               July 20, 2001




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   Steven Turner


    Docket No. 000731-TP
    In the Matter of Petition by AT&T Communications of the Southern States d/b/a AT&T for Arbitration of Certain Terms and
    Conditions of a Proposed Agreement with BellSouth Communications, Inc. Pursuant to 47 U.S.C. Section 252
    Rebuttal Testimony of Steven E. Turner                                                                         January 3, 2001


Before the Georgia Public Service Commission

    Docket No. 18870-U
    GPSC Generic Proceeding to Investigate ALL Local and Long Distance Telephone Charges from Institutional/Correctional Facilities
    FTI Report Modifying the July 17, 2014 Report Implementing the FCC Mandatory Data Collection                      July 28, 2016


    Docket No. 17749-U
    In re: Federal Communications Commission’s Order Regarding the Impairment of Local Switching for Mass Market Customers
    Direct Testimony of Steven E. Turner                                                                       December 23, 2003
    Supplemental Direct Testimony of Steven E. Turner                                                          December 26, 2003
    Surrebuttal Testimony of Steven E. Turner                                                                   February 18, 2004


    Docket No. 14361-U
    In Re: Generic Proceeding to Review Cost Studies, Methodologies, Pricing Policies and Cost-Based Rates for Interconnection and
    Unbundling of BellSouth Telecommunications, Inc.’s Network
    Rebuttal Testimony of Steven E. Turner                                                                            April 5, 2002


    Docket No. 6863-U
    In Re: Consideration of BellSouth Telecommunications, Inc.’s Entry into InterLATA Services Pursuant to Section 271 of the
    Telecommunications Act of 1996
    Affidavit of Steven E. Turner                                                                                    May 31, 2001


Before the Public Utilities Commission of the State of Hawaii

    Docket No. 7702
    In the Matter of the Public Utilities Commission Instituting a Proceeding on Communications, Including an Investigation of the
    Communications Infrastructure of the State of Hawaii
    Affidavit of Steven E. Turner                                                                                 August 19, 1999
    Direct Testimony of Steven E. Turner                                                                             June 2, 2000
    Reply Testimony of Steven E. Turner                                                                       September 27, 2000
    Rebuttal Testimony of Steven E. Turner                                                                      November 1, 2000
    Surrebuttal Testimony of Steven E. Turner                                                                  December 13, 2000
    Declaration of Steven E. Turner                                                                                    April 2001




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   Steven Turner

    Docket No. 7702
    In the Matter of Instituting a Proceeding on Communications, Including an Investigation of the Communications Infrastructure of
    the State of Hawaii
    Rebuttal Testimony of Steven E. Turner                                                                         August 27, 1997


State of Illinois, Illinois Commerce Commission

    ICC Docket No. 05-0675
    In the Matter of the Proposed Revision to the Collocation Tariffs to Eliminate Charges for DC Power on a Per Kilowatt-hour Basis
    and to Implement Charging on a Per Amp Basis
    Direct Testimony of Steven E. Turner                                                                          February 2, 2006
    Rebuttal Testimony of Steven E. Turner                                                                       February 22, 2006
    Surrebuttal Testimony of Steven E. Turner                                                                      March 29, 2006


    ICC Docket No. 03-0593
    In the Matter of the Implementation of the Federal Communications Commission’s Triennial Review Regarding Local Circuit
    Switching in SBC llinois Mass Market
    Rebuttal Testimony of Steven E. Turner                                                                       February 16, 2004


    ICC Docket No. 02-0864
    Illinois Bell Telephone Company Filing to Increase Unbundled Loop and Nonrecurring Rates
    Direct Testimony of Brian F. Pitkin and Steven E. Turner                                                          May 6, 2003
    Direct Testimony of Steven E. Turner                                                                              May 6, 2003
    Rebuttal Testimony of Brian F. Pitkin and Steven E. Turner                                                   February 20, 2004
    Rebuttal Testimony of Steven E. Turner                                                                       February 20, 2004
    Surrebuttal Testimony of Brian F. Pitkin and Steven E. Turner                                                   March 5, 2004
    Surrebuttal Testimony of Steven E. Turner                                                                       March 5, 2004
    Direct Testimony of Steven E. Turner                                                                              May 6, 2004


    Docket No. 01-0662
    Illinois Commerce Commission on Its Own Motion Investigation Concerning Illinois Bell Telephone Company’s Compliance with
    Section 271 of the Telecommunications Act of 1996
    Direct Testimony of Steven E. Turner                                                                            March 20, 2002
    Rebuttal Testimony of Steven E. Turner                                                                           May 20, 2002


    ICC Docket No. 00-0393
    Illinois Bell Telephone Company Proposed Implementation of High Frequency Portion of Loop (HFPL)/Line Sharing Service
    Direct Testimony of Steven E. Turner                                                                        September 1, 2000
    Rebuttal Testimony of Steven E. Turner                                                                        October 4, 2000




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   Steven Turner

   Docket No. 98-0396
   Illinois Commerce Commission on its Own Motion – Investigation into the compliance of Illinois Bell Telephone Company with the
   order in Docket 96-0486/0569 Consolidated regarding the filing of tariffs and the accompanying cost studies for interconnection,
   unbundled network elements and local transport and termination and regarding end to end bundling issues
   Direct Testimony of Steven E. Turner                                                                            March 29, 2000
   Surrebutal Testimony of Steven E. Turner                                                                          July 12, 2000


   ICC Docket No. 99-0511
   Illinois Commerce Commission on its Own Motion Revision of 83 Ill. Adm. Code 790
   Direct Testimony of Steven E. Turner                                                                             March 3, 2000
   Rebuttal Testimony of Steven E. Turner                                                                           April 10, 2000
   Surrebuttal Testimony of Steven E. Turner                                                                        June 27, 2000


   ICC Docket No. 98-0555
   In the Matter of the Commission’s Review of the SBC – Ameritech Merger for the State of Illinois
   Testimony of Steven E. Turner                                                                                       July 9, 1999


Before the Indiana Utility Regulatory Commission

   Case No. 42500-SI
   In the Matter of the Indiana Utility Regulatory Commission’s Investigation of Matters Related to the Federal Communication
   Commission’s Report and Order on Remand and Further Notice of Proposed Rulemaking in CC Docket Nos. 01-338, 96-98, and 98-
   147
   Rebuttal Testimony of Steven E. Turner                                                                          March 15, 2004


   Case No. 42393
   In the Matter of the Commission Investigation and Generic Proceeding of Rates and Unbundled Network Elements and Collocation
   for Indiana Bell Telephone Company, Incorporated d/b/a SBC Indiana Pursuant to the Telecommunications Act of 1996 and
   Related Indiana Statutes
   Response Testimony of Brian F. Pitkin and Steven E. Turner                                                     August 15, 2003
   Response Testimony of Steven E. Turner                                                                         August 15, 2003


   Case No. 40611-S1
   In the Matter of the Commission Investigation and Generic Proceeding on Ameritech Indiana’s Rates for Interconnection, Service,
   Unbundled Elements, and Transport and Termination Under the Telecommunications Act of 1996 and Related Indiana Statutes
   Direct Testimony of Steven E. Turner                                                                          October 15, 2001
   Rebuttal Testimony of Steven E. Turner                                                                      November 20, 2001
   Surrebuttal Testimony of Steven E. Turner                                                                   December 11, 2001




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                                                                                                               Exhibit SET-A

   Steven Turner

Before the State Corporation Commission of the State of Kansas

   Docket No. 07-RRLT-717-COM
   In the Matter of a Complaint Regarding Failure of Rural Telephone Service Company, Inc., to Provide Interconnection
   Direct Testimony of Steven E. Turner                                                                          February 7, 2007


   Docket No. 04-SWBT-544-COM
   In the Matter of the Complaint of South Central Wireless, Inc. d/b/a SC Telcom Against Southwestern Bell Telephone, L.P. d/b/a
   SBC Kansas for Overcharges Related to Power Use for Collocation
   Direct Testimony of Steven E. Turner                                                                              April 15, 2005
   Rebuttal Testimony of Steven E. Turner                                                                             June 3, 2005


   Case No. TO-2004-0207
   Direct Testimony of Steven E. Turner                                                                          January 30, 2004


   Docket No. 97-SWBT-411-GIT
   In the Matter of Southwestern Bell Telephone Company – Kansas’ Compliance with Section 271 of the Federal
   Telecommunications Act of 1996,
   Direct Testimony of Steven E. Turner                                                                              July 19, 2000


   Docket No. 00-SWBT-733-TAR
   In the Matter of Southwestern Bell Telephone Company Filing Tariff Revisions to Establish a New Local Access Services Tariff for
   Physical Collocation Arrangements Furnished or Made by SWBT in the State of Kansas
   Direct Testimony of Steven E. Turner                                                                            April 24, 2000
   Direct Testimony Supplement of Steven E. Turner                                                            September 26, 2000
   Rebuttal Testimony of Steven E. Turner                                                                       November 9, 2000


   Unknown
   In the Matter of Southwestern Bell Telephone Company – Kansas’ Compliance with Section 271 of the Federal
   Telecommunications Act of 1996
   Statement of Steven E. Turner                                                                                         May 1998


   Unknown
   In the Matter of Southwestern Bell Telephone Company – Kansas’ Compliance with Section 271 of the Federal
   Telecommunications Act of 1996
   Statement of Steven E. Turner                                                                                   March 13, 1997




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                                                                                                                 Exhibit SET-A

   Steven Turner

Commonwealth of Kentucky, Before the Public Service Commission

   Case No. 2006-00316
   In the Matter of: Petition of SouthEast Telephone, Inc. for Arbitration of Certain Terms and Conditions of Proposed Agreement
   with BellSouth Telecommunications, Inc., Concerning Interconnection Under the Telecommunications Act of 1996
   Direct Testimony of Steven E. Turner                                                                           November 3, 2006
   Rebuttal Testimony of Steven E. Turner                                                                        December 15, 2006


   Case No. 2006-00099
   Petition of: Dialog Telecommunications for Arbitration of Certain Terms and Conditions of Proposed Agreement with BellSouth
   Telecommunications, Inc. Concerning Interconnection under the Telecommunications Act of 1996
   Direct Testimony of Steven E. Turner                                                                               July 26, 2006
   Rebuttal Testimony of Steven E. Turner                                                                            August 9, 2006


   Case No. 2003-00379
   Review of the Federal Communications Commission’s Triennial Review Order Regarding Unbundling Requirements for Individual
   Network Elements
   Direct Testimony of Steven E. Turner                                                                           February 11, 2004
   Surrebuttal Testimony of Steven E. Turner                                                                      LLC, April 13, 2004


   Docket No. 2001-105
   In the Matter of Application of BellSouth Telecommunications, Inc. to Provide In-Region InterLATA Services Pursuant to Section
   271 of the Telecommunications Act of 1996
   Rebuttal Testimony of Steven E. Turner                                                                                July 6, 2001


Before the Louisiana Public Service Commission

   Docket No. U-22252
   In re: Consideration and review of BellSouth Telecommunications, Inc.’s pre-application compliance with Section 271 of the
   Telecommunications Act of 1996, including but not limited to, the fourteen requirements set forth in Section 271(c)(2)(B) in order
   to verify compliance with Section 271 and provide a recommendation to the Federal Communications Commission regarding
   BellSouth Telecommunications, Inc.’s application to provide InterLATA services originating in-region
   Affidavit of Steven E. Turner                                                                                        June 8, 2001




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                                                                                                                 Exhibit SET-A

   Steven Turner

Commonwealth of Massachusetts Department of Telecommunications and Energy

   Docket No. DTE 01-20
   Investigation by the Department of Telecommunications and Energy on its own Motion into the Appropriate Pricing, based upon
   Total Element Long-Run Incremental Costs, for Unbundled Network Elements and Combinations of Unbundled Network Elements,
   and the Appropriate Avoided Cost Discount for Verizon New England, Inc. d/b/a Verizon Massachusetts’ Resale Services in the
   Commonwealth of Massachusetts
   Rebuttal Testimony of Steven E. Turner                                                                              July 18, 2001
   Surrebuttal Testimony of Steven E. Turner                                                                     December 17, 2001
   Affidavit of Steven E. Turner                                                                                     March 1, 2002
   Direct Testimony of Steven E. Turner on Reconsideration                                                          October 2, 2002
   Rebuttal Testimony of Steven E. Turner on Reconsideration                                                       October 16, 2002


   DTE 98-57
   Investigation by the Department on its Own Motion as to the Propriety of the Rates and Charges Set Forth in the Following Tariffs:
   M.D.T.E. Nos. 14 and 17, Filed with the Department on December 11, 1998, to become Effective January 10, 1999, by New England
   Telephone and Telegraph Company d/b/a Bell Atlantic – Massachusetts
   Direct Testimony of Steven E. Turner                                                                            January 24, 2000


Before the Michigan Public Service Commission

   Case No. U-13531
   In the Matter, on the Commission’s Own Motion, to Review the Costs of Telecommunications Services Provided by SBC Ameritech
   Michigan
   Affidavit of Brian F. Pitkin and Steven E. Turner                                                               January 20, 2004
   Sworn Statement of Steven E. Turner                                                                             January 20, 2004
   Sworn Statement of Steven E. Turner                                                                              March 22, 2004
   Reply Testimony of Brian F. Pitkin and Steven E. Turner                                                            May 10, 2004
   Reply Testimony of Steven E. Turner                                                                                May 10, 2004
   Reply Testimony of Steven E. Turner Regarding Collocation Costs                                                    May 10, 2004


   Case No. U-12320
   In the matter, on the Commission’s own motion, to consider Ameritech Michigan’s compliance with the competitive checklist in
   Section 271 of the Telecommunications Act of 1996
   Affidavit of Steven E. Turner                                                                                      June 29, 2001




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                                                                                                                Exhibit SET-A

   Steven Turner

   MPSC Case No. U-11831
   In the Matter, on the Commission’s Own Motion, to Consider the Total Service Long Run Incremental Costs and to Determine the
   Prices for All Access, Toll, and Basic Local Exchange Services Provided by Ameritech Michigan
   Opening Affidavit of Steven E. Turner                                                                              April 1, 1999
   Reply Affidavit of Steven E. Turner                                                                               June 17, 1999
   Opening Affidavit of Steven E. Turner (Phase II)                                                                August 26, 1999
   Reply Affidavit of Steven E. Turner (Phase II)                                                              September 30, 1999


Before the Mississippi Public Service Commission

   Docket No. 97-AD-0321
   In the Matter Of: Investigation Concerning the Propriety of Provision of InterLATA Services by BellSouth Telecommunications, Inc.
   Pursuant to the Telecommunications Act of 1996
   Rebuttal Testimony of Steven E. Turner                                                                            June 22, 2001


Before the Missouri Public Service Commission

   Case No. TO-2008-225
   Socket Telecom, LLC, Complianant, v. CenturyTel of Missouri, LLC DBA CenturyTel and Spectra Communications Group, LLC DBA
   CenturyTel, Respondents
   Direct Testimony of Steven E. Turner                                                                            March 17, 2008
   Surrebuttal Testimony of Steven E. Turner                                                                     February 17, 2009


   Case No. TO-2006-0299
   Petition of Socket Telecom, LLC for Compulsory Arbitration of Interconnection Agreements with CenturyTel of Missouri, LLC and
   Spectra Communications, LLC Pursuant to Section 252(b)(1) of the Telecommunications Act of 1996
   Confidential Direct Testimony of Steven E. Turner                                                                March 21, 2006
   Confidential Rebuttal Testimony of Steven E. Turner                                                                April 6, 2006
   Confidential Supplemental Rebuttal Testimony of Steven E. Turner                                                  May 31, 2006


   Case No. TO-2002-222
   Petition of MCIMetro Access Transmission Services, LLC, Brooks Fiber Communications of Missouri, Inc., and MCI WorldCom
   Communications, Inc. for Arbitration of an Interconnection Agreement with Southwestern Bell Telephone Company under the
   Telecommunications Act of 1996
   Direct Testimony of Steven E. Turner                                                                         December 18, 2001
   Rebuttal Testimony of Steven E. Turner                                                                          January 7, 2002


   Case No. TO-2001-438
   In the Matter of the Determination of Prices, Terms, and Conditions of Certain Unbundled Network Elements
   Rebuttal Testimony of Steven E. Turner                                                                         October 26, 2001




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                                                                                                                 Exhibit SET-A

   Steven Turner

   Unknown
   In the Matter of Southwestern Bell Telephone Company’s Proposed Tariff PSC Mo. No. 42 Local Access Service Tariff Regarding
   Physical and Virtual Collocation
   Direct Testimony of Steven E. Turner                                                                          December 27, 2000
   Rebuttal Testimony of Steven E. Turner                                                                          February 1, 2001
   Surrebuttal Testimony of Steven E. Turner                                                                         March 8, 2001


   Docket No. TO-99-727
   Application of Southwestern Bell Telephone Company to Provide Notice of Intent to File an Application for Authorization to Provide
   In-Region InterLATA Services Originating in Missouri Pursuant to Section 271 of the Telecommunications Act of 1996
   Direct Testimony of Steven E. Turner                                                                             August 28, 2000


   Unknown
   In the Matter of Southwestern Bell Telephone Company – Missouri’s Compliance with Section 271 of the Federal
   Telecommunications Act of 1996
   Statement of Steven E. Turner                                                                                   January 25, 1999


   Unknown
   In the Matter of AT&T Communications of the Southwest, Inc.’s Petition for Second Compulsory Arbitration Pursuant to Section
   252(b) of the Telecommunications Act of 1996 to Establish an Interconnection Agreement with Southwestern Bell Telephone
   Company
   Joint Position Statements                                                                                        November 1997


Before the Nebraska Public Service Commission

   Application FC-1336
   Nebraska Technology & Telecommunications, Inc., Complianant, v. Windstream Nebraska, Inc., Respondent
   Direct Testimony of Steven E. Turner                                                                             August 19, 2009


   Docket No. C-3847
   In the Matter of the Petition of Nebraska Technology & Telecommunications, Inc. for Arbitration of an Interconnection Agreement
   with Windstream Nebraska, Inc. Pursuant to Section 252 of the Telecommunications Act of 1996
   Direct Testimony of Steven E. Turner                                                                         September 25, 2007
   Rebuttal Testimony of Steven E. Turner                                                                           October 5, 2007


   Docket No. C-1415
   In the Matter of the Commission, on its Own Motion, to Investigate US West Communications’ Cost to Establish Rates for
   Interconnection, Unbundled Network Elements, Transport and Termination and Resale Services
   Direct Testimony of Steven E. Turner                                                                            August 12, 1998
   Rebuttal Testimony of Steven E. Turner                                                                        September 9, 1998




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                                                                                                                   Exhibit SET-A

   Steven Turner

Before the Nevada Public Utilities Commission

   Docket No. 00-7006
   In re filing of Nevada Bell Telephone Company of revisions to Tariff PUCN No. C19 to add physical and virtual collocation as part
   of its access services tariff
   Reply Testimony of Steven E. Turner                                                                            November 30, 2000


   Docket No. 99-11035
   In re petition of the Staff of the Public Utilities Commission to open a docket to investigate costing and pricing issues related to
   industry-wide collocation costs pursuant to the Telecommunications Act of 1996 and the Commission’s Regulations
   Direct Testimony of Steven E. Turner                                                                            November 3, 2000
   Responsive Testimony of Steven E. Turner                                                                       December 15, 2000
   Prepared Testimony of Steven E. Turner Concerning Unresolved Issues                                                April 17, 2001
   Affidavit of Steven E. Turner in Support of Opening Brief Regarding Unsettled Issues                                May 18, 2001


   Docket No. 99-12033, Docket No. 99-12034, Docket No. 00-4001
   In re filing by Nevada Bell of its Unbundled Network Elements (UNEs) Nonrecurring Cost Study pursuant to the Order in Docket
   No. 98-6004
   In re filing by AT&T Communications of Nevada, Inc. of its Nonrecurring Cost Study for Unbundled Network Elements (UNEs)
   purchased from Nevada Bell pursuant to the Order issued on Docket No. 98-6004
   In re petition of Nevada Bell for review and approval of its cost study and proposed Nonrecurring Cost Study pursuant to the Order
   in Docket No. 98-6004
   Reply Testimony of Steven E. Turner                                                                             September 1, 2000


   Cost Proceeding before the Nevada Public Utilities Commission to Determine Cost-Based Rates for Unbundled Elements and
   Interconnection for Nevada Bell and Sprint-Centel of Nevada
   Rebuttal Testimony of Steven E. Turner Regarding Collocation                                                             June 1997


State of New Hampshire, New Hampshire Public Utilities Commission

   DE 97-171
   DC Power Costs (TELRIC/SGAT Remand on Collocation)
   Rebuttal Testimony of Steven E. Turner                                                                                July 28, 2003


Before the State of New York Public Service Commission

   Case No. 98-C-1357
   Proceeding on Motion of the Commission to Examine New York Telephone Company’s Rates for Unbundled Network Elements
   Panel Reply Testimony                                                                                                June 26, 2000




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                                                                                                              Exhibit SET-A

   Steven Turner

Before the New York Public Utilities Commission

    Case 03-C-0980
    Proceeding on Motion of the Commission as to the Rates, Charges, Rules and Regulations Relating to the Provisioning of Direct
    Current Power by Verizon New York Inc. for Use in Connection with Collocation Spaces
    Direct Testimony of Steven E. Turner                                                                       October 31, 2003
    Reply Testimony of Steven E. Turner                                                                      November 24, 2003


Before the North Carolina Utilities Commission

    Docket No. SC-1427, Sub 9
    Verified Petition for Waiver of Rule R13-9(d)
    Report Modifying the July 17, 2014 Report Implementing the FCC Mandatory Data Collection                     August 30, 2016


    Docket No. P-100, SUB 133Q
    In the Matter of: Triennial Review Order – UNE-P
    Direct Testimony of Steven E. Turner                                                                         January 5, 2004
    Surrebuttal Testimony of Steven E. Turner                                                                     March 1, 2004


    Docket No. P-100, Sub 133d
    In Re: Proceeding to Determine Permanent Pricing for Unbundled network Elements
    Rebuttal Testimony of Steven E. Turner                                                                     October 15, 2002


    Docket No. P-55, Sub 1022
    Unknown
    Rebuttal Testimony of Steven E. Turner                                                                   September 10, 2001


Before the Public Utilities Commission of Ohio

    Case No. 02-1280-TP-UNE
    In the Matter of the Review of SBC Ohio’s TELRIC Costs for Unbundled Network Elements
    Response Testimony of Steven E. Turner                                                                         May 28, 2004


    Case No. 04-34-TP-COI
    In the Matter of the Implementation of the Federal Communications Commission’s Triennial Review Regarding Local Circuit
    Switching in SBC Ohio’s Mass Market
    Direct Testimony of Steven E. Turner                                                                        January 27, 2004




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  Steven Turner

   Case No. 00-942-TP-COI
   In the Matter of the Further Investigation into Ameritech Ohio’s Entry into In-Region InterLATA Service under Section 271 of the
   Telecommunications Act of 1996
   Testimony of Steven E. Turner                                                                              September 17, 2001


   Case No. 00-1532-TP-COI
   In the Matter of the Commission Ordered Investigation of an Elective Alternative Regulation Framework for Incumbent Local
   Exchange Companies
   Testimony of Steven E. Turner                                                                              September 10, 2001


   Case No. 00-1368-TP-ATA
   In the Matter of the Application of Ameritech Ohio for Approval of Carrier to Carrier Tariff
   Direct Testimony of Steven E. Turner                                                                          October 10, 2000
   Rebuttal Testimony of Steven E. Turner                                                                        January 16, 2001


Before the Oklahoma Corporation Commission

   Case No. PUD 200300646
   Application of Joyce E. Davidson, Director of the Public Utilities Division, Oklahoma Corporation Commission, to Initiate a
   Proceeding for the Implementation of the Federal Communications Commission’s Triennial Review Order
   Direct Testimony of Steven E. Turner                                                                            March 22, 2004


   Case No. PUD 200200518
   Applicant: Southwestern Bell Telephone Company Relief Sought: Approval of Revisions to Local Access Service Tariffs (Physical
   & Virtual Collocation)
   Direct Testimony of Steven E. Turner                                                                        December 16, 2003
   Rebuttal Testimony of Steven E. Turner                                                                        January 12, 2004


   Case No. PUD 970000560
   Application of the Attorney General of the State of Oklahoma, AT&T Communications of the Southwest, Inc., Brooks Fiber
   Communications of Oklahoma, Inc., Brooks Fiber Communications of Tulsa, Inc., Cox Oklahoma Telecom, Inc., MCI
   Telecommunications Corporation, and Sprint Communications, L.P. to Explore Southwestern Bell Telephone Company’s
   Compliance with Section 271(c) of the Telecommunications Act of 1996
   Direct Testimony of Steven E. Turner                                                                           August 17, 2000




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   Steven Turner

   Case No. PUD 970000560
   Application of the Attorney General of the State of Oklahoma, AT&T Communications of the Southwest, Inc., Brooks Fiber
   Communications of Oklahoma, Inc., Brooks Fiber Communications of Tulsa, Inc., Cox Oklahoma Telecom, Inc., MCI
   Telecommunications Corporation, and Sprint Communications, L.P. to Explore Southwestern Bell Telephone Company’s
   Compliance with Section 271(c) of the Telecommunications Act of 1996
   Affidavit of Steven E. Turner                                                                                 March 23, 1998


   Case No. PUD 970000213
   Application of Cox Oklahoma Telcom, Inc., for a Determination of the Costs of, and Permanent Rates for the Unbundled Network
   Elements of Southwestern Bell Telephone Company
   Direct Testimony of Steven E. Turner                                                                         January 12, 1998
   Rebuttal Testimony of Steven E. Turner                                                                      February 24, 1998
   Summary of Rebuttal Testimony of Steven E. Turner                                                              March 4, 1998


   Case No. PUD 970000064
   Application of Ernest G. Johnson, Director of the Public Utility Division, Oklahoma Corporation Commission to Explore the
   Requirements of Section 271 of the Telecommunications Act of 1996
   Statement of Steven E. Turner                                                                                  March 2, 1997


Before the Pennsylvania Public Utility Commission

   Docket Nos. R-00994697 and R-00994697C0001
   Pennsylvania Public Utility Commission Rhythm Links, Inc. vs. Bell Atlantic-Pennsylvania, Inc.
   Rebuttal Testimony of Steven E. Turner                                                                    December 21, 1999
   Surrebuttal Testimony of Steven E. Turner                                                                   January 14, 2000
   Supplemental Surrebuttal Testimony of Steven E. Turner                                                       March 13, 2000


Before the Telecommunications Regulatory Board of Puerto Rico

   Case No. JRT-2010-AR-0001
   In the matter of WORLDNET TELECOMMUNICATIONS, INC. Petition for arbitration pursuant to Section 47 U.S.C. 252(b) of the
   Federal Communications Act and Section 5(b), Chapter III, of the Puerto Rico Telecommunications Act, regarding Interconnection
   rates, terms and conditions with PUERTO RICO TELEPHONE COMPANY
   Testimony of Steven E. Turner                                                                                   June 22, 2010
   Testimony of Steven E. Turner                                                                                   June 22, 2010
   Attestation of Steven E. Turner                                                                                 April 25, 2011


   Case No. 32 494 00100 09
   In the Matter of WORLDNET TELECOMMUNICATIONS, INC. Claimant, v. PUERTO RICO TELEPHONE COMPANY, INC., Respondent
   Oral Rebuttal Testimony of Steven E. Turner                                                                     April 17, 2009




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   Steven Turner

    Case No. JRT-2007-AR-0001
    In the Matter of WORLDNET TELECOMMUNICATIONS, INC. Petition for arbitration pursuant to Section 47 U.S.C. 252(b) of the
    Federal Communications Act and Section 5(b), Chapter III, of the Puerto Rico Telecommunications Act, regarding Interconnection
    rates, terms, and conditions with PUERTO RICO TELEPHONE COMPANY
    Testimony of Steven E. Turner                                                                                   May 20, 2008


    Case No. JRT-2007-ARP-0005
    In the Matter of Regulation for Quality of Service Measurement and Reporting
    Declaration of Steven E. Turner                                                                               January 8, 2008


    Case No. JRT-2007-AR-0001
    In the matter of WORLDNET TELECOMMUNICATIONS, INC. Petition for arbitration pursuant to Section 47 U.S.C. 252(b) of the
    Federal Communications Act and Section 5(b), Chapter III, of the Puerto Rico Telecommunications Act, regarding Interconnection
    rates, terms and conditions with PUERTO RICO TELEPHONE COMPANY
    Declaration of Steven E. Turner and Brian F. Pitkin                                                              May 4, 2007
    Direct Testimony of Steven E. Turner                                                                            May 10, 2007
    Direct Testimony of Steven E. Turner Regarding FLM Restatement                                                  May 14, 2007
    Reply Testimony of Steven E. Turner                                                                             May 16, 2007
    Supplemental Reply Testimony of Steven E. Turner                                                                May 18, 2007


Before the Public Service Commission of South Carolina

    Docket No. 2003-326-C
    IN RE: Analysis of Continued Availability of Unbundled Local Switching for Mass Market Customers Pursuant to the Federal
    Communications Commission’s Triennial Review Order
    Direct Testimony of Steven E. Turner                                                                         January 29, 2004
    Surrebuttal Testimony of Steven E. Turner                                                                     March 31, 2004


Before the Public Utilities Commission of the State of South Dakota

    Docket No. TC02-176
    Petition of WWC License L.L.C. for Arbitration under the Telecommunications Act of 1996
    Rebuttal Testimony of Steven E. Turner                                                                      February 14, 2003
    Surrebuttal Testimony of Steven E. Turner                                                                   February 28, 2003


Before the Public Utility Commission of Texas

    PUC Docket No. 34723
    Petition for Review of Monthly per Line Support Amounts from the Texas High Cost Universal Service Plan Pursuant to PURA §
    56.031 and P.U.C. SUBST. R. 26.403
    Direct Testimony of Steven E. Turner                                                                      November 16, 2007




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Steven Turner


Docket No. 29175
Proceeding to Determine Mass Market Hot Cut Process for State Implementation of the Federal Communications Commission’s
Triennial Review Order
Direct Testimony of Steven E. Turner                                                                       March 5, 2004
Rebuttal Testimony of Steven E. Turner                                                                    March 26, 2004


Docket No. 28607
Impairment Analysis of Local Circuit Switching for the Mass Market
Direct Testimony of Steven E. Turner                                                                     February 9, 2004
Rebuttal Testimony of Steven E. Turner                                                                    March 19, 2004


Docket No. 28600
Arbitration of Successor Interconnection Agreements to the Texas 271 Agreement
Direct Testimony of Steven E. Turner Regarding NRC Cost Studies                                         December 5, 2003
Direct Testimony of Steven E. Turner Regarding Recurring Cost Studies                                   December 5, 2003
Rebuttal Testimony of Steven E. Turner Regarding NRC Cost Studies                                         January 5, 2004
Rebuttal Testimony of Steven E. Turner Regarding Recurring Cost Studies                                   January 5, 2004
Affidavit of Steven E. Turner                                                                             August 18, 2004


Docket No. 25834
Proceeding on Cost Issues Severed from P.U.C. Docket No. 24542
Direct Testimony of Steven E. Turner                                                                    November 4, 2002
Rebuttal Testimony of Steven E. Turner                                                                  February 14, 2003
Affidavit of Steven E. Turner                                                                               April 23, 2003


Docket No. 24542
Petition of MCIMetro Access Transmission Services, LLC, Sage Telecom, Inc., Texas UNE Platform Coalition, McLeodUSA
Telecommunications Services, Inc., and AT&T Communications of Texas, L.P. for Arbitration with Southwestern Bell Telephone
Company under the Telecommunications Act of 1996
Direct Testimony of Steven E. Turner                                                                    December 7, 2001
Rebuttal Testimony of Steven E. Turner                                                                 December 21, 2001
Affidavit of Steven E. Turner                                                                              March 7, 2002


Docket No. 22315
Petition of Southwestern Bell Telephone Company for Arbitration with AT&T Communications of Texas, L.P., TCG Dallas, and
Teleport Communications, Inc. Pursuant to Section 252(B)(1) of the Federal Telecommunications Act of 1996
Direct Testimony of Steven E. Turner – DSL DLP – All Issues                                                 June 15, 2000
Rebuttal Testimony of Steven E. Turner – DSL DLP – All Issues                                               June 29, 2000




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Steven Turner

Project No. 16251
Investigation of Southwestern Bell Telephone Company’s Entry into the InterLATA Telecommunications Market
Affidavit of Steven E. Turner                                                                                 October 27, 1999


Docket No. 20939
Southwestern Bell Telephone Company Request for Post-Interconnection Resolution to Develop Permanent Rates
Affidavit of Steven E. Turner                                                                                  August 11, 1999


Docket No. 20170
Complaint of American Local Telecommunications, L.L.C. d/b/a ALT Communications, L.L.C. Against Southwestern Bell Telephone
Company Regarding Parity Provisioning of One-Way Optional Extended Area Service
Direct Testimony of Steven E. Turner                                                                        December 29, 1998
Rebuttal Testimony of Steven E. Turner                                                                         January 5, 1999
Affidavit of Gary P. Nutall and Steven E. Turner                                                              February 5, 1999


Docket No. 16285
Petition of MCI Telecommunications Corporation and its Affiliate MCIMetro Access Transmission Services, Inc. for Arbitration and
Request for Mediation under the Federal Telecommunications Act of 1996
Direct Testimony of Steven E. Turner Regarding Virtual Collocation and Entrance Facilities                  September 1, 1998
Rebuttal Testimony of Steven E. Turner Regarding Virtual Collocation and Entrance Facilities               September 15, 1998
Supplemental Direct Testimony of Steven E. Turner Regarding SWBT’s DS3 Entrance Facility Cost Study        September 15, 1998
Affidavit of Steven E. Turner                                                                                October 30, 1998


Docket No. 17579
Application of AT&T Communications of the Southwest, Inc. for Compulsory Arbitration of Further Issues to Establish an
Interconnection Agreement between AT&T and Southwestern Bell Telephone Company
Direct Testimony of Robert Falcone and Steven E. Turner                                                           July 28, 1997
Supplemental Direct Testimony of Steven E. Turner (Filed Under Seal)                                              July 28, 1997


Docket No. 16226
Application of AT&T Communications of the Southwest, Inc. for Compulsory Arbitration to Establish an Interconnection
Agreement between AT&T and Southwestern Bell Telephone Company
Comments of Steven E. Turner                                                                                     April 21, 1997
Direct Testimony of Steven E. Turner Regarding Physical Collocation                                         September 9, 1997
Direct Testimony of Steven E. Turner and Nina W. Cornell                                                   September 15, 1997
Prefiled Direct Testimony of Steven E. Turner Regarding Physical Collocation                               November 26, 1997
Statement of Steven E. Turner Regarding Entrance Facilities                                                   January 26, 1998




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                                                                                                               Exhibit SET-A

   Steven Turner

Before the Washington Utilities Commission and Transportation Commission

   Docket No. UT-023003
   In the Matter of Unbundled Loop and Switching Rates and Review of the Deaveraged Zone Rate Structure
   Joint Declaration of Steven E. Turner and David C. Cook                                                   September 12, 2003
   Rebuttal Testimony of Steven E. Turner                                                                         April 20, 2004


   Docket No. UT-960371
   In the Matter of the Pricing Proceeding for Interconnection, Unbundled Elements, Transport and Termination, and Resale, Docket
   No. UT-960369, In the Matter of the Pricing Proceeding for Interconnection, Unbundled Elements, Transport and Termination,
   and Resale for US West Communications, Inc., Docket No. UT-960370, In the Matter of the Pricing Proceeding for Interconnection,
   Unbundled Elements, Transport and Termination, and Resale for GTE Northwest Incorporated
   Collocation Response Testimony of Steven E. Turner                                                        September 18, 1998


Before the Public Service Commission of Wisconsin

   Docket No. 6720-TI-187
   Petition of Wisconsin Bell, Inc., d/b/a SBC Wisconsin, to Establish Rates and Costs for Unbundled Network Elements
   Rebuttal Testimony of Brian F. Pitkin and Steven E. Turner                                                       June 15, 2004


   Case No. 6720-TI-170
   In the matter, on the Commission’s own motion, to consider Ameritech Wisconsin’s compliance with the competitive checklist in
   Section 271 of the federal Telecommunications Act of 1996
   Affidavit of Steven E. Turner                                                                                        July 2, 2002


Before the Wisconsin Commerce Commission

   Docket No. 6720-TI-161
   Investigation into Ameritech Wisconsin’s Unbundled Network Elements
   Direct Testimony of Steven E. Turner                                                                       December 15, 2000
   Rebuttal Testimony of Steven E. Turner                                                                       January 22, 2001
   Surrebuttal Testimony of Steven E. Turner                                                                   February 24, 2001




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                                                                                                                   Exhibit SET-B

                                                   Sources Relied Upon


Case Documents
    Complaint: UNITED STATES DISTRICT COURT EASTERN DISTRICT OF TEXAS TEXARKANA DIVISION CITY OF NEW BOSTON, TEXAS,
         individually and on behalf of all others similarly situated, Plaintiff, v. NETFLIX, INC., and HULU, LLC, Defendants, Case No:
         5:20-cv-00135-RWS, Class Action Complaint
    Brief: Plaintiff’s Motion for Class Certification and Appointment of Class Representative and Class Counsel
    Plaintiff’s Responses to Netflix’s First Set of Requests for Admission
    Plaintiff’s Responses to Netflix’s First Set of Requests for Interrogatories
    Malfara Report: Expert Report of David Malfara
    Simon Report: Expert Report of David Simon
    Declaration of Chengyi Long in Support of Netflix, Inc.’s Opposition to Plaintiff’s Motion for Class Certification
    Declaration of Zack Gorman in Support of Netflix, Inc.’s Opposition to Plaintiff’s Motion for Class Certification
    Declaration of Bakari Middleton in Support of Netflix, Inc.’s Opposition to Plaintiff’s Motion for Class Certification
    Declaration of Maria Mirkovski in Support of Netflix, Inc.’s Opposition to Plaintiff’s Motion for Class Certification
    Declaration of Michael Smith in Support of Netflix, Inc.’s Opposition to Plaintiff’s Motion for Class Certification
    NETFLIX_NEW BOSTON_0000318
    Lea Deposition: Remote Videotaped Deposition of Elizabeth Lea
    Malfara 4/29/21 Deposition: Remote Videotaped Deposition of David Malfara
    Malfara 6/8/21 Deposition: Remote Videotaped Deposition of David Malfara
    Simon 5/3/21 Deposition: Remote Expert Witness Testimony of David L. Simon

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    Protecting and Promoting the Open Internet, GN Docket No. 14-28, Report and Order on Remand, Declaratory Ruling, and
         Order, FCC 15-24 Released March 12, 2015
    In the Matter of Connect America Fund, ETC Annual Reports and Certifications, Developing a Unified Intercarrier Compensation




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                                                                                                               Exhibit SET-B

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                                                                                                                                                                                                                                 Exhibit SET-C
                                                                                          Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                              FCC Fixed Broadband Deployment Data [2]                                                              FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                   Wireline (DSL, Fiber, Cable)                              Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                         Mobile (LTE, 5G)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                             AT&T
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
            Addison town (01240)             Charter Communications
75001                                                                                               One Ring Networks                            ---                                     ViaSat                   T-Mobile (LTE)
            Farmers Branch city (25452)      Frontier Communications
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                             Point Broadband Fiber Holding
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                             Alphabet
                                             Altice                                                                                                                                                               AT&T Mobility (LTE)
            Allen city (01924)
                                             AT&T                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Lucas city (45012)                                                                      JAB Wireless
75002                                        Charter Communications                                                                              ---                                     ViaSat                   T-Mobile (LTE)
            Parker city (55152)                                                                     One Ring Networks
                                             Comcast                                                                                                                                     VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)
                                             Frontier Communications                                                                                                                                              Verizon Wireless (LTE)
                                             Radiate Holdings, LP
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                             AT&T
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
                                             Charter Communications
75006       Carrollton city (13024)                                                                 ---                                          One Ring Networks                       ViaSat                   T-Mobile (LTE)
                                             Frontier Communications
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                             Radiate Holdings, LP
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                             AT&T                                                                                                                                                                 AT&T Mobility (LTE)
                                             Charter Communications                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Carrollton city (13024)
75007                                        Comcast                                                One Ring Networks                            ---                                     ViaSat                   T-Mobile (LTE)
            Dallas city (19000)
                                             Frontier Communications                                                                                                                     VSAT Systems             T-Mobile (5G)
                                             Radiate Holdings, LP                                                                                                                                                 Verizon Wireless (LTE)
                                             Altice                                                 903 Broadband                                                                                                 AT&T Mobility (LTE)
            Celina city (13684)              AT&T                                                   AMG Technology Investment Group                                                      Hughes Network Systems   Sprint (LTE)
75009       Weston city (77740)              Cable One                                              JAB Wireless                                 ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)        Comcast                                                Speed of Light Broadband                                                             VSAT Systems             T-Mobile (5G)
                                             Grayson Collin Electric Cooperative                    Texoma Communications                                                                                         Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                             AT&T
            Carrollton city (13024)                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                             Charter Communications
75010       The Colony city (72530)                                                                 ---                                          ---                                     ViaSat                   T-Mobile (LTE)
                                             Frontier Communications
            Unincorporated Area (n|a)                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                             Radiate Holdings, LP
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                             AT&T                                                                                                                                                                 AT&T Mobility (LTE)
                                             Cable One                                                                                                                                   Hughes Network Systems   Sprint (LTE)
75013       Allen city (01924)               Charter Communications                                 JAB Wireless                                 One Ring Networks                       ViaSat                   T-Mobile (LTE)
                                             Comcast                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                             Radiate Holdings, LP                                                                                                                                                 Verizon Wireless (LTE)
                                             AT&T                                                                                                                                                                 AT&T Mobility (LTE)
                                             Charter Communications                                                                                                                      Hughes Network Systems   Sprint (LTE)
75019       Coppell city (16612)             Frontier Communications                                One Ring Networks                            ---                                     ViaSat                   T-Mobile (LTE)
                                             Radiate Holdings, LP                                                                                                                        VSAT Systems             T-Mobile (5G)
                                             Windstream Holdings                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                                                                                                                                  AT&T Mobility (5G)
                                             AT&T
                                                                                                    JAB Wireless                                                                         Hughes Network Systems   Sprint (LTE)
            Denison city (19900)             Cable One
75020                                                                                               Telephone and Data Systems                   ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)        Comcast
                                                                                                    Texoma Communications                                                                VSAT Systems             T-Mobile (5G)
                                             Radiate Holdings, LP
                                                                                                                                                                                                                  United States Cellular Corporation (LTE)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                                                                                                                                  AT&T Mobility (5G)
                                             AT&T                                                   JAB Wireless
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
            Denison city (19900)             Cable One                                              Telephone and Data Systems
75021                                                                                                                                            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)        Frontier Communications                                Texoma Communications
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                             Grayson Collin Electric Cooperative                    Zulu Internet
                                                                                                                                                                                                                  United States Cellular Corporation (LTE)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                             AT&T                                                                                                                                                                 Sprint (LTE)
                                                                                                                                                                                         Hughes Network Systems
            Bartonville town (05768)         Charter Communications                                                                                                                                               T-Mobile (LTE)
75022                                                                                               AMG Technology Investment Group              Dell Telephone Cooperative              ViaSat
            Flower Mound town (26232)        Frontier Communications                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                         VSAT Systems
                                             Radiate Holdings, LP                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                  Verizon Wireless (5G)
                                             AT&T                                                                                                                                                                 AT&T Mobility (LTE)
                                             Charter Communications                                                                                                                      Hughes Network Systems   Sprint (LTE)
75023       Plano city (58016)               En-Touch Systems                                       JAB Wireless                                 ---                                     ViaSat                   T-Mobile (LTE)
                                             Frontier Communications                                                                                                                     VSAT Systems             T-Mobile (5G)
                                             Radiate Holdings, LP                                                                                                                                                 Verizon Wireless (LTE)
                                             AT&T
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                             Charter Communications
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
                                             Comcast
75024       Plano city (58016)                                                                      ---                                          One Ring Networks                       ViaSat                   T-Mobile (LTE)
                                             En-Touch Systems
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                             Frontier Communications
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                             Radiate Holdings, LP
                                             AT&T                                                                                                                                                                 AT&T Mobility (LTE)
                                             Charter Communications                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                                                                                    JAB Wireless
75025       Plano city (58016)               En-Touch Systems                                                                                    Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
                                                                                                    One Ring Networks
                                             Frontier Communications                                                                                                                     VSAT Systems             T-Mobile (5G)
                                             Radiate Holdings, LP                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                             AT&T                                                                                                                                                                 Sprint (LTE)
                                                                                                                                                                                         Hughes Network Systems
                                             Charter Communications                                 AMG Technology Investment Group                                                                               T-Mobile (LTE)
75028       Flower Mound town (26232)                                                                                                            ---                                     ViaSat
                                             Frontier Communications                                One Ring Networks                                                                                             T-Mobile (5G)
                                                                                                                                                                                         VSAT Systems
                                             Radiate Holdings, LP                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                  Verizon Wireless (5G)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
            Heath city (32984)               Altice                                                 3 Rooms Communications
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
            McLendon-Chisholm city (45804)   AT&T                                                   ANTS-Technology                              One Ring Networks
75032                                                                                                                                                                                    ViaSat                   T-Mobile (LTE)
            Rockwall city (62828)            Charter Communications                                 Community Internet Providers                 Peoples Telephone Cooperative
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)        Comcast                                                JAB Wireless
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                             AT&T                                                                                                                                                                 AT&T Mobility (LTE)
            Frisco city (27684)                                                                     1stel
                                             Charter Communications                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Hackberry town (31715)                                                                  AMG Technology Investment Group
75034                                        Comcast                                                                                             One Ring Networks                       ViaSat                   T-Mobile (LTE)
            Little Elm city (43012)                                                                 JAB Wireless
                                             En-Touch Systems                                                                                                                            VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)                                                               Speed of Light Broadband
                                             Radiate Holdings, LP                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                             AT&T
                                                                                                    AMG Technology Investment Group                                                      Hughes Network Systems   Sprint (LTE)
                                             Charter Communications
75035       Frisco city (27684)                                                                     JAB Wireless                                 ---                                     ViaSat                   T-Mobile (LTE)
                                             Comcast
                                                                                                    Speed of Light Broadband                                                             VSAT Systems             T-Mobile (5G)
                                             Radiate Holdings, LP
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                             Alphabet                                                                                                                                                             AT&T Mobility (LTE)
                                             AT&T                                                                                                                                        Hughes Network Systems   Sprint (LTE)
75038       Irving city (37000)              Cable One                                              ---                                          One Ring Networks                       ViaSat                   T-Mobile (LTE)
                                             Charter Communications                                                                                                                      VSAT Systems             T-Mobile (5G)
                                             Frontier Communications                                                                                                                                              Verizon Wireless (LTE)
                                             Access Media Holdings                                                                                                                                                AT&T Mobility (LTE)
                                             AT&T                                                                                                                                        Hughes Network Systems   Sprint (LTE)
75039       Irving city (37000)              Charter Communications                                 JAB Wireless                                 One Ring Networks                       ViaSat                   T-Mobile (LTE)
                                             Comcast                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                             Frontier Communications                                                                                                                                              Verizon Wireless (LTE)




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                                                                                                                                                                                                                                Exhibit SET-C
                                                                                         Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                             FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                  Wireline (DSL, Fiber, Cable)                              Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            AT&T                                                                                                                                        Hughes Network Systems   Sprint (LTE)
                                                                                                   JAB Wireless
75040       Garland city (29000)            Charter Communications                                                                              ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                   One Ring Networks
                                            Frontier Communications                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            AT&T
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
                                            Cable One
75041       Garland city (29000)                                                                   JAB Wireless                                 One Ring Networks                       ViaSat                   T-Mobile (LTE)
                                            Charter Communications
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                            Frontier Communications
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            AT&T                                                                                                                                        Hughes Network Systems   Sprint (LTE)
75042       Garland city (29000)            Charter Communications                                 ---                                          One Ring Networks                       ViaSat                   T-Mobile (LTE)
                                            Frontier Communications                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                            AT&T                                                                                                                                                                 AT&T Mobility (LTE)
                                            Charter Communications                                                                                                                      Hughes Network Systems   Sprint (LTE)
75043       Garland city (29000)            Comcast                                                JAB Wireless                                 ---                                     ViaSat                   T-Mobile (LTE)
                                            En-Touch Systems                                                                                                                            VSAT Systems             T-Mobile (5G)
                                            Frontier Communications                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            AT&T
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
                                            Charter Communications
75044       Garland city (29000)                                                                   ---                                          One Ring Networks                       ViaSat                   T-Mobile (LTE)
                                            Comcast
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                            Frontier Communications
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            1stel
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
                                            AT&T
75048       Sachse city (64064)                                                                    ---                                          Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
                                            Charter Communications
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                            Frontier Communications
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                            AT&T                                                                                                                                                                 AT&T Mobility (LTE)
                                            Charter Communications                                                                                                                      Hughes Network Systems   Sprint (LTE)
75050       Grand Prairie city (30464)      Frontier Communications                                Cirra Networks                               One Ring Networks                       ViaSat                   T-Mobile (LTE)
                                            Impulse Internet Services                                                                                                                   VSAT Systems             T-Mobile (5G)
                                            Radiate Holdings, LP                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            1stel                                                                                                                                       Hughes Network Systems   Sprint (LTE)
            Dallas city (19000)                                                                    AMG Technology Investment Group
75051                                       AT&T                                                                                                ---                                     ViaSat                   T-Mobile (LTE)
            Grand Prairie city (30464)                                                             One Ring Networks
                                            Charter Communications                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            AT&T                                                   AMG Technology Investment Group
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
                                            Charter Communications                                 Cirra Networks
75052       Grand Prairie city (30464)                                                                                                          ---                                     ViaSat                   T-Mobile (LTE)
                                            Comcast                                                JAB Wireless
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                            En-Touch Systems                                       One Ring Networks
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                   AMG Technology Investment Group                                                      Hughes Network Systems   Sprint (LTE)
                                            AT&T
75054       Grand Prairie city (30464)                                                             Cirra Networks                               ---                                     ViaSat                   T-Mobile (LTE)
                                            Charter Communications
                                                                                                   JAB Wireless                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                            AT&T                                                                                                                                                                 AT&T Mobility (LTE)
            Carrollton city (13024)
                                            Charter Communications                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Lewisville city (42508)                                                                One Ring Networks
75056                                       Comcast                                                                                             ---                                     ViaSat                   T-Mobile (LTE)
            The Colony city (72530)                                                                Speed of Light Broadband
                                            Frontier Communications                                                                                                                     VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)
                                            Radiate Holdings, LP                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            AT&T
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
                                            Charter Communications
75057       Lewisville city (42508)                                                                One Ring Networks                            ---                                     ViaSat                   T-Mobile (LTE)
                                            Frontier Communications
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                            Radiate Holdings, LP
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                            Altice                                                                                                                                                               AT&T Mobility (LTE)
                                            AT&T                                                   AMG Technology Investment Group                                                                               AT&T Mobility (5G)
                                                                                                                                                                                        Hughes Network Systems
            Gunter city (31616)             Cable One                                              JAB Wireless                                                                                                  Sprint (LTE)
75058                                                                                                                                           ---                                     ViaSat
            Unincorporated Area (n|a)       Frontier Communications                                Speed of Light Broadband                                                                                      T-Mobile (LTE)
                                                                                                                                                                                        VSAT Systems
                                            Grayson Collin Electric Cooperative                    Texoma Communications                                                                                         T-Mobile (5G)
                                            One Ring Networks                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            AT&T
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Grand Prairie city (30464)      Cable One                                              JAB Wireless
75060                                                                                                                                           ---                                     ViaSat                   T-Mobile (LTE)
            Irving city (37000)             Charter Communications                                 WiFires Communications
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                            Frontier Communications
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            AT&T                                                   Cirra Networks                                                                       Hughes Network Systems   Sprint (LTE)
75061       Irving city (37000)             Charter Communications                                 JAB Wireless                                 One Ring Networks                       ViaSat                   T-Mobile (LTE)
                                            Frontier Communications                                WiFires Communications                                                               VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            AT&T                                                                                                                                                                 Sprint (LTE)
                                                                                                   JAB Wireless                                                                         Hughes Network Systems
                                            Charter Communications                                                                                                                                               T-Mobile (LTE)
75062       Irving city (37000)                                                                    One Ring Networks                            ---                                     ViaSat
                                            Frontier Communications                                                                                                                                              T-Mobile (5G)
                                                                                                   WiFires Communications                                                               VSAT Systems
                                            Windstream Holdings                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                 Verizon Wireless (5G)
                                            AT&T
                                            Cable One                                                                                                                                                            AT&T Mobility (LTE)
                                            Charter Communications                                                                                                                      Hughes Network Systems   Sprint (LTE)
75063       Irving city (37000)             Comcast                                                One Ring Networks                            ---                                     ViaSat                   T-Mobile (LTE)
                                            Frontier Communications                                                                                                                     VSAT Systems             T-Mobile (5G)
                                            Uniti Group                                                                                                                                                          Verizon Wireless (LTE)
                                            Windstream Holdings
                                                                                                                                                                                                                 AT&T Mobility (LTE)
            Hickory Creek town (33476)      CenturyLink                                                                                                                                 Hughes Network Systems   Sprint (LTE)
75065       Lake Dallas city (40516)        Charter Communications                                 AMG Technology Investment Group              ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Radiate Holdings, LP                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                            AT&T
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            Charter Communications
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
                                            Comcast                                                Chisholm Broadband
75067       Lewisville city (42508)                                                                                                             ---                                     ViaSat                   T-Mobile (LTE)
                                            En-Touch Systems                                       One Ring Networks
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                            Frontier Communications
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                            Radiate Holdings, LP
            Frisco city (27684)             Altice                                                                                                                                                               AT&T Mobility (LTE)
            Lakewood Village city (41050)   AT&T                                                   AMG Technology Investment Group                                                      Hughes Network Systems   Sprint (LTE)
75068       Little Elm city (43012)         Charter Communications                                 JAB Wireless                                 ---                                     ViaSat                   T-Mobile (LTE)
            Oak Point city (53130)          Comcast                                                Speed of Light Broadband                                                             VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)       Radiate Holdings, LP                                                                                                                                                 Verizon Wireless (LTE)
                                            Altice
                                                                                                                                                                                                                 AT&T Mobility (LTE)
            Fairview town (25224)           AT&T
                                                                                                   903 Broadband                                                                        Hughes Network Systems   Sprint (LTE)
            Lowry Crossing city (44308)     Cable One
75069                                                                                              AMG Technology Investment Group              ---                                     ViaSat                   T-Mobile (LTE)
            McKinney city (45744)           Charter Communications
                                                                                                   JAB Wireless                                                                         VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)       GCTR
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                            Radiate Holdings, LP




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                                                                                                                                                                                                                             Exhibit SET-C
                                                                                         Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                          FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                   Wireline (DSL, Fiber, Cable)                           Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                            Alphabet
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                            AT&T
                                                                                                   AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
                                            Cable One
75070       McKinney city (45744)                                                                  JAB Wireless                              ---                                     ViaSat                   T-Mobile (LTE)
                                            Charter Communications
                                                                                                   Speed of Light Broadband                                                          VSAT Systems             T-Mobile (5G)
                                            Comcast
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                            Radiate Holdings, LP
                                            Altice
                                            AT&T                                                   903 Broadband                                                                                              AT&T Mobility (LTE)
            Celina city (13684)
                                            Cable One                                              AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
            McKinney city (45744)
75071                                       Charter Communications                                 JAB Wireless                              ---                                     ViaSat                   T-Mobile (LTE)
            New Hope town (51036)
                                            Comcast                                                One Ring Networks                                                                 VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)
                                            Grayson Collin Electric Cooperative                    Speed of Light Broadband                                                                                   Verizon Wireless (LTE)
                                            Radiate Holdings, LP
                                            AT&T                                                                                                                                                              AT&T Mobility (LTE)
                                            Charter Communications                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Plano city (58016)                                                                     JAB Wireless
75074                                       Comcast                                                                                          One Ring Networks                       ViaSat                   T-Mobile (LTE)
            Richardson city (61796)                                                                TPT Global Technologies
                                            Frontier Communications                                                                                                                  VSAT Systems             T-Mobile (5G)
                                            Radiate Holdings, LP                                                                                                                                              Verizon Wireless (LTE)
                                            AT&T                                                                                                                                                              AT&T Mobility (LTE)
                                            Charter Communications                                                                                                                   Hughes Network Systems   Sprint (LTE)
75075       Plano city (58016)              Comcast                                                One Ring Networks                         ---                                     ViaSat                   T-Mobile (LTE)
                                            Frontier Communications                                                                                                                  VSAT Systems             T-Mobile (5G)
                                            Radiate Holdings, LP                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                   AMG Technology Investment Group
                                            AT&T                                                                                                                                                              AT&T Mobility (5G)
                                                                                                   JAB Wireless                                                                      Hughes Network Systems
            Pottsboro town (59132)          Cable One                                                                                                                                                         Sprint (LTE)
75076                                                                                              Speed of Light Broadband                  ---                                     ViaSat
            Unincorporated Area (n|a)       Comcast                                                                                                                                                           T-Mobile (LTE)
                                                                                                   Telephone and Data Systems                                                        VSAT Systems
                                            GCTR                                                                                                                                                              T-Mobile (5G)
                                                                                                   Texoma Communications
                                                                                                                                                                                                              Verizon Wireless (LTE)
            Copper Canyon town (16636)      AT&T                                                                                                                                                              AT&T Mobility (LTE)
            Double Oak town (21028)         Charter Communications                                                                                                                   Hughes Network Systems   Sprint (LTE)
75077       Flower Mound town (26232)       Comcast                                                AMG Technology Investment Group           ---                                     ViaSat                   T-Mobile (LTE)
            Highland Village city (33848)   Frontier Communications                                                                                                                  VSAT Systems             T-Mobile (5G)
            Lewisville city (42508)         Radiate Holdings, LP                                                                                                                                              Verizon Wireless (LTE)
                                            Altice
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                            AT&T
            Celina city (13684)                                                                    AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
                                            Charter Communications
75078       Prosper town (59696)                                                                   JAB Wireless                              ---                                     ViaSat                   T-Mobile (LTE)
                                            Comcast
            Unincorporated Area (n|a)                                                              Speed of Light Broadband                                                          VSAT Systems             T-Mobile (5G)
                                            Grayson Collin Electric Cooperative
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                            Radiate Holdings, LP
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                            AT&T
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                            Charter Communications                                                                           Dell Telephone Cooperative
75080       Richardson city (61796)                                                                Omega 1 Communications                                                            ViaSat                   T-Mobile (LTE)
                                            Frontier Communications                                                                          One Ring Networks
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                            Radiate Holdings, LP
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                            AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                                                                                                                             One Ring Networks
75081       Richardson city (61796)         Charter Communications                                 ---                                                                               ViaSat                   T-Mobile (LTE)
                                                                                                                                             Uniti Group
                                            Frontier Communications                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                            AT&T                                                                                                                                                              AT&T Mobility (LTE)
                                            Cable One                                                                                                                                Hughes Network Systems   Sprint (LTE)
            Plano city (58016)
75082                                       Charter Communications                                 Verizon Communications                    One Ring Networks                       ViaSat                   T-Mobile (LTE)
            Richardson city (61796)
                                            Comcast                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                            Frontier Communications                                                                                                                                           Verizon Wireless (LTE)
                                            Altice
                                            AT&T
                                                                                                                                                                                                              AT&T Mobility (LTE)
            Fate city (25572)               Cable One
                                                                                                   3 Rooms Communications                                                            Hughes Network Systems   Sprint (LTE)
            Rockwall city (62828)           Charter Communications
75087                                                                                              Community Internet Providers              ---                                     ViaSat                   T-Mobile (LTE)
            Rowlett city (63572)            Comcast
                                                                                                   JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)       En-Touch Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                            Frontier Communications
                                            Radiate Holdings, LP
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                            AT&T
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                            Charter Communications                                 Community Internet Providers
75088       Rowlett city (63572)                                                                                                             ---                                     ViaSat                   T-Mobile (LTE)
                                            Comcast                                                JAB Wireless
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                            Frontier Communications
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                            Altice                                                                                                                                                            AT&T Mobility (LTE)
                                            AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                                                                                   Community Internet Providers
75089       Rowlett city (63572)            Charter Communications                                                                           ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                   JAB Wireless
                                            Comcast                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                            Frontier Communications                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                   903 Broadband
                                            Cable One                                                                                                                                                         AT&T Mobility (5G)
                                                                                                   AMG Technology Investment Group                                                   Hughes Network Systems
            Sherman city (67496)            Frontier Communications                                                                                                                                           Sprint (LTE)
75090                                                                                              JAB Wireless                              ---                                     ViaSat
            Unincorporated Area (n|a)       Grayson Collin Electric Cooperative                                                                                                                               T-Mobile (LTE)
                                                                                                   Texoma Communications                                                             VSAT Systems
                                            Radiate Holdings, LP                                                                                                                                              T-Mobile (5G)
                                                                                                   Zulu Internet
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                            Altice                                                 903 Broadband
            Knollwood city (39680)                                                                                                                                                                            AT&T Mobility (5G)
                                            Cable One                                              AMG Technology Investment Group                                                   Hughes Network Systems
            Sherman city (67496)                                                                                                                                                                              Sprint (LTE)
75092                                       Comcast                                                JAB Wireless                              ---                                     ViaSat
            Southmayd city (69104)                                                                                                                                                                            T-Mobile (LTE)
                                            Frontier Communications                                Speed of Light Broadband                                                          VSAT Systems
            Unincorporated Area (n|a)                                                                                                                                                                         T-Mobile (5G)
                                            Grayson Collin Electric Cooperative                    Texoma Communications
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                            AT&T
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                            Cable One
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                            Charter Communications                                 One Ring Networks
75093       Plano city (58016)                                                                                                               ---                                     ViaSat                   T-Mobile (LTE)
                                            Comcast                                                Razer Wireless
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                            Frontier Communications
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                            Radiate Holdings, LP
                                                                                                                                                                                                              AT&T Mobility (LTE)
            Murphy city (50100)             Charter Communications                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                                                                                   JAB Wireless
75094       Parker city (55152)             Frontier Communications                                                                          ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                   Wilkes Telephone Membership
            Plano city (58016)              Radiate Holdings, LP                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                            Charter Communications                                                                                                                                            AT&T Mobility (LTE)
            St. Paul town (64220)           Comcast                                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                                                                                   Community Internet Providers
75098       Wylie city (80356)              Frontier Communications                                                                          Signalnet Broadband                     ViaSat                   T-Mobile (LTE)
                                                                                                   JAB Wireless
            Unincorporated Area (n|a)       Peoples Telephone Cooperative                                                                                                            VSAT Systems             T-Mobile (5G)
                                            Radiate Holdings, LP                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                            AT&T
75101       Bardwell city (05612)                                                                  AMG Technology Investment Group           ---                                     ViaSat                   T-Mobile (LTE)
                                            Windstream Holdings
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                   3 Rooms Communications
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Barry city (05708)              AT&T                                                   AMG Technology Investment Group
75102                                                                                                                                        ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Windstream Holdings                                    Backroads Broadband
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                   JAB Wireless
                                                                                                                                                                                                              Verizon Wireless (LTE)




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                                                                                                                                                                                                                               Exhibit SET-C
                                                                                           Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                            FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                    Wireline (DSL, Fiber, Cable)                           Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                     3 Rooms Communications
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                                                                     AMG Technology Investment Group
                                              CenturyLink                                                                                                                              Hughes Network Systems   Sprint (LTE)
            Canton city (12496)                                                                      Community Internet Providers              Frontier Communications
75103                                         One Ring Networks                                                                                                                        ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                JAB Wireless                              Peoples Telephone Cooperative
                                              Zito Media, LP                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                     Nextwave Wireless
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                     Texas CellNet
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                                                                     AMG Technology Investment Group
                                                                                                                                                                                       Hughes Network Systems   Sprint (LTE)
            Cedar Hill city (13492)           AT&T                                                   Cirra Networks
75104                                                                                                                                          ---                                     ViaSat                   T-Mobile (LTE)
            Grand Prairie city (30464)        Charter Communications                                 JAB Wireless
                                                                                                                                                                                       VSAT Systems             T-Mobile (5G)
                                                                                                     Legacy ISP
                                                                                                                                                                                                                Verizon Wireless (LTE)
            Angus city (03288)
                                              AT&T                                                                                                                                                              AT&T Mobility (LTE)
            Corsicana city (17060)                                                                   3 Rooms Communications
                                              Comcast                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Eureka city (24816)                                                                      AMG Technology Investment Group
75109                                         GCTR                                                                                             1stel                                   ViaSat                   T-Mobile (LTE)
            Mildred town (48372)                                                                     Backroads Broadband
                                              Radiate Holdings, LP                                                                                                                     VSAT Systems             T-Mobile (5G)
            Navarro town (50448)                                                                     JAB Wireless
                                              Windstream Holdings                                                                                                                                               Verizon Wireless (LTE)
            Unincorporated Area (n|a)
                                              AT&T                                                                                                                                                              AT&T Mobility (LTE)
            Corsicana city (17060)                                                                   3 Rooms Communications
                                              Comcast                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Oak Valley town (53217)                                                                  American Broadband Communications         1stel
75110                                         GCTR                                                                                                                                     ViaSat                   T-Mobile (LTE)
            Retreat town (61616)                                                                     AMG Technology Investment Group           Backroads Broadband
                                              Radiate Holdings, LP                                                                                                                     VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)                                                                JAB Wireless
                                              Windstream Holdings                                                                                                                                               Verizon Wireless (LTE)
                                                                                                     3 Rooms Communications                                                                                     AT&T Mobility (LTE)
                                              Altice                                                 AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
            Crandall city (17504)
75114                                         AT&T                                                   ANTS-Technology                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                              Windstream Holdings                                    JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                     One Ring Networks                                                                                          Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                              AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                                                                                     AMG Technology Investment Group
75115       DeSoto city (20092)               Charter Communications                                                                           ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                     JAB Wireless
                                              Comcast                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                                                                                                                                                       Hughes Network Systems   Sprint (LTE)
                                              AT&T                                                   AMG Technology Investment Group
75116       Duncanville city (21628)                                                                                                           ---                                     ViaSat                   T-Mobile (LTE)
                                              Charter Communications                                 One Ring Networks
                                                                                                                                                                                       VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                     3 Rooms Communications
                                                                                                     AMG Technology Investment Group                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                       Hughes Network Systems
            Edgewood town (22612)             AT&T                                                   Community Internet Providers                                                                               Sprint (LTE)
75117                                                                                                                                          Dell Telephone Cooperative              ViaSat
            Unincorporated Area (n|a)         Zito Media, LP                                         Nextwave Wireless                                                                                          T-Mobile (LTE)
                                                                                                                                                                                       VSAT Systems
                                                                                                     Peoples Telephone Cooperative                                                                              Verizon Wireless (LTE)
                                                                                                     Texas CellNet
                                                                                                     3 Rooms Communications
                                                                                                                                                                                                                AT&T Mobility (LTE)
            Alma town (02044)                 1stel                                                  American Broadband Communications
                                                                                                                                                                                       Hughes Network Systems   Sprint (LTE)
            Ennis city (24348)                AT&T                                                   AMG Technology Investment Group
75119                                                                                                                                          ---                                     ViaSat                   T-Mobile (LTE)
            Garrett town (29036)              Charter Communications                                 Backroads Broadband
                                                                                                                                                                                       VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)         Windstream Holdings                                    JAB Wireless
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                     Legacy ISP
                                                                                                     3 Rooms Communications                                                                                     AT&T Mobility (LTE)
            Eustace city (24828)                                                                     AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
                                              Altice
75124       Payne Springs town (56276)                                                               Community Internet Providers              ---                                     ViaSat                   T-Mobile (LTE)
                                              CenturyLink
            Unincorporated Area (n|a)                                                                One Ring Networks                                                                 VSAT Systems             T-Mobile (5G)
                                                                                                     Texas CellNet                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
            Ferris city (25752)                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
                                                                                                     AMG Technology Investment Group
75125       Red Oak city (61196)              AT&T                                                                                             3 Rooms Communications                  ViaSat                   T-Mobile (LTE)
                                                                                                     JAB Wireless
            Unincorporated Area (n|a)                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                     3 Rooms Communications
                                              Altice                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                     AMG Technology Investment Group
            Forney city (26604)               AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                                                                                     ANTS-Technology
75126       Talty town (71756)                Comcast                                                                                          ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                     Community Internet Providers
            Unincorporated Area (n|a)         Peoples Telephone Cooperative                                                                                                            VSAT Systems             T-Mobile (5G)
                                                                                                     JAB Wireless
                                              Windstream Holdings                                                                                                                                               Verizon Wireless (LTE)
                                                                                                     One Ring Networks
                                                                                                     3 Rooms Communications
                                                                                                     AMG Technology Investment Group                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                       Hughes Network Systems
            Fruitvale city (27804)                                                                   Community Internet Providers                                                                               Sprint (LTE)
75127                                         AT&T                                                                                             ---                                     ViaSat
            Unincorporated Area (n|a)                                                                Nextwave Wireless                                                                                          T-Mobile (LTE)
                                                                                                                                                                                       VSAT Systems
                                                                                                     Peoples Telephone Cooperative                                                                              Verizon Wireless (LTE)
                                                                                                     Texas CellNet
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                              Altice                                                 3 Rooms Communications                                                            Hughes Network Systems   Sprint (LTE)
75132       Fate city (25572)                 AT&T                                                   Community Internet Providers              ---                                     ViaSat                   T-Mobile (LTE)
                                              Comcast                                                JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                                                                     3 Rooms Communications
                                              AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                                                                                     AMG Technology Investment Group
75134       Lancaster city (41212)            Charter Communications                                                                           ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                     JAB Wireless
                                              Comcast                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                     Legacy ISP
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                                                                                                                                                                                AT&T Mobility (5G)
                                                                                                     3 Rooms Communications                                                            Hughes Network Systems
            Caddo Mills city (11716)                                                                                                                                                                            Sprint (LTE)
75135                                         Frontier Communications                                Community Internet Providers              Peoples Telephone Cooperative           ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                           T-Mobile (LTE)
                                                                                                     JAB Wireless                                                                      VSAT Systems
                                                                                                                                                                                                                T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                              AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
75137       Duncanville city (21628)          Charter Communications                                 AMG Technology Investment Group           ---                                     ViaSat                   T-Mobile (LTE)
                                              Comcast                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                     3 Rooms Communications
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                                                                     AMG Technology Investment Group
                                                                                                                                                                                                                AT&T Mobility (5G)
                                                                                                     AT&T                                                                              Hughes Network Systems
            Grand Saline city (30476)                                                                                                                                                                           Sprint (LTE)
75140                                         Altice                                                 Community Internet Providers              Peoples Telephone Cooperative           ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                           T-Mobile (LTE)
                                                                                                     Frontier Communications                                                           VSAT Systems
                                                                                                                                                                                                                T-Mobile (5G)
                                                                                                     Nextwave Wireless
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                     Texas CellNet
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                                                                     3 Rooms Communications
                                                                                                                                                                                       Hughes Network Systems   Sprint (LTE)
            Hutchins city (35612)             AT&T                                                   AMG Technology Investment Group
75141                                                                                                                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)         Charter Communications                                 JAB Wireless
                                                                                                                                                                                       VSAT Systems             T-Mobile (5G)
                                                                                                     One Ring Networks
                                                                                                                                                                                                                Verizon Wireless (LTE)
            Kaufman city (38488)                                                                     3 Rooms Communications                                                                                     AT&T Mobility (LTE)
                                              Altice
            Oak Grove town (52902)                                                                   AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
                                              AT&T                                                                                             ANTS-Technology
75142       Oak Ridge town (53160)                                                                   Community Internet Providers                                                      ViaSat                   T-Mobile (LTE)
                                              CenturyLink                                                                                      One Ring Networks
            Post Oak Bend City town (59066)                                                          JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
                                              Windstream Holdings
            Unincorporated Area (n|a)                                                                Nextwave Wireless                                                                                          Verizon Wireless (LTE)




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                                                                                                                                                                                                                                Exhibit SET-C
                                                                                         Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                             FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                  Wireline (DSL, Fiber, Cable)                              Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
            Kemp city (38788)                                                                      3 Rooms Communications
                                            Alphabet                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Seven Points city (66908)                                                              AMG Technology Investment Group              Dell Telephone Cooperative
75143                                       Altice                                                                                                                                      ViaSat                   T-Mobile (LTE)
            Tool city (73352)                                                                      Community Internet Providers                 One Ring Networks
                                            CenturyLink                                                                                                                                 VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)                                                              JAB Wireless
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                   1stel                                                                                                         AT&T Mobility (LTE)
            Goodlow city (30188)
                                                                                                   3 Rooms Communications                                                               Hughes Network Systems   Sprint (LTE)
            Kerens city (38992)
75144                                       CenturyLink                                            AMG Technology Investment Group              ---                                     ViaSat                   T-Mobile (LTE)
            Powell town (59168)
                                                                                                   Backroads Broadband                                                                  VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)
                                                                                                   JAB Wireless                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            AT&T
                                                                                                   3 Rooms Communications                                                               Hughes Network Systems   Sprint (LTE)
            Lancaster city (41212)          Charter Communications
75146                                                                                              AMG Technology Investment Group              ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       En-Touch Systems
                                                                                                   JAB Wireless                                                                         VSAT Systems             T-Mobile (5G)
                                            Windstream Holdings
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                   3 Rooms Communications
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                   AMG Technology Investment Group
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Mabank town (45324)             Altice                                                 Community Internet Providers
75147                                                                                                                                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       CenturyLink                                            JAB Wireless
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                   One Ring Networks
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                   Texas CellNet
            Caney City town (12472)                                                                                                                                                                              AT&T Mobility (LTE)
            Log Cabin city (43354)          Altice                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                                                                                   AMG Technology Investment Group
75148       Malakoff city (46224)           CenturyLink                                                                                         ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                   One Ring Networks
            Star Harbor city (70076)        Comcast                                                                                                                                     VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            1stel
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
                                            AT&T                                                   JAB Wireless
75149       Mesquite city (47892)                                                                                                               ---                                     ViaSat                   T-Mobile (LTE)
                                            Charter Communications                                 Legacy ISP
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                            Radiate Holdings, LP
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            AT&T                                                                                                                                        Hughes Network Systems   Sprint (LTE)
                                                                                                   JAB Wireless
75150       Mesquite city (47892)           Charter Communications                                                                              ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                   One Ring Networks
                                            Comcast                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                   3 Rooms Communications                                                               Hughes Network Systems   Sprint (LTE)
            Palmer town (54744)             AT&T
75152                                                                                              AMG Technology Investment Group              ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Charter Communications
                                                                                                   JAB Wireless                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                   3 Rooms Communications
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Powell town (59168)                                                                    AMG Technology Investment Group
75153                                       CenturyLink                                                                                         ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                              Backroads Broadband
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                   JAB Wireless
                                                                                                                                                                                                                 Verizon Wireless (LTE)
            Glenn Heights city (29840)                                                                                                                                                                           AT&T Mobility (LTE)
                                            1stel                                                  3 Rooms Communications
            Oak Leaf city (53115)                                                                                                                                                       Hughes Network Systems   Sprint (LTE)
                                            AT&T                                                   AMG Technology Investment Group
75154       Ovilla city (54444)                                                                                                                 ---                                     ViaSat                   T-Mobile (LTE)
                                            Charter Communications                                 JAB Wireless
            Red Oak city (61196)                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                            Comcast                                                Legacy ISP
            Unincorporated Area (n|a)                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                   3 Rooms Communications                                                                                        AT&T Mobility (LTE)
                                                                                                                                                                                        Hughes Network Systems
            Rice city (61736)                                                                      AMG Technology Investment Group                                                                               Sprint (LTE)
75155                                       Charter Communications                                                                              ---                                     ViaSat
            Unincorporated Area (n|a)                                                              Backroads Broadband                                                                                           T-Mobile (LTE)
                                                                                                                                                                                        VSAT Systems
                                                                                                   JAB Wireless                                                                                                  Verizon Wireless (LTE)
            Enchanted Oaks town (24228)                                                                                                                                                                          AT&T Mobility (LTE)
            Gun Barrel City city (31592)    Altice                                                 3 Rooms Communications                                                               Hughes Network Systems   Sprint (LTE)
75156       Mabank town (45324)             CenturyLink                                            AMG Technology Investment Group              One Ring Networks                       ViaSat                   T-Mobile (LTE)
            Payne Springs town (56276)      Comcast                                                Community Internet Providers                                                         VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                   3 Rooms Communications                                                               Hughes Network Systems   Sprint (LTE)
            Rosser village (63404)
75157                                       Windstream Holdings                                    AMG Technology Investment Group              ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                   JAB Wireless                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
            Cottonwood city (17200)                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                   3 Rooms Communications
            Grays Prairie village (30752)                                                                                                                                               Hughes Network Systems   Sprint (LTE)
                                            CenturyLink                                            AMG Technology Investment Group
75158       Rosser village (63404)                                                                                                              ---                                     ViaSat                   T-Mobile (LTE)
                                            Windstream Holdings                                    JAB Wireless
            Scurry town (66368)                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                   One Ring Networks
            Unincorporated Area (n|a)                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                   3 Rooms Communications                                                                                        AT&T Mobility (LTE)
            Combine city (16216)            Altice                                                 AMG Technology Investment Group                                                      Hughes Network Systems   Sprint (LTE)
75159       Seagoville city (66428)         AT&T                                                   JAB Wireless                                 ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Charter Communications                                 One Ring Networks                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                   South Central Tower Company                                                                                   Verizon Wireless (LTE)
                                                                                                   3 Rooms Communications                                                                                        AT&T Mobility (LTE)
                                            1stel
            Talty town (71756)                                                                     Community Internet Providers                 AMG Technology Investment Group         Hughes Network Systems   Sprint (LTE)
                                            Altice
75160       Terrell city (72284)                                                                   JAB Wireless                                 ANTS-Technology                         ViaSat                   T-Mobile (LTE)
                                            AT&T
            Unincorporated Area (n|a)                                                              One Ring Networks                            Peoples Telephone Cooperative           VSAT Systems             T-Mobile (5G)
                                            CenturyLink
                                                                                                   Texas CellNet                                                                                                 Verizon Wireless (LTE)
                                                                                                   3 Rooms Communications
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                   AMG Technology Investment Group
            Oak Ridge town (53160)          Altice                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                                                                                   Community Internet Providers
75161       Terrell city (72284)            AT&T                                                                                                ANTS-Technology                         ViaSat                   T-Mobile (LTE)
                                                                                                   JAB Wireless
            Unincorporated Area (n|a)       CenturyLink                                                                                                                                 VSAT Systems             T-Mobile (5G)
                                                                                                   Nextwave Wireless
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                   One Ring Networks
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                   AMG Technology Investment Group                                                      Hughes Network Systems   Sprint (LTE)
            Trinidad city (73652)           Altice
75163                                                                                              JAB Wireless                                 ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       CenturyLink
                                                                                                   One Ring Networks                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                   3 Rooms Communications                                                               Hughes Network Systems   Sprint (LTE)
            Josephine city (38068)
75164                                       ---                                                    Community Internet Providers                 Peoples Telephone Cooperative           ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                   JAB Wireless                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                            1stel
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            AT&T                                                   American Broadband Communications
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Waxahachie city (76816)         Charter Communications                                 JAB Wireless
75165                                                                                                                                           AMG Technology Investment Group         ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Comcast                                                Legacy ISP
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                            One Ring Networks                                      Unified Communications
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                            Windstream Holdings
                                            AMG Technology Investment Group
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            AT&T                                                   3 Rooms Communications
            Lavon city (41800)                                                                                                                                                          Hughes Network Systems   Sprint (LTE)
                                            Charter Communications                                 Community Internet Providers
75166       Wylie city (80356)                                                                                                                  ---                                     ViaSat                   T-Mobile (LTE)
                                            Comcast                                                JAB Wireless
            Unincorporated Area (n|a)                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                            Frontier Communications                                Signalnet Broadband
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                            Peoples Telephone Cooperative
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            1stel                                                  Cirra Networks                                                                       Hughes Network Systems   Sprint (LTE)
            Waxahachie city (76816)
75167                                       AT&T                                                   JAB Wireless                                 AMG Technology Investment Group         ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                            Charter Communications                                 Legacy ISP                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)



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                                                                                                                                                                                                                           Exhibit SET-C
                                                                                       Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                        FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                Wireline (DSL, Fiber, Cable)                           Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                 3 Rooms Communications
                                                                                                 AMG Technology Investment Group
                                           AT&T                                                  Community Internet Providers
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           Comcast                                               JAB Wireless                                                                      Hughes Network Systems
            Wills Point city (79564)                                                                                                                                                                        Sprint (LTE)
75169                                      Etex Telephone Cooperative                            Nextwave Wireless                         ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                       T-Mobile (LTE)
                                           Radiate Holdings, LP                                  One Ring Networks                                                                 VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                           Zito Media, LP                                        Peoples Telephone Cooperative
                                                                                                 Texas CellNet
                                                                                                 Unified Communications
                                                                                                                                                                                                            AT&T Mobility (LTE)
            Hutchins city (35612)          AT&T                                                  3 Rooms Communications                                                            Hughes Network Systems   Sprint (LTE)
75172       Wilmer city (79576)            Charter Communications                                AMG Technology Investment Group           One Ring Networks                       ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Frontier Communications                               JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
            Josephine city (38068)                                                               3 Rooms Communications
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Nevada city (50760)                                                                  903 Broadband
75173                                      Charter Communications                                                                          Peoples Telephone Cooperative           ViaSat                   T-Mobile (LTE)
            Wylie city (80356)                                                                   Community Internet Providers
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)                                                            JAB Wireless
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           Altice
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                           AT&T
75180       Balch Springs city (05372)                                                           AMG Technology Investment Group           ---                                     ViaSat                   T-Mobile (LTE)
                                           Charter Communications
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                           Comcast
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
            Balch Springs city (05372)     Altice                                                3 Rooms Communications                                                            Hughes Network Systems   Sprint (LTE)
75181       Mesquite city (47892)          AT&T                                                  AMG Technology Investment Group           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Charter Communications                                JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           1stel
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                           AT&T                                                  JAB Wireless
75182       Sunnyvale town (71156)                                                                                                         ---                                     ViaSat                   T-Mobile (LTE)
                                           Charter Communications                                One Ring Networks
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                           Comcast
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                           Altice
                                                                                                                                                                                                            AT&T Mobility (LTE)
            Fate city (25572)              AT&T
                                                                                                 3 Rooms Communications                                                            Hughes Network Systems   Sprint (LTE)
            Rockwall city (62828)          Charter Communications
75189                                                                                            Community Internet Providers              Peoples Telephone Cooperative           ViaSat                   T-Mobile (LTE)
            Royse City city (63668)        Comcast
                                                                                                 JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)      Frontier Communications
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                           Monster Broadband
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                                            Sprint (LTE)
                                           Cable One                                                                                       Dell Telephone Cooperative              Hughes Network Systems
                                                                                                 3 Rooms Communications                                                                                     T-Mobile (LTE)
75201       Dallas city (19000)            Charter Communications                                                                          One Ring Networks                       ViaSat
                                                                                                 WiFires Communications                                                                                     T-Mobile (5G)
                                           Radiate Holdings, LP                                                                            Resound Networks                        VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                           Windstream Holdings
                                                                                                                                                                                                            Verizon Wireless (5G)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            Sprint (LTE)
                                                                                                                                                                                   Hughes Network Systems
                                           AT&T                                                  One Ring Networks                                                                                          T-Mobile (LTE)
75202       Dallas city (19000)                                                                                                            ---                                     ViaSat
                                           Charter Communications                                WiFires Communications                                                                                     T-Mobile (5G)
                                                                                                                                                                                   VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            Verizon Wireless (5G)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                           AT&T                                                  3 Rooms Communications
75203       Dallas city (19000)                                                                                                            ---                                     ViaSat                   T-Mobile (LTE)
                                           Charter Communications                                WiFires Communications
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                                            Sprint (LTE)
                                           Charter Communications                                3 Rooms Communications                                                            Hughes Network Systems
                                                                                                                                                                                                            T-Mobile (LTE)
75204       Dallas city (19000)            Comcast                                               One Ring Networks                         ---                                     ViaSat
                                                                                                                                                                                                            T-Mobile (5G)
                                           NTS                                                   WiFires Communications                                                            VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                           Radiate Holdings, LP
                                                                                                                                                                                                            Verizon Wireless (5G)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T
            Dallas city (19000)                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                           Charter Communications
75205       Highland Park town (33824)                                                           WiFires Communications                    One Ring Networks                       ViaSat                   T-Mobile (LTE)
                                           Radiate Holdings, LP
            University Park city (74492)                                                                                                                                           VSAT Systems             T-Mobile (5G)
                                           Windstream Holdings
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            Sprint (LTE)
                                                                                                                                                                                   Hughes Network Systems
                                           AT&T                                                  One Ring Networks                                                                                          T-Mobile (LTE)
75206       Dallas city (19000)                                                                                                            Dell Telephone Cooperative              ViaSat
                                           Charter Communications                                WiFires Communications                                                                                     T-Mobile (5G)
                                                                                                                                                                                   VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            Verizon Wireless (5G)
                                           AT&T                                                                                                                                                             AT&T Mobility (LTE)
                                           Charter Communications                                                                                                                                           Sprint (LTE)
                                                                                                                                                                                   Hughes Network Systems
                                           NTS                                                                                                                                                              T-Mobile (LTE)
75207       Dallas city (19000)                                                                  WiFires Communications                    One Ring Networks                       ViaSat
                                           Radiate Holdings, LP                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                   VSAT Systems
                                           Resound Networks                                                                                                                                                 Verizon Wireless (LTE)
                                           Smartcom Telephone                                                                                                                                               Verizon Wireless (5G)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                 JAB Wireless                                                                      Hughes Network Systems   Sprint (LTE)
                                           AT&T
75208       Dallas city (19000)                                                                  One Ring Networks                         ---                                     ViaSat                   T-Mobile (LTE)
                                           Charter Communications
                                                                                                 WiFires Communications                                                            VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            Sprint (LTE)
                                           AT&T                                                                                                                                    Hughes Network Systems
            Dallas city (19000)                                                                  JAB Wireless                                                                                               T-Mobile (LTE)
75209                                      Charter Communications                                                                          ---                                     ViaSat
            Highland Park town (33824)                                                           WiFires Communications                                                                                     T-Mobile (5G)
                                           Radiate Holdings, LP                                                                                                                    VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            Verizon Wireless (5G)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
75210       Dallas city (19000)            Charter Communications                                WiFires Communications                    ---                                     ViaSat                   T-Mobile (LTE)
                                           Radiate Holdings, LP                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T                                                  JAB Wireless                                                                      Hughes Network Systems   Sprint (LTE)
            Cockrell Hill city (15796)
75211                                      Charter Communications                                One Ring Networks                         ---                                     ViaSat                   T-Mobile (LTE)
            Dallas city (19000)
                                           Comcast                                               WiFires Communications                                                            VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                           AT&T                                                  JAB Wireless
75212       Dallas city (19000)                                                                                                            One Ring Networks                       ViaSat                   T-Mobile (LTE)
                                           Charter Communications                                WiFires Communications
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            Sprint (LTE)
                                                                                                                                                                                   Hughes Network Systems
                                           AT&T                                                                                                                                                             T-Mobile (LTE)
75214       Dallas city (19000)                                                                  WiFires Communications                    ---                                     ViaSat
                                           Charter Communications                                                                                                                                           T-Mobile (5G)
                                                                                                                                                                                   VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            Verizon Wireless (5G)




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                                                                                                                                                                                                                             Exhibit SET-C
                                                                                      Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                          FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities               Wireline (DSL, Fiber, Cable)                              Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T                                                 3 Rooms Communications                                                                                        Sprint (LTE)
                                                                                                                                                                                     Hughes Network Systems
                                           Charter Communications                               AMG Technology Investment Group                                                                               T-Mobile (LTE)
75215       Dallas city (19000)                                                                                                              ---                                     ViaSat
                                           Radiate Holdings, LP                                 One Ring Networks                                                                                             T-Mobile (5G)
                                                                                                                                                                                     VSAT Systems
                                           Windstream Holdings                                  WiFires Communications                                                                                        Verizon Wireless (LTE)
                                                                                                                                                                                                              Verizon Wireless (5G)
                                                                                                3 Rooms Communications                                                                                        AT&T Mobility (LTE)
                                                                                                AMG Technology Investment Group                                                      Hughes Network Systems   Sprint (LTE)
                                           AT&T
75216       Dallas city (19000)                                                                 JAB Wireless                                 ---                                     ViaSat                   T-Mobile (LTE)
                                           Charter Communications
                                                                                                One Ring Networks                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                WiFires Communications                                                                                        Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                           AT&T                                                 AMG Technology Investment Group
75217       Dallas city (19000)                                                                                                              ---                                     ViaSat                   T-Mobile (LTE)
                                           Charter Communications                               JAB Wireless
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                           AT&T                                                                                                                                                               AT&T Mobility (LTE)
                                           Cable One                                                                                                                                 Hughes Network Systems   Sprint (LTE)
75218       Dallas city (19000)            Charter Communications                               ---                                          ---                                     ViaSat                   T-Mobile (LTE)
                                           Comcast                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                           Windstream Holdings                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              Sprint (LTE)
                                           AT&T                                                                                                                                      Hughes Network Systems
            Dallas city (19000)                                                                                                                                                                               T-Mobile (LTE)
75219                                      Charter Communications                               WiFires Communications                       One Ring Networks                       ViaSat
            Highland Park town (33824)                                                                                                                                                                        T-Mobile (5G)
                                           Resound Networks                                                                                                                          VSAT Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              Verizon Wireless (5G)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T                                                 JAB Wireless                                                                         Hughes Network Systems   Sprint (LTE)
75220       Dallas city (19000)            Charter Communications                               One Ring Networks                            ---                                     ViaSat                   T-Mobile (LTE)
                                           Radiate Holdings, LP                                 WiFires Communications                                                               VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
75223       Dallas city (19000)            Charter Communications                               WiFires Communications                       ---                                     ViaSat                   T-Mobile (LTE)
                                           Radiate Holdings, LP                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                           AT&T
75224       Dallas city (19000)                                                                 WiFires Communications                       ---                                     ViaSat                   T-Mobile (LTE)
                                           Charter Communications
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Dallas city (19000)            Charter Communications
75225                                                                                           WiFires Communications                       One Ring Networks                       ViaSat                   T-Mobile (LTE)
            University Park city (74492)   Radiate Holdings, LP
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                           Windstream Holdings
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              Sprint (LTE)
                                                                                                3 Rooms Communications                                                               Hughes Network Systems
                                           AT&T                                                                                                                                                               T-Mobile (LTE)
75226       Dallas city (19000)                                                                 One Ring Networks                            ---                                     ViaSat
                                           Charter Communications                                                                                                                                             T-Mobile (5G)
                                                                                                WiFires Communications                                                               VSAT Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              Verizon Wireless (5G)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
75227       Dallas city (19000)            Charter Communications                               One Ring Networks                            ---                                     ViaSat                   T-Mobile (LTE)
                                           Comcast                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
75228       Dallas city (19000)            Charter Communications                               JAB Wireless                                 ---                                     ViaSat                   T-Mobile (LTE)
                                           Radiate Holdings, LP                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                                                                                JAB Wireless
75229       Dallas city (19000)            Charter Communications                                                                            ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                One Ring Networks
                                           Radiate Holdings, LP                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
75230       Dallas city (19000)            Charter Communications                               One Ring Networks                            ---                                     ViaSat                   T-Mobile (LTE)
                                           Radiate Holdings, LP                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                           AT&T
75231       Dallas city (19000)                                                                 ---                                          One Ring Networks                       ViaSat                   T-Mobile (LTE)
                                           Charter Communications
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Dallas city (19000)            Charter Communications
75232                                                                                           AMG Technology Investment Group              ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Comcast
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                           One Ring Networks
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                           AT&T
75233       Dallas city (19000)                                                                 ---                                          ---                                     ViaSat                   T-Mobile (LTE)
                                           Charter Communications
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Dallas city (19000)
75234                                      Charter Communications                               JAB Wireless                                 One Ring Networks                       ViaSat                   T-Mobile (LTE)
            Farmers Branch city (25452)
                                           Frontier Communications                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              Sprint (LTE)
                                           AT&T                                                 JAB Wireless                                                                         Hughes Network Systems
                                                                                                                                                                                                              T-Mobile (LTE)
75235       Dallas city (19000)            Charter Communications                               One Ring Networks                            ---                                     ViaSat
                                                                                                                                                                                                              T-Mobile (5G)
                                           Radiate Holdings, LP                                 WiFires Communications                                                               VSAT Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              Verizon Wireless (5G)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
75236       Dallas city (19000)            Charter Communications                               AMG Technology Investment Group              ---                                     ViaSat                   T-Mobile (LTE)
                                           One Ring Networks                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Dallas city (19000)            Charter Communications
75237                                                                                           AMG Technology Investment Group              ---                                     ViaSat                   T-Mobile (LTE)
            DeSoto city (20092)            Comcast
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                           One Ring Networks
                                                                                                                                                                                                              Verizon Wireless (LTE)




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                                                                                                                                                                                                                          Exhibit SET-C
                                                                                      Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                       FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities               Wireline (DSL, Fiber, Cable)                           Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                           AT&T                                                                                                                                   Hughes Network Systems   Sprint (LTE)
75238       Dallas city (19000)            Charter Communications                               One Ring Networks                         ---                                     ViaSat                   T-Mobile (LTE)
                                           Comcast                                                                                                                                VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                           AT&T                                                                                                                                   Hughes Network Systems   Sprint (LTE)
75240       Dallas city (19000)            Charter Communications                               ---                                       One Ring Networks                       ViaSat                   T-Mobile (LTE)
                                           Radiate Holdings, LP                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                           Alphabet                                             3 Rooms Communications
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                           AT&T                                                 AMG Technology Investment Group
75241       Dallas city (19000)                                                                                                           ---                                     ViaSat                   T-Mobile (LTE)
                                           Charter Communications                               JAB Wireless
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                           Comcast                                              One Ring Networks
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                           AT&T                                                                                                                                   Hughes Network Systems   Sprint (LTE)
75243       Dallas city (19000)            Charter Communications                               ---                                       One Ring Networks                       ViaSat                   T-Mobile (LTE)
                                           Radiate Holdings, LP                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                           AT&T                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Dallas city (19000)
75244                                      Charter Communications                               One Ring Networks                         ---                                     ViaSat                   T-Mobile (LTE)
            Farmers Branch city (25452)
                                           Comcast                                                                                                                                VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                                           Sprint (LTE)
                                                                                                                                                                                  Hughes Network Systems
                                           AT&T                                                                                                                                                            T-Mobile (LTE)
75246       Dallas city (19000)                                                                 WiFires Communications                    ---                                     ViaSat
                                           Charter Communications                                                                                                                                          T-Mobile (5G)
                                                                                                                                                                                  VSAT Systems
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           Verizon Wireless (5G)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                           AT&T                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                                                                                JAB Wireless
75247       Dallas city (19000)            Charter Communications                                                                         One Ring Networks                       ViaSat                   T-Mobile (LTE)
                                                                                                WiFires Communications
                                           Radiate Holdings, LP                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                           Charter Communications
75248       Dallas city (19000)                                                                 One Ring Networks                         ---                                     ViaSat                   T-Mobile (LTE)
                                           Comcast
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                           AT&T
75249       Dallas city (19000)                                                                 AMG Technology Investment Group           ---                                     ViaSat                   T-Mobile (LTE)
                                           Charter Communications
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                           AT&T
75251       Dallas city (19000)                                                                 ---                                       ---                                     ViaSat                   T-Mobile (LTE)
                                           Charter Communications
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                           AT&T
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                           Charter Communications
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                           Comcast
75252       Dallas city (19000)                                                                 ---                                       One Ring Networks                       ViaSat                   T-Mobile (LTE)
                                           En-Touch Systems
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                           Frontier Communications
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                           Radiate Holdings, LP
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                           Altice                                               3 Rooms Communications                                                            Hughes Network Systems   Sprint (LTE)
            Dallas city (19000)
75253                                      AT&T                                                 AMG Technology Investment Group           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                           Charter Communications                               JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Addison town (01240)           Charter Communications
75254                                                                                           ---                                       ---                                     ViaSat                   T-Mobile (LTE)
            Dallas city (19000)            One Ring Networks
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                           AT&T                                                                                                                                   Hughes Network Systems   Sprint (LTE)
75270       Dallas city (19000)            Charter Communications                               WiFires Communications                    ---                                     ViaSat                   T-Mobile (LTE)
                                           One Ring Networks                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                           AT&T
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                           Cable One
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                           Charter Communications
75287       Dallas city (19000)                                                                 ---                                       One Ring Networks                       ViaSat                   T-Mobile (LTE)
                                           Comcast
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                           Frontier Communications
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                           Radiate Holdings, LP
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                                           Sprint (LTE)
                                                                                                                                                                                  Hughes Network Systems
                                                                                                                                                                                                           T-Mobile (LTE)
75390       Dallas city (19000)            Charter Communications                               WiFires Communications                    ---                                     ViaSat
                                                                                                                                                                                                           T-Mobile (5G)
                                                                                                                                                                                  VSAT Systems
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           Verizon Wireless (5G)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                           AT&T                                                 903 Broadband                                                                                              AT&T Mobility (5G)
                                                                                                                                                                                  Hughes Network Systems
            Greenville city (30920)        Charter Communications                               AMG Technology Investment Group                                                                            Sprint (LTE)
75401                                                                                                                                     Peoples Telephone Cooperative           ViaSat
            Unincorporated Area (n|a)      Frontier Communications                              Community Internet Providers                                                                               T-Mobile (LTE)
                                                                                                                                                                                  VSAT Systems
                                           GEUS                                                 JAB Wireless                                                                                               T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                           1stel
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                           AT&T                                                 3 Rooms Communications
                                                                                                                                                                                                           AT&T Mobility (5G)
                                           Charter Communications                               903 Broadband                                                                     Hughes Network Systems
            Greenville city (30920)                                                                                                                                                                        Sprint (LTE)
75402                                      Comcast                                              AMG Technology Investment Group           Peoples Telephone Cooperative           ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                      T-Mobile (LTE)
                                           Cumby Telephone Cooperative                          Community Internet Providers                                                      VSAT Systems
                                                                                                                                                                                                           T-Mobile (5G)
                                           Frontier Communications                              JAB Wireless
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                           GEUS
                                                                                                3 Rooms Communications                                                                                     AT&T Mobility (LTE)
            Lowry Crossing city (44308)
                                           AT&T                                                 903 Broadband                                                                     Hughes Network Systems   Sprint (LTE)
            Princeton city (59576)
75407                                      Charter Communications                               Community Internet Providers              ---                                     ViaSat                   T-Mobile (LTE)
            Wylie city (80356)
                                           Signalnet Broadband                                  JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)
                                                                                                Zulu Internet                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                           Altice                                               AMG Technology Investment Group
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Anna city (03300)              AT&T                                                 JAB Wireless
75409                                                                                                                                     Grayson Collin Electric Cooperative     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Cable One                                            Speed of Light Broadband
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                           Frontier Communications                              Texoma Communications
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                AMG Technology Investment Group
                                                                                                                                                                                                           AT&T Mobility (5G)
                                                                                                Community Internet Providers                                                      Hughes Network Systems
            Alba town (01636)                                                                                                                                                                              Sprint (LTE)
75410                                      Frontier Communications                              Nextwave Wireless                         Peoples Telephone Cooperative           ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                      T-Mobile (LTE)
                                                                                                Skynet Country                                                                    VSAT Systems
                                                                                                                                                                                                           T-Mobile (5G)
                                                                                                Texas CellNet
                                                                                                                                                                                                           Verizon Wireless (LTE)



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                                                                                                                                                                                                                            Exhibit SET-C
                                                                                    Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                        FCC Fixed Broadband Deployment Data [2]                                                              FCC Mobile Broadband Deployment Data [3]
      [1]
Code                    Municipalities               Wireline (DSL, Fiber, Cable)                              Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                         Mobile (LTE, 5G)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems   AT&T Mobility (5G)
            Bailey city (05264)
75413                                    ---                                                  JAB Wireless                                 Zulu Internet                           ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                   VSAT Systems             T-Mobile (LTE)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                              903 Broadband                                                                                                 AT&T Mobility (5G)
                                         Cable One                                                                                                                                 Hughes Network Systems
            Bells town (07420)                                                                AMG Technology Investment Group                                                                               Sprint (LTE)
75414                                    Comcast                                                                                           Zulu Internet                           ViaSat
            Unincorporated Area (n|a)                                                         JAB Wireless                                                                                                  T-Mobile (LTE)
                                         Frontier Communications                                                                                                                   VSAT Systems
                                                                                              Texoma Communications                                                                                         T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                         Altice                                                                                                                                                             AT&T Mobility (5G)
                                                                                                                                                                                   Hughes Network Systems
            Blossom city (08812)         AT&T                                                 AMG Technology Investment Group                                                                               Sprint (LTE)
75416                                                                                                                                      ---                                     ViaSat
            Unincorporated Area (n|a)    Blossom Telephone Co.                                WiFires Communications                                                                                        T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                         Windstream Holdings                                                                                                                                                T-Mobile (5G)
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                                                                                                                                                                                   Hughes Network Systems
            Bogata city (09172)          Altice                                               AMG Technology Investment Group                                                                               Sprint (LTE)
75417                                                                                                                                      Peoples Telephone Cooperative           ViaSat
            Unincorporated Area (n|a)    Windstream Holdings                                  WiFires Communications                                                                                        T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
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                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                              903 Broadband                                                                                                 AT&T Mobility (LTE)
                                                                                              AMG Technology Investment Group                                                                               AT&T Mobility (5G)
                                                                                                                                                                                   Hughes Network Systems
            Bonham city (09328)          Cable One                                            JAB Wireless                                                                                                  Sprint (LTE)
75418                                                                                                                                      ---                                     ViaSat
            Unincorporated Area (n|a)    Frontier Communications                              Peoples Telephone Cooperative                                                                                 T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                                                                              Texoma Communications                                                                                         T-Mobile (5G)
                                                                                              Zulu Internet                                                                                                 Verizon Wireless (LTE)
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                                                                                                                                                                                                            AT&T Mobility (5G)
                                                                                              AMG Technology Investment Group                                                      Hughes Network Systems
            Toco city (73196)            Altice                                                                                                                                                             Sprint (LTE)
75421                                                                                         WiFires Communications                       AT&T                                    ViaSat
            Unincorporated Area (n|a)    Peoples Telephone Cooperative                                                                                                                                      T-Mobile (LTE)
                                                                                              Zulu Internet                                                                        VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                         Alphabet                                             903 Broadband                                                                                                 AT&T Mobility (5G)
                                                                                                                                                                                   Hughes Network Systems
            Campbell city (12112)        CenturyLink                                          AMG Technology Investment Group                                                                               Sprint (LTE)
75422                                                                                                                                      ---                                     ViaSat
            Unincorporated Area (n|a)    Cumby Telephone Cooperative                          Community Internet Providers                                                                                  T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                         Peoples Telephone Cooperative                        JAB Wireless                                                                                                  T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
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                                                                                                                                                                                                            AT&T Mobility (5G)
                                         AT&T                                                                                                                                      Hughes Network Systems
            Celeste city (13672)                                                              Community Internet Providers                                                                                  Sprint (LTE)
75423                                    Frontier Communications                                                                           ---                                     ViaSat
            Unincorporated Area (n|a)                                                         JAB Wireless                                                                                                  T-Mobile (LTE)
                                         Peoples Telephone Cooperative                                                                                                             VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
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                                                                                              903 Broadband
                                         Alphabet                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Blue Ridge city (08872)                                                           AMG Technology Investment Group
75424                                    AT&T                                                                                              ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                         JAB Wireless
                                         Frontier Communications                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                              Texoma Communications
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            AT&T Mobility (5G)
                                                                                              Telephone and Data Systems                                                           Hughes Network Systems   Cross Valliant Cellular (LTE)
            Clarksville city (15160)     Altice
75426                                                                                         Unified Communications                       ---                                     ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)    Windstream Holdings
                                                                                              WiFires Communications                                                               VSAT Systems             T-Mobile (LTE)
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                         CenturyLink                                          903 Broadband                                                                                                 AT&T Mobility (5G)
                                                                                                                                                                                   Hughes Network Systems
            Commerce city (16240)        Charter Communications                               AMG Technology Investment Group                                                                               Sprint (LTE)
75428                                                                                                                                      ---                                     ViaSat
            Unincorporated Area (n|a)    Cumby Telephone Cooperative                          Community Internet Providers                                                                                  T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                         Peoples Telephone Cooperative                        JAB Wireless                                                                                                  T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            AT&T Mobility (5G)
                                                                                                                                                                                   Hughes Network Systems
            Como town (16252)            Altice                                               AMG Technology Investment Group                                                                               Sprint (LTE)
75431                                                                                                                                      Peoples Telephone Cooperative           ViaSat
            Unincorporated Area (n|a)    Frontier Communications                              Community Internet Providers                                                                                  T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                         Alphabet                                             AMG Technology Investment Group                                                                               AT&T Mobility (5G)
                                                                                                                                                                                   Hughes Network Systems
            Cooper city (16564)          CenturyLink                                          Community Internet Providers                                                                                  Sprint (LTE)
75432                                                                                                                                      Zulu Internet                           ViaSat
            Unincorporated Area (n|a)    Cumby Telephone Cooperative                          JAB Wireless                                                                                                  T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                         Peoples Telephone Cooperative                        WiFires Communications                                                                                        T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
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                                                                                              903 Broadband
                                                                                                                                                                                                            AT&T Mobility (5G)
                                                                                              AMG Technology Investment Group                                                      Hughes Network Systems
            Cumby city (18128)           CenturyLink                                                                                                                                                        Sprint (LTE)
75433                                                                                         Community Internet Providers                 Frontier Communications                 ViaSat
            Unincorporated Area (n|a)    Cumby Telephone Cooperative                                                                                                                                        T-Mobile (LTE)
                                                                                              JAB Wireless                                                                         VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                              Peoples Telephone Cooperative
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                              AMG Technology Investment Group                                                                               AT&T Mobility (5G)
                                                                                                                                                                                   Hughes Network Systems
            Deport city (20020)          Altice                                               Peoples Telephone Cooperative                                                                                 Sprint (LTE)
75435                                                                                                                                      ---                                     ViaSat
            Unincorporated Area (n|a)    Windstream Holdings                                  WiFires Communications                                                                                        T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                                                                              Zulu Internet                                                                                                 T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            AT&T Mobility (5G)
                                         Altice                                               AMG Technology Investment Group                                                      Hughes Network Systems   Cross Valliant Cellular (LTE)
            Detroit town (20128)
75436                                    Blossom Telephone Co.                                Telephone and Data Systems                   ---                                     ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)
                                         Windstream Holdings                                  WiFires Communications                                                               VSAT Systems             T-Mobile (LTE)
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                              903 Broadband                                                                                                 AT&T Mobility (LTE)
                                                                                              AMG Technology Investment Group                                                                               AT&T Mobility (5G)
                                                                                                                                                                                   Hughes Network Systems
            Dodd City town (20680)                                                            JAB Wireless                                                                                                  Sprint (LTE)
75438                                    Frontier Communications                                                                           ---                                     ViaSat
            Unincorporated Area (n|a)                                                         Peoples Telephone Cooperative                                                                                 T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                                                                              WiFires Communications                                                                                        T-Mobile (5G)
                                                                                              Zulu Internet                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                              AMG Technology Investment Group                                                                               AT&T Mobility (5G)
                                                                                                                                                                                   Hughes Network Systems
            Ector city (22516)                                                                JAB Wireless                                                                                                  Sprint (LTE)
75439                                    Cable One                                                                                         ---                                     ViaSat
            Unincorporated Area (n|a)                                                         Texoma Communications                                                                                         T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                                                                              Zulu Internet                                                                                                 T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                              AMG Technology Investment Group
                                                                                                                                                                                   Hughes Network Systems   AT&T Mobility (5G)
            Emory city (24216)           Cumby Telephone Cooperative                          Community Internet Providers
75440                                                                                                                                      Peoples Telephone Cooperative           ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)    Frontier Communications                              Nextwave Wireless
                                                                                                                                                                                   VSAT Systems             T-Mobile (LTE)
                                                                                              Texas CellNet
                                                                                                                                                                                                            Verizon Wireless (LTE)



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                                                                                                                                                                                                                              Exhibit SET-C
                                                                                        Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                          FCC Fixed Broadband Deployment Data [2]                                                              FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                  Wireline (DSL, Fiber, Cable)                            Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                         Mobile (LTE, 5G)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                  3 Rooms Communications
                                                                                                                                                                                                              AT&T Mobility (5G)
                                           AT&T                                                   903 Broadband                                                                      Hughes Network Systems
            Farmersville city (25488)                                                                                                                                                                         Sprint (LTE)
75442                                      Charter Communications                                 Community Internet Providers               Peoples Telephone Cooperative           ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                         T-Mobile (LTE)
                                           Frontier Communications                                JAB Wireless                                                                       VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                  Zulu Internet
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                  903 Broadband
                                                                                                                                                                                     Hughes Network Systems   AT&T Mobility (5G)
            Honey Grove city (34700)                                                              AMG Technology Investment Group            AT&T
75446                                      Peoples Telephone Cooperative                                                                                                             ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                             JAB Wireless                               Zulu Internet
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                  WiFires Communications
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group                                                                             AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
            Ladonia town (40180)                                                                  JAB Wireless                                                                                                Sprint (LTE)
75449                                      AT&T                                                                                              Peoples Telephone Cooperative           ViaSat
            Unincorporated Area (n|a)                                                             Legacy ISP                                                                                                  T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                                                                                  Zulu Internet                                                                                               T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                  903 Broadband                                                                                               AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
            Leonard city (42352)           AT&T                                                   AMG Technology Investment Group            Peoples Telephone Cooperative                                    Sprint (LTE)
75452                                                                                                                                                                                ViaSat
            Unincorporated Area (n|a)      Frontier Communications                                JAB Wireless                               Zulu Internet                                                    T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                                                                                  Texoma Communications                                                                                       T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                  3 Rooms Communications                                                                                      AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
            Lone Oak city (43636)          Cumby Telephone Cooperative                            AMG Technology Investment Group                                                                             Sprint (LTE)
75453                                                                                                                                        Peoples Telephone Cooperative           ViaSat
            Unincorporated Area (n|a)      Frontier Communications                                Community Internet Providers                                                                                T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                                                                                  JAB Wireless                                                                                                T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                           Altice                                                                                                                                                             AT&T Mobility (LTE)
            McKinney city (45744)          AT&T                                                   903 Broadband                                                                      Hughes Network Systems   Sprint (LTE)
75454       Melissa city (47496)           Cable One                                              AMG Technology Investment Group            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Charter Communications                                 JAB Wireless                                                                       VSAT Systems             T-Mobile (5G)
                                           Grayson Collin Electric Cooperative                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           Altice                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Mount Pleasant city (49800)                                                           Honeyberry Hill Consulting                 AT&T
75455                                      Cable One                                                                                                                                 ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                             Signalnet Broadband                        Peoples Telephone Cooperative
                                           Windstream Holdings                                                                                                                       VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           Altice                                                                                                                                                             AT&T Mobility (5G)
                                                                                                  AMG Technology Investment Group                                                    Hughes Network Systems
            Mount Vernon town (49860)      Comcast                                                                                                                                                            Sprint (LTE)
75457                                                                                             AT&T                                       Peoples Telephone Cooperative           ViaSat
            Unincorporated Area (n|a)      Frontier Communications                                                                                                                                            T-Mobile (LTE)
                                                                                                  Community Internet Providers                                                       VSAT Systems
                                           NTS                                                                                                                                                                T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group
            Dorchester city (20932)                                                                                                                                                                           AT&T Mobility (5G)
                                                                                                  Grayson Collin Electric Cooperative                                                Hughes Network Systems
            Gunter city (31616)            Cable One                                                                                                                                                          Sprint (LTE)
75459                                                                                             JAB Wireless                               ---                                     ViaSat
            Howe town (35084)              Frontier Communications                                                                                                                                            T-Mobile (LTE)
                                                                                                  Speed of Light Broadband                                                           VSAT Systems
            Unincorporated Area (n|a)                                                                                                                                                                         T-Mobile (5G)
                                                                                                  Texoma Communications
                                                                                                                                                                                                              Verizon Wireless (LTE)
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                                           1stel
                                                                                                  AMG Technology Investment Group                                                    Hughes Network Systems   Cross Valliant Cellular (LTE)
            Paris city (55080)             Altice                                                                                            AT&T
75460                                                                                             LocaLoop                                                                           ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)      Peoples Telephone Cooperative                                                                     Zulu Internet
                                                                                                  WiFires Communications                                                             VSAT Systems             T-Mobile (LTE)
                                           Windstream Holdings
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group
                                                                                                                                                                                                              AT&T Mobility (5G)
            Paris city (55080)             Altice                                                 JAB Wireless                                                                       Hughes Network Systems
                                                                                                                                                                                                              Sprint (LTE)
75462       Reno city (61592)              Blossom Telephone Co.                                  LocaLoop                                   AT&T                                    ViaSat
                                                                                                                                                                                                              T-Mobile (LTE)
            Unincorporated Area (n|a)      Windstream Holdings                                    WiFires Communications                                                             VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                  Zulu Internet
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                                                                                                                                                                                     Hughes Network Systems
            Pecan Gap city (56468)                                                                AMG Technology Investment Group                                                                             Sprint (LTE)
75469                                      ---                                                                                               Peoples Telephone Cooperative           ViaSat
            Unincorporated Area (n|a)                                                             JAB Wireless                                                                                                T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
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                                                                                                                                                                                                              Verizon Wireless (LTE)
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                                                                                                  AMG Technology Investment Group
                                                                                                                                                                                                              AT&T Mobility (5G)
            East Tawakoni city (22276)                                                            Community Internet Providers                                                       Hughes Network Systems
                                           Cumby Telephone Cooperative                                                                                                                                        Sprint (LTE)
75472       Point city (58532)                                                                    JAB Wireless                               ---                                     ViaSat
                                           Frontier Communications                                                                                                                                            T-Mobile (LTE)
            Unincorporated Area (n|a)                                                             Nextwave Wireless                                                                  VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                  Peoples Telephone Cooperative
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                  3 Rooms Communications                                                                                      AT&T Mobility (LTE)
            Hawk Cove city (32810)                                                                AMG Technology Investment Group                                                                             AT&T Mobility (5G)
                                           AT&T                                                                                                                                      Hughes Network Systems
            Quinlan city (60140)                                                                  Community Internet Providers                                                                                Sprint (LTE)
75474                                      Comcast                                                                                           ---                                     ViaSat
            West Tawakoni city (77896)                                                            JAB Wireless                                                                                                T-Mobile (LTE)
                                           Frontier Communications                                                                                                                   VSAT Systems
            Unincorporated Area (n|a)                                                             Legacy ISP                                                                                                  T-Mobile (5G)
                                                                                                  Peoples Telephone Cooperative                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Ravenna city (60752)                                                                  JAB Wireless
75476                                      Cable One                                                                                         Zulu Internet                           ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                             Telephone and Data Systems
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                  Texoma Communications
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                                                                                                                                                                                                              AT&T Mobility (5G)
                                                                                                  AMG Technology Investment Group                                                    Hughes Network Systems
            Roxton city (63584)                                                                                                              AT&T                                                             Sprint (LTE)
75477                                      Altice                                                 WiFires Communications                                                             ViaSat
            Unincorporated Area (n|a)                                                                                                        Peoples Telephone Cooperative                                    T-Mobile (LTE)
                                                                                                  Zulu Internet                                                                      VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group                                                                             AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
            Savoy city (66008)             Cable One                                              JAB Wireless                                                                                                Sprint (LTE)
75479                                                                                                                                        Zulu Internet                           ViaSat
            Unincorporated Area (n|a)      Frontier Communications                                Telephone and Data Systems                                                                                  T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                                                                                  Texoma Communications                                                                                       T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                  903 Broadband                                                                                               AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
            Sulphur Springs city (70904)   Altice                                                 AMG Technology Investment Group            Frontier Communications                                          Sprint (LTE)
75482                                                                                                                                                                                ViaSat
            Unincorporated Area (n|a)      Cumby Telephone Cooperative                            Community Internet Providers               Peoples Telephone Cooperative                                    T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                                                                                  JAB Wireless                                                                                                T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
            Talco city (71732)             Altice                                                 AMG Technology Investment Group                                                                             Sprint (LTE)
75487                                                                                                                                        Peoples Telephone Cooperative           ViaSat
            Unincorporated Area (n|a)      Windstream Holdings                                    AT&T                                                                                                        T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)




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                                                                                                                                                                                                                            Exhibit SET-C
                                                                                       Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                        FCC Fixed Broadband Deployment Data [2]                                                              FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                 Wireline (DSL, Fiber, Cable)                           Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                         Mobile (LTE, 5G)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                 AMG Technology Investment Group                                                   Hughes Network Systems   AT&T Mobility (5G)
                                          Cable One
75489       Tom Bean city (73328)                                                                JAB Wireless                              ---                                     ViaSat                   Sprint (LTE)
                                          Frontier Communications
                                                                                                 Texoma Communications                                                             VSAT Systems             T-Mobile (LTE)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                 903 Broadband                                                                                              AT&T Mobility (LTE)
                                                                                                 AMG Technology Investment Group                                                   Hughes Network Systems   AT&T Mobility (5G)
            Trenton city (73592)          Frontier Communications
75490                                                                                            JAB Wireless                              ---                                     ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)     Peoples Telephone Cooperative
                                                                                                 Texoma Communications                                                             VSAT Systems             T-Mobile (LTE)
                                                                                                 Zulu Internet                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                 903 Broadband
                                                                                                                                                                                                            AT&T Mobility (5G)
                                          Cable One                                              AMG Technology Investment Group                                                   Hughes Network Systems
            Whitewright town (78628)                                                                                                                                                                        Sprint (LTE)
75491                                     Frontier Communications                                JAB Wireless                              ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                       T-Mobile (LTE)
                                          Peoples Telephone Cooperative                          Texoma Communications                                                             VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                 Zulu Internet
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            AT&T Mobility (5G)
                                                                                                 AMG Technology Investment Group                                                   Hughes Network Systems
            Windom town (79684)                                                                                                                                                                             Sprint (LTE)
75492                                     AT&T                                                   JAB Wireless                              Zulu Internet                           ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                       T-Mobile (LTE)
                                                                                                 WiFires Communications                                                            VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
            Miller's Cove town (48478)                                                                                                                                             Hughes Network Systems   Sprint (LTE)
                                          Altice
75493       Winfield city (79720)                                                                ---                                       AT&T                                    ViaSat                   T-Mobile (LTE)
                                          Peoples Telephone Cooperative
            Unincorporated Area (n|a)                                                                                                                                              VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            AT&T Mobility (5G)
                                                                                                 AMG Technology Investment Group                                                   Hughes Network Systems
            Winnsboro city (79816)        Altice                                                                                           Etex Telephone Cooperative                                       Sprint (LTE)
75494                                                                                            Community Internet Providers                                                      ViaSat
            Unincorporated Area (n|a)     Frontier Communications                                                                          Peoples Telephone Cooperative                                    T-Mobile (LTE)
                                                                                                 Skynet Country                                                                    VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                 903 Broadband
                                                                                                                                                                                                            AT&T Mobility (5G)
                                          AT&T                                                   AMG Technology Investment Group                                                   Hughes Network Systems
            Van Alstyne city (74924)                                                                                                                                                                        Sprint (LTE)
75495                                     Cable One                                              JAB Wireless                              Grayson Collin Electric Cooperative     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                       T-Mobile (LTE)
                                          Frontier Communications                                Speed of Light Broadband                                                          VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                 Texoma Communications
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                 903 Broadband
                                                                                                                                                                                                            AT&T Mobility (5G)
                                                                                                 AMG Technology Investment Group                                                   Hughes Network Systems
            Wolfe City city (79948)       AT&T                                                                                                                                                              Sprint (LTE)
75496                                                                                            Community Internet Providers              ---                                     ViaSat
            Unincorporated Area (n|a)     CenturyLink                                                                                                                                                       T-Mobile (LTE)
                                                                                                 JAB Wireless                                                                      VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                 Zulu Internet
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                 AMG Technology Investment Group                                                                            AT&T Mobility (5G)
                                                                                                                                                                                   Hughes Network Systems
            Yantis town (80440)                                                                  Community Internet Providers              Frontier Communications                                          Sprint (LTE)
75497                                     ---                                                                                                                                      ViaSat
            Unincorporated Area (n|a)                                                            Nextwave Wireless                         Peoples Telephone Cooperative                                    T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                                                                                 Texas CellNet                                                                                              T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
            Texarkana city (72368)        Cable One                                                                                                                                Hughes Network Systems   Sprint (LTE)
75501       Wake Village city (76096)     Southwest Arkansas Telephone Cooperative               ---                                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Windstream Holdings                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
            Red Lick city (61172)                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                          Cable One
75503       Texarkana city (72368)                                                               ---                                       ---                                     ViaSat                   T-Mobile (LTE)
                                          Windstream Holdings
            Unincorporated Area (n|a)                                                                                                                                              VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Annona town (03360)           Altice
75550                                                                                            ---                                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Windstream Holdings
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                          Cable One
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Atlanta city (04516)          Comcast                                                                                          AT&T
75551                                                                                            JumpFiber                                                                         ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Southwest Arkansas Telephone Cooperative                                                         Unified Communications
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                          Windstream Holdings
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            Cross Valliant Cellular (LTE)
                                                                                                                                                                                   Hughes Network Systems
            Avery town (05072)            Altice                                                                                                                                                            Sprint (LTE)
75554                                                                                            Telephone and Data Systems                ---                                     ViaSat
            Unincorporated Area (n|a)     Windstream Holdings                                                                                                                                               T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                          Cable One                                                                                                                                Hughes Network Systems   Sprint (LTE)
            Bloomburg town (08752)
75556                                     Southwest Arkansas Telephone Cooperative               AT&T                                      ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          Windstream Holdings                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            Cross Valliant Cellular (LTE)
                                          Cable One                                                                                                                                Hughes Network Systems
            De Kalb city (19648)                                                                                                                                                                            Sprint (LTE)
75559                                     GCTR                                                   Telephone and Data Systems                ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                       T-Mobile (LTE)
                                          Windstream Holdings                                                                                                                      VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Douglassville town (21112)
75560                                     Windstream Holdings                                    Unified Communications                    ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
            Hooks city (34736)            Cable One                                                                                                                                Hughes Network Systems   Sprint (LTE)
75561       Leary city (42028)            GCTR                                                   ---                                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Windstream Holdings                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Linden city (42844)           Etex Telephone Cooperative
75563                                                                                            ---                                       AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Windstream Holdings
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems
            Marietta town (46668)                                                                                                                                                                           T-Mobile (LTE)
75566                                     Windstream Holdings                                    ---                                       ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                       T-Mobile (5G)
                                                                                                                                                                                   VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                          Cable One
            Maud city (47088)                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                          Comcast
75567       Redwater city (61340)                                                                ---                                       ---                                     ViaSat                   T-Mobile (LTE)
                                          GCTR
            Unincorporated Area (n|a)                                                                                                                                              VSAT Systems             T-Mobile (5G)
                                          Windstream Holdings
                                                                                                                                                                                                            Verizon Wireless (LTE)




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                                                                                                                                                                                                                             Exhibit SET-C
                                                                                        Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                          FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                 Wireline (DSL, Fiber, Cable)                            Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Naples city (50316)             Etex Telephone Cooperative
75568                                                                                             Honeyberry Hill Consulting                 AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Windstream Holdings
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                            Cable One
75569       Nash city (50352)                                                                     ---                                        ---                                     ViaSat                   T-Mobile (LTE)
                                            Windstream Holdings
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                            Cable One
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            New Boston city (50808)         Comcast
75570                                                                                             ---                                        ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       GCTR
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                            Windstream Holdings
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
            Naples city (50316)                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
75571       Omaha city (54024)              Windstream Holdings                                   Honeyberry Hill Consulting                 AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                                                                VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
            Domino town (20848)             Cable One                                                                                                                                Hughes Network Systems   Sprint (LTE)
75572       Queen City city (60080)         Southwest Arkansas Telephone Cooperative              JumpFiber                                  AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Windstream Holdings                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Redwater city (61340)           Cable One
75573                                                                                             ---                                        ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Windstream Holdings
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                            AT&T                                                                                                                                                              AT&T Mobility (LTE)
                                            Cable One                                                                                                                                Hughes Network Systems   Sprint (LTE)
                                                                                                  Skynet Country
75601       Longview city (43888)           Etex Telephone Cooperative                                                                       ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                  VEOpoint
                                            WEHCO Video                                                                                                                              VSAT Systems             T-Mobile (5G)
                                            Zito Media, LP                                                                                                                                                    Verizon Wireless (LTE)
                                            Altice
                                            AT&T                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                  JumpFiber
                                            Cable One                                                                                                                                Hughes Network Systems   Sprint (LTE)
            Longview city (43888)                                                                 Skynet Country
75602                                       Comcast                                                                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                             VEOpoint
                                            Frontier Communications                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                  VGI Technology
                                            WEHCO Video                                                                                                                                                       Verizon Wireless (LTE)
                                            Zito Media, LP
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                            Eastex Telephone Cooperative
            Easton city (22192)                                                                   JumpFiber                                                                          Hughes Network Systems   Sprint (LTE)
                                            Frontier Communications
75603       Lakeport city (40696)                                                                 Skynet Country                             AT&T                                    ViaSat                   T-Mobile (LTE)
                                            WEHCO Video
            Unincorporated Area (n|a)                                                             VEOpoint                                                                           VSAT Systems             T-Mobile (5G)
                                            Zito Media, LP
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                            Altice                                                                                                                                                            AT&T Mobility (LTE)
                                            Conterra Ultra Broadband Holdings                                                                                                        Hughes Network Systems   Sprint (LTE)
            Longview city (43888)                                                                 Skynet Country                             AT&T
75604                                       Frontier Communications                                                                                                                  ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                             VEOpoint                                   Etex Telephone Cooperative
                                            WEHCO Video                                                                                                                              VSAT Systems             T-Mobile (5G)
                                            Zito Media, LP                                                                                                                                                    Verizon Wireless (LTE)
                                            1stel
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                            Altice
                                                                                                  JumpFiber                                                                                                   AT&T Mobility (5G)
                                            Comcast                                                                                                                                  Hughes Network Systems
            Longview city (43888)                                                                 Skynet Country                             AT&T                                                             Sprint (LTE)
75605                                       Conterra Ultra Broadband Holdings                                                                                                        ViaSat
            Unincorporated Area (n|a)                                                             Texas CellNet                              Etex Telephone Cooperative                                       T-Mobile (LTE)
                                            Frontier Communications                                                                                                                  VSAT Systems
                                                                                                  VEOpoint                                                                                                    T-Mobile (5G)
                                            WEHCO Video
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                            Zito Media, LP
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                            Comcast                                                                                                                                  Hughes Network Systems   AT&T Mobility (5G)
            Avinger town (05084)
75630                                       Etex Telephone Cooperative                            ---                                        AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                            Windstream Holdings                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                            Eastex Telephone Cooperative
            Beckville city (07108)                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                            Hilliary Communications
75631       Tatum city (71924)                                                                    ---                                        AT&T                                    ViaSat                   T-Mobile (LTE)
                                            Windstream Holdings
            Unincorporated Area (n|a)                                                                                                                                                VSAT Systems             T-Mobile (5G)
                                            Zito Media, LP
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                            Altice                                                                                                                                                            AT&T Mobility (LTE)
                                            Cable One                                                                                                                                Hughes Network Systems   Sprint (LTE)
            Carthage city (13108)
75633                                       Comcast                                               ---                                        AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                            Eastex Telephone Cooperative                                                                                                             VSAT Systems             T-Mobile (5G)
                                            Windstream Holdings                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
                                            Altice                                                                                                                                   Hughes Network Systems
            Daingerfield city (18464)                                                                                                                                                                         Sprint (LTE)
75638                                       Etex Telephone Cooperative                            ---                                        AT&T                                    ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                         T-Mobile (LTE)
                                            Windstream Holdings                                                                                                                      VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                            Altice
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Easton city (22192)             AT&T
75641                                                                                             ---                                        ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       WEHCO Video
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                            Zito Media, LP
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Gary City town (29108)
75643                                       Windstream Holdings                                   ---                                        AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
                                                                                                  Skynet Country                                                                     Hughes Network Systems
            Gilmer city (29564)             Frontier Communications                                                                          AT&T                                                             Sprint (LTE)
75644                                                                                             TISD                                                                               ViaSat
            Unincorporated Area (n|a)       Radiate Holdings, LP                                                                             Etex Telephone Cooperative                                       T-Mobile (LTE)
                                                                                                  VEOpoint                                                                           VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
            East Mountain city (22168)                                                            Nextwave Wireless                                                                  Hughes Network Systems
                                            Frontier Communications                                                                          AT&T                                                             Sprint (LTE)
75645       Gilmer city (29564)                                                                   Skynet Country                                                                     ViaSat
                                            WEHCO Video                                                                                      Etex Telephone Cooperative                                       T-Mobile (LTE)
            Unincorporated Area (n|a)                                                             VEOpoint                                                                           VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
            Clarksville City city (15172)
                                                                                                  American Broadband Communications                                                                           AT&T Mobility (5G)
            Gladewater city (29660)         Altice                                                                                                                                   Hughes Network Systems
                                                                                                  JumpFiber                                  AT&T                                                             Sprint (LTE)
75647       Union Grove city (74312)        Comcast                                                                                                                                  ViaSat
                                                                                                  Skynet Country                             Etex Telephone Cooperative                                       T-Mobile (LTE)
            Warren City city (76576)        Frontier Communications                                                                                                                  VSAT Systems
                                                                                                  VEOpoint                                                                                                    T-Mobile (5G)
            Unincorporated Area (n|a)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                            Cable One                                             JumpFiber                                                                          Hughes Network Systems   Sprint (LTE)
            Hallsville city (31904)
75650                                       Frontier Communications                               Skynet Country                             AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                            WEHCO Video                                           VEOpoint                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)



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                                                                                                                                                                                                                             Exhibit SET-C
                                                                                         Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                          FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                  Wireline (DSL, Fiber, Cable)                           Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                            Altice                                                                                                                                                            AT&T Mobility (LTE)
                                            Comcast                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Henderson city (33212)                                                                 JumpFiber
75652                                       Eastex Telephone Cooperative                                                                     AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                              Skynet Country
                                            Frontier Communications                                                                                                                  VSAT Systems             T-Mobile (5G)
                                            Zito Media, LP                                                                                                                                                    Verizon Wireless (LTE)
                                            Altice
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                            CenturyLink
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Henderson city (33212)          Comcast
75654                                                                                              Skynet Country                            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Eastex Telephone Cooperative
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                            Frontier Communications
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                            Zito Media, LP
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                            Altice                                                                                                                                   Hughes Network Systems   AT&T Mobility (5G)
            Hughes Springs city (35300)
75656                                       AT&T                                                   ---                                       Etex Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                            Windstream Holdings                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                            1stel                                                                                                                                                             AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
            Jefferson city (37528)          Cable One                                              JumpFiber                                 AT&T                                                             Sprint (LTE)
75657                                                                                                                                                                                ViaSat
            Unincorporated Area (n|a)       CenturyLink                                            VEOpoint                                  Etex Telephone Cooperative                                       T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                            Windstream Holdings                                                                                                                                               T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
                                            Comcast                                                AT&T                                                                              Hughes Network Systems
            Uncertain city (74240)                                                                                                                                                                            Sprint (LTE)
75661                                       Eastex Telephone Cooperative                           JumpFiber                                 ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                         T-Mobile (LTE)
                                            Windstream Holdings                                    VEOpoint                                                                          VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                            Altice
                                            CenturyLink
                                            Comcast                                                                                                                                                           AT&T Mobility (LTE)
                                            Eastex Telephone Cooperative                           JumpFiber                                                                         Hughes Network Systems   Sprint (LTE)
            Kilgore city (39124)
75662                                       En-Touch Systems                                       Skynet Country                            AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                            Etex Telephone Cooperative                             VEOpoint                                                                          VSAT Systems             T-Mobile (5G)
                                            Frontier Communications                                                                                                                                           Verizon Wireless (LTE)
                                            WEHCO Video
                                            Zito Media, LP
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems   AT&T Mobility (5G)
            Lone Star city (43684)          Altice
75668                                                                                              VEOpoint                                  Etex Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Windstream Holdings
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                   Etex Telephone Cooperative                                                        Hughes Network Systems   Sprint (LTE)
            Marshall city (46776)           Cable One
75670                                                                                              JumpFiber                                 AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Frontier Communications
                                                                                                   VEOpoint                                                                          VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
            Marshall city (46776)           Cable One                                                                                                                                Hughes Network Systems   Sprint (LTE)
                                                                                                   JumpFiber
75672       Scottsville city (66332)        Comcast                                                                                          AT&T                                    ViaSat                   T-Mobile (LTE)
                                                                                                   VEOpoint
            Unincorporated Area (n|a)       Eastex Telephone Cooperative                                                                                                             VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                   AT&T                                                                              Hughes Network Systems   Sprint (LTE)
            Mount Enterprise city (49728)   Eastex Telephone Cooperative
75681                                                                                              Skynet Country                            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Windstream Holdings
                                                                                                   Texas CellNet                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            New London city (51168)
75682                                       CenturyLink                                            Skynet Country                            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                   AT&T                                                                              Hughes Network Systems   AT&T Mobility (5G)
            Ore City city (54216)
75683                                       ---                                                    Skynet Country                            Etex Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                   VEOpoint                                                                          VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                            Altice
            New London city (51168)                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                            CenturyLink                                            AT&T
75684       Overton city (54432)                                                                                                             ---                                     ViaSat                   T-Mobile (LTE)
                                            Eastex Telephone Cooperative                           Skynet Country
            Unincorporated Area (n|a)                                                                                                                                                VSAT Systems             T-Mobile (5G)
                                            Frontier Communications
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
                                            Altice                                                                                           AT&T                                    Hughes Network Systems
            Pittsburg city (57908)                                                                 Community Internet Providers                                                                               Sprint (LTE)
75686                                       Etex Telephone Cooperative                                                                       Peoples Telephone Cooperative           ViaSat
            Unincorporated Area (n|a)                                                              VEOpoint                                                                                                   T-Mobile (LTE)
                                            Windstream Holdings                                                                              Signalnet Broadband                     VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                            Eastex Telephone Cooperative
                                                                                                   AT&T                                                                              Hughes Network Systems   Sprint (LTE)
            Tatum city (71924)              Hilliary Communications
75691                                                                                              JumpFiber                                 ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Windstream Holdings
                                                                                                   VEOpoint                                                                          VSAT Systems             T-Mobile (5G)
                                            Zito Media, LP
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
                                            Comcast                                                                                                                                  Hughes Network Systems
            Waskom city (76636)                                                                                                                                                                               Sprint (LTE)
75692                                       Eastex Telephone Cooperative                           AT&T                                      ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                         T-Mobile (LTE)
                                            Windstream Holdings                                                                                                                      VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
            Clarksville City city (15172)   Altice                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                                                                                   Skynet Country
75693       White Oak city (78436)          Etex Telephone Cooperative                                                                       AT&T                                    ViaSat                   T-Mobile (LTE)
                                                                                                   VEOpoint
            Unincorporated Area (n|a)       WEHCO Video                                                                                                                              VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                            Altice
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                            AT&T
75701       Tyler city (74144)                                                                     Digi Comm Enterprises                     ---                                     ViaSat                   T-Mobile (LTE)
                                            Comcast
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                            Radiate Holdings, LP
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                            Altice
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Tyler city (74144)              AT&T
75702                                                                                              Digi Comm Enterprises                     ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Cable One
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                            Etex Telephone Cooperative
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                            Altice
            Noonday city (51756)                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                            AT&T
75703       Tyler city (74144)                                                                     Digi Comm Enterprises                     ---                                     ViaSat                   T-Mobile (LTE)
                                            Cable One
            Unincorporated Area (n|a)                                                                                                                                                VSAT Systems             T-Mobile (5G)
                                            CenturyLink
                                                                                                                                                                                                              Verizon Wireless (LTE)




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                                                                                                                                                                                                                            Exhibit SET-C
                                                                                        Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                         FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                 Wireline (DSL, Fiber, Cable)                           Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                  AMG Technology Investment Group
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                  Community Internet Providers
                                           Altice                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Tyler city (74144)                                                                    Digi Comm Enterprises
75704                                      AT&T                                                                                             ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                             Legacy ISP
                                           Comcast                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                  Nextwave Wireless
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                  Texas CellNet
                                                                                                                                                                                                             AT&T Mobility (LTE)
            New Chapel Hill city (50876)                                                                                                                                            Hughes Network Systems   Sprint (LTE)
                                                                                                  Digi Comm Enterprises
75707       Tyler city (74144)             Altice                                                                                           AT&T                                    ViaSat                   T-Mobile (LTE)
                                                                                                  Skynet Country
            Unincorporated Area (n|a)                                                                                                                                               VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             AT&T Mobility (5G)
                                                                                                                                                                                    Hughes Network Systems
            Tyler city (74144)             Altice                                                 Digi Comm Enterprises                                                                                      Sprint (LTE)
75708                                                                                                                                       AT&T                                    ViaSat
            Unincorporated Area (n|a)      Etex Telephone Cooperative                             Skynet Country                                                                                             T-Mobile (LTE)
                                                                                                                                                                                    VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Tyler city (74144)             Altice                                                 Community Internet Providers
75709                                                                                                                                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      AT&T                                                   Digi Comm Enterprises
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Arp city (04156)               Altice                                                 Digi Comm Enterprises
75750                                                                                                                                       AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      CenturyLink                                            Skynet Country
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Athens city (04504)            Altice
75751                                                                                             Community Internet Providers              One Ring Networks                       ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      CenturyLink
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                  3 Rooms Communications
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Athens city (04504)            Altice                                                 Community Internet Providers
75752                                                                                                                                       Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      CenturyLink                                            Digi Comm Enterprises
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                  One Ring Networks
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                  Texas CellNet
                                                                                                  AMG Technology Investment Group
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                  Community Internet Providers
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Edom city (22744)              CenturyLink                                            Digi Comm Enterprises                     Etex Telephone Cooperative
75754                                                                                                                                                                               ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      One Ring Networks                                      Nextwave Wireless                         Frontier Communications
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                  Peoples Telephone Cooperative
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                  Texas CellNet
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             AT&T Mobility (5G)
                                           Altice                                                 AT&T                                                                              Hughes Network Systems
            Big Sandy town (08224)                                                                                                                                                                           Sprint (LTE)
75755                                      Comcast                                                Nextwave Wireless                         Etex Telephone Cooperative              ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                        T-Mobile (LTE)
                                           Frontier Communications                                Skynet Country                                                                    VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
            Brownsboro city (10756)                                                               Community Internet Providers                                                      Hughes Network Systems   Sprint (LTE)
75756       Edom city (22744)              CenturyLink                                            Digi Comm Enterprises                     ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                             Texas CellNet                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           Altice                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Bullard town (11212)                                                                  Digi Comm Enterprises
75757                                      CenturyLink                                                                                      ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                             Texas CellNet
                                           Frontier Communications                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           Altice                                                 AMG Technology Investment Group
            Chandler city (14224)                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                           Cable One                                              Community Internet Providers
75758       Coffee City town (15820)                                                                                                        ---                                     ViaSat                   T-Mobile (LTE)
                                           CenturyLink                                            Digi Comm Enterprises
            Unincorporated Area (n|a)                                                                                                                                               VSAT Systems             T-Mobile (5G)
                                           Comcast                                                Texas CellNet
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems
            Cuney town (18152)                                                                                                                                                                               T-Mobile (LTE)
75759                                      CenturyLink                                            Digi Comm Enterprises                     ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                        T-Mobile (5G)
                                                                                                                                                                                    VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Cushing city (18224)           Eastex Telephone Cooperative
75760                                                                                             AT&T                                      ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Windstream Holdings
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           Altice                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Noonday city (51756)                                                                  Community Internet Providers
75762                                      AT&T                                                                                             ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                             Digi Comm Enterprises
                                           CenturyLink                                                                                                                              VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
            Berryville town (07852)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Coffee City town (15820)       Altice
75763                                                                                             Digi Comm Enterprises                     ---                                     ViaSat                   T-Mobile (LTE)
            Frankston town (27300)         CenturyLink
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems
                                                                                                                                                                                                             T-Mobile (LTE)
75764       Gallatin city (28008)          Frontier Communications                                ---                                       ---                                     ViaSat
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                    VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             AT&T Mobility (5G)
                                           Altice                                                 Nextwave Wireless                                                                 Hughes Network Systems
            Hawkins city (32816)                                                                                                            AT&T                                                             Sprint (LTE)
75765                                      Cable One                                              Peoples Telephone Cooperative                                                     ViaSat
            Unincorporated Area (n|a)                                                                                                       Etex Telephone Cooperative                                       T-Mobile (LTE)
                                           Frontier Communications                                Skynet Country                                                                    VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                           Altice
                                           CenturyLink                                                                                                                                                       AT&T Mobility (LTE)
            Jacksonville city (37216)      Comcast                                                Digi Comm Enterprises                                                             Hughes Network Systems   Sprint (LTE)
75766       New Summerfield city (51336)   Eastex Telephone Cooperative                           Nextwave Wireless                         Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Frontier Communications                                Texas CellNet                                                                     VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP                                                                                                                                              Verizon Wireless (LTE)
                                           Windstream Holdings
                                                                                                  903 Broadband
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                  Community Internet Providers
            Moore Station city (49272)                                                                                                                                              Hughes Network Systems   Sprint (LTE)
                                           Altice                                                 Digi Comm Enterprises
75770       Poynor town (59192)                                                                                                             ---                                     ViaSat                   T-Mobile (LTE)
                                           CenturyLink                                            Nextwave Wireless
            Unincorporated Area (n|a)                                                                                                                                               VSAT Systems             T-Mobile (5G)
                                                                                                  One Ring Networks
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                  Texas CellNet




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                                                                                                                                                                                                                                Exhibit SET-C
                                                                                        Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                             FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                    Municipalities                   Wireline (DSL, Fiber, Cable)                               Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                  AMG Technology Investment Group
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                  Community Internet Providers
                                                                                                                                                                                                                 AT&T Mobility (5G)
            Hideaway city (33578)                                                                 Digi Comm Enterprises                                                                 Hughes Network Systems
                                                                                                                                                AT&T                                                             Sprint (LTE)
75771       Lindale city (42820)           Altice                                                 Nextwave Wireless                                                                     ViaSat
                                                                                                                                                Frontier Communications                                          T-Mobile (LTE)
            Unincorporated Area (n|a)                                                             Peoples Telephone Cooperative                                                         VSAT Systems
                                                                                                                                                                                                                 T-Mobile (5G)
                                                                                                  Skynet Country
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                  Texas CellNet
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group
                                                                                                                                                                                                                 AT&T Mobility (5G)
                                                                                                  Community Internet Providers                  AT&T                                    Hughes Network Systems
            Mineola city (48648)           Altice                                                                                                                                                                Sprint (LTE)
75773                                                                                             Nextwave Wireless                             Frontier Communications                 ViaSat
            Unincorporated Area (n|a)      Etex Telephone Cooperative                                                                                                                                            T-Mobile (LTE)
                                                                                                  Skynet Country                                Peoples Telephone Cooperative           VSAT Systems
                                                                                                                                                                                                                 T-Mobile (5G)
                                                                                                  Texas CellNet
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Murchison city (50076)                                                                Community Internet Providers
75778                                      CenturyLink                                                                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                             Digi Comm Enterprises
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                  Texas CellNet
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                        Hughes Network Systems
            New Summerfield city (51336)                                                                                                                                                                         T-Mobile (LTE)
75780                                      Frontier Communications                                ---                                           ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                        VSAT Systems
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                  AMG Technology Investment Group                                                                                AT&T Mobility (LTE)
                                           Altice
                                                                                                  Community Internet Providers                                                          Hughes Network Systems   AT&T Mobility (5G)
            Quitman city (60188)           AT&T
75783                                                                                             Nextwave Wireless                             Peoples Telephone Cooperative           ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Etex Telephone Cooperative
                                                                                                  Skynet Country                                                                        VSAT Systems             T-Mobile (5G)
                                           Frontier Communications
                                                                                                  Texas CellNet                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                           Eastex Telephone Cooperative                                                                                                                 Hughes Network Systems
            Reklaw city (61508)                                                                                                                                                                                  T-Mobile (LTE)
75784                                      Frontier Communications                                ---                                           ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                            T-Mobile (5G)
                                           Windstream Holdings                                                                                                                          VSAT Systems
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                           Altice
            Gallatin city (28008)                                                                                                                                                       Hughes Network Systems   Sprint (LTE)
                                           Consolidated Communications
75785       Rusk city (63848)                                                                     Texas CellNet                                 ---                                     ViaSat                   T-Mobile (LTE)
                                           Eastex Telephone Cooperative
            Unincorporated Area (n|a)                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                           Frontier Communications
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                           Altice
            New Summerfield city (51336)                                                                                                                                                Hughes Network Systems   Sprint (LTE)
                                           CenturyLink                                            Digi Comm Enterprises
75789       Troup city (73724)                                                                                                                  ---                                     ViaSat                   T-Mobile (LTE)
                                           Eastex Telephone Cooperative                           Skynet Country
            Unincorporated Area (n|a)                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                           Frontier Communications
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                  AMG Technology Investment Group
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                  Community Internet Providers
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Van city (74912)                                                                      Digi Comm Enterprises                         Dell Telephone Cooperative
75790                                      Etex Telephone Cooperative                                                                                                                   ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                             Frontier Communications                       Peoples Telephone Cooperative
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                  Nextwave Wireless
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                  Texas CellNet
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Whitehouse city (78388)        Altice
75791                                                                                             Digi Comm Enterprises                         ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      AT&T
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                                                 AT&T Mobility (5G)
                                                                                                  Digi Comm Enterprises                                                                 Hughes Network Systems
            Winona town (79828)            Altice                                                                                               AT&T                                                             Sprint (LTE)
75792                                                                                             Nextwave Wireless                                                                     ViaSat
            Unincorporated Area (n|a)      Frontier Communications                                                                              Etex Telephone Cooperative                                       T-Mobile (LTE)
                                                                                                  Skynet Country                                                                        VSAT Systems
                                                                                                                                                                                                                 T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                           CenturyLink                                                                                                                                  Hughes Network Systems   AT&T Mobility (5G)
            Palestine city (54708)
75801                                      Windstream Holdings                                    One Ring Networks                             ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                           Zito Media, LP                                                                                                                               VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                           CenturyLink                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Palestine city (54708)
75803                                      Comcast                                                One Ring Networks                             ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                           Zito Media, LP                                                                                                                               VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                        Hughes Network Systems
            Buffalo city (11116)           Windstream Holdings                                    AMG Technology Investment Group                                                                                Sprint (LTE)
75831                                                                                                                                           AT&T                                    ViaSat
            Unincorporated Area (n|a)      Zito Media, LP                                         Express WISP                                                                                                   T-Mobile (LTE)
                                                                                                                                                                                        VSAT Systems
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                  AirLink                                                                                                        AT&T Mobility (5G)
                                                                                                                                                                                        Hughes Network Systems
            Centerville city (13900)                                                              Express WISP                                                                                                   Sprint (LTE)
75833                                      Windstream Holdings                                                                                  ---                                     ViaSat
            Unincorporated Area (n|a)                                                             Razer Wireless                                                                                                 T-Mobile (LTE)
                                                                                                                                                                                        VSAT Systems
                                                                                                  Unified Communications                                                                                         T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
            Crockett city (17744)                                                                                                                                                       Hughes Network Systems   AT&T Mobility (5G)
                                           GCTR                                                   AirLink
75835       Latexo city (41644)                                                                                                                 ---                                     ViaSat                   T-Mobile (LTE)
                                           Windstream Holdings                                    Razer Wireless
            Unincorporated Area (n|a)                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                           CenturyLink                                                                                                                                  Hughes Network Systems   AT&T Mobility (5G)
            Elkhart town (23140)
75839                                      Windstream Holdings                                    ---                                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                           Zito Media, LP                                                                                                                               VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                  1stel
                                           AT&T                                                                                                                                         Hughes Network Systems   Sprint (LTE)
            Fairfield city (25104)                                                                AMG Technology Investment Group
75840                                      GCTR                                                                                                 ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                             Express WISP
                                           Windstream Holdings                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                                                                  TISD
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                           Altice
                                                                                                                                                                                        Hughes Network Systems   AT&T Mobility (5G)
            Grapeland city (30632)         Eastex Telephone Cooperative
75844                                                                                             ---                                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      GCTR
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                           Windstream Holdings
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                                                 AT&T Mobility (5G)
                                                                                                                                                                                        Hughes Network Systems
            Groveton city (31340)          Consolidated Communications                                                                                                                                           Sprint (LTE)
75845                                                                                             ---                                           ---                                     ViaSat
            Unincorporated Area (n|a)      Windstream Holdings                                                                                                                                                   T-Mobile (LTE)
                                                                                                                                                                                        VSAT Systems
                                                                                                                                                                                                                 T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group
                                           Alenco Communications                                                                                                                                                 AT&T Mobility (5G)
                                                                                                  Express WISP                                                                          Hughes Network Systems
            Jewett city (37648)            En-Touch Systems                                                                                                                                                      Sprint (LTE)
75846                                                                                             JAB Wireless                                  AT&T                                    ViaSat
            Unincorporated Area (n|a)      Windstream Holdings                                                                                                                                                   T-Mobile (LTE)
                                                                                                  Razer Wireless                                                                        VSAT Systems
                                           Zito Media, LP                                                                                                                                                        T-Mobile (5G)
                                                                                                  Unified Communications
                                                                                                                                                                                                                 Verizon Wireless (LTE)




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                                                                                                                                                                                                                           Exhibit SET-C
                                                                                      Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                        FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                Wireline (DSL, Fiber, Cable)                            Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems
            Kennard city (38884)          Consolidated Communications                                                                                                                                       T-Mobile (LTE)
75847                                                                                           ---                                        ---                                     ViaSat
            Unincorporated Area (n|a)     Windstream Holdings                                                                                                                                               T-Mobile (5G)
                                                                                                                                                                                   VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems
                                          AT&T                                                                                                                                                              T-Mobile (LTE)
75848       Kirvin town (39520)                                                                 AMG Technology Investment Group            ---                                     ViaSat
                                          Windstream Holdings                                                                                                                                               T-Mobile (5G)
                                                                                                                                                                                   VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems
            Latexo city (41644)                                                                                                                                                                             AT&T Mobility (5G)
75849                                     Windstream Holdings                                   ---                                        ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                       T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                AirLink                                                                                                     AT&T Mobility (5G)
                                                                                                                                                                                   Hughes Network Systems
            Leona city (42340)                                                                  AT&T                                                                                                        Sprint (LTE)
75850                                     Windstream Holdings                                                                              ---                                     ViaSat
            Unincorporated Area (n|a)                                                           Razer Wireless                                                                                              T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                                                                                Unified Communications                                                                                      T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            AT&T Mobility (5G)
                                                                                                                                                                                   Hughes Network Systems
            Lovelady city (44260)                                                               AirLink                                                                                                     Sprint (LTE)
75851                                     Windstream Holdings                                                                              ---                                     ViaSat
            Unincorporated Area (n|a)                                                           Razer Wireless                                                                                              T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            AT&T Mobility (5G)
                                                                                                AirLink                                                                            Hughes Network Systems
            Midway city (48180)                                                                                                                                                                             Sprint (LTE)
75852                                     Windstream Holdings                                   Razer Wireless                             AT&T                                    ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                       T-Mobile (LTE)
                                                                                                Unified Communications                                                             VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            AT&T Mobility (5G)
                                          Etex Telephone Cooperative                            AMG Technology Investment Group                                                    Hughes Network Systems
            Oakwood town (53232)                                                                                                                                                                            Sprint (LTE)
75855                                     GCTR                                                  Express WISP                               ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                       T-Mobile (LTE)
                                          Windstream Holdings                                   Resound Networks                                                                   VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                1stel                                                                                                       AT&T Mobility (LTE)
                                          Etex Telephone Cooperative                            American Broadband Communications                                                  Hughes Network Systems   Sprint (LTE)
            Streetman town (70604)
75859                                     GCTR                                                  AMG Technology Investment Group            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          Windstream Holdings                                   Express WISP                                                                       VSAT Systems             T-Mobile (5G)
                                                                                                JAB Wireless                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                          Alenco Communications                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Teague city (72020)                                                                 AMG Technology Investment Group
75860                                     GCTR                                                                                             AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                           Express WISP
                                          Windstream Holdings                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                          Altice
                                                                                                                                                                                                            AT&T Mobility (5G)
                                          Cable One                                                                                                                                Hughes Network Systems
            Trinity city (73664)                                                                AirLink                                                                                                     Sprint (LTE)
75862                                     Comcast                                                                                          ---                                     ViaSat
            Unincorporated Area (n|a)                                                           Razer Wireless                                                                                              T-Mobile (LTE)
                                          Eastex Telephone Cooperative                                                                                                             VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                          Windstream Holdings
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                          Altice
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Lufkin city (45072)           Comcast
75901                                                                                           ---                                        ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Consolidated Communications
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                          Windstream Holdings
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
            Hudson city (35228)                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
75904       Lufkin city (45072)           Altice                                                ---                                        ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                                                              VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
            Alto town (02188)             Consolidated Communications                                                                                                              Hughes Network Systems   Sprint (LTE)
75925       Wells town (77176)            Eastex Telephone Cooperative                          AT&T                                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Frontier Communications                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            AT&T Mobility (5G)
                                                                                                                                                                                   Hughes Network Systems
            Broaddus town (10384)                                                                                                                                                                           Sprint (LTE)
75929                                     Windstream Holdings                                   AT&T                                       ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                       T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            AT&T Mobility (5G)
                                                                                                                                                                                   Hughes Network Systems
            Browndell city (10708)        Cable One                                                                                                                                                         Sprint (LTE)
75931                                                                                           ---                                        AT&T                                    ViaSat
            Unincorporated Area (n|a)     Windstream Holdings                                                                                                                                               T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                          Altice                                                                                                                                   Hughes Network Systems
            Center city (13732)                                                                                                                                                                             T-Mobile (LTE)
75935                                     Comcast                                               ---                                        AT&T                                    ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                       T-Mobile (5G)
                                          NTS                                                                                                                                      VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            AT&T Mobility (5G)
                                                                                                                                                                                   Hughes Network Systems
            Chester town (14584)                                                                                                                                                                            Sprint (LTE)
75936                                     Eastex Telephone Cooperative                          AT&T                                       ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                       T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems
            Chireno city (14776)                                                                                                                                                                            T-Mobile (LTE)
75937                                     Consolidated Communications                           AT&T                                       ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                       T-Mobile (5G)
                                                                                                                                                                                   VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            AT&T Mobility (5G)
                                                                                                                                                                                   Hughes Network Systems
            Colmesneil city (16048)       Eastex Telephone Cooperative                                                                                                                                      Sprint (LTE)
75938                                                                                           AT&T                                       ---                                     ViaSat
            Unincorporated Area (n|a)     Windstream Holdings                                                                                                                                               T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            AT&T Mobility (5G)
                                          Consolidated Communications                                                                                                              Hughes Network Systems
            Corrigan town (17036)                                                                                                                                                                           Sprint (LTE)
75939                                     Eastex Telephone Cooperative                          ---                                        AT&T                                    ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                       T-Mobile (LTE)
                                          Windstream Holdings                                                                                                                      VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
            Burke city (11380)                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                          Altice
75941       Diboll city (20308)                                                                 AT&T                                       ---                                     ViaSat                   T-Mobile (LTE)
                                          Consolidated Communications
            Unincorporated Area (n|a)                                                                                                                                              VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)




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                                                                                                                                                                                                                            Exhibit SET-C
                                                                                      Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                         FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                Wireline (DSL, Fiber, Cable)                             Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                          Altice                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Garrison city (29060)
75946                                     Eastex Telephone Cooperative                          ---                                         AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          Windstream Holdings                                                                                                                       VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems
            Hemphill city (33188)         Comcast                                                                                                                                                            T-Mobile (LTE)
75948                                                                                           AT&T                                        ---                                     ViaSat
            Unincorporated Area (n|a)     Windstream Holdings                                                                                                                                                T-Mobile (5G)
                                                                                                                                                                                    VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             AT&T Mobility (5G)
                                          Altice                                                                                                                                    Hughes Network Systems
            Huntington city (35492)                                                                                                                                                                          Sprint (LTE)
75949                                     Consolidated Communications                           AT&T                                        ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                        T-Mobile (LTE)
                                          Windstream Holdings                                                                                                                       VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             AT&T Mobility (5G)
                                                                                                                                                                                    Hughes Network Systems
            Jasper city (37420)           Cable One                                                                                                                                                          Sprint (LTE)
75951                                                                                           ---                                         AT&T                                    ViaSat
            Unincorporated Area (n|a)     Comcast                                                                                                                                                            T-Mobile (LTE)
                                                                                                                                                                                    VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                          Altice                                                                                                                                    Hughes Network Systems
            Joaquin city (37684)                                                                                                                                                                             T-Mobile (LTE)
75954                                     Eastex Telephone Cooperative                          AT&T                                        ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                        T-Mobile (5G)
                                          Windstream Holdings                                                                                                                       VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   AT&T Mobility (5G)
            Kirbyville city (39460)
75956                                     ---                                                   ---                                         AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Nacogdoches city (50256)      Altice
75961                                                                                           ---                                         AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Consolidated Communications
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                          Altice
75962       Nacogdoches city (50256)                                                            ---                                         ---                                     ViaSat                   T-Mobile (LTE)
                                          AT&T
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Nacogdoches city (50256)      Altice
75964                                                                                           ---                                         AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Windstream Holdings
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
            Appleby city (03564)          Altice                                                                                                                                    Hughes Network Systems   Sprint (LTE)
75965       Nacogdoches city (50256)      Cable One                                             ---                                         AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     En-Touch Systems                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   AT&T Mobility (5G)
            Newton city (51372)
75966                                     Windstream Holdings                                   ---                                         AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   AT&T Mobility (5G)
            Pineland city (57644)
75968                                     Windstream Holdings                                   AT&T                                        ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems
            San Augustine city (65024)    Altice                                                                                                                                                             T-Mobile (LTE)
75972                                                                                           ---                                         AT&T                                    ViaSat
            Unincorporated Area (n|a)     Windstream Holdings                                                                                                                                                T-Mobile (5G)
                                                                                                                                                                                    VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems
            Huxley city (35636)           Altice                                                                                                                                                             T-Mobile (LTE)
75973                                                                                           ---                                         AT&T                                    ViaSat
            Unincorporated Area (n|a)     Eastex Telephone Cooperative                                                                                                                                       T-Mobile (5G)
                                                                                                                                                                                    VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Tenaha town (72188)
75974                                     Windstream Holdings                                   ---                                         AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems
            Timpson city (73076)          Eastex Telephone Cooperative                                                                                                                                       T-Mobile (LTE)
75975                                                                                           ---                                         AT&T                                    ViaSat
            Unincorporated Area (n|a)     Windstream Holdings                                                                                                                                                T-Mobile (5G)
                                                                                                                                                                                    VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Wells town (77176)
75976                                     Consolidated Communications                           AT&T                                        ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             AT&T Mobility (5G)
            Ivanhoe city (37112)          Cable One                                                                                                                                 Hughes Network Systems
                                                                                                                                                                                                             Sprint (LTE)
75979       Woodville town (80212)        Eastex Telephone Cooperative                          Rarity Solutions                            AT&T                                    ViaSat
                                                                                                                                                                                                             T-Mobile (LTE)
            Unincorporated Area (n|a)     Windstream Holdings                                                                                                                       VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             AT&T Mobility (5G)
                                                                                                                                                                                    Hughes Network Systems
            Zavalla city (80728)          Comcast                                                                                                                                                            Sprint (LTE)
75980                                                                                           AT&T                                        ---                                     ViaSat
            Unincorporated Area (n|a)     Windstream Holdings                                                                                                                                                T-Mobile (LTE)
                                                                                                                                                                                    VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                          1stel
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                          AT&T                                                  AMG Technology Investment Group
76001       Arlington city (04000)                                                                                                          ---                                     ViaSat                   T-Mobile (LTE)
                                          Cable One                                             Cirra Networks
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                          Charter Communications
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                          AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                                                                                AMG Technology Investment Group
76002       Arlington city (04000)        Charter Communications                                                                            ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                Cirra Networks
                                          Comcast                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             Sprint (LTE)
                                          AT&T                                                                                                                                      Hughes Network Systems
                                                                                                Cirra Networks                                                                                               T-Mobile (LTE)
76006       Arlington city (04000)        Charter Communications                                                                            ---                                     ViaSat
                                                                                                One Ring Networks                                                                                            T-Mobile (5G)
                                          Radiate Holdings, LP                                                                                                                      VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             Verizon Wireless (5G)




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                                                                                                                                                                                                                                 Exhibit SET-C
                                                                                             Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                              FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                      Wireline (DSL, Fiber, Cable)                           Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
            Aledo city (01744)
            Annetta town (03336)                                                                                                                                                                                  AT&T Mobility (LTE)
                                                  1stel
            Annetta North town (03340)                                                                 AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
                                                  AT&T                                                                                           Dell Telephone Cooperative
76008       Annetta South town (03342)                                                                 Cirra Networks                                                                    ViaSat                   T-Mobile (LTE)
                                                  Charter Communications                                                                         Linxus Internet
            Fort Worth city (27000)                                                                    JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
                                                  Windstream Holdings
            Willow Park city (79492)                                                                                                                                                                              Verizon Wireless (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                       AMG Technology Investment Group
            Alvarado city (02260)                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
                                                  AT&T                                                 Cirra Networks
76009       Burleson city (11428)                                                                                                                1stel                                   ViaSat                   T-Mobile (LTE)
                                                  Windstream Holdings                                  JAB Wireless
            Unincorporated Area (n|a)                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                       Legacy ISP
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                  AT&T                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                                                                                       AMG Technology Investment Group
76010       Arlington city (04000)                Charter Communications                                                                         ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                       Cirra Networks
                                                  Radiate Holdings, LP                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                  AT&T                                                                                                                                                            Sprint (LTE)
                                                                                                       AMG Technology Investment Group                                                   Hughes Network Systems
                                                  Charter Communications                                                                                                                                          T-Mobile (LTE)
76011       Arlington city (04000)                                                                     Cirra Networks                            ---                                     ViaSat
                                                  Radiate Holdings, LP                                                                                                                                            T-Mobile (5G)
                                                                                                       One Ring Networks                                                                 VSAT Systems
                                                  Windstream Holdings                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                                  Verizon Wireless (5G)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                  AT&T
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
                                                  Cable One                                            AMG Technology Investment Group
76012       Arlington city (04000)                                                                                                               ---                                     ViaSat                   T-Mobile (LTE)
                                                  Charter Communications                               Cirra Networks
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                  Radiate Holdings, LP
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
            Arlington city (04000)                                                                                                                                                       Hughes Network Systems   Sprint (LTE)
                                                  AT&T                                                 AMG Technology Investment Group
76013       Dalworthington Gardens city (19084)                                                                                                  ---                                     ViaSat                   T-Mobile (LTE)
                                                  Charter Communications                               Cirra Networks
            Pantego town (55020)                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                  AT&T                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                                                                                       AMG Technology Investment Group
76014       Arlington city (04000)                Charter Communications                                                                         ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                       Cirra Networks
                                                  Comcast                                                                                                                                VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
                                                  AT&T                                                 AMG Technology Investment Group
76015       Arlington city (04000)                                                                                                               ---                                     ViaSat                   T-Mobile (LTE)
                                                  Charter Communications                               Cirra Networks
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                  AT&T                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Arlington city (04000)                                                                     AMG Technology Investment Group
76016                                             Charter Communications                                                                         ---                                     ViaSat                   T-Mobile (LTE)
            Dalworthington Gardens city (19084)                                                        Cirra Networks
                                                  Comcast                                                                                                                                VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                  AT&T                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                                                                                       AMG Technology Investment Group
76017       Arlington city (04000)                Charter Communications                                                                         ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                       Cirra Networks
                                                  Comcast                                                                                                                                VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
                                                  AT&T                                                 AMG Technology Investment Group
76018       Arlington city (04000)                                                                                                               One Ring Networks                       ViaSat                   T-Mobile (LTE)
                                                  Charter Communications                               Cirra Networks
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
            Azle city (05168)                     1stel                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                       AMG Technology Investment Group
            Pelican Bay city (56640)              AT&T                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                                                                                       Cirra Networks
76020       Reno city (61604)                     CenturyLink                                                                                    Millennium Telcom                       ViaSat                   T-Mobile (LTE)
                                                                                                       JAB Wireless
            Sanctuary town (65066)                Charter Communications                                                                                                                 VSAT Systems             T-Mobile (5G)
                                                                                                       NTX Fiberwave
            Unincorporated Area (n|a)             Frontier Communications                                                                                                                                         Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                  AT&T                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                                                                                       AMG Technology Investment Group
76021       Bedford city (07132)                  Charter Communications                                                                         ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                       Cirra Networks
                                                  Comcast                                                                                                                                VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
                                                  AT&T
76022       Bedford city (07132)                                                                       Cirra Networks                            ---                                     ViaSat                   T-Mobile (LTE)
                                                  Charter Communications
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                       AMG Technology Investment Group
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
            Boyd town (09748)                     CenturyLink                                          Cirra Networks
76023                                                                                                                                            Millennium Telcom                       ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)             Frontier Communications                              JAB Wireless
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                       NTX Fiberwave
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                  AT&T                                                                                                                                                            AT&T Mobility (LTE)
            Burleson city (11428)                 Charter Communications                                                                         1stel                                   Hughes Network Systems   Sprint (LTE)
                                                                                                       Cirra Networks
76028       Fort Worth city (27000)               Comcast                                                                                        Alenco Communications                   ViaSat                   T-Mobile (LTE)
                                                                                                       JAB Wireless
            Unincorporated Area (n|a)             En-Touch Systems                                                                               AMG Technology Investment Group         VSAT Systems             T-Mobile (5G)
                                                  Zito Media, LP                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
            Cleburne city (15364)                 AT&T
                                                                                                       AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
            Coyote Flats city (17429)             Charter Communications                                                                         1stel
76031                                                                                                  Cirra Networks                                                                    ViaSat                   T-Mobile (LTE)
            Keene city (38548)                    Windstream Holdings                                                                            Alenco Communications
                                                                                                       JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)             Zito Media, LP
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                  Cable One                                                                                                                                                       AT&T Mobility (LTE)
                                                  Charter Communications                               Alenco Communications                     1stel                                   Hughes Network Systems   Sprint (LTE)
            Cleburne city (15364)
76033                                             GCTR                                                 Cirra Networks                            AMG Technology Investment Group         ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                  Windstream Holdings                                  JAB Wireless                              AT&T                                    VSAT Systems             T-Mobile (5G)
                                                  Zito Media, LP                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                  AT&T
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
                                                  Charter Communications                               AMG Technology Investment Group
76034       Colleyville city (15988)                                                                                                             ---                                     ViaSat                   T-Mobile (LTE)
                                                  Frontier Communications                              Cirra Networks
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                  Radiate Holdings, LP
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                       AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
            Cresson city (17648)                  AT&T
76035                                                                                                  Cirra Networks                            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)             Windstream Holdings
                                                                                                       JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                  AT&T
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                  Charter Communications
            Crowley city (17960)                                                                                                                 1stel                                   Hughes Network Systems   Sprint (LTE)
                                                  Comcast                                              Cirra Networks
76036       Fort Worth city (27000)                                                                                                              Alenco Communications                   ViaSat                   T-Mobile (LTE)
                                                  Radiate Holdings, LP                                 JAB Wireless
            Unincorporated Area (n|a)                                                                                                            AMG Technology Investment Group         VSAT Systems             T-Mobile (5G)
                                                  Windstream Holdings
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                  Zito Media, LP




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                                                                                                                                                                                                                            Exhibit SET-C
                                                                                        Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                         FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                 Wireline (DSL, Fiber, Cable)                           Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                           Charter Communications                                 Cirra Networks
76039       Euless city (24768)                                                                                                             ---                                     ViaSat                   T-Mobile (LTE)
                                           Comcast                                                One Ring Networks
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                           Frontier Communications
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                           Access Media Holdings
                                           AT&T                                                                                                                                                              AT&T Mobility (LTE)
            Arlington city (04000)
                                           Charter Communications                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Euless city (24768)
76040                                      Comcast                                                Cirra Networks                            ---                                     ViaSat                   T-Mobile (LTE)
            Fort Worth city (27000)
                                           ENMR Telephone Cooperative                                                                                                               VSAT Systems             T-Mobile (5G)
            Hurst city (35576)
                                           One Ring Networks                                                                                                                                                 Verizon Wireless (LTE)
                                           Radiate Holdings, LP
                                                                                                  Alenco Communications                                                                                      AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems
            Glen Rose city (29876)         Charter Communications                                 AMG Technology Investment Group                                                                            Sprint (LTE)
76043                                                                                                                                       ---                                     ViaSat
            Unincorporated Area (n|a)      Windstream Holdings                                    JAB Wireless                                                                                               T-Mobile (LTE)
                                                                                                                                                                                    VSAT Systems
                                                                                                  South Central Tower Company                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           AT&T                                                   1stel                                                                             Hughes Network Systems   Sprint (LTE)
            Godley city (29972)                                                                                                             Alenco Communications
76044                                      Windstream Holdings                                    Cirra Networks                                                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                       AMG Technology Investment Group
                                           Zito Media, LP                                         JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                           1stel
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           AT&T                                                   AMG Technology Investment Group
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Granbury city (30416)          Charter Communications                                 Cirra Networks
76048                                                                                                                                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Comcast                                                JAB Wireless
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                           Lipan Telephone Company                                Linxus Internet
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                           Windstream Holdings
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           1stel
            DeCordova city (19570)                                                                AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
                                           AT&T
76049       Granbury city (30416)                                                                 Cirra Networks                            Linxus Internet                         ViaSat                   T-Mobile (LTE)
                                           Charter Communications
            Unincorporated Area (n|a)                                                             JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
                                           Windstream Holdings
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group
                                           Alenco Communications                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Grandview city (30512)                                                                Cirra Networks
76050                                      AT&T                                                                                             ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                             JAB Wireless
                                           Windstream Holdings                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                  Legacy ISP
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                           AT&T                                                                                                                                                              AT&T Mobility (LTE)
                                           Charter Communications                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                                                                                  AMG Technology Investment Group
76051       Grapevine city (30644)         En-Touch Systems                                                                                 One Ring Networks                       ViaSat                   T-Mobile (LTE)
                                                                                                  Cirra Networks
                                           Frontier Communications                                                                                                                  VSAT Systems             T-Mobile (5G)
                                           Millennium Telcom                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           AT&T                                                   AMG Technology Investment Group
            Fort Worth city (27000)                                                                                                                                                 Hughes Network Systems   Sprint (LTE)
                                           CenturyLink                                            Cirra Networks
76052       Haslet city (32720)                                                                                                             Millennium Telcom                       ViaSat                   T-Mobile (LTE)
                                           Charter Communications                                 JAB Wireless
            Unincorporated Area (n|a)                                                                                                                                               VSAT Systems             T-Mobile (5G)
                                           Frontier Communications                                Verizon Communications
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                           1stel                                                                                                                                                             AT&T Mobility (LTE)
                                           Access Media Holdings                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Fort Worth city (27000)                                                               AMG Technology Investment Group
76053                                      AT&T                                                                                             ---                                     ViaSat                   T-Mobile (LTE)
            Hurst city (35576)                                                                    Cirra Networks
                                           Charter Communications                                                                                                                   VSAT Systems             T-Mobile (5G)
                                           One Ring Networks                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           AT&T                                                   AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
76054       Hurst city (35576)             Charter Communications                                 Cirra Networks                            ---                                     ViaSat                   T-Mobile (LTE)
                                           Comcast                                                One Ring Networks                                                                 VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Itasca city (37084)            AT&T                                                   Cirra Networks
76055                                                                                                                                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Windstream Holdings                                    JAB Wireless
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                  Legacy ISP
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                           AT&T                                                                                                                                                              AT&T Mobility (LTE)
            Burleson city (11428)
                                           Charter Communications                                                                           1stel                                   Hughes Network Systems   Sprint (LTE)
            Cleburne city (15364)                                                                 Cirra Networks
76058                                      Comcast                                                                                          Alenco Communications                   ViaSat                   T-Mobile (LTE)
            Joshua city (38080)                                                                   JAB Wireless
                                           Windstream Holdings                                                                              AMG Technology Investment Group         VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)
                                           Zito Media, LP                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                  Alenco Communications
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Keene city (38548)             AT&T                                                   AMG Technology Investment Group
76059                                                                                                                                       1stel                                   ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Comcast                                                Cirra Networks
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                  JAB Wireless
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
            Arlington city (04000)                                                                AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
                                           AT&T
76060       Kennedale city (38896)                                                                Cirra Networks                            ---                                     ViaSat                   T-Mobile (LTE)
                                           Charter Communications
            Unincorporated Area (n|a)                                                             JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           AT&T                                                   AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
            Mansfield city (46452)
76063                                      Charter Communications                                 Cirra Networks                            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                           Comcast                                                JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
            Maypearl city (47268)
76064                                      ---                                                    Cirra Networks                            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                  JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           1stel
            Mansfield city (46452)                                                                AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
                                           AT&T
76065       Midlothian city (48096)                                                               Cirra Networks                            Legacy ISP                              ViaSat                   T-Mobile (LTE)
                                           Charter Communications
            Unincorporated Area (n|a)                                                             JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
                                           Comcast
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group
            Cool city (16540)              AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                                                                                  Cirra Networks
76066       Millsap town (48564)           CenturyLink                                                                                      ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                  JAB Wireless
            Unincorporated Area (n|a)      Lipan Telephone Company                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                  Linxus Internet
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           Altice                                                 AMG Technology Investment Group
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Mineral Wells city (48684)     AT&T                                                   Cirra Networks
76067                                                                                                                                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      CenturyLink                                            JAB Wireless
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                           One Ring Networks                                      New Source Broadband
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Newark city (50772)            AT&T                                                   Cirra Networks
76071                                                                                                                                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      CenturyLink                                            JAB Wireless
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                  Millennium Telcom
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                  AMG Technology Investment Group                                                                            AT&T Mobility (LTE)
                                                                                                  Cirra Networks                                                                    Hughes Network Systems   Sprint (LTE)
            Paradise city (55056)          CenturyLink
76073                                                                                             JAB Wireless                              ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Frontier Communications
                                                                                                  Millennium Telcom                                                                 VSAT Systems             T-Mobile (5G)
                                                                                                  NTX Fiberwave                                                                                              Verizon Wireless (LTE)




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                                                                                                                                                                                                                              Exhibit SET-C
                                                                                         Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                           FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                   Wireline (DSL, Fiber, Cable)                            Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                      Hughes Network Systems   AT&T Mobility (LTE)
            Glen Rose city (29876)                                                                 AMG Technology Investment Group
76077                                       Windstream Holdings                                                                               ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                              JAB Wireless
                                                                                                                                                                                      VSAT Systems             Verizon Wireless (LTE)
                                                                                                   AMG Technology Investment Group
                                                                                                   Cirra Networks                                                                                              AT&T Mobility (LTE)
            Aurora city (04672)
                                                                                                   JAB Wireless                                                                       Hughes Network Systems   Sprint (LTE)
            New Fairview city (50920)       AT&T
76078                                                                                              Millennium Telcom                          ---                                     ViaSat                   T-Mobile (LTE)
            Rhome city (61700)              CenturyLink
                                                                                                   NTX Fiberwave                                                                      VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)
                                                                                                   Resound Networks                                                                                            Verizon Wireless (LTE)
                                                                                                   Speed of Light Broadband
                                                                                                   AMG Technology Investment Group
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                            AT&T                                                   Cirra Networks
            Reno city (61604)                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
                                            CenturyLink                                            JAB Wireless
76082       Springtown city (69800)                                                                                                           ---                                     ViaSat                   T-Mobile (LTE)
                                            Charter Communications                                 Linxus Internet
            Unincorporated Area (n|a)                                                                                                                                                 VSAT Systems             T-Mobile (5G)
                                            Frontier Communications                                Millennium Telcom
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                   NTX Fiberwave
                                                                                                                                                                                                               AT&T Mobility (LTE)
            Mansfield city (46452)                                                                 1stel
                                            AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Midlothian city (48096)                                                                Cirra Networks
76084                                       Charter Communications                                                                            AMG Technology Investment Group         ViaSat                   T-Mobile (LTE)
            Venus town (75236)                                                                     JAB Wireless
                                            En-Touch Systems                                                                                                                          VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)                                                              Legacy ISP
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                   AMG Technology Investment Group
                                            AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Weatherford city (76864)                                                               Cirra Networks
76085                                       Charter Communications                                                                            Linxus Internet                         ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                              JAB Wireless
                                            Frontier Communications                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                   Millennium Telcom
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                   AMG Technology Investment Group                                                                             AT&T Mobility (LTE)
                                            1stel
                                                                                                   Cirra Networks                                                                     Hughes Network Systems   Sprint (LTE)
            Weatherford city (76864)        AT&T
76086                                                                                              JAB Wireless                               ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Charter Communications
                                                                                                   Linxus Internet                                                                    VSAT Systems             T-Mobile (5G)
                                            One Ring Networks
                                                                                                   Texoma Communications                                                                                       Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
            Hudson Oaks city (35254)        1stel
                                                                                                   Cirra Networks                                                                     Hughes Network Systems   Sprint (LTE)
            Weatherford city (76864)        AT&T
76087                                                                                              JAB Wireless                               AMG Technology Investment Group         ViaSat                   T-Mobile (LTE)
            Willow Park city (79492)        Charter Communications
                                                                                                   Linxus Internet                                                                    VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)       Windstream Holdings
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                   AMG Technology Investment Group
            Cool city (16540)               AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                                                                                   Cirra Networks
76088       Weatherford city (76864)        CenturyLink                                                                                       ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                   JAB Wireless
            Unincorporated Area (n|a)       Charter Communications                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                   Linxus Internet
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                            AT&T
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                            Cable One
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                            Charter Communications                                 AMG Technology Investment Group
76092       Southlake city (69032)                                                                                                            ---                                     ViaSat                   T-Mobile (LTE)
                                            Comcast                                                Cirra Networks
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                            Frontier Communications
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                            Millennium Telcom
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                   AMG Technology Investment Group                                                    Hughes Network Systems   Sprint (LTE)
            Rio Vista city (62240)
76093                                       Windstream Holdings                                    Cirra Networks                             ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                   JAB Wireless                                                                       VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                                               Sprint (LTE)
                                            1stel                                                                                                                                     Hughes Network Systems
                                                                                                   AMG Technology Investment Group                                                                             T-Mobile (LTE)
76102       Fort Worth city (27000)         AT&T                                                                                              One Ring Networks                       ViaSat
                                                                                                   Cirra Networks                                                                                              T-Mobile (5G)
                                            Charter Communications                                                                                                                    VSAT Systems
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               Verizon Wireless (5G)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                            AT&T                                                   AMG Technology Investment Group
76103       Fort Worth city (27000)                                                                                                           ---                                     ViaSat                   T-Mobile (LTE)
                                            Charter Communications                                 Cirra Networks
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                            AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                                                                                   AMG Technology Investment Group
76104       Fort Worth city (27000)         Charter Communications                                                                            ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                   Cirra Networks
                                            Comcast                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                            AT&T                                                   AMG Technology Investment Group                                                    Hughes Network Systems   Sprint (LTE)
76105       Fort Worth city (27000)         Charter Communications                                 Cirra Networks                             ---                                     ViaSat                   T-Mobile (LTE)
                                            Comcast                                                One Ring Networks                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                            AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                                                                                   AMG Technology Investment Group
76106       Fort Worth city (27000)         Charter Communications                                                                            One Ring Networks                       ViaSat                   T-Mobile (LTE)
                                                                                                   Cirra Networks
                                            Radiate Holdings, LP                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                            1stel                                                  AMG Technology Investment Group                                                                             Sprint (LTE)
                                                                                                                                                                                      Hughes Network Systems
            Fort Worth city (27000)         AT&T                                                   BelWave Communications                                                                                      T-Mobile (LTE)
76107                                                                                                                                         ---                                     ViaSat
            Westover Hills town (77788)     Charter Communications                                 Cirra Networks                                                                                              T-Mobile (5G)
                                                                                                                                                                                      VSAT Systems
                                            En-Touch Systems                                       One Ring Networks                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                               Verizon Wireless (5G)
                                                                                                                                                                                                               AT&T Mobility (LTE)
            Fort Worth city (27000)         AT&T
                                                                                                   AMG Technology Investment Group                                                    Hughes Network Systems   Sprint (LTE)
            Lakeside town (40744)           Charter Communications
76108                                                                                              Cirra Networks                             ---                                     ViaSat                   T-Mobile (LTE)
            White Settlement city (78544)   Comcast
                                                                                                   JAB Wireless                                                                       VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)       One Ring Networks
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                            AT&T
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Benbrook city (07552)           Charter Communications                                 AMG Technology Investment Group
76109                                                                                                                                         ---                                     ViaSat                   T-Mobile (LTE)
            Fort Worth city (27000)         Comcast                                                Cirra Networks
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                            En-Touch Systems
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                            AT&T
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                            Cable One                                              AMG Technology Investment Group
76110       Fort Worth city (27000)                                                                                                           ---                                     ViaSat                   T-Mobile (LTE)
                                            Charter Communications                                 Cirra Networks
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                            Comcast
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                            1stel
                                                                                                   AMG Technology Investment Group                                                    Hughes Network Systems   Sprint (LTE)
            Fort Worth city (27000)         AT&T
76111                                                                                              Cirra Networks                             ---                                     ViaSat                   T-Mobile (LTE)
            Haltom City city (31928)        Charter Communications
                                                                                                   One Ring Networks                                                                  VSAT Systems             T-Mobile (5G)
                                            Radiate Holdings, LP
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                            AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                                                                                   AMG Technology Investment Group
76112       Fort Worth city (27000)         Charter Communications                                                                            ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                   Cirra Networks
                                            One Ring Networks                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)




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                                                                                                                                                                                                                               Exhibit SET-C
                                                                                           Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                            FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                    Wireline (DSL, Fiber, Cable)                           Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                                AT&T Mobility (LTE)
            Fort Worth city (27000)
                                                                                                                                                                                       Hughes Network Systems   Sprint (LTE)
            River Oaks city (62384)             AT&T                                                 AMG Technology Investment Group
76114                                                                                                                                          ---                                     ViaSat                   T-Mobile (LTE)
            Sansom Park city (65660)            Charter Communications                               Cirra Networks
                                                                                                                                                                                       VSAT Systems             T-Mobile (5G)
            Westworth Village city (78076)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                                                                     AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
                                                AT&T
76115       Fort Worth city (27000)                                                                  Cirra Networks                            ---                                     ViaSat                   T-Mobile (LTE)
                                                Charter Communications
                                                                                                     One Ring Networks                                                                 VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                1stel
                                                AT&T                                                                                                                                                            AT&T Mobility (LTE)
                                                Charter Communications                                                                                                                 Hughes Network Systems   Sprint (LTE)
            Benbrook city (07552)                                                                    AMG Technology Investment Group
76116                                           Millennium Telcom                                                                              ---                                     ViaSat                   T-Mobile (LTE)
            Fort Worth city (27000)                                                                  Cirra Networks
                                                One Ring Networks                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                Radiate Holdings, LP                                                                                                                                            Verizon Wireless (LTE)
                                                Windstream Holdings
                                                                                                                                                                                                                AT&T Mobility (LTE)
            Fort Worth city (27000)                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                                AT&T                                                 AMG Technology Investment Group
76117       Haltom City city (31928)                                                                                                           ---                                     ViaSat                   T-Mobile (LTE)
                                                Charter Communications                               Cirra Networks
            North Richland Hills city (52356)                                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
            Fort Worth city (27000)             AT&T                                                 AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
76118       Haltom City city (31928)            Charter Communications                               Cirra Networks                            ---                                     ViaSat                   T-Mobile (LTE)
            Richland Hills city (61844)         Comcast                                              One Ring Networks                                                                 VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                                                                     AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
            Forest Hill city (26544)            AT&T
76119                                                                                                Cirra Networks                            One Ring Networks                       ViaSat                   T-Mobile (LTE)
            Fort Worth city (27000)             Charter Communications
                                                                                                     JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                                                                                                                                                       Hughes Network Systems   Sprint (LTE)
                                                AT&T                                                 AMG Technology Investment Group
76120       Fort Worth city (27000)                                                                                                            ---                                     ViaSat                   T-Mobile (LTE)
                                                Charter Communications                               Cirra Networks
                                                                                                                                                                                       VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                1stel
                                                                                                     AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
                                                AT&T
76123       Fort Worth city (27000)                                                                  Cirra Networks                            ---                                     ViaSat                   T-Mobile (LTE)
                                                Charter Communications
                                                                                                     JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
                                                Comcast
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                AT&T                                                 AMG Technology Investment Group
            Benbrook city (07552)                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                                Charter Communications                               Cirra Networks
76126       Fort Worth city (27000)                                                                                                            ---                                     ViaSat                   T-Mobile (LTE)
                                                Comcast                                              JAB Wireless
            Unincorporated Area (n|a)                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                Windstream Holdings                                  Linxus Internet
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                                                                                                                                                       Hughes Network Systems   Sprint (LTE)
                                                AT&T                                                 AMG Technology Investment Group
76127       Fort Worth city (27000)                                                                                                            ---                                     ViaSat                   T-Mobile (LTE)
                                                Charter Communications                               Cirra Networks
                                                                                                                                                                                       VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                                                                                                                                                       Hughes Network Systems   Sprint (LTE)
                                                AT&T                                                 AMG Technology Investment Group
76129       Fort Worth city (27000)                                                                                                            ---                                     ViaSat                   T-Mobile (LTE)
                                                Charter Communications                               Cirra Networks
                                                                                                                                                                                       VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                AT&T                                                                                                                                                            AT&T Mobility (LTE)
            Blue Mound city (08860)
                                                Charter Communications                               AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
            Fort Worth city (27000)
76131                                           Comcast                                              Cirra Networks                            ---                                     ViaSat                   T-Mobile (LTE)
            Saginaw city (64112)
                                                Millennium Telcom                                    JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)
                                                Radiate Holdings, LP                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                                                                     AMG Technology Investment Group
                                                Access Media Holdings                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Benbrook city (07552)                                                                    Cirra Networks
76132                                           AT&T                                                                                           One Ring Networks                       ViaSat                   T-Mobile (LTE)
            Fort Worth city (27000)                                                                  JAB Wireless
                                                Charter Communications                                                                                                                 VSAT Systems             T-Mobile (5G)
                                                                                                     Verizon Communications
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                AT&T
                                                                                                     AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
                                                Cable One
76133       Fort Worth city (27000)                                                                  Cirra Networks                            ---                                     ViaSat                   T-Mobile (LTE)
                                                Charter Communications
                                                                                                     JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
                                                Comcast
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                                                                                                                                                       Hughes Network Systems   Sprint (LTE)
            Edgecliff Village town (22588)      AT&T                                                 AMG Technology Investment Group
76134                                                                                                                                          ---                                     ViaSat                   T-Mobile (LTE)
            Fort Worth city (27000)             Charter Communications                               Cirra Networks
                                                                                                                                                                                       VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
            Fort Worth city (27000)
                                                AT&T                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Lakeside town (40744)                                                                    Cirra Networks
76135                                           Charter Communications                                                                         AMG Technology Investment Group         ViaSat                   T-Mobile (LTE)
            Lake Worth city (41056)                                                                  JAB Wireless
                                                Millennium Telcom                                                                                                                      VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                Access Media Holdings
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                AT&T
            Fort Worth city (27000)                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                                Charter Communications                               AMG Technology Investment Group
76137       Haltom City city (31928)                                                                                                           One Ring Networks                       ViaSat                   T-Mobile (LTE)
                                                Comcast                                              Cirra Networks
            Watauga city (76672)                                                                                                                                                       VSAT Systems             T-Mobile (5G)
                                                Millennium Telcom
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                Radiate Holdings, LP
                                                                                                                                                                                                                AT&T Mobility (LTE)
            Everman city (24912)                AT&T
                                                                                                     AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
            Forest Hill city (26544)            Charter Communications
76140                                                                                                Cirra Networks                            ---                                     ViaSat                   T-Mobile (LTE)
            Fort Worth city (27000)             Millennium Telcom
                                                                                                     JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)           Radiate Holdings, LP
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                AT&T                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Haltom City city (31928)                                                                 AMG Technology Investment Group
76148                                           Charter Communications                                                                         ---                                     ViaSat                   T-Mobile (LTE)
            Watauga city (76672)                                                                     Cirra Networks
                                                Millennium Telcom                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                AT&T                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                                                                                     Cirra Networks
76155       Fort Worth city (27000)             Charter Communications                                                                         ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                     One Ring Networks
                                                Frontier Communications                                                                                                                VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                                                                     AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
                                                AT&T
76164       Fort Worth city (27000)                                                                  Cirra Networks                            ---                                     ViaSat                   T-Mobile (LTE)
                                                Charter Communications
                                                                                                     One Ring Networks                                                                 VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                AT&T
                                                                                                     AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
            Fort Worth city (27000)             Charter Communications
76177                                                                                                Cirra Networks                            Millennium Telcom                       ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)           Frontier Communications
                                                                                                     JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
                                                Radiate Holdings, LP
                                                                                                                                                                                                                Verizon Wireless (LTE)



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                                                                                                                                                                                                                                Exhibit SET-C
                                                                                             Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                             FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                      Wireline (DSL, Fiber, Cable)                          Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                1stel                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                       AMG Technology Investment Group
            Fort Worth city (27000)             AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                                                                                       Cirra Networks
76179       Saginaw city (64112)                Charter Communications                                                                          Millennium Telcom                       ViaSat                   T-Mobile (LTE)
                                                                                                       JAB Wireless
            Unincorporated Area (n|a)           Comcast                                                                                                                                 VSAT Systems             T-Mobile (5G)
                                                                                                       One Ring Networks
                                                En-Touch Systems                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Haltom City city (31928)                                                                   AMG Technology Investment Group
76180                                           Charter Communications                                                                          ---                                     ViaSat                   T-Mobile (LTE)
            North Richland Hills city (52356)                                                          Cirra Networks
                                                Comcast                                                                                                                                 VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                                                                                       AMG Technology Investment Group
76182       North Richland Hills city (52356)   Charter Communications                                                                          ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                       Cirra Networks
                                                Radiate Holdings, LP                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                AT&T
                                                                                                       AMG Technology Investment Group                                                  Hughes Network Systems   Sprint (LTE)
                                                Charter Communications
76201       Denton city (19972)                                                                        JAB Wireless                             ---                                     ViaSat                   T-Mobile (LTE)
                                                Frontier Communications
                                                                                                       Speed of Light Broadband                                                         VSAT Systems             T-Mobile (5G)
                                                Radiate Holdings, LP
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                Charter Communications                                                                                                                  Hughes Network Systems   Sprint (LTE)
76205       Denton city (19972)                 Frontier Communications                                AMG Technology Investment Group          ---                                     ViaSat                   T-Mobile (LTE)
                                                Radiate Holdings, LP                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                       AMG Technology Investment Group
                                                AT&T                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                       JAB Wireless
                                                CenturyLink                                                                                                                             Hughes Network Systems   Sprint (LTE)
            Denton city (19972)                                                                        Linxus Internet
76207                                           Charter Communications                                                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                  One Ring Networks
                                                Frontier Communications                                                                                                                 VSAT Systems             T-Mobile (5G)
                                                                                                       SmartBurst
                                                Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
                                                                                                       Speed of Light Broadband
                                                Access Media Holdings
                                                                                                                                                                                                                 AT&T Mobility (LTE)
            Corinth city (16696)                AT&T                                                   AMG Technology Investment Group
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Denton city (19972)                 CenturyLink                                            JAB Wireless
76208                                                                                                                                           ---                                     ViaSat                   T-Mobile (LTE)
            Shady Shores town (67100)           Charter Communications                                 SmartBurst
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)           Frontier Communications                                Speed of Light Broadband
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                Radiate Holdings, LP
                                                AT&T                                                                                                                                                             AT&T Mobility (LTE)
                                                Charter Communications                                 AMG Technology Investment Group                                                  Hughes Network Systems   Sprint (LTE)
76209       Denton city (19972)                 Comcast                                                JAB Wireless                             ---                                     ViaSat                   T-Mobile (LTE)
                                                Frontier Communications                                Speed of Light Broadband                                                         VSAT Systems             T-Mobile (5G)
                                                Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
                                                AT&T
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                CenturyLink
            Corinth city (16696)                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
                                                Charter Communications
76210       Denton city (19972)                                                                        AMG Technology Investment Group          ---                                     ViaSat                   T-Mobile (LTE)
                                                Comcast
            Unincorporated Area (n|a)                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                Frontier Communications
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                Radiate Holdings, LP
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Alvord town (02284)                 CenturyLink                                            AMG Technology Investment Group
76225                                                                                                                                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)           GCTR                                                   JAB Wireless
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
            Argyle city (03768)
            Bartonville town (05768)            AT&T                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                       AMG Technology Investment Group
            Copper Canyon town (16636)          Charter Communications                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                                                                                       Hot Spot Broadband
76226       Denton city (19972)                 Comcast                                                                                         ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                       JAB Wireless
            Double Oak town (21028)             Frontier Communications                                                                                                                 VSAT Systems             T-Mobile (5G)
                                                                                                       Speed of Light Broadband
            Northlake town (52212)              Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
            Unincorporated Area (n|a)
            Aubrey city (04600)
                                                Altice
            Cross Roads town (17852)                                                                                                                                                                             AT&T Mobility (LTE)
                                                AT&T                                                   AMG Technology Investment Group
            Denton city (19972)                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
                                                CenturyLink                                            JAB Wireless
76227       Krugerville city (39916)                                                                                                            ---                                     ViaSat                   T-Mobile (LTE)
                                                Comcast                                                SmartBurst
            Little Elm city (43012)                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                Frontier Communications                                Speed of Light Broadband
            Providence Village town (59748)                                                                                                                                                                      Verizon Wireless (LTE)
                                                Radiate Holdings, LP
            Unincorporated Area (n|a)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                                                 Sprint (LTE)
                                                                                                       AMG Technology Investment Group                                                  Hughes Network Systems
            Bellevue city (07396)                                                                                                                                                                                T-Mobile (LTE)
76228                                           Community Telephone Co.                                Pinnacle Network Solutions               AT&T                                    ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                            T-Mobile (5G)
                                                                                                       Telephone and Data Systems                                                       VSAT Systems
                                                                                                                                                                                                                 United States Cellular Corporation (LTE)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                       AMG Technology Investment Group                                                                           AT&T Mobility (LTE)
                                                CenturyLink                                            Cirra Networks                                                                                            Sprint (LTE)
                                                                                                                                                                                        Hughes Network Systems
            Bowie city (09640)                  Community Telephone Co.                                New Source Broadband                                                                                      T-Mobile (LTE)
76230                                                                                                                                           AT&T                                    ViaSat
            Unincorporated Area (n|a)           GCTR                                                   Nortex Communications                                                                                     T-Mobile (5G)
                                                                                                                                                                                        VSAT Systems
                                                Windstream Holdings                                    Pinnacle Network Solutions                                                                                United States Cellular Corporation (LTE)
                                                                                                       Telephone and Data Systems                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                       AMG Technology Investment Group
                                                                                                                                                                                                                 AT&T Mobility (5G)
                                                                                                       JAB Wireless                                                                     Hughes Network Systems
            Collinsville town (16036)                                                                                                                                                                            Sprint (LTE)
76233                                           Frontier Communications                                SmartBurst                               Nortex Communications                   ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                            T-Mobile (LTE)
                                                                                                       Speed of Light Broadband                                                         VSAT Systems
                                                                                                                                                                                                                 T-Mobile (5G)
                                                                                                       Texoma Communications
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                       AMG Technology Investment Group
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                       Cirra Networks
                                                CenturyLink                                                                                                                             Hughes Network Systems   Sprint (LTE)
            Decatur city (19528)                                                                       JAB Wireless
76234                                           Comcast                                                                                         Nortex Communications                   ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                  Millennium Telcom
                                                GCTR                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                       NTX Fiberwave
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                       Speed of Light Broadband
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                       AMG Technology Investment Group
            Callisburg city (11968)             Altice                                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                                                                                       JAB Wireless
76240       Gainesville city (27984)            AT&T                                                                                            Nortex Communications                   ViaSat                   T-Mobile (LTE)
                                                                                                       Speed of Light Broadband
            Unincorporated Area (n|a)           Frontier Communications                                                                                                                 VSAT Systems             T-Mobile (5G)
                                                                                                       Telephone and Data Systems
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                AT&T                                                                                                                                                             AT&T Mobility (LTE)
                                                Charter Communications                                 AMG Technology Investment Group                                                  Hughes Network Systems   Sprint (LTE)
                                                                                                                                                Dell Telephone Cooperative
76244       Fort Worth city (27000)             Comcast                                                Cirra Networks                                                                   ViaSat                   T-Mobile (LTE)
                                                                                                                                                Millennium Telcom
                                                Frontier Communications                                JAB Wireless                                                                     VSAT Systems             T-Mobile (5G)
                                                Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
                                                AT&T
            DISH town (20540)                                                                                                                                                                                    AT&T Mobility (LTE)
                                                CenturyLink                                            AMG Technology Investment Group
            Fort Worth city (27000)                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                                Charter Communications                                 Cirra Networks
76247       Justin city (38332)                                                                                                                 Millennium Telcom                       ViaSat                   T-Mobile (LTE)
                                                Comcast                                                JAB Wireless
            Northlake town (52212)                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                Frontier Communications                                Speed of Light Broadband
            Unincorporated Area (n|a)                                                                                                                                                                            Verizon Wireless (LTE)
                                                Radiate Holdings, LP
                                                AT&T                                                                                                                                                             AT&T Mobility (LTE)
                                                Charter Communications                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                                                                                       AMG Technology Investment Group
76248       Keller city (38632)                 Frontier Communications                                                                         ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                       Cirra Networks
                                                Millennium Telcom                                                                                                                       VSAT Systems             T-Mobile (5G)
                                                Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)




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                                                                                                                                                                                                                              Exhibit SET-C
                                                                                          Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                           FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                   Wireline (DSL, Fiber, Cable)                           Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                               AT&T Mobility (LTE)
            Denton city (19972)              Altice                                                 AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
76249       Krum city (39928)                CenturyLink                                            JAB Wireless                              ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)        Comcast                                                Speed of Light Broadband                                                          VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Lindsay city (42868)                                                                    AMG Technology Investment Group
76250                                        AT&T                                                                                             Nortex Communications                   ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                               JAB Wireless
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                    AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
            Muenster city (49932)
76252                                        CenturyLink                                            JAB Wireless                              Nortex Communications                   ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                    Telephone and Data Systems                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                    AMG Technology Investment Group                                                                            AT&T Mobility (LTE)
                                                                                                    JAB Wireless                                                                      Hughes Network Systems   Sprint (LTE)
            Nocona city (51648)              Altice
76255                                                                                               Pinnacle Network Solutions                Nortex Communications                   ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)        Windstream Holdings
                                                                                                    Telephone and Data Systems                                                        VSAT Systems             T-Mobile (5G)
                                                                                                    Terral Telephone Company                                                                                   Verizon Wireless (LTE)
                                             Altice                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                    AMG Technology Investment Group
                                             AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Pilot Point city (57476)                                                                JAB Wireless
76258                                        Frontier Communications                                                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                               SmartBurst
                                             Nortex Communications                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                    Speed of Light Broadband
                                             Radiate Holdings, LP                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
            Denton city (19972)              CenturyLink                                            AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
76259       Ponder town (58664)              Charter Communications                                 JAB Wireless                              ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)        Frontier Communications                                Speed of Light Broadband                                                          VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
            Flower Mound town (26232)
                                             1stel
            Fort Worth city (27000)
                                             AT&T                                                                                                                                                              AT&T Mobility (LTE)
            Keller city (38632)                                                                     AMG Technology Investment Group
                                             Charter Communications                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Northlake town (52212)                                                                  Cirra Networks
76262                                        Comcast                                                                                          Millennium Telcom                       ViaSat                   T-Mobile (LTE)
            Roanoke city (62504)                                                                    JAB Wireless
                                             Frontier Communications                                                                                                                  VSAT Systems             T-Mobile (5G)
            Trophy Club town (73710)                                                                Speed of Light Broadband
                                             One Ring Networks                                                                                                                                                 Verizon Wireless (LTE)
            Westlake town (77620)
                                             Radiate Holdings, LP
            Unincorporated Area (n|a)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                    AMG Technology Investment Group                                                                            AT&T Mobility (5G)
                                             Altice                                                                                                                                   Hughes Network Systems
            Sadler city (64088)                                                                     JAB Wireless                                                                                               Sprint (LTE)
76264                                        Comcast                                                                                          ---                                     ViaSat
            Unincorporated Area (n|a)                                                               Speed of Light Broadband                                                                                   T-Mobile (LTE)
                                             Frontier Communications                                                                                                                  VSAT Systems
                                                                                                    Texoma Communications                                                                                      T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                    AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
            St. Jo city (64184)              CenturyLink
76265                                                                                               JAB Wireless                              Nortex Communications                   ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)        Windstream Holdings
                                                                                                    Pinnacle Network Solutions                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                             Altice                                                 AMG Technology Investment Group
            Denton city (19972)                                                                                                                                                       Hughes Network Systems   Sprint (LTE)
                                             CenturyLink                                            JAB Wireless
76266       Sanger city (65408)                                                                                                               ---                                     ViaSat                   T-Mobile (LTE)
                                             Frontier Communications                                SmartBurst
            Unincorporated Area (n|a)                                                                                                                                                 VSAT Systems             T-Mobile (5G)
                                             Nortex Communications                                  Speed of Light Broadband
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                                               AT&T Mobility (5G)
                                                                                                    AMG Technology Investment Group                                                   Hughes Network Systems
                                                                                                                                                                                                               Sprint (LTE)
76268       Southmayd city (69104)           Cable One                                              JAB Wireless                              ---                                     ViaSat
                                                                                                                                                                                                               T-Mobile (LTE)
                                                                                                    Texoma Communications                                                             VSAT Systems
                                                                                                                                                                                                               T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                                               AT&T Mobility (5G)
                                             Altice                                                 AMG Technology Investment Group                                                   Hughes Network Systems
            Tioga town (73112)                                                                                                                                                                                 Sprint (LTE)
76271                                        Frontier Communications                                JAB Wireless                              ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                          T-Mobile (LTE)
                                             Nortex Communications                                  Speed of Light Broadband                                                          VSAT Systems
                                                                                                                                                                                                               T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                    AMG Technology Investment Group
            Road Runner town (62486)                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                                                                                    JAB Wireless
76272       Valley View city (74756)         AT&T                                                                                             Nortex Communications                   ViaSat                   T-Mobile (LTE)
                                                                                                    SmartBurst
            Unincorporated Area (n|a)                                                                                                                                                 VSAT Systems             T-Mobile (5G)
                                                                                                    Speed of Light Broadband
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                    JAB Wireless
                                             Altice                                                                                                                                                            AT&T Mobility (5G)
                                                                                                    SmartBurst                                                                        Hughes Network Systems
            Whitesboro city (78532)          AT&T                                                                                             AMG Technology Investment Group                                  Sprint (LTE)
76273                                                                                               Speed of Light Broadband                                                          ViaSat
            Unincorporated Area (n|a)        Cable One                                                                                        Nortex Communications                                            T-Mobile (LTE)
                                                                                                    Telephone and Data Systems                                                        VSAT Systems
                                             Frontier Communications                                                                                                                                           T-Mobile (5G)
                                                                                                    Texoma Communications
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                             American Broadband Communications                      AMG Technology Investment Group
                                                                                                                                                                                                               Sprint (LTE)
                                             AT&T                                                   JAB Wireless                                                                      Hughes Network Systems
                                                                                                                                                                                                               T-Mobile (LTE)
76301       Wichita Falls city (79000)       Charter Communications                                 Pinnacle Network Solutions                Web Fire Communications                 ViaSat
                                                                                                                                                                                                               T-Mobile (5G)
                                             NTS                                                    Telephone and Data Systems                                                        VSAT Systems
                                                                                                                                                                                                               United States Cellular Corporation (LTE)
                                             Santa Rosa Telephone Cooperative                       Texhoma Wireless
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                    AMG Technology Investment Group                                                                            AT&T Mobility (LTE)
                                                                                                    Cobalt Ridge                                                                                               Sprint (LTE)
                                             AT&T                                                                                                                                     Hughes Network Systems
                                                                                                    JAB Wireless                                                                                               T-Mobile (LTE)
76302       Wichita Falls city (79000)       Charter Communications                                                                           Web Fire Communications                 ViaSat
                                                                                                    Pinnacle Network Solutions                                                                                 T-Mobile (5G)
                                             NTS                                                                                                                                      VSAT Systems
                                                                                                    Telephone and Data Systems                                                                                 United States Cellular Corporation (LTE)
                                                                                                    Texhoma Wireless                                                                                           Verizon Wireless (LTE)
                                                                                                    AMG Technology Investment Group
            Cashion Community city (13198)   AT&T                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                    Cobalt Ridge
            Dean city (19456)                Charter Communications                                                                                                                                            Sprint (LTE)
                                                                                                    JAB Wireless                                                                      Hughes Network Systems
            Jolly city (37924)               Etex Telephone Cooperative                                                                                                                                        T-Mobile (LTE)
76305                                                                                               Pinnacle Network Solutions                ---                                     ViaSat
            Pleasant Valley town (58400)     NTS                                                                                                                                                               T-Mobile (5G)
                                                                                                    Telephone and Data Systems                                                        VSAT Systems
            Wichita Falls city (79000)       Santa Rosa Telephone Cooperative                                                                                                                                  United States Cellular Corporation (LTE)
                                                                                                    Texhoma Wireless
            Unincorporated Area (n|a)        TOTE Holdings                                                                                                                                                     Verizon Wireless (LTE)
                                                                                                    Web Fire Communications
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                    AMG Technology Investment Group
                                                                                                                                                                                                               Sprint (LTE)
                                             AT&T                                                   JAB Wireless                                                                      Hughes Network Systems
                                                                                                                                                                                                               T-Mobile (LTE)
76306       Wichita Falls city (79000)       Charter Communications                                 Pinnacle Network Solutions                Web Fire Communications                 ViaSat
                                                                                                                                                                                                               T-Mobile (5G)
                                             NTS                                                    Telephone and Data Systems                                                        VSAT Systems
                                                                                                                                                                                                               United States Cellular Corporation (LTE)
                                                                                                    Texhoma Wireless
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                    AMG Technology Investment Group                                                                            AT&T Mobility (LTE)
                                                                                                    Cobalt Ridge                                                                                               Sprint (LTE)
            Lakeside City town (40756)       AT&T                                                                                                                                     Hughes Network Systems
                                                                                                    JAB Wireless                              Dell Telephone Cooperative                                       T-Mobile (LTE)
76308       Wichita Falls city (79000)       Charter Communications                                                                                                                   ViaSat
                                                                                                    Pinnacle Network Solutions                Web Fire Communications                                          T-Mobile (5G)
            Unincorporated Area (n|a)        NTS                                                                                                                                      VSAT Systems
                                                                                                    Telephone and Data Systems                                                                                 United States Cellular Corporation (LTE)
                                                                                                    Texhoma Wireless                                                                                           Verizon Wireless (LTE)




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                                                                                                                                                                                                                         Exhibit SET-C
                                                                                      Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                      FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities               Wireline (DSL, Fiber, Cable)                          Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                AMG Technology Investment Group                                                                           AT&T Mobility (LTE)
                                           AT&T                                                 Cobalt Ridge                                                                                              Sprint (LTE)
                                                                                                                                                                                 Hughes Network Systems
                                           Charter Communications                               JAB Wireless                                                                                              T-Mobile (LTE)
76309       Wichita Falls city (79000)                                                                                                   Web Fire Communications                 ViaSat
                                           NTS                                                  Pinnacle Network Solutions                                                                                T-Mobile (5G)
                                                                                                                                                                                 VSAT Systems
                                           Santa Rosa Telephone Cooperative                     Telephone and Data Systems                                                                                United States Cellular Corporation (LTE)
                                                                                                Texhoma Wireless                                                                                          Verizon Wireless (LTE)
                                           AT&T
                                                                                                AMG Technology Investment Group                                                                           AT&T Mobility (LTE)
                                           Brazos Telephone Cooperative
                                                                                                Cobalt Ridge                                                                                              Sprint (LTE)
                                           Charter Communications                                                                                                                Hughes Network Systems
            Wichita Falls city (79000)                                                          JAB Wireless                                                                                              T-Mobile (LTE)
76310                                      Community Telephone Co.                                                                       Web Fire Communications                 ViaSat
            Unincorporated Area (n|a)                                                           Pinnacle Network Solutions                                                                                T-Mobile (5G)
                                           NTS                                                                                                                                   VSAT Systems
                                                                                                Telephone and Data Systems                                                                                United States Cellular Corporation (LTE)
                                           Santa Rosa Telephone Cooperative
                                                                                                Texhoma Wireless                                                                                          Verizon Wireless (LTE)
                                           Windstream Holdings
                                                                                                                                                                                                          AT&T Mobility (LTE)
                                                                                                AMG Technology Investment Group
                                                                                                                                                                                                          Sprint (LTE)
                                                                                                JAB Wireless                                                                     Hughes Network Systems
                                           AT&T                                                                                                                                                           T-Mobile (LTE)
76311       Wichita Falls city (79000)                                                          Pinnacle Network Solutions               ---                                     ViaSat
                                           Charter Communications                                                                                                                                         T-Mobile (5G)
                                                                                                Telephone and Data Systems                                                       VSAT Systems
                                                                                                                                                                                                          United States Cellular Corporation (LTE)
                                                                                                Texhoma Wireless
                                                                                                                                                                                                          Verizon Wireless (LTE)
                                                                                                                                                                                                          AT&T Mobility (LTE)
                                           Brazos Telephone Cooperative
                                                                                                American Broadband Communications                                                                         Sprint (LTE)
                                           Charter Communications                                                                                                                Hughes Network Systems
            Archer City city (03696)                                                            AMG Technology Investment Group                                                                           T-Mobile (LTE)
76351                                      Community Telephone Co.                                                                       ---                                     ViaSat
            Unincorporated Area (n|a)                                                           Pinnacle Network Solutions                                                                                T-Mobile (5G)
                                           Santa Rosa Telephone Cooperative                                                                                                      VSAT Systems
                                                                                                Telephone and Data Systems                                                                                United States Cellular Corporation (LTE)
                                           Windstream Holdings
                                                                                                                                                                                                          Verizon Wireless (LTE)
                                                                                                                                                                                                          AT&T Mobility (LTE)
                                                                                                JAB Wireless
                                                                                                                                                                                                          Sprint (LTE)
                                           Altice                                               Pinnacle Network Solutions                                                       Hughes Network Systems
            Burkburnett city (11368)                                                                                                                                                                      T-Mobile (LTE)
76354                                      AT&T                                                 Southwest Oklahoma Telephone Company     NTS                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                     T-Mobile (5G)
                                           Santa Rosa Telephone Cooperative                     Telephone and Data Systems                                                       VSAT Systems
                                                                                                                                                                                                          United States Cellular Corporation (LTE)
                                                                                                Texhoma Wireless
                                                                                                                                                                                                          Verizon Wireless (LTE)
                                                                                                                                                                                                          AT&T Mobility (LTE)
                                                                                                AMG Technology Investment Group
                                                                                                                                                                                 Hughes Network Systems   T-Mobile (LTE)
            Byers city (11644)             Santa Rosa Telephone Cooperative                     JAB Wireless
76357                                                                                                                                    ---                                     ViaSat                   T-Mobile (5G)
            Unincorporated Area (n|a)      TOTE Holdings                                        Pinnacle Network Solutions
                                                                                                                                                                                 VSAT Systems             United States Cellular Corporation (LTE)
                                                                                                Telephone and Data Systems
                                                                                                                                                                                                          Verizon Wireless (LTE)
                                                                                                                                                                                                          AT&T Mobility (LTE)
                                                                                                American Broadband Communications
                                           Altice                                                                                                                                                         Sprint (LTE)
                                                                                                JAB Wireless                                                                     Hughes Network Systems
            Electra city (22984)           Hilliary Communications                                                                                                                                        T-Mobile (LTE)
76360                                                                                           Pinnacle Network Solutions               ---                                     ViaSat
            Unincorporated Area (n|a)      Santa Rosa Telephone Cooperative                                                                                                                               T-Mobile (5G)
                                                                                                Telephone and Data Systems                                                       VSAT Systems
                                           Windstream Holdings                                                                                                                                            United States Cellular Corporation (LTE)
                                                                                                Texhoma Wireless
                                                                                                                                                                                                          Verizon Wireless (LTE)
                                                                                                                                                                                                          AT&T Mobility (LTE)
                                                                                                American Broadband Communications                                                Hughes Network Systems   T-Mobile (LTE)
            Goree city (30296)             Santa Rosa Telephone Cooperative
76363                                                                                           Pinnacle Network Solutions               ---                                     ViaSat                   T-Mobile (5G)
            Unincorporated Area (n|a)      Windstream Holdings
                                                                                                Telephone and Data Systems                                                       VSAT Systems             United States Cellular Corporation (LTE)
                                                                                                                                                                                                          Verizon Wireless (LTE)
                                                                                                AMG Technology Investment Group
                                                                                                Cirra Networks                                                                                            AT&T Mobility (LTE)
                                           Altice                                               JAB Wireless                                                                                              Sprint (LTE)
                                                                                                                                                                                 Hughes Network Systems
            Henrietta city (33284)         Brazos Telephone Cooperative                         New Source Broadband                                                                                      T-Mobile (LTE)
76365                                                                                                                                    AT&T                                    ViaSat
            Unincorporated Area (n|a)      Community Telephone Co.                              Pinnacle Network Solutions                                                                                T-Mobile (5G)
                                                                                                                                                                                 VSAT Systems
                                           TOTE Holdings                                        Telephone and Data Systems                                                                                United States Cellular Corporation (LTE)
                                                                                                Terral Telephone Company                                                                                  Verizon Wireless (LTE)
                                                                                                Texhoma Wireless
                                                                                                American Broadband Communications
                                                                                                                                                                                                          AT&T Mobility (LTE)
                                           Brazos Telephone Cooperative                         AMG Technology Investment Group
                                                                                                                                                                                                          Sprint (LTE)
                                           Charter Communications                               Cobalt Ridge                                                                     Hughes Network Systems
            Holliday city (34532)                                                                                                                                                                         T-Mobile (LTE)
76366                                      Community Telephone Co.                              JAB Wireless                             ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                     T-Mobile (5G)
                                           Santa Rosa Telephone Cooperative                     Pinnacle Network Solutions                                                       VSAT Systems
                                                                                                                                                                                                          United States Cellular Corporation (LTE)
                                           Windstream Holdings                                  Telephone and Data Systems
                                                                                                                                                                                                          Verizon Wireless (LTE)
                                                                                                Texhoma Wireless
                                                                                                American Broadband Communications
                                           Altice                                                                                                                                                         AT&T Mobility (LTE)
                                                                                                Cobalt Ridge
                                           AT&T                                                                                                                                                           Sprint (LTE)
            Iowa Park city (36104)                                                              JAB Wireless                                                                     Hughes Network Systems
                                           Charter Communications                                                                                                                                         T-Mobile (LTE)
76367       Pleasant Valley town (58400)                                                        Pinnacle Network Solutions               NTS                                     ViaSat
                                           Hilliary Communications                                                                                                                                        T-Mobile (5G)
            Unincorporated Area (n|a)                                                           Telephone and Data Systems                                                       VSAT Systems
                                           Santa Rosa Telephone Cooperative                                                                                                                               United States Cellular Corporation (LTE)
                                                                                                Texhoma Wireless
                                           Windstream Holdings                                                                                                                                            Verizon Wireless (LTE)
                                                                                                Web Fire Communications
                                                                                                                                                                                                          AT&T Mobility (LTE)
                                           Brazos Telephone Cooperative                         American Broadband Communications                                                                         Sprint (LTE)
                                                                                                                                                                                 Hughes Network Systems
            Megargel town (47460)          Community Telephone Co.                              AMG Technology Investment Group                                                                           T-Mobile (LTE)
76370                                                                                                                                    ---                                     ViaSat
            Unincorporated Area (n|a)      Santa Rosa Telephone Cooperative                     Pinnacle Network Solutions                                                                                T-Mobile (5G)
                                                                                                                                                                                 VSAT Systems
                                           Windstream Holdings                                  Telephone and Data Systems                                                                                United States Cellular Corporation (LTE)
                                                                                                                                                                                                          Verizon Wireless (LTE)
                                                                                                                                                                                                          AT&T Mobility (LTE)
                                                                                                American Broadband Communications                                                Hughes Network Systems   T-Mobile (LTE)
            Munday city (50040)            Santa Rosa Telephone Cooperative
76371                                                                                           Pinnacle Network Solutions               ---                                     ViaSat                   T-Mobile (5G)
            Unincorporated Area (n|a)      Windstream Holdings
                                                                                                Telephone and Data Systems                                                       VSAT Systems             United States Cellular Corporation (LTE)
                                                                                                                                                                                                          Verizon Wireless (LTE)
                                                                                                AMG Technology Investment Group                                                                           AT&T Mobility (LTE)
                                                                                                AT&T                                                                             Hughes Network Systems   T-Mobile (LTE)
            Newcastle city (50868)         Brazos Telephone Cooperative
76372                                                                                           New Source Broadband                     ---                                     ViaSat                   T-Mobile (5G)
            Unincorporated Area (n|a)      Windstream Holdings
                                                                                                Pinnacle Network Solutions                                                       VSAT Systems             United States Cellular Corporation (LTE)
                                                                                                Telephone and Data Systems                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                          AT&T Mobility (LTE)
                                           Altice                                               AMG Technology Investment Group
                                                                                                                                                                                                          Sprint (LTE)
                                           American Broadband Communications                    AT&T                                                                             Hughes Network Systems
            Olney city (54000)                                                                                                                                                                            T-Mobile (LTE)
76374                                      Brazos Telephone Cooperative                         New Source Broadband                     ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                     T-Mobile (5G)
                                           Community Telephone Co.                              Pinnacle Network Solutions                                                       VSAT Systems
                                                                                                                                                                                                          United States Cellular Corporation (LTE)
                                           Santa Rosa Telephone Cooperative                     Telephone and Data Systems
                                                                                                                                                                                                          Verizon Wireless (LTE)
                                                                                                                                                                                                          AT&T Mobility (LTE)
                                                                                                AMG Technology Investment Group
                                                                                                                                                                                 Hughes Network Systems   T-Mobile (LTE)
            Petrolia city (57044)                                                               JAB Wireless
76377                                      TOTE Holdings                                                                                 ---                                     ViaSat                   T-Mobile (5G)
            Unincorporated Area (n|a)                                                           Pinnacle Network Solutions
                                                                                                                                                                                 VSAT Systems             United States Cellular Corporation (LTE)
                                                                                                Telephone and Data Systems
                                                                                                                                                                                                          Verizon Wireless (LTE)
                                                                                                                                                                                                          AT&T Mobility (LTE)
                                                                                                AMG Technology Investment Group                                                                           Sprint (LTE)
                                                                                                                                                                                 Hughes Network Systems
            Scotland city (66284)                                                               Pinnacle Network Solutions                                                                                T-Mobile (LTE)
76379                                      Community Telephone Co.                                                                       ---                                     ViaSat
            Unincorporated Area (n|a)                                                           Telephone and Data Systems                                                                                T-Mobile (5G)
                                                                                                                                                                                 VSAT Systems
                                                                                                Texhoma Wireless                                                                                          United States Cellular Corporation (LTE)
                                                                                                                                                                                                          Verizon Wireless (LTE)
                                                                                                                                                                                                          AT&T Mobility (LTE)
                                           Altice                                                                                                                                                         Sprint (LTE)
                                                                                                American Broadband Communications                                                Hughes Network Systems
            Seymour city (66968)           Brazos Telephone Cooperative                                                                                                                                   T-Mobile (LTE)
76380                                                                                           Pinnacle Network Solutions               ---                                     ViaSat
            Unincorporated Area (n|a)      Santa Rosa Telephone Cooperative                                                                                                                               T-Mobile (5G)
                                                                                                Telephone and Data Systems                                                       VSAT Systems
                                           Windstream Holdings                                                                                                                                            United States Cellular Corporation (LTE)
                                                                                                                                                                                                          Verizon Wireless (LTE)




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                                                                                                                                                                                                                            Exhibit SET-C
                                                                                        Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                         FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                  Wireline (DSL, Fiber, Cable)                           Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             Sprint (LTE)
                                                                                                  Pinnacle Network Solutions                                                        Hughes Network Systems
            Vernon city (75308)            Altice                                                                                           AT&T                                                             T-Mobile (LTE)
76384                                                                                             Southwest Oklahoma Telephone Company                                              ViaSat
            Unincorporated Area (n|a)      Comcast                                                                                          Santa Rosa Telephone Cooperative                                 T-Mobile (5G)
                                                                                                  Telephone and Data Systems                                                        VSAT Systems
                                                                                                                                                                                                             United States Cellular Corporation (LTE)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems
            Weinert city (77044)           Santa Rosa Telephone Cooperative                       American Broadband Communications                                                                          Sprint (LTE)
76388                                                                                                                                       ---                                     ViaSat
            Unincorporated Area (n|a)      Windstream Holdings                                    Pinnacle Network Solutions                                                                                 T-Mobile (LTE)
                                                                                                                                                                                    VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                  AMG Technology Investment Group                                                                            AT&T Mobility (LTE)
                                                                                                  AT&T                                                                                                       Sprint (LTE)
                                                                                                                                                                                    Hughes Network Systems
            Windthorst town (79696)        Brazos Telephone Cooperative                           JAB Wireless                                                                                               T-Mobile (LTE)
76389                                                                                                                                       ---                                     ViaSat
            Unincorporated Area (n|a)      Community Telephone Co.                                New Source Broadband                                                                                       T-Mobile (5G)
                                                                                                                                                                                    VSAT Systems
                                                                                                  Pinnacle Network Solutions                                                                                 United States Cellular Corporation (LTE)
                                                                                                  Telephone and Data Systems                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           CenturyLink                                                                                      Alenco Communications
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Stephenville city (70208)      GCTR                                                   Cirra Networks                            AMG Technology Investment Group
76401                                                                                                                                                                               ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Lipan Telephone Company                                New Source Broadband                      AT&T
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                           NTS                                                                                              TOTE Holdings
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group                                                   Hughes Network Systems
                                           CenturyLink                                                                                                                                                       Sprint (LTE)
76402       Stephenville city (70208)                                                             New Source Broadband                      ---                                     ViaSat
                                           GCTR                                                                                                                                                              T-Mobile (LTE)
                                                                                                  TOTE Holdings                                                                     VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems
            Breckenridge city (10132)      Altice                                                 AMG Technology Investment Group                                                                            T-Mobile (LTE)
76424                                                                                                                                       AT&T                                    ViaSat
            Unincorporated Area (n|a)      Brazos Telephone Cooperative                           New Source Broadband                                                                                       T-Mobile (5G)
                                                                                                                                                                                    VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                  AMG Technology Investment Group                                                                            AT&T Mobility (LTE)
            Bridgeport city (10264)
                                                                                                  Cirra Networks                                                                    Hughes Network Systems   Sprint (LTE)
            Lake Bridgeport city (40450)   CenturyLink
76426                                                                                             JAB Wireless                              ---                                     ViaSat                   T-Mobile (LTE)
            Runaway Bay city (63782)       GCTR
                                                                                                  Millennium Telcom                                                                 VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)
                                                                                                  New Source Broadband                                                                                       Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Bryson city (10960)                                                                   AT&T
76427                                      Brazos Telephone Cooperative                                                                     ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                             Cirra Networks
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                  New Source Broadband
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                           Altice                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group                                                   Hughes Network Systems
            Albany city (01648)            AT&T                                                                                                                                                              T-Mobile (LTE)
76430                                                                                             New Source Broadband                      ---                                     ViaSat
            Unincorporated Area (n|a)      Brazos Telephone Cooperative                                                                                                                                      T-Mobile (5G)
                                                                                                  PCC Holdings                                                                      VSAT Systems
                                           Windstream Holdings                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Chico city (14620)             CenturyLink                                            Cirra Networks
76431                                                                                                                                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      GCTR                                                   JAB Wireless
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                  New Source Broadband
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group                                                                            Sprint (LTE)
                                                                                                                                                                                    Hughes Network Systems
            Blanket town (08596)                                                                  Central Texas Telephone Cooperative                                                                        T-Mobile (LTE)
76432                                      Frontier Communications                                                                          TOTE Holdings                           ViaSat
            Unincorporated Area (n|a)                                                             Echo Wireless Broadband                                                                                    T-Mobile (5G)
                                                                                                                                                                                    VSAT Systems
                                                                                                  JAB Wireless                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                             West Central Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                  American Broadband Communications
                                                                                                                                                                                                             Sprint (LTE)
                                                                                                  AMG Technology Investment Group                                                   Hughes Network Systems
            Carbon town (12736)                                                                                                                                                                              T-Mobile (LTE)
76435                                      AT&T                                                   Central Texas Telephone Cooperative       TOTE Holdings                           ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                        T-Mobile (5G)
                                                                                                  New Source Broadband                                                              VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                  TXOL Internet
                                                                                                                                                                                                             West Central Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                  American Broadband Communications                                                                          AT&T Mobility (5G)
                                                                                                  AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
            Cisco city (15004)             Altice                                                                                           AT&T
76437                                                                                             Central Texas Telephone Cooperative                                               ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Windstream Holdings                                                                              TOTE Holdings
                                                                                                  New Source Broadband                                                              VSAT Systems             T-Mobile (5G)
                                                                                                  TXOL Internet                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                             West Central Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                  American Broadband Communications
                                                                                                                                                                                                             Sprint (LTE)
                                                                                                  AMG Technology Investment Group           Central Texas Telephone Cooperative     Hughes Network Systems
            Comanche city (16192)          Frontier Communications                                                                                                                                           T-Mobile (LTE)
76442                                                                                             Echo Wireless Broadband                   Dell Telephone Cooperative              ViaSat
            Unincorporated Area (n|a)      Windstream Holdings                                                                                                                                               T-Mobile (5G)
                                                                                                  New Source Broadband                      TOTE Holdings                           VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                  TXOL Internet
                                                                                                                                                                                                             West Central Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                  American Broadband Communications                                                                          AT&T Mobility (5G)
                                                                                                                                                                                    Hughes Network Systems
            Cross Plains town (17816)      Coleman County Telephone Cooperative                   AMG Technology Investment Group                                                                            T-Mobile (LTE)
76443                                                                                                                                       ---                                     ViaSat
            Unincorporated Area (n|a)      Windstream Holdings                                    Central Texas Telephone Cooperative                                                                        T-Mobile (5G)
                                                                                                                                                                                    VSAT Systems
                                                                                                  Echo Wireless Broadband                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                             West Central Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group                                                                            Sprint (LTE)
                                                                                                                                                                                    Hughes Network Systems
            De Leon city (19672)           Comcast                                                Central Texas Telephone Cooperative                                                                        T-Mobile (LTE)
76444                                                                                                                                       TOTE Holdings                           ViaSat
            Unincorporated Area (n|a)      Etex Telephone Cooperative                             New Source Broadband                                                                                       T-Mobile (5G)
                                                                                                                                                                                    VSAT Systems
                                                                                                  TXOL Internet                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                             West Central Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group
                                                                                                                                                                                                             Sprint (LTE)
                                           CenturyLink                                            Central Texas Telephone Cooperative                                               Hughes Network Systems
            Dublin city (21484)                                                                                                             Alenco Communications                                            T-Mobile (LTE)
76446                                      Frontier Communications                                Cirra Networks                                                                    ViaSat
            Unincorporated Area (n|a)                                                                                                       TOTE Holdings                                                    T-Mobile (5G)
                                           GCTR                                                   New Source Broadband                                                              VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                  TXOL Internet
                                                                                                                                                                                                             West Central Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
            Eastland city (22132)                                                                                                           AT&T
76448                                      Altice                                                 New Source Broadband                                                              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                       TOTE Holdings
                                                                                                  TXOL Internet                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Graford city (30380)                                                                  Cirra Networks
76449                                      CenturyLink                                                                                      ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                             JAB Wireless
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                  New Source Broadband
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group
                                           Brazos Telephone Cooperative                                                                                                             Hughes Network Systems   Sprint (LTE)
            Graham city (30392)                                                                   Cirra Networks
76450                                      GCTR                                                                                             AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                             New Source Broadband
                                           Zito Media, LP                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                  Pinnacle Network Solutions
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Gordon city (30272)                                                                   Cirra Networks
76453                                      CenturyLink                                                                                      AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                             New Source Broadband
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                  TOTE Holdings
                                                                                                                                                                                                             Verizon Wireless (LTE)




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                                                                                                                                                                                                                                   Exhibit SET-C
                                                                                              Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                                FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                        Wireline (DSL, Fiber, Cable)                            Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                                                                                        American Broadband Communications
                                                                                                                                                                                                                    Sprint (LTE)
                                                                                                        AMG Technology Investment Group                                                    Hughes Network Systems
            Gorman city (30308)                                                                                                                                                                                     T-Mobile (LTE)
76454                                            Windstream Holdings                                    Central Texas Telephone Cooperative        TOTE Holdings                           ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                               T-Mobile (5G)
                                                                                                        New Source Broadband                                                               VSAT Systems
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                        TXOL Internet
                                                                                                                                                                                                                    West Central Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                                                                                                                                                                                                    Sprint (LTE)
                                                                                                                                                                                           Hughes Network Systems
            Gustine town (31628)                 CenturyLink                                                                                                                                                        T-Mobile (LTE)
76455                                                                                                   Central Texas Telephone Cooperative        TOTE Holdings                           ViaSat
            Unincorporated Area (n|a)            Frontier Communications                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                           VSAT Systems
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                                    West Central Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                                                                                        American Broadband Communications                                                  Hughes Network Systems   Sprint (LTE)
            Hico city (33548)                    CenturyLink
76457                                                                                                   AMG Technology Investment Group            Alenco Communications                   ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)            Windstream Holdings
                                                                                                        TOTE Holdings                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                        AMG Technology Investment Group
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                                 Brazos Telephone Cooperative                           Cirra Networks
                                                                                                                                                                                           Hughes Network Systems   Sprint (LTE)
            Jacksboro city (37168)               CenturyLink                                            JAB Wireless
76458                                                                                                                                              AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)            Community Telephone Co.                                LocaLoop
                                                                                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                 GCTR                                                   New Source Broadband
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                        Telephone and Data Systems
                                                                                                        AMG Technology Investment Group                                                                             AT&T Mobility (LTE)
                                                 AT&T
                                                                                                        Cirra Networks                                                                     Hughes Network Systems   Sprint (LTE)
            Lipan city (42940)                   CenturyLink
76462                                                                                                   JAB Wireless                               ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)            Charter Communications
                                                                                                        Linxus Internet                                                                    VSAT Systems             T-Mobile (5G)
                                                 Lipan Telephone Company
                                                                                                        TOTE Holdings                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                                                                                        AMG Technology Investment Group                                                    Hughes Network Systems   Sprint (LTE)
            Mingus city (48720)                                                                                                                    AT&T
76463                                            CenturyLink                                            Cirra Networks                                                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                              TOTE Holdings
                                                                                                        New Source Broadband                                                               VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                                                                                        American Broadband Communications
                                                                                                                                                                                           Hughes Network Systems   Sprint (LTE)
            Moran city (49320)                                                                          AMG Technology Investment Group
76464                                            Windstream Holdings                                                                               AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                   New Source Broadband
                                                                                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                        PCC Holdings
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                                                                                        American Broadband Communications
                                                                                                                                                                                           Hughes Network Systems   Sprint (LTE)
            Putnam town (59984)                                                                         AMG Technology Investment Group
76469                                            Windstream Holdings                                                                               ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                   AT&T
                                                                                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                        New Source Broadband
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                                                                                        AMG Technology Investment Group
                                                                                                                                                                                           Hughes Network Systems   Sprint (LTE)
            Ranger city (60632)                                                                         Cirra Networks                             AT&T
76470                                            Altice                                                                                                                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                   New Source Broadband                       TOTE Holdings
                                                                                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                        TXOL Internet
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                                                                                        American Broadband Communications
                                                                                                                                                                                                                    AT&T Mobility (5G)
                                                                                                        AMG Technology Investment Group
                                                                                                                                                                                           Hughes Network Systems   Sprint (LTE)
            Rising Star town (62252)             TOTE Holdings                                          Central Texas Telephone Cooperative
76471                                                                                                                                              ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)            Windstream Holdings                                    Echo Wireless Broadband
                                                                                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                        New Source Broadband
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                        TXOL Internet
                                                                                                                                                                                                                    West Central Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                                                                                        AMG Technology Investment Group                                                    Hughes Network Systems   Sprint (LTE)
            Strawn city (70580)                  CenturyLink
76475                                                                                                   Cirra Networks                             AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)            TOTE Holdings
                                                                                                        New Source Broadband                                                               VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                 AT&T                                                   AMG Technology Investment Group                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                           Hughes Network Systems
            Tolar city (73268)                   Charter Communications                                 Cirra Networks                                                                                              Sprint (LTE)
76476                                                                                                                                              ---                                     ViaSat
            Unincorporated Area (n|a)            Lipan Telephone Company                                JAB Wireless                                                                                                T-Mobile (LTE)
                                                                                                                                                                                           VSAT Systems
                                                 Windstream Holdings                                    Linxus Internet                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                                 Brazos Telephone Cooperative
                                                                                                        New Source Broadband                                                               Hughes Network Systems   T-Mobile (LTE)
            Throckmorton town (72896)            Etex Telephone Cooperative
76483                                                                                                   Pinnacle Network Solutions                 ---                                     ViaSat                   T-Mobile (5G)
            Unincorporated Area (n|a)            Santa Rosa Telephone Cooperative
                                                                                                        Telephone and Data Systems                                                         VSAT Systems             United States Cellular Corporation (LTE)
                                                 Windstream Holdings
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                                                                                                                                                                           Hughes Network Systems
            Woodson town (80188)                                                                        New Source Broadband                                                                                        T-Mobile (LTE)
76491                                            Brazos Telephone Cooperative                                                                      ---                                     ViaSat
            Unincorporated Area (n|a)                                                                   Pinnacle Network Solutions                                                                                  T-Mobile (5G)
                                                                                                                                                                                           VSAT Systems
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                 AT&T
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                                 CenturyLink
                                                                                                                                                                                           Hughes Network Systems   Sprint (LTE)
            Temple city (72176)                  Charter Communications                                 AMG Technology Investment Group
76501                                                                                                                                              ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)            Comcast                                                Electronic Corporate Pages
                                                                                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                 Radiate Holdings, LP
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                 Windstream Holdings
                                                 1stel                                                                                                                                                              AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Temple city (72176)                                                                         AMG Technology Investment Group
76502                                            CenturyLink                                                                                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                   Electronic Corporate Pages
                                                 Charter Communications                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                 Radiate Holdings, LP                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                                 AT&T
                                                                                                                                                                                           Hughes Network Systems   Sprint (LTE)
            Temple city (72176)                  CenturyLink
76504                                                                                                   AMG Technology Investment Group            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)            Charter Communications
                                                                                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                 Radiate Holdings, LP
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
76508       Temple city (72176)                  Charter Communications                                 AMG Technology Investment Group            ---                                     ViaSat                   T-Mobile (LTE)
                                                 Radiate Holdings, LP                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                                                                                        AMG Technology Investment Group
                                                                                                                                                                                           Hughes Network Systems   Sprint (LTE)
            Bartlett city (05732)                                                                       Electronic Corporate Pages                 AT&T
76511                                            ---                                                                                                                                       ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                   JAB Wireless                               Falcon Internet
                                                                                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                        Unified Communications
                                                                                                                                                                                                                    Verizon Wireless (LTE)
            Belton city (07492)                  AT&T                                                                                                                                                               AT&T Mobility (LTE)
            Harker Heights city (32312)          CenturyLink                                                                                                                               Hughes Network Systems   Sprint (LTE)
                                                                                                        AMG Technology Investment Group
76513       Morgan's Point Resort city (49392)   Charter Communications                                                                            ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                        Electronic Corporate Pages
            Temple city (72176)                  Falcon Internet                                                                                                                           VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)            Radiate Holdings, LP                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                                                                                                                                                                           Hughes Network Systems   Sprint (LTE)
            Buckholts town (11020)               CenturyLink                                            AMG Technology Investment Group
76518                                                                                                                                              AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)            Windstream Holdings                                    Unified Communications
                                                                                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                 Cable One                                              AMG Technology Investment Group                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                           Hughes Network Systems
            Cameron city (12040)                 CenturyLink                                            Brazos WiFi                                                                                                 Sprint (LTE)
76520                                                                                                                                              AT&T                                    ViaSat
            Unincorporated Area (n|a)            Windstream Holdings                                    Texas Broadband                                                                                             T-Mobile (LTE)
                                                                                                                                                                                           VSAT Systems
                                                 Zito Media, LP                                         Unified Communications                                                                                      Verizon Wireless (LTE)



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                                                                                                                                                                                                                                  Exhibit SET-C
                                                                                             Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                               FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                      Wireline (DSL, Fiber, Cable)                            Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                                                   AT&T Mobility (5G)
            Copperas Cove city (16624)          Cable One                                                                                                                                 Hughes Network Systems
                                                                                                       AMG Technology Investment Group                                                                             Sprint (LTE)
76522       Kempner city (38800)                CenturyLink                                                                                       Roll Call Security & Communications     ViaSat
                                                                                                       AT&T                                                                                                        T-Mobile (LTE)
            Unincorporated Area (n|a)           Charter Communications                                                                                                                    VSAT Systems
                                                                                                                                                                                                                   T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                AT&T
                                                                                                       AMG Technology Investment Group                                                                             AT&T Mobility (5G)
                                                CenturyLink                                                                                                                               Hughes Network Systems
            Bruceville-Eddy city (10828)                                                               Helmsco                                                                                                     Sprint (LTE)
76524                                           Charter Communications                                                                            ---                                     ViaSat
            Unincorporated Area (n|a)                                                                  JAB Wireless                                                                                                T-Mobile (LTE)
                                                Comcast                                                                                                                                   VSAT Systems
                                                                                                       Kainos Technologies                                                                                         T-Mobile (5G)
                                                Windstream Holdings
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                       Alenco Communications                                                                                       Sprint (LTE)
                                                                                                                                                                                          Hughes Network Systems
            Evant town (24864)                                                                         American Broadband Communications          Central Texas Telephone Cooperative                              T-Mobile (LTE)
76525                                           ---                                                                                                                                       ViaSat
            Unincorporated Area (n|a)                                                                  AMG Technology Investment Group            Roll Call Security & Communications                              T-Mobile (5G)
                                                                                                                                                                                          VSAT Systems
                                                                                                       AT&T                                                                                                        Verizon Wireless (LTE)
                                                                                                                                                                                                                   West Central Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                                                   AT&T Mobility (5G)
                                                                                                       BM Service Corp.                                                                   Hughes Network Systems
            Florence city (26136)               CenturyLink                                                                                                                                                        Sprint (LTE)
76527                                                                                                  Electronic Corporate Pages                 Roll Call Security & Communications     ViaSat
            Unincorporated Area (n|a)           Frontier Communications                                                                                                                                            T-Mobile (LTE)
                                                                                                       Heritage Broadband                                                                 VSAT Systems
                                                                                                                                                                                                                   T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                Central Texas Telephone Cooperative
                                                                                                                                                                                                                   AT&T Mobility (5G)
            Gatesville city (29168)             CenturyLink                                            American Broadband Communications                                                  Hughes Network Systems
                                                                                                                                                  AT&T                                                             Sprint (LTE)
76528       South Mountain town (69120)         Charter Communications                                 AMG Technology Investment Group                                                    ViaSat
                                                                                                                                                  Roll Call Security & Communications                              T-Mobile (LTE)
            Unincorporated Area (n|a)           Comcast                                                JAB Wireless                                                                       VSAT Systems
                                                                                                                                                                                                                   T-Mobile (5G)
                                                Signalnet Broadband
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                       AMG Technology Investment Group
                                                                                                                                                                                          Hughes Network Systems   Sprint (LTE)
            Granger city (30548)                                                                       Electronic Corporate Pages
76530                                           AT&T                                                                                              Unified Communications                  ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                  Falcon Internet
                                                                                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                                                                       TISD
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                                                   Sprint (LTE)
                                                                                                                                                                                          Hughes Network Systems
            Hamilton city (31952)                                                                      American Broadband Communications          Alenco Communications                                            T-Mobile (LTE)
76531                                           CenturyLink                                                                                                                               ViaSat
            Unincorporated Area (n|a)                                                                  AMG Technology Investment Group            Central Texas Telephone Cooperative                              T-Mobile (5G)
                                                                                                                                                                                          VSAT Systems
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   West Central Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                CenturyLink                                            AMG Technology Investment Group                                                    Hughes Network Systems   Sprint (LTE)
            Holland town (34508)                                                                                                                  AT&T
76534                                           Charter Communications                                 Electronic Corporate Pages                                                         ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                             Falcon Internet
                                                Windstream Holdings                                    Unified Communications                                                             VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                Altice
                                                                                                       BM Service Corp.                                                                   Hughes Network Systems   Sprint (LTE)
            Jarrell city (37396)                AT&T
76537                                                                                                  Electronic Corporate Pages                 ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)           CenturyLink
                                                                                                       Heritage Broadband                                                                 VSAT Systems             T-Mobile (5G)
                                                Frontier Communications
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                                                   AT&T Mobility (5G)
                                                                                                                                                                                          Hughes Network Systems
            Kempner city (38800)                CenturyLink                                            AMG Technology Investment Group            AT&T                                                             Sprint (LTE)
76539                                                                                                                                                                                     ViaSat
            Unincorporated Area (n|a)           Charter Communications                                 Electronic Corporate Pages                 Roll Call Security & Communications                              T-Mobile (LTE)
                                                                                                                                                                                          VSAT Systems
                                                                                                                                                                                                                   T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                                                   AT&T Mobility (5G)
                                                CenturyLink                                                                                                                               Hughes Network Systems
                                                                                                                                                                                                                   Sprint (LTE)
76541       Killeen city (39148)                Charter Communications                                 ---                                        Roll Call Security & Communications     ViaSat
                                                                                                                                                                                                                   T-Mobile (LTE)
                                                Comcast                                                                                                                                   VSAT Systems
                                                                                                                                                                                                                   T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                AT&T                                                                                                                                                               AT&T Mobility (5G)
                                                                                                       Electronic Corporate Pages                                                         Hughes Network Systems
            Killeen city (39148)                CenturyLink                                                                                                                                                        Sprint (LTE)
76542                                                                                                  Etex Telephone Cooperative                 Roll Call Security & Communications     ViaSat
            Unincorporated Area (n|a)           Charter Communications                                                                                                                                             T-Mobile (LTE)
                                                                                                       Heritage Broadband                                                                 VSAT Systems
                                                Comcast                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                Cable One                                                                                                                                                          AT&T Mobility (5G)
                                                                                                                                                                                          Hughes Network Systems
            Killeen city (39148)                CenturyLink                                            AMG Technology Investment Group                                                                             Sprint (LTE)
76543                                                                                                                                             Roll Call Security & Communications     ViaSat
            Unincorporated Area (n|a)           Charter Communications                                 Electronic Corporate Pages                                                                                  T-Mobile (LTE)
                                                                                                                                                                                          VSAT Systems
                                                Comcast                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                CenturyLink                                                                                                                               Hughes Network Systems   Sprint (LTE)
            Harker Heights city (32312)                                                                Electronic Corporate Pages
76548                                           Charter Communications                                                                            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                  TPT Global Technologies
                                                Comcast                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                                                   AT&T Mobility (5G)
                                                CenturyLink                                                                                                                               Hughes Network Systems
            Killeen city (39148)                                                                       AT&T                                                                                                        Sprint (LTE)
76549                                           Charter Communications                                                                            Roll Call Security & Communications     ViaSat
            Unincorporated Area (n|a)                                                                  Electronic Corporate Pages                                                                                  T-Mobile (LTE)
                                                Comcast                                                                                                                                   VSAT Systems
                                                                                                                                                                                                                   T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                                                   AT&T Mobility (5G)
                                                                                                       AMG Technology Investment Group
                                                Altice                                                                                            AT&T                                    Hughes Network Systems   Sprint (LTE)
            Lampasas city (41188)                                                                      Electronic Corporate Pages
76550                                           CenturyLink                                                                                       Central Texas Telephone Cooperative     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                  Falcon Internet
                                                Radiate Holdings, LP                                                                              Roll Call Security & Communications     VSAT Systems             T-Mobile (5G)
                                                                                                       JAB Wireless
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   West Central Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                          Hughes Network Systems   Sprint (LTE)
            Little River-Academy city (43066)   CenturyLink                                            AMG Technology Investment Group
76554                                                                                                                                             ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)           Radiate Holdings, LP                                   Electronic Corporate Pages
                                                                                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                       AMG Technology Investment Group
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                       AT&T                                                                               Hughes Network Systems
            Milano city (48336)                                                                                                                                                                                    Sprint (LTE)
76556                                           CenturyLink                                            Brazos WiFi                                ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                              T-Mobile (LTE)
                                                                                                       Texas Broadband                                                                    VSAT Systems
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                       Unified Communications
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                       American Broadband Communications
                                                                                                                                                                                                                   AT&T Mobility (5G)
                                                CenturyLink                                            AMG Technology Investment Group                                                    Hughes Network Systems
            Moody city (49200)                                                                                                                                                                                     Sprint (LTE)
76557                                           Charter Communications                                 Helmsco                                    AT&T                                    ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                              T-Mobile (LTE)
                                                Radiate Holdings, LP                                   JAB Wireless                                                                       VSAT Systems
                                                                                                                                                                                                                   T-Mobile (5G)
                                                                                                       Kainos Technologies
                                                                                                                                                                                                                   Verizon Wireless (LTE)




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                                                                                                                                                                                                                             Exhibit SET-C
                                                                                        Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                          FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                 Wireline (DSL, Fiber, Cable)                            Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Nolanville city (51708)
76559                                      CenturyLink                                            ---                                        ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                           Charter Communications                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
            Oglesby city (53520)           CenturyLink                                            AMG Technology Investment Group                                                                             Sprint (LTE)
76561                                                                                                                                        AT&T                                    ViaSat
            Unincorporated Area (n|a)      Etex Telephone Cooperative                             JAB Wireless                                                                                                T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group
                                                                                                                                                                                     Hughes Network Systems   Evolve Broadband (5G)
            Rockdale city (62672)                                                                 JAB Wireless
76567                                      Altice                                                                                            AT&T                                    ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)                                                             Texas Broadband
                                                                                                                                                                                     VSAT Systems             T-Mobile (LTE)
                                                                                                  Unified Communications
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group
                                           CenturyLink                                                                                                                               Hughes Network Systems   Sprint (LTE)
            Rogers town (62924)                                                                   AT&T
76569                                      Radiate Holdings, LP                                                                              ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                             Electronic Corporate Pages
                                           Windstream Holdings                                                                                                                       VSAT Systems             T-Mobile (5G)
                                                                                                  Unified Communications
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Rosebud city (63188)           Etex Telephone Cooperative                             AT&T
76570                                                                                                                                        ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Windstream Holdings                                    Centex Web Access
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                  Unified Communications
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                  AT&T                                                                               Hughes Network Systems   Sprint (LTE)
            Salado village (64268)         CenturyLink
76571                                                                                             Electronic Corporate Pages                 Falcon Internet                         ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Radiate Holdings, LP
                                                                                                  Heritage Broadband                                                                 VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group
                                           AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Taylor city (71948)                                                                   Electronic Corporate Pages
76574                                      Charter Communications                                                                            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                             JAB Wireless
                                           Comcast                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                  Valley Telephone Cooperative (TX)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                  AMG Technology Investment Group                                                                             AT&T Mobility (LTE)
                                                                                                  Electronic Corporate Pages                                                         Hughes Network Systems   Sprint (LTE)
            Thorndale city (72776)         AT&T
76577                                                                                             JAB Wireless                               ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Charter Communications
                                                                                                  Unified Communications                                                             VSAT Systems             T-Mobile (5G)
                                                                                                  Valley Telephone Cooperative (TX)                                                                           Verizon Wireless (LTE)
                                                                                                  AMG Technology Investment Group                                                                             AT&T Mobility (LTE)
                                                                                                  Electronic Corporate Pages                                                         Hughes Network Systems   Sprint (LTE)
            Thrall city (72824)            AT&T
76578                                                                                             JAB Wireless                               ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Charter Communications
                                                                                                  Unified Communications                                                             VSAT Systems             T-Mobile (5G)
                                                                                                  Valley Telephone Cooperative (TX)                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T                                                                                                                                                               AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
            Troy city (73748)              CenturyLink                                            AMG Technology Investment Group                                                                             Sprint (LTE)
76579                                                                                                                                        ---                                     ViaSat
            Unincorporated Area (n|a)      Charter Communications                                 JAB Wireless                                                                                                T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                           Radiate Holdings, LP                                                                                                                                               T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                                                                                  AMG Technology Investment Group
76596       Gatesville city (29168)        CenturyLink                                                                                       ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                  JAB Wireless
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems
                                                                                                  AMG Technology Investment Group                                                                             T-Mobile (LTE)
76597       Gatesville city (29168)        CenturyLink                                                                                       ---                                     ViaSat
                                                                                                  JAB Wireless                                                                                                T-Mobile (5G)
                                                                                                                                                                                     VSAT Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                                                                                  AMG Technology Investment Group
76598       Gatesville city (29168)        CenturyLink                                                                                       ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                  JAB Wireless
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                                                                                  AMG Technology Investment Group
76599       Gatesville city (29168)        CenturyLink                                                                                       ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                  JAB Wireless
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                  American Broadband Communications                                                                           AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
            Abbott city (00100)            AT&T                                                   AMG Technology Investment Group                                                                             Sprint (LTE)
76621                                                                                                                                        ---                                     ViaSat
            Unincorporated Area (n|a)      Windstream Holdings                                    Helmsco                                                                                                     T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                                                                                  JAB Wireless                                                                                                T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
            Aquilla city (03588)           Comcast                                                AMG Technology Investment Group                                                                             Sprint (LTE)
76622                                                                                                                                        ---                                     ViaSat
            Unincorporated Area (n|a)      Windstream Holdings                                    JAB Wireless                                                                                                T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
                                                                                                  American Broadband Communications                                                  Hughes Network Systems
            Hallsburg city (31880)         AT&T                                                                                                                                                               Sprint (LTE)
76624                                                                                             AMG Technology Investment Group            ---                                     ViaSat
            Unincorporated Area (n|a)      Cable One                                                                                                                                                          T-Mobile (LTE)
                                                                                                  Helmsco                                                                            VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                  American Broadband Communications
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Blooming Grove town (08788)                                                           AMG Technology Investment Group
76626                                      Windstream Holdings                                                                               ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                             Backroads Broadband
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                  JAB Wireless
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group                                                    Hughes Network Systems   Sprint (LTE)
            Blum town (09004)
76627                                      Windstream Holdings                                    Cirra Networks                             ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                  JAB Wireless                                                                       VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                  American Broadband Communications
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group                                                    Hughes Network Systems
            Bremond city (10144)           CenturyLink                                                                                                                                                        Sprint (LTE)
76629                                                                                             Express WISP                               ---                                     ViaSat
            Unincorporated Area (n|a)      Windstream Holdings                                                                                                                                                T-Mobile (LTE)
                                                                                                  Texas Broadband                                                                    VSAT Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                  Unified Communications
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group                                                                             AT&T Mobility (5G)
                                           AT&T                                                                                                                                      Hughes Network Systems
            Bruceville-Eddy city (10828)                                                          Helmsco                                                                                                     Sprint (LTE)
76630                                      Charter Communications                                                                            ---                                     ViaSat
            Unincorporated Area (n|a)                                                             JAB Wireless                                                                                                T-Mobile (LTE)
                                           Windstream Holdings                                                                                                                       VSAT Systems
                                                                                                  Kainos Technologies                                                                                         T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)




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                                                                                                                                                                                                                          Exhibit SET-C
                                                                                       Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                       FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                 Wireline (DSL, Fiber, Cable)                          Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                 American Broadband Communications                                                Hughes Network Systems   Sprint (LTE)
            Bynum town (11656)
76631                                     Windstream Holdings                                    AMG Technology Investment Group          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                 JAB Wireless                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                                           AT&T Mobility (5G)
                                                                                                 AMG Technology Investment Group                                                  Hughes Network Systems
            Golinda city (30092)          AT&T                                                                                                                                                             Sprint (LTE)
76632                                                                                            Centex Web Access                        ---                                     ViaSat
            Unincorporated Area (n|a)     Windstream Holdings                                                                                                                                              T-Mobile (LTE)
                                                                                                 Helmsco                                                                          VSAT Systems
                                                                                                                                                                                                           T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                                           AT&T Mobility (5G)
                                          AT&T                                                                                                                                    Hughes Network Systems
            Waco city (76000)                                                                    AMG Technology Investment Group                                                                           Sprint (LTE)
76633                                     Charter Communications                                                                          ---                                     ViaSat
            Unincorporated Area (n|a)                                                            JAB Wireless                                                                                              T-Mobile (LTE)
                                          Windstream Holdings                                                                                                                     VSAT Systems
                                                                                                                                                                                                           T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                                           AT&T Mobility (5G)
                                                                                                 American Broadband Communications                                                Hughes Network Systems
            Clifton city (15472)                                                                                                                                                                           Sprint (LTE)
76634                                     CenturyLink                                            AMG Technology Investment Group          AT&T                                    ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                      T-Mobile (LTE)
                                                                                                 JAB Wireless                                                                     VSAT Systems
                                                                                                                                                                                                           T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                 AMG Technology Investment Group
                                          AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Coolidge town (16552)                                                                Express WISP
76635                                     GCTR                                                                                            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                            Helmsco
                                          Windstream Holdings                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                 JAB Wireless
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                 AMG Technology Investment Group                                                  Hughes Network Systems
            Covington city (17372)                                                                                                                                                                         Sprint (LTE)
76636                                     Windstream Holdings                                    Cirra Networks                           ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                      T-Mobile (LTE)
                                                                                                 JAB Wireless                                                                     VSAT Systems
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                  Hughes Network Systems   AT&T Mobility (LTE)
            Cranfills Gap city (17540)    AT&T                                                   American Broadband Communications
76637                                                                                                                                     ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     CenturyLink                                            AMG Technology Investment Group
                                                                                                                                                                                  VSAT Systems             Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          AT&T                                                                                                                                                             AT&T Mobility (5G)
                                                                                                 AMG Technology Investment Group                                                  Hughes Network Systems
            Crawford town (17564)         Charter Communications                                                                                                                                           Sprint (LTE)
76638                                                                                            JAB Wireless                             ---                                     ViaSat
            Unincorporated Area (n|a)     Comcast                                                                                                                                                          T-Mobile (LTE)
                                                                                                 TPT Global Technologies                                                          VSAT Systems
                                          Windstream Holdings                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                 AMG Technology Investment Group                                                  Hughes Network Systems   Sprint (LTE)
            Dawson town (19420)
76639                                     Windstream Holdings                                    Backroads Broadband                      ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                 JAB Wireless                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                                           AT&T Mobility (5G)
            Leroy city (42400)                                                                   AMG Technology Investment Group                                                  Hughes Network Systems
                                          AT&T                                                                                                                                                             Sprint (LTE)
76640       Ross city (63380)                                                                    Helmsco                                  ---                                     ViaSat
                                          Charter Communications                                                                                                                                           T-Mobile (LTE)
            Unincorporated Area (n|a)                                                            JAB Wireless                                                                     VSAT Systems
                                                                                                                                                                                                           T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                 American Broadband Communications
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Frost city (27768)                                                                   AMG Technology Investment Group
76641                                     Windstream Holdings                                                                             ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                            Backroads Broadband
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                 JAB Wireless
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                 American Broadband Communications                                                                         AT&T Mobility (LTE)
                                          Alenco Communications
                                                                                                 AMG Technology Investment Group                                                  Hughes Network Systems   Sprint (LTE)
            Groesbeck city (31280)        CenturyLink
76642                                                                                            AT&T                                     ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     GCTR
                                                                                                 Helmsco                                                                          VSAT Systems             T-Mobile (5G)
                                          Windstream Holdings
                                                                                                 JAB Wireless                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          AT&T
                                                                                                 AMG Technology Investment Group                                                                           AT&T Mobility (5G)
                                          Charter Communications                                                                                                                  Hughes Network Systems
                                                                                                 Helmsco                                                                                                   Sprint (LTE)
76643       Hewitt city (33428)           Comcast                                                                                         ---                                     ViaSat
                                                                                                 JAB Wireless                                                                                              T-Mobile (LTE)
                                          En-Touch Systems                                                                                                                        VSAT Systems
                                                                                                 Kainos Technologies                                                                                       T-Mobile (5G)
                                          Radiate Holdings, LP
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          1stel
                                                                                                 American Broadband Communications                                                Hughes Network Systems   Sprint (LTE)
            Hillsboro city (34088)        AT&T
76645                                                                                            AMG Technology Investment Group          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     GCTR
                                                                                                 JAB Wireless                                                                     VSAT Systems             T-Mobile (5G)
                                          Windstream Holdings
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                 American Broadband Communications                                                                         AT&T Mobility (LTE)
                                                                                                 AMG Technology Investment Group                                                  Hughes Network Systems   Sprint (LTE)
            Hubbard city (35180)
76648                                     Windstream Holdings                                    Backroads Broadband                      ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                 Helmsco                                                                          VSAT Systems             T-Mobile (5G)
                                                                                                 JAB Wireless                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                 American Broadband Communications
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Iredell city (36140)          CenturyLink                                            AMG Technology Investment Group
76649                                                                                                                                     Alenco Communications                   ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Windstream Holdings                                    AT&T
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                 TOTE Holdings
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                 American Broadband Communications
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Italy town (37072)            AT&T                                                   AMG Technology Investment Group
76651                                                                                                                                     ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Windstream Holdings                                    JAB Wireless
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                 Legacy ISP
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                 American Broadband Communications
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                 AMG Technology Investment Group                                                  Hughes Network Systems
            Kosse town (39844)                                                                                                                                                                             Sprint (LTE)
76653                                     CenturyLink                                            AT&T                                     ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                      T-Mobile (LTE)
                                                                                                 Express WISP                                                                     VSAT Systems
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                 Texas Broadband
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                                           AT&T Mobility (5G)
                                                                                                                                                                                  Hughes Network Systems
            Leroy city (42400)                                                                   AMG Technology Investment Group                                                                           Sprint (LTE)
76654                                     ---                                                                                             ---                                     ViaSat
            Unincorporated Area (n|a)                                                            Helmsco                                                                                                   T-Mobile (LTE)
                                                                                                                                                                                  VSAT Systems
                                                                                                                                                                                                           T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
            Golinda city (30092)                                                                 AMG Technology Investment Group
                                          AT&T                                                                                                                                                             AT&T Mobility (5G)
            Lorena city (44020)                                                                  Centex Web Access                                                                Hughes Network Systems
                                          Charter Communications                                                                                                                                           Sprint (LTE)
76655       Robinson city (62588)                                                                Helmsco                                  ---                                     ViaSat
                                          Radiate Holdings, LP                                                                                                                                             T-Mobile (LTE)
            Waco city (76000)                                                                    JAB Wireless                                                                     VSAT Systems
                                          Windstream Holdings                                                                                                                                              T-Mobile (5G)
            Unincorporated Area (n|a)                                                            Kainos Technologies
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                                           AT&T Mobility (5G)
                                                                                                 AMG Technology Investment Group                                                  Hughes Network Systems
            Lott city (44176)             CenturyLink                                                                                                                                                      Sprint (LTE)
76656                                                                                            Centex Web Access                        ---                                     ViaSat
            Unincorporated Area (n|a)     Windstream Holdings                                                                                                                                              T-Mobile (LTE)
                                                                                                 Helmsco                                                                          VSAT Systems
                                                                                                                                                                                                           T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)




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                                                                                                                                                                                                                            Exhibit SET-C
                                                                                     Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                         FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities               Wireline (DSL, Fiber, Cable)                              Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                          AT&T
                                                                                               AMG Technology Investment Group                                                                               AT&T Mobility (5G)
            McGregor city (45672)         Charter Communications                                                                                                                    Hughes Network Systems
                                                                                               Helmsco                                                                                                       Sprint (LTE)
76657       Waco city (76000)             Comcast                                                                                           ---                                     ViaSat
                                                                                               JAB Wireless                                                                                                  T-Mobile (LTE)
            Unincorporated Area (n|a)     Radiate Holdings, LP                                                                                                                      VSAT Systems
                                                                                               Kainos Technologies                                                                                           T-Mobile (5G)
                                          Windstream Holdings
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                               American Broadband Communications                                                    Hughes Network Systems   Sprint (LTE)
            Malone town (46260)
76660                                     Windstream Holdings                                  AMG Technology Investment Group              ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                               JAB Wireless                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             AT&T Mobility (5G)
                                                                                               AMG Technology Investment Group                                                      Hughes Network Systems
            Marlin city (46740)           CenturyLink                                                                                                                                                        Sprint (LTE)
76661                                                                                          Centex Web Access                            AT&T                                    ViaSat
            Unincorporated Area (n|a)     Windstream Holdings                                                                                                                                                T-Mobile (LTE)
                                                                                               Helmsco                                                                              VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                               AMG Technology Investment Group                                                                               AT&T Mobility (5G)
            Hallsburg city (31880)        AT&T                                                                                                                                      Hughes Network Systems
                                                                                               Centex Web Access                                                                                             Sprint (LTE)
76664       Mart city (46824)             CenturyLink                                                                                       ---                                     ViaSat
                                                                                               Helmsco                                                                                                       T-Mobile (LTE)
            Unincorporated Area (n|a)     Windstream Holdings                                                                                                                       VSAT Systems
                                                                                               JAB Wireless                                                                                                  T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems
            Meridian city (47760)         CenturyLink                                          American Broadband Communications                                                                             T-Mobile (LTE)
76665                                                                                                                                       AT&T                                    ViaSat
            Unincorporated Area (n|a)     Windstream Holdings                                  AMG Technology Investment Group                                                                               T-Mobile (5G)
                                                                                                                                                                                    VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                               American Broadband Communications
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Mertens town (47820)                                                               AMG Technology Investment Group
76666                                     Windstream Holdings                                                                               ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                          JAB Wireless
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                               Legacy ISP
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                          1stel                                                                                                                                                              AT&T Mobility (LTE)
                                                                                               AMG Technology Investment Group                                                      Hughes Network Systems
            Mexia city (47916)            CenturyLink                                                                                                                                                        T-Mobile (LTE)
76667                                                                                          Express WISP                                 AT&T                                    ViaSat
            Unincorporated Area (n|a)     GCTR                                                                                                                                                               T-Mobile (5G)
                                                                                               JAB Wireless                                                                         VSAT Systems
                                          Windstream Holdings                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
            Carl's Corner town (12895)                                                                                                                                              Hughes Network Systems   Sprint (LTE)
                                                                                               AMG Technology Investment Group
76670       Milford town (48408)          Windstream Holdings                                                                               ---                                     ViaSat                   T-Mobile (LTE)
                                                                                               JAB Wireless
            Unincorporated Area (n|a)                                                                                                                                               VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                               AMG Technology Investment Group                                                      Hughes Network Systems
            Morgan city (49356)           CenturyLink                                                                                                                                                        T-Mobile (LTE)
76671                                                                                          AT&T                                         ---                                     ViaSat
            Unincorporated Area (n|a)     Windstream Holdings                                                                                                                                                T-Mobile (5G)
                                                                                               JAB Wireless                                                                         VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                               American Broadband Communications
                                                                                                                                                                                                             AT&T Mobility (5G)
                                                                                               AMG Technology Investment Group                                                      Hughes Network Systems
            Mount Calm city (49692)                                                                                                                                                                          Sprint (LTE)
76673                                     Windstream Holdings                                  Express WISP                                 ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                        T-Mobile (LTE)
                                                                                               Helmsco                                                                              VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                               JAB Wireless
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                               American Broadband Communications
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Penelope town (56672)                                                              AMG Technology Investment Group
76676                                     Windstream Holdings                                                                               ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                          Helmsco
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                               JAB Wireless
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                               American Broadband Communications
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Richland town (61820)         AT&T                                                 AMG Technology Investment Group
76681                                                                                                                                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Windstream Holdings                                  Backroads Broadband
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                               JAB Wireless
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                               AMG Technology Investment Group
                                                                                                                                                                                                             AT&T Mobility (5G)
                                                                                               Centex Web Access                                                                    Hughes Network Systems
            Riesel city (62108)           AT&T                                                                                                                                                               Sprint (LTE)
76682                                                                                          Helmsco                                      ---                                     ViaSat
            Unincorporated Area (n|a)     Windstream Holdings                                                                                                                                                T-Mobile (LTE)
                                                                                               JAB Wireless                                                                         VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                               Kainos Technologies
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                          AT&T                                                                                                                                      Hughes Network Systems
            Tehuacana town (72080)                                                             AMG Technology Investment Group                                                                               T-Mobile (LTE)
76686                                     GCTR                                                                                              ---                                     ViaSat
            Unincorporated Area (n|a)                                                          JAB Wireless                                                                                                  T-Mobile (5G)
                                          Windstream Holdings                                                                                                                       VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                               American Broadband Communications                                                                             AT&T Mobility (LTE)
                                          CenturyLink                                          AMG Technology Investment Group                                                      Hughes Network Systems   Sprint (LTE)
            Thornton town (72788)
76687                                     Comcast                                              Express WISP                                 ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          Windstream Holdings                                  Helmsco                                                                              VSAT Systems             T-Mobile (5G)
                                                                                               JAB Wireless                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             AT&T Mobility (5G)
                                          AT&T                                                 American Broadband Communications                                                    Hughes Network Systems
            Valley Mills city (74732)                                                                                                                                                                        Sprint (LTE)
76689                                     CenturyLink                                          AMG Technology Investment Group              ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                        T-Mobile (LTE)
                                          Windstream Holdings                                  JAB Wireless                                                                         VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                               American Broadband Communications                                                    Hughes Network Systems   AT&T Mobility (LTE)
            Walnut Springs city (76348)
76690                                     Windstream Holdings                                  AMG Technology Investment Group              ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                               AT&T                                                                                 VSAT Systems             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
            Leroy city (42400)                                                                                                                                                                               AT&T Mobility (5G)
                                                                                               AMG Technology Investment Group                                                      Hughes Network Systems
            Ross city (63380)             1stel                                                                                                                                                              Sprint (LTE)
76691                                                                                          Helmsco                                      ---                                     ViaSat
            West city (77332)             AT&T                                                                                                                                                               T-Mobile (LTE)
                                                                                               JAB Wireless                                                                         VSAT Systems
            Unincorporated Area (n|a)                                                                                                                                                                        T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             AT&T Mobility (5G)
                                                                                                                                                                                    Hughes Network Systems
            Whitney town (78664)                                                               JAB Wireless                                 AMG Technology Investment Group                                  Sprint (LTE)
76692                                     Windstream Holdings                                                                                                                       ViaSat
            Unincorporated Area (n|a)                                                          Legacy ISP                                   Dell Telephone Cooperative                                       T-Mobile (LTE)
                                                                                                                                                                                    VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
            Kirvin town (39520)           AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                                                                               AMG Technology Investment Group
76693       Wortham town (80296)          GCTR                                                                                              ---                                     ViaSat                   T-Mobile (LTE)
                                                                                               JAB Wireless
            Unincorporated Area (n|a)     Windstream Holdings                                                                                                                       VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                          AT&T                                                                                                                                                               AT&T Mobility (5G)
                                                                                                                                                                                    Hughes Network Systems
                                          Cable One                                            AMG Technology Investment Group                                                                               Sprint (LTE)
76701       Waco city (76000)                                                                                                               ---                                     ViaSat
                                          Charter Communications                               Helmsco                                                                                                       T-Mobile (LTE)
                                                                                                                                                                                    VSAT Systems
                                          Radiate Holdings, LP                                                                                                                                               T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)




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                                                                                                                                                                                                                          Exhibit SET-C
                                                                                       Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                        FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                Wireline (DSL, Fiber, Cable)                           Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T                                                                                                                                                             AT&T Mobility (5G)
                                                                                                                                                                                   Hughes Network Systems
                                           Charter Communications                                                                                                                                           Sprint (LTE)
76704       Waco city (76000)                                                                    AMG Technology Investment Group           ---                                     ViaSat
                                           Comcast                                                                                                                                                          T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                           Radiate Holdings, LP                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
            Bellmead city (07408)
                                           AT&T                                                  AMG Technology Investment Group                                                                            AT&T Mobility (5G)
            Gholson city (29408)                                                                                                                                                   Hughes Network Systems
                                           Charter Communications                                Centex Web Access                                                                                          Sprint (LTE)
76705       Lacy-Lakeview city (40168)                                                                                                     ---                                     ViaSat
                                           Comcast                                               Helmsco                                                                                                    T-Mobile (LTE)
            Waco city (76000)                                                                                                                                                      VSAT Systems
                                           Radiate Holdings, LP                                  JAB Wireless                                                                                               T-Mobile (5G)
            Unincorporated Area (n|a)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           1stel
                                                                                                 AMG Technology Investment Group                                                                            AT&T Mobility (5G)
            Robinson city (62588)          AT&T                                                                                                                                    Hughes Network Systems
                                                                                                 Centex Web Access                                                                                          Sprint (LTE)
76706       Waco city (76000)              Charter Communications                                                                          ---                                     ViaSat
                                                                                                 Helmsco                                                                                                    T-Mobile (LTE)
            Unincorporated Area (n|a)      Comcast                                                                                                                                 VSAT Systems
                                                                                                 Kainos Technologies                                                                                        T-Mobile (5G)
                                           Radiate Holdings, LP
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            AT&T Mobility (5G)
                                           AT&T                                                                                                                                    Hughes Network Systems
                                                                                                                                                                                                            Sprint (LTE)
76707       Waco city (76000)              Charter Communications                                AMG Technology Investment Group           ---                                     ViaSat
                                                                                                                                                                                                            T-Mobile (LTE)
                                           Radiate Holdings, LP                                                                                                                    VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                                            AT&T Mobility (5G)
                                           Cable One                                                                                                                               Hughes Network Systems
            Waco city (76000)                                                                    AMG Technology Investment Group                                                                            Sprint (LTE)
76708                                      Charter Communications                                                                          ---                                     ViaSat
            Unincorporated Area (n|a)                                                            JAB Wireless                                                                                               T-Mobile (LTE)
                                           Comcast                                                                                                                                 VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                           Radiate Holdings, LP
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T                                                                                                                                                             AT&T Mobility (5G)
                                                                                                                                                                                   Hughes Network Systems
                                           Charter Communications                                AMG Technology Investment Group                                                                            Sprint (LTE)
76710       Waco city (76000)                                                                                                              ---                                     ViaSat
                                           Comcast                                               JAB Wireless                                                                                               T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                           Radiate Holdings, LP                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            AT&T Mobility (5G)
                                           AT&T                                                                                                                                    Hughes Network Systems
            Beverly Hills city (08104)                                                                                                                                                                      Sprint (LTE)
76711                                      Charter Communications                                AMG Technology Investment Group           ---                                     ViaSat
            Waco city (76000)                                                                                                                                                                               T-Mobile (LTE)
                                           Radiate Holdings, LP                                                                                                                    VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T                                                  AMG Technology Investment Group                                                                            AT&T Mobility (5G)
            Waco city (76000)                                                                                                                                                      Hughes Network Systems
                                           Charter Communications                                Helmsco                                                                                                    Sprint (LTE)
76712       Woodway city (80224)                                                                                                           ---                                     ViaSat
                                           Comcast                                               JAB Wireless                                                                                               T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                                                              VSAT Systems
                                           Radiate Holdings, LP                                  Kainos Technologies                                                                                        T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            AT&T Mobility (5G)
                                           AT&T                                                                                                                                    Hughes Network Systems
                                                                                                                                                                                                            Sprint (LTE)
76798       Waco city (76000)              Charter Communications                                AMG Technology Investment Group           ---                                     ViaSat
                                                                                                                                                                                                            T-Mobile (LTE)
                                           Radiate Holdings, LP                                                                                                                    VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                 American Broadband Communications                                                                          AT&T Mobility (5G)
                                           AT&T
                                                                                                 AMG Technology Investment Group                                                   Hughes Network Systems   Sprint (LTE)
            Brownwood city (10780)         Frontier Communications                                                                         Central Texas Telephone Cooperative
76801                                                                                            Echo Wireless Broadband                                                           ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Harris Broadband LP                                                                             Coleman County Telephone Cooperative
                                                                                                 JAB Wireless                                                                      VSAT Systems             T-Mobile (5G)
                                           Windstream Holdings
                                                                                                 Plains Internet                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            West Central Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                 AMG Technology Investment Group                                                                            Sprint (LTE)
                                           Cable One                                                                                                                               Hughes Network Systems
            Early city (21904)                                                                   Central Texas Telephone Cooperative                                                                        T-Mobile (LTE)
76802                                      Frontier Communications                                                                         ---                                     ViaSat
            Unincorporated Area (n|a)                                                            Echo Wireless Broadband                                                                                    T-Mobile (5G)
                                           Harris Broadband LP                                                                                                                     VSAT Systems
                                                                                                 JAB Wireless                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                            West Central Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                 AMG Technology Investment Group
                                                                                                                                                                                                            Sprint (LTE)
                                           Coleman County Telephone Cooperative                  Central Texas Telephone Cooperative                                               Hughes Network Systems
            Ballinger city (05456)                                                                                                                                                                          T-Mobile (LTE)
76821                                      GCTR                                                  JAB Wireless                              Frontier Communications                 ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                       T-Mobile (5G)
                                           Taylor Telephone Cooperative                          PCC Holdings                                                                      VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                 VGI Technology
                                                                                                                                                                                                            West Central Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                 AMG Technology Investment Group                                                                            Sprint (LTE)
                                                                                                                                                                                   Hughes Network Systems
            Bangs city (05552)                                                                   Central Texas Telephone Cooperative                                                                        T-Mobile (LTE)
76823                                      Frontier Communications                                                                         Coleman County Telephone Cooperative    ViaSat
            Unincorporated Area (n|a)                                                            Echo Wireless Broadband                                                                                    T-Mobile (5G)
                                                                                                                                                                                   VSAT Systems
                                                                                                 JAB Wireless                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                            West Central Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           Altice                                                                                                                                                           AT&T Mobility (5G)
                                                                                                                                                                                   Hughes Network Systems
            Brady city (09916)             Frontier Communications                                                                         Central Texas Telephone Cooperative                              T-Mobile (LTE)
76825                                                                                            ---                                                                               ViaSat
            Unincorporated Area (n|a)      GCTR                                                                                            Dell Telephone Cooperative                                       T-Mobile (5G)
                                                                                                                                                                                   VSAT Systems
                                           Hill Country Telephone Cooperative                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                            West Central Wireless (LTE)
                                                                                                 AMG Technology Investment Group                                                                            AT&T Mobility (LTE)
                                                                                                 Central Texas Telephone Cooperative                                                                        AT&T Mobility (5G)
                                                                                                 Cobalt Ridge                                                                      Hughes Network Systems   Sprint (LTE)
            Coleman city (15916)           Frontier Communications
76834                                                                                            Echo Wireless Broadband                   Coleman County Telephone Cooperative    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Taylor Telephone Cooperative
                                                                                                 PCC Holdings                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                 Texas CellNet                                                                                              Verizon Wireless (LTE)
                                                                                                 Unified Communications                                                                                     West Central Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems   T-Mobile (LTE)
            Eden city (22552)                                                                    AMG Technology Investment Group
76837                                      Frontier Communications                                                                         Central Texas Telephone Cooperative     ViaSat                   T-Mobile (5G)
            Unincorporated Area (n|a)                                                            VGI Technology
                                                                                                                                                                                   VSAT Systems             Verizon Wireless (LTE)
                                                                                                                                                                                                            West Central Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            AT&T Mobility (5G)
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Goldthwaite city (30056)                                                                                                       Central Texas Telephone Cooperative
76844                                      Frontier Communications                               AMG Technology Investment Group                                                   ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                      Roll Call Security & Communications
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            West Central Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            AT&T Mobility (5G)
                                           Altice                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Junction city (38248)
76849                                      Frontier Communications                               Central Texas Telephone Cooperative       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                           Hill Country Telephone Cooperative                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            West Central Wireless (LTE)




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                                                                                                                                                                                                                            Exhibit SET-C
                                                                                         Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                          FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                   Wireline (DSL, Fiber, Cable)                           Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
                                                                                                   American Broadband Communications                                                 Hughes Network Systems   Sprint (LTE)
            Lometa city (43516)                                                                                                              Central Texas Telephone Cooperative
76853                                       CenturyLink                                            AMG Technology Investment Group                                                   ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                        Roll Call Security & Communications
                                                                                                   AT&T                                                                              VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              West Central Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
            Mason city (46968)              Comcast                                                Bee Creek Communications                                                                                   T-Mobile (LTE)
76856                                                                                                                                        Hill Country Telephone Cooperative      ViaSat
            Unincorporated Area (n|a)       Frontier Communications                                Central Texas Telephone Cooperative                                                                        T-Mobile (5G)
                                                                                                                                                                                     VSAT Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              West Central Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
            Melvin town (47568)                                                                                                                                                                               T-Mobile (LTE)
76858                                       ---                                                    ---                                       Central Texas Telephone Cooperative     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                         T-Mobile (5G)
                                                                                                                                                                                     VSAT Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              West Central Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
            Menard city (47628)             Frontier Communications                                                                                                                                           T-Mobile (LTE)
76859                                                                                              ---                                       Central Texas Telephone Cooperative     ViaSat
            Unincorporated Area (n|a)       Hill Country Telephone Cooperative                                                                                                                                T-Mobile (5G)
                                                                                                                                                                                     VSAT Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              West Central Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                   AMG Technology Investment Group
                                                                                                                                                                                                              Sprint (LTE)
                                                                                                   JAB Wireless                                                                      Hughes Network Systems
            Miles city (48396)                                                                                                               Central Texas Telephone Cooperative                              T-Mobile (LTE)
76861                                       ---                                                    PCC Holdings                                                                      ViaSat
            Unincorporated Area (n|a)                                                                                                        Frontier Communications                                          T-Mobile (5G)
                                                                                                   TPT Global Technologies                                                           VSAT Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                   VGI Technology
                                                                                                                                                                                                              West Central Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              Sprint (LTE)
                                                                                                                                                                                     Hughes Network Systems
            Mullin town (49992)                                                                    AMG Technology Investment Group                                                                            T-Mobile (LTE)
76864                                       TOTE Holdings                                                                                    Central Texas Telephone Cooperative     ViaSat
            Unincorporated Area (n|a)                                                              Echo Wireless Broadband                                                                                    T-Mobile (5G)
                                                                                                                                                                                     VSAT Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              West Central Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                   AMG Technology Investment Group
                                                                                                                                                                                                              Sprint (LTE)
                                                                                                   JAB Wireless                                                                      Hughes Network Systems
            Paint Rock town (54636)         Coleman County Telephone Cooperative                                                                                                                              T-Mobile (LTE)
76866                                                                                              PCC Holdings                              Central Texas Telephone Cooperative     ViaSat
            Unincorporated Area (n|a)       Frontier Communications                                                                                                                                           T-Mobile (5G)
                                                                                                   TPT Global Technologies                                                           VSAT Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                   VGI Technology
                                                                                                                                                                                                              West Central Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Richland Springs town (61880)
76871                                       ---                                                    AMG Technology Investment Group           Central Texas Telephone Cooperative     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              West Central Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            San Saba city (65648)                                                                  AMG Technology Investment Group           Central Texas Telephone Cooperative
76877                                       Hill Country Telephone Cooperative                                                                                                       ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                              Helmsco                                   Roll Call Security & Communications
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              West Central Wireless (LTE)
                                                                                                   AMG Technology Investment Group
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                   CellTex Networks
                                                                                                                                                                                                              Sprint (LTE)
                                                                                                   Echo Wireless Broadband                                                           Hughes Network Systems
            Santa Anna town (65672)                                                                                                          Central Texas Telephone Cooperative                              T-Mobile (LTE)
76878                                       ---                                                    Innovative Financial Technologies                                                 ViaSat
            Unincorporated Area (n|a)                                                                                                        Coleman County Telephone Cooperative                             T-Mobile (5G)
                                                                                                   Legacy ISP                                                                        VSAT Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                   PCC Holdings
                                                                                                                                                                                                              West Central Wireless (LTE)
                                                                                                   Rio Broadband
                                                                                                   AMG Technology Investment Group                                                                            AT&T Mobility (LTE)
                                                                                                   Central Texas Telephone Cooperative                                                                        Sprint (LTE)
                                                                                                                                                                                     Hughes Network Systems
            San Angelo city (64472)                                                                JAB Wireless                                                                                               T-Mobile (LTE)
76901                                       Altice                                                                                           Frontier Communications                 ViaSat
            Unincorporated Area (n|a)                                                              PowerNet Wireless                                                                                          T-Mobile (5G)
                                                                                                                                                                                     VSAT Systems
                                                                                                   TPT Global Technologies                                                                                    Verizon Wireless (LTE)
                                                                                                   VGI Technology                                                                                             West Central Wireless (LTE)
                                                                                                   AMG Technology Investment Group                                                                            AT&T Mobility (LTE)
                                                                                                   Central Texas Telephone Cooperative                                                                        Sprint (LTE)
                                                                                                                                                                                     Hughes Network Systems
            San Angelo city (64472)         Altice                                                 JAB Wireless                                                                                               T-Mobile (LTE)
76903                                                                                                                                        ---                                     ViaSat
            Unincorporated Area (n|a)       Frontier Communications                                PowerNet Wireless                                                                                          T-Mobile (5G)
                                                                                                                                                                                     VSAT Systems
                                                                                                   TPT Global Technologies                                                                                    Verizon Wireless (LTE)
                                                                                                   VGI Technology                                                                                             West Central Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                   AMG Technology Investment Group
                                                                                                                                                                                                              Sprint (LTE)
                                            Altice                                                 JAB Wireless                                                                      Hughes Network Systems
            San Angelo city (64472)                                                                                                          Central Texas Telephone Cooperative                              T-Mobile (LTE)
76904                                       Comcast                                                PowerNet Wireless                                                                 ViaSat
            Unincorporated Area (n|a)                                                                                                        Frontier Communications                                          T-Mobile (5G)
                                            En-Touch Systems                                       TPT Global Technologies                                                           VSAT Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                   VGI Technology
                                                                                                                                                                                                              West Central Wireless (LTE)
                                                                                                   AMG Technology Investment Group                                                                            AT&T Mobility (LTE)
                                                                                                   JAB Wireless                                                                                               Sprint (LTE)
                                                                                                                                                                                     Hughes Network Systems
            San Angelo city (64472)         Altice                                                 PCC Holdings                              Central Texas Telephone Cooperative                              T-Mobile (LTE)
76905                                                                                                                                                                                ViaSat
            Unincorporated Area (n|a)       Comcast                                                PowerNet Wireless                         Frontier Communications                                          T-Mobile (5G)
                                                                                                                                                                                     VSAT Systems
                                                                                                   TPT Global Technologies                                                                                    Verizon Wireless (LTE)
                                                                                                   VGI Technology                                                                                             West Central Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                   AMG Technology Investment Group                                                                            Sprint (LTE)
                                                                                                                                                                                     Hughes Network Systems
                                            Altice                                                 Central Texas Telephone Cooperative                                                                        T-Mobile (LTE)
76908       San Angelo city (64472)                                                                                                          ---                                     ViaSat
                                            Frontier Communications                                JAB Wireless                                                                                               T-Mobile (5G)
                                                                                                                                                                                     VSAT Systems
                                                                                                   PowerNet Wireless                                                                                          Verizon Wireless (LTE)
                                                                                                                                                                                                              West Central Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                   Central Texas Telephone Cooperative                                               Hughes Network Systems   T-Mobile (LTE)
            Big Lake city (08212)           Altice
76932                                                                                              JAB Wireless                              Wes-Tex Telephone Cooperative           ViaSat                   T-Mobile (5G)
            Unincorporated Area (n|a)       Frontier Communications
                                                                                                   VGI Technology                                                                    VSAT Systems             Verizon Wireless (LTE)
                                                                                                                                                                                                              West Central Wireless (LTE)
                                                                                                   American Broadband Communications
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                   AMG Technology Investment Group
                                                                                                                                                                                                              Sprint (LTE)
                                                                                                   Central Texas Telephone Cooperative                                               Hughes Network Systems
            Bronte town (10528)             Frontier Communications                                                                                                                                           T-Mobile (LTE)
76933                                                                                              JAB Wireless                              ---                                     ViaSat
            Unincorporated Area (n|a)       Taylor Telephone Cooperative                                                                                                                                      T-Mobile (5G)
                                                                                                   PCC Holdings                                                                      VSAT Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                   TPT Global Technologies
                                                                                                                                                                                                              West Central Wireless (LTE)
                                                                                                   VGI Technology
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems   T-Mobile (LTE)
            Eldorado city (22960)                                                                  Central Texas Telephone Cooperative
76936                                       Frontier Communications                                                                          ---                                     ViaSat                   T-Mobile (5G)
            Unincorporated Area (n|a)                                                              VGI Technology
                                                                                                                                                                                     VSAT Systems             Verizon Wireless (LTE)
                                                                                                                                                                                                              West Central Wireless (LTE)




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                                                                                                                                                                                                                                 Exhibit SET-C
                                                                                             Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                               FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                       Wireline (DSL, Fiber, Cable)                            Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                       Central Texas Telephone Cooperative
                                                                                                                                                                                                                   Sprint (LTE)
                                                                                                       JAB Wireless                                                                       Hughes Network Systems
            Mertzon city (47832)                                                                                                                                                                                   T-Mobile (LTE)
76941                                            Frontier Communications                               PowerNet Wireless                          ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                              T-Mobile (5G)
                                                                                                       TPT Global Technologies                                                            VSAT Systems
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                       VGI Technology
                                                                                                                                                                                                                   West Central Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                       AMG Technology Investment Group
                                                                                                                                                                                                                   Sprint (LTE)
                                                                                                       Central Texas Telephone Cooperative                                                Hughes Network Systems
            Robert Lee city (62564)                                                                                                                                                                                T-Mobile (LTE)
76945                                            Frontier Communications                               JAB Wireless                               ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                              T-Mobile (5G)
                                                                                                       TPT Global Technologies                                                            VSAT Systems
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                       VGI Technology
                                                                                                                                                                                                                   West Central Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                                                   Sprint (LTE)
                                                 Altice                                                Central Texas Telephone Cooperative                                                Hughes Network Systems
            Sonora city (68756)                                                                                                                   Nevill Holdings                                                  T-Mobile (LTE)
76950                                            Frontier Communications                               Etex Telephone Cooperative                                                         ViaSat
            Unincorporated Area (n|a)                                                                                                             Southwest Texas Telcom                                           T-Mobile (5G)
                                                 Hill Country Telephone Cooperative                    VGI Technology                                                                     VSAT Systems
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   West Central Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                       Basin 2 Way Radio
                                                                                                                                                                                          Hughes Network Systems   Sprint (LTE)
            Sterling City city (70232)                                                                 Central Texas Telephone Cooperative
76951                                            Frontier Communications                                                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                  PowerNet Wireless
                                                                                                                                                                                          VSAT Systems             Verizon Wireless (LTE)
                                                                                                       VGI Technology
                                                                                                                                                                                                                   West Central Wireless (LTE)
                                                 AT&T                                                                                                                                                              AT&T Mobility (LTE)
                                                 Cable One                                                                                                                                                         Sprint (LTE)
                                                                                                       One Ring Networks                                                                  Hughes Network Systems
                                                 Comcast                                                                                                                                                           T-Mobile (LTE)
77002       Houston city (35000)                                                                       Verizon Communications                     Dell Telephone Cooperative              ViaSat
                                                 En-Touch Systems                                                                                                                                                  T-Mobile (5G)
                                                                                                       VGI Technology                                                                     VSAT Systems
                                                 Radiate Holdings, LP                                                                                                                                              Verizon Wireless (LTE)
                                                 Windstream Holdings                                                                                                                                               Verizon Wireless (5G)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                                                   Sprint (LTE)
                                                 AT&T                                                                                                                                     Hughes Network Systems
                                                                                                       One Ring Networks                                                                                           T-Mobile (LTE)
77003       Houston city (35000)                 Comcast                                                                                          ---                                     ViaSat
                                                                                                       Verizon Communications                                                                                      T-Mobile (5G)
                                                 En-Touch Systems                                                                                                                         VSAT Systems
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   Verizon Wireless (5G)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                                              Sprint (LTE)
                                                                                                                                                                                          Hughes Network Systems
                                                 Comcast                                                                                                                                                           T-Mobile (LTE)
77004       Houston city (35000)                                                                       Verizon Communications                     One Ring Networks                       ViaSat
                                                 En-Touch Systems                                                                                                                                                  T-Mobile (5G)
                                                                                                                                                                                          VSAT Systems
                                                 Hotwire Communications, Ltd.                                                                                                                                      Verizon Wireless (LTE)
                                                                                                                                                                                                                   Verizon Wireless (5G)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                 Alphabet                                                                                                                                                          Sprint (LTE)
            Houston city (35000)                                                                                                                                                          Hughes Network Systems
                                                 AT&T                                                                                                                                                              T-Mobile (LTE)
77005       Southside Place city (69272)                                                               Verizon Communications                     ---                                     ViaSat
                                                 Comcast                                                                                                                                                           T-Mobile (5G)
            West University Place city (77956)                                                                                                                                            VSAT Systems
                                                 En-Touch Systems                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                   Verizon Wireless (5G)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                                                   Sprint (LTE)
                                                 AT&T                                                                                                                                     Hughes Network Systems
                                                                                                                                                                                                                   T-Mobile (LTE)
77006       Houston city (35000)                 Comcast                                               Verizon Communications                     ---                                     ViaSat
                                                                                                                                                                                                                   T-Mobile (5G)
                                                 En-Touch Systems                                                                                                                         VSAT Systems
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   Verizon Wireless (5G)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                                                   Sprint (LTE)
                                                 AT&T                                                  Stratosnet Technologies                                                            Hughes Network Systems
                                                                                                                                                                                                                   T-Mobile (LTE)
77007       Houston city (35000)                 Comcast                                               Unified Communications                     ---                                     ViaSat
                                                                                                                                                                                                                   T-Mobile (5G)
                                                 En-Touch Systems                                      Verizon Communications                                                             VSAT Systems
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   Verizon Wireless (5G)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                 AT&T
                                                                                                                                                                                          Hughes Network Systems   Sprint (LTE)
                                                 Comcast
77008       Houston city (35000)                                                                       Verizon Communications                     ---                                     ViaSat                   T-Mobile (LTE)
                                                 En-Touch Systems
                                                                                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                 Lake Livingston Telephone Company
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
77009       Houston city (35000)                 Comcast                                               Verizon Communications                     ---                                     ViaSat                   T-Mobile (LTE)
                                                 En-Touch Systems                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                          Hughes Network Systems   Sprint (LTE)
                                                 AT&T
77010       Houston city (35000)                                                                       ---                                        ---                                     ViaSat                   T-Mobile (LTE)
                                                 Comcast
                                                                                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                          Hughes Network Systems   Sprint (LTE)
                                                 AT&T
77011       Houston city (35000)                                                                       Verizon Communications                     ---                                     ViaSat                   T-Mobile (LTE)
                                                 Comcast
                                                                                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                          Hughes Network Systems   Sprint (LTE)
                                                 AT&T
77012       Houston city (35000)                                                                       ---                                        ---                                     ViaSat                   T-Mobile (LTE)
                                                 Comcast
                                                                                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
77013       Houston city (35000)                 Comcast                                               ---                                        ---                                     ViaSat                   T-Mobile (LTE)
                                                 En-Touch Systems                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77014                                            Comcast                                               ---                                        ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                 En-Touch Systems                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
            Galena Park city (27996)             AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
77015       Houston city (35000)                 Comcast                                               Stratosnet Technologies                    ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)            En-Touch Systems                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77016                                            Comcast                                               Verizon Communications                     ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                 En-Touch Systems                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                 Alphabet
                                                                                                                                                                                          Hughes Network Systems   Sprint (LTE)
                                                 AT&T
77017       Houston city (35000)                                                                       South Central Tower Company                ---                                     ViaSat                   T-Mobile (LTE)
                                                 Comcast
                                                                                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                 En-Touch Systems
                                                                                                                                                                                                                   Verizon Wireless (LTE)




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                                                                                                                                                                                                                                 Exhibit SET-C
                                                                                             Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                              FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                      Wireline (DSL, Fiber, Cable)                           Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
77018       Houston city (35000)                 Comcast                                               Verizon Communications                    ---                                     ViaSat                   T-Mobile (LTE)
                                                 En-Touch Systems                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 AT&T
                                                                                                                                                                                                                  Sprint (LTE)
                                                 Comcast                                                                                                                                 Hughes Network Systems
                                                                                                                                                                                                                  T-Mobile (LTE)
77019       Houston city (35000)                 En-Touch Systems                                      Verizon Communications                    ---                                     ViaSat
                                                                                                                                                                                                                  T-Mobile (5G)
                                                 Lake Livingston Telephone Company                                                                                                       VSAT Systems
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                 Radiate Holdings, LP
                                                                                                                                                                                                                  Verizon Wireless (5G)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                                                                                       One Ring Networks
77020       Houston city (35000)                 Comcast                                                                                         ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                       Verizon Communications
                                                 En-Touch Systems                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 Alphabet
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
                                                 AT&T                                                  One Ring Networks
77021       Houston city (35000)                                                                                                                 ---                                     ViaSat                   T-Mobile (LTE)
                                                 Comcast                                               Verizon Communications
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                 En-Touch Systems
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
                                                 AT&T
77022       Houston city (35000)                                                                       Verizon Communications                    ---                                     ViaSat                   T-Mobile (LTE)
                                                 Comcast
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 Alphabet
                                                                                                       One Ring Networks                                                                 Hughes Network Systems   Sprint (LTE)
                                                 AT&T
77023       Houston city (35000)                                                                       Stratosnet Technologies                   ---                                     ViaSat                   T-Mobile (LTE)
                                                 Comcast
                                                                                                       Verizon Communications                                                            VSAT Systems             T-Mobile (5G)
                                                 En-Touch Systems
                                                                                                                                                                                                                  Verizon Wireless (LTE)
            Bunker Hill Village city (11300)     AT&T                                                                                                                                                             AT&T Mobility (LTE)
            Hedwig Village city (33068)          Comcast                                                                                                                                 Hughes Network Systems   Sprint (LTE)
                                                                                                       One Ring Networks
77024       Houston city (35000)                 En-Touch Systems                                                                                ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                       Verizon Communications
            Hunters Creek Village city (35480)   Radiate Holdings, LP                                                                                                                    VSAT Systems             T-Mobile (5G)
            Piney Point Village city (57800)     Windstream Holdings                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                                                                                                                                  Sprint (LTE)
                                                 AT&T                                                                                                                                    Hughes Network Systems
            Houston city (35000)                                                                                                                                                                                  T-Mobile (LTE)
77025                                            Comcast                                               Verizon Communications                    ---                                     ViaSat
            Southside Place city (69272)                                                                                                                                                                          T-Mobile (5G)
                                                 En-Touch Systems                                                                                                                        VSAT Systems
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  Verizon Wireless (5G)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
                                                 AT&T
77026       Houston city (35000)                                                                       Verizon Communications                    ---                                     ViaSat                   T-Mobile (LTE)
                                                 Comcast
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 Alphabet
                                                                                                                                                                                                                  Sprint (LTE)
                                                 AT&T                                                                                                                                    Hughes Network Systems
                                                                                                       ENMR Telephone Cooperative                                                                                 T-Mobile (LTE)
77027       Houston city (35000)                 Comcast                                                                                         ---                                     ViaSat
                                                                                                       Verizon Communications                                                                                     T-Mobile (5G)
                                                 En-Touch Systems                                                                                                                        VSAT Systems
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                 Lake Livingston Telephone Company
                                                                                                                                                                                                                  Verizon Wireless (5G)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
77028       Houston city (35000)                 Comcast                                               ---                                       ---                                     ViaSat                   T-Mobile (LTE)
                                                 En-Touch Systems                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
            Houston city (35000)                 AT&T
77029                                                                                                  ---                                       ---                                     ViaSat                   T-Mobile (LTE)
            Jacinto City city (37156)            Comcast
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                                                                                                                                  Sprint (LTE)
                                                                                                                                                                                         Hughes Network Systems
                                                 AT&T                                                  Razer Wireless                                                                                             T-Mobile (LTE)
77030       Houston city (35000)                                                                                                                 ---                                     ViaSat
                                                 Comcast                                               Verizon Communications                                                                                     T-Mobile (5G)
                                                                                                                                                                                         VSAT Systems
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  Verizon Wireless (5G)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77031                                            Comcast                                               ---                                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                 En-Touch Systems                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                 AT&T                                                                                                                                                             AT&T Mobility (LTE)
                                                 CenturyLink                                                                                                                             Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77032                                            Comcast                                               ---                                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                 En-Touch Systems                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                 Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
77033       Houston city (35000)                 Comcast                                               Verizon Communications                    ---                                     ViaSat                   T-Mobile (LTE)
                                                 En-Touch Systems                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 Alphabet
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
                                                 AT&T
77034       Houston city (35000)                                                                       Southern Broadband                        ---                                     ViaSat                   T-Mobile (LTE)
                                                 Comcast
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                 En-Touch Systems
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
77035       Houston city (35000)                 Comcast                                               ---                                       ---                                     ViaSat                   T-Mobile (LTE)
                                                 En-Touch Systems                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
77036       Houston city (35000)                 Comcast                                               Verizon Communications                    One Ring Networks                       ViaSat                   T-Mobile (LTE)
                                                 En-Touch Systems                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
            Houston city (35000)                 AT&T                                                  Stratosnet Technologies
77037                                                                                                                                            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)            Comcast                                               Verizon Communications
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77038                                            Comcast                                               South Central Tower Company               ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                 En-Touch Systems                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)




                                                                                                                                 Page 34 of 74
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                                                                                                                                                                                                                                 Exhibit SET-C
                                                                                             Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                              FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                      Wireline (DSL, Fiber, Cable)                           Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 AT&T
            Houston city (35000)                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
                                                 Comcast
77040       Jersey Village city (37612)                                                                ---                                       ---                                     ViaSat                   T-Mobile (LTE)
                                                 En-Touch Systems
            Unincorporated Area (n|a)                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                 One Ring Networks
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77041                                            Comcast                                               One Ring Networks                         ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                 En-Touch Systems                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                 Altice                                                                                                                                                           AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
77042       Houston city (35000)                 Comcast                                               One Ring Networks                         ---                                     ViaSat                   T-Mobile (LTE)
                                                 En-Touch Systems                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                 Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
                                                 Alphabet
                                                 AT&T                                                                                                                                                             AT&T Mobility (LTE)
                                                 Comcast                                                                                                                                 Hughes Network Systems   Sprint (LTE)
77043       Houston city (35000)                 En-Touch Systems                                      ---                                       ---                                     ViaSat                   T-Mobile (LTE)
                                                 Lake Livingston Telephone Company                                                                                                       VSAT Systems             T-Mobile (5G)
                                                 One Ring Networks                                                                                                                                                Verizon Wireless (LTE)
                                                 Radiate Holdings, LP
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77044                                            Comcast                                               ---                                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                 En-Touch Systems                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
77045       Houston city (35000)                 Comcast                                               Verizon Communications                    ---                                     ViaSat                   T-Mobile (LTE)
                                                 En-Touch Systems                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                                                                                                                                  Sprint (LTE)
                                                                                                                                                                                         Hughes Network Systems
                                                 AT&T                                                                                                                                                             T-Mobile (LTE)
77046       Houston city (35000)                                                                       ---                                       ---                                     ViaSat
                                                 Comcast                                                                                                                                                          T-Mobile (5G)
                                                                                                                                                                                         VSAT Systems
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  Verizon Wireless (5G)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77047                                            Comcast                                               ---                                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                 En-Touch Systems                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
77048       Houston city (35000)                 Comcast                                               ---                                       ---                                     ViaSat                   T-Mobile (LTE)
                                                 En-Touch Systems                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
            Houston city (35000)                 AT&T
77049                                                                                                  ---                                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)            Comcast
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77050                                            Comcast                                               ---                                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                 En-Touch Systems                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
77051       Houston city (35000)                 Comcast                                               ---                                       ---                                     ViaSat                   T-Mobile (LTE)
                                                 En-Touch Systems                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 Alphabet
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
            Houston city (35000)                 AT&T
77053                                                                                                  ---                                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)            Comcast
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                 En-Touch Systems
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                                                                                                                                  Sprint (LTE)
                                                 AT&T                                                                                                                                    Hughes Network Systems
                                                                                                                                                                                                                  T-Mobile (LTE)
77054       Houston city (35000)                 Comcast                                               One Ring Networks                         ---                                     ViaSat
                                                                                                                                                                                                                  T-Mobile (5G)
                                                 En-Touch Systems                                                                                                                        VSAT Systems
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  Verizon Wireless (5G)
                                                 Alphabet
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 AT&T
            Hilshire Village city (34148)                                                                                                                                                Hughes Network Systems   Sprint (LTE)
                                                 Comcast
77055       Houston city (35000)                                                                       One Ring Networks                         ---                                     ViaSat                   T-Mobile (LTE)
                                                 En-Touch Systems
            Spring Valley Village city (69830)                                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                 Lake Livingston Telephone Company
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                 Radiate Holdings, LP
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 AT&T
                                                                                                                                                                                                                  Sprint (LTE)
                                                 Comcast                                                                                                                                 Hughes Network Systems
                                                                                                                                                                                                                  T-Mobile (LTE)
77056       Houston city (35000)                 En-Touch Systems                                      Verizon Communications                    ---                                     ViaSat
                                                                                                                                                                                                                  T-Mobile (5G)
                                                 Impulse Internet Services                                                                                                               VSAT Systems
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                 Radiate Holdings, LP
                                                                                                                                                                                                                  Verizon Wireless (5G)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                                                                                                                                  Sprint (LTE)
                                                 AT&T                                                                                                                                    Hughes Network Systems
                                                                                                                                                                                                                  T-Mobile (LTE)
77057       Houston city (35000)                 Comcast                                               Verizon Communications                    ---                                     ViaSat
                                                                                                                                                                                                                  T-Mobile (5G)
                                                 En-Touch Systems                                                                                                                        VSAT Systems
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  Verizon Wireless (5G)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
            Houston city (35000)                 AT&T
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
            Nassau Bay city (50376)              Comcast                                               Etex Telephone Cooperative
77058                                                                                                                                            ---                                     ViaSat                   T-Mobile (LTE)
            Pasadena city (56000)                En-Touch Systems                                      Southern Broadband
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
            Webster city (76948)                 Frontier Communications
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77059                                            Comcast                                               ---                                       ---                                     ViaSat                   T-Mobile (LTE)
            Pasadena city (56000)
                                                 En-Touch Systems                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77060                                            Comcast                                               Verizon Communications                    ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                 En-Touch Systems                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
                                                 AT&T
77061       Houston city (35000)                                                                       ---                                       ---                                     ViaSat                   T-Mobile (LTE)
                                                 Comcast
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)




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                                                                                                                                                                                                                             Exhibit SET-C
                                                                                       Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                          FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                Wireline (DSL, Fiber, Cable)                             Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
77062       Houston city (35000)           Comcast                                               ---                                         ---                                     ViaSat                   T-Mobile (LTE)
                                           En-Touch Systems                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
77063       Houston city (35000)           Comcast                                               ---                                         ---                                     ViaSat                   T-Mobile (LTE)
                                           En-Touch Systems                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T
            Houston city (35000)                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                           Comcast
77064       Jersey Village city (37612)                                                          ---                                         ---                                     ViaSat                   T-Mobile (LTE)
                                           En-Touch Systems
            Unincorporated Area (n|a)                                                                                                                                                VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
            Houston city (35000)           AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
77065       Jersey Village city (37612)    Comcast                                               ---                                         ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      En-Touch Systems                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Houston city (35000)           Comcast
77066                                                                                            ---                                         ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      En-Touch Systems
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                           AT&T                                                                                                                                                               AT&T Mobility (LTE)
                                           Cable One                                                                                                                                 Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77067                                      Comcast                                               ---                                         ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                           En-Touch Systems                                                                                                                          VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Houston city (35000)           Comcast
77068                                                                                            ---                                         ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      En-Touch Systems
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77069                                      Comcast                                               ---                                         ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                           En-Touch Systems                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           Access Media Holdings
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Houston city (35000)           AT&T
77070                                                                                            Brazos WiFi                                 ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Comcast
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                           En-Touch Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77071                                      Comcast                                               ---                                         ---                                     ViaSat                   T-Mobile (LTE)
            Missouri City city (48804)
                                           En-Touch Systems                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           Alphabet
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Houston city (35000)           AT&T
77072                                                                                            Verizon Communications                      ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Comcast
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                           En-Touch Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                           AT&T                                                                                                                                                               AT&T Mobility (LTE)
                                           Charter Communications                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77073                                      Comcast                                               ---                                         ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                           En-Touch Systems                                                                                                                          VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           Alphabet
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                           AT&T
77074       Houston city (35000)                                                                 Verizon Communications                      Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
                                           Comcast
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                           En-Touch Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
77075       Houston city (35000)           Comcast                                               Verizon Communications                      ---                                     ViaSat                   T-Mobile (LTE)
                                           En-Touch Systems                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
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                                           Alphabet
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                           AT&T
77076       Houston city (35000)                                                                 ---                                         ---                                     ViaSat                   T-Mobile (LTE)
                                           Comcast
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                           En-Touch Systems
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                                           Alphabet
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                           AT&T
77077       Houston city (35000)                                                                 TPT Global Technologies                     ---                                     ViaSat                   T-Mobile (LTE)
                                           Comcast
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                           En-Touch Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
77078       Houston city (35000)           Comcast                                               ---                                         ---                                     ViaSat                   T-Mobile (LTE)
                                           En-Touch Systems                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                           AT&T                                                                                                                                                               AT&T Mobility (LTE)
                                           Comcast                                                                                                                                   Hughes Network Systems   Sprint (LTE)
77079       Houston city (35000)           En-Touch Systems                                      ---                                         ---                                     ViaSat                   T-Mobile (LTE)
                                           Radiate Holdings, LP                                                                                                                      VSAT Systems             T-Mobile (5G)
                                           Windstream Holdings                                                                                                                                                Verizon Wireless (LTE)
                                           AT&T                                                                                                                                                               AT&T Mobility (LTE)
                                           Comcast                                                                                                                                   Hughes Network Systems   Sprint (LTE)
77080       Houston city (35000)           En-Touch Systems                                      Verizon Communications                      ---                                     ViaSat                   T-Mobile (LTE)
                                           Lake Livingston Telephone Company                                                                                                         VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           Alphabet
                                                                                                                                                                                                              Sprint (LTE)
                                           AT&T                                                                                                                                      Hughes Network Systems
                                                                                                 One Ring Networks                                                                                            T-Mobile (LTE)
77081       Houston city (35000)           Comcast                                                                                           ---                                     ViaSat
                                                                                                 Verizon Communications                                                                                       T-Mobile (5G)
                                           En-Touch Systems                                                                                                                          VSAT Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                           Radiate Holdings, LP
                                                                                                                                                                                                              Verizon Wireless (5G)
                                           Alphabet                                                                                                                                                           AT&T Mobility (LTE)
                                           AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77082                                      Comcast                                               Verizon Communications                      ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                           En-Touch Systems                                                                                                                          VSAT Systems             T-Mobile (5G)
                                           Windstream Holdings                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Houston city (35000)           Comcast
77083                                                                                            One Ring Networks                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      En-Touch Systems
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                           Windstream Holdings
                                                                                                                                                                                                              Verizon Wireless (LTE)




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                                                                                                                                                                                                                               Exhibit SET-C
                                                                                        Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                            FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                  Wireline (DSL, Fiber, Cable)                              Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                            AT&T
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                            Charter Communications
                                                                                                                                                                                       Hughes Network Systems   Sprint (LTE)
            Houston city (35000)            Comcast
77084                                                                                             ---                                          Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       En-Touch Systems
                                                                                                                                                                                       VSAT Systems             T-Mobile (5G)
                                            Lake Livingston Telephone Company
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                            Radiate Holdings, LP
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                            AT&T                                                                                                                                       Hughes Network Systems   Sprint (LTE)
77085       Houston city (35000)            Comcast                                               ---                                          ---                                     ViaSat                   T-Mobile (LTE)
                                            En-Touch Systems                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                            AT&T                                                                                                                                       Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77086                                       Comcast                                               ---                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                            En-Touch Systems                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                            Access Media Holdings                                                                                                                                               AT&T Mobility (LTE)
                                            Alphabet                                                                                                                                   Hughes Network Systems   Sprint (LTE)
77087       Houston city (35000)            AT&T                                                  ---                                          ---                                     ViaSat                   T-Mobile (LTE)
                                            Comcast                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                            En-Touch Systems                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                            AT&T                                                                                                                                       Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77088                                       Comcast                                               Verizon Communications                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                            En-Touch Systems                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                            AT&T                                                                                                                                       Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77089                                       Comcast                                               ---                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                            En-Touch Systems                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                            Access Media Holdings
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                            AT&T
                                                                                                                                                                                       Hughes Network Systems   Sprint (LTE)
            Houston city (35000)            Charter Communications
77090                                                                                             Verizon Communications                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Comcast
                                                                                                                                                                                       VSAT Systems             T-Mobile (5G)
                                            En-Touch Systems
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                            Windstream Holdings
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                            Alphabet
                                                                                                                                                                                       Hughes Network Systems   Sprint (LTE)
                                            AT&T
77091       Houston city (35000)                                                                  Verizon Communications                       ---                                     ViaSat                   T-Mobile (LTE)
                                            Comcast
                                                                                                                                                                                       VSAT Systems             T-Mobile (5G)
                                            En-Touch Systems
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                            AT&T
                                                                                                                                                                                       Hughes Network Systems   Sprint (LTE)
                                            Comcast
77092       Houston city (35000)                                                                  Verizon Communications                       ---                                     ViaSat                   T-Mobile (LTE)
                                            En-Touch Systems
                                                                                                                                                                                       VSAT Systems             T-Mobile (5G)
                                            Radiate Holdings, LP
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                            Alphabet
                                                                                                                                                                                       Hughes Network Systems   Sprint (LTE)
            Houston city (35000)            AT&T
77093                                                                                             ---                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Comcast
                                                                                                                                                                                       VSAT Systems             T-Mobile (5G)
                                            En-Touch Systems
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                            AT&T                                                                                                                                       Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77094                                       Comcast                                               ---                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                            En-Touch Systems                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                            Charter Communications                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77095                                       Comcast                                               Verizon Communications                       AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                            En-Touch Systems                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                            Alphabet
                                                                                                                                                                                       Hughes Network Systems   Sprint (LTE)
                                            AT&T
77096       Houston city (35000)                                                                  One Ring Networks                            ---                                     ViaSat                   T-Mobile (LTE)
                                            Comcast
                                                                                                                                                                                       VSAT Systems             T-Mobile (5G)
                                            En-Touch Systems
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                            AT&T                                                                                                                                                                Sprint (LTE)
                                                                                                                                                                                       Hughes Network Systems
                                            Comcast                                                                                                                                                             T-Mobile (LTE)
77098       Houston city (35000)                                                                  Verizon Communications                       ---                                     ViaSat
                                            En-Touch Systems                                                                                                                                                    T-Mobile (5G)
                                                                                                                                                                                       VSAT Systems
                                            Lake Livingston Telephone Company                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                Verizon Wireless (5G)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                            AT&T                                                                                                                                       Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77099                                       Comcast                                               Verizon Communications                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                            En-Touch Systems                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                                                                                                                                                       Hughes Network Systems   Sprint (LTE)
77201       Houston city (35000)            AT&T                                                  ---                                          ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                                                                                                       VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                            Altice
                                            AT&T                                                                                                                                                                AT&T Mobility (LTE)
                                            Cable One                                                                                                                                  Hughes Network Systems   Sprint (LTE)
77301       Conroe city (16432)             Comcast                                               ---                                          ---                                     ViaSat                   T-Mobile (LTE)
                                            Consolidated Communications                                                                                                                VSAT Systems             T-Mobile (5G)
                                            En-Touch Systems                                                                                                                                                    Verizon Wireless (LTE)
                                            Lake Livingston Telephone Company
                                            Altice
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                            CenturyLink
                                                                                                                                                                                       Hughes Network Systems   Sprint (LTE)
            Conroe city (16432)             Charter Communications
77302                                                                                             Stratosnet Technologies                      AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Comcast
                                                                                                                                                                                       VSAT Systems             T-Mobile (5G)
                                            Consolidated Communications
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                            En-Touch Systems
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                            Altice                                                AirLink
            Conroe city (16432)                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
                                            Comcast                                               AT&T
77303       Cut and Shoot city (18260)                                                                                                         ---                                     ViaSat                   T-Mobile (LTE)
                                            Consolidated Communications                           JAB Wireless
            Unincorporated Area (n|a)                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                            En-Touch Systems                                      LAW Wireless
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                            Altice
                                            AT&T                                                                                                                                                                AT&T Mobility (LTE)
            Conroe city (16432)             Comcast                                                                                                                                    Hughes Network Systems   Sprint (LTE)
77304       Panorama Village city (55008)   Consolidated Communications                           JAB Wireless                                 ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       En-Touch Systems                                                                                                                           VSAT Systems             T-Mobile (5G)
                                            Frontier Communications                                                                                                                                             Verizon Wireless (LTE)
                                            Lake Livingston Telephone Company
                                            Altice                                                                                                                                                              AT&T Mobility (LTE)
                                            CenturyLink                                                                                                                                Hughes Network Systems   Sprint (LTE)
            Cut and Shoot city (18260)
77306                                       Comcast                                               ---                                          AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                            Consolidated Communications                                                                                                                VSAT Systems             T-Mobile (5G)
                                            Lake Livingston Telephone Company                                                                                                                                   Verizon Wireless (LTE)



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                                                                                                                                                                                                                                Exhibit SET-C
                                                                                        Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                             FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                 Wireline (DSL, Fiber, Cable)                               Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            Altice
                                                                                                                                                                                                                 AT&T Mobility (5G)
            Conroe city (16432)             Charter Communications                                                                                                                      Hughes Network Systems
                                                                                                                                                                                                                 Sprint (LTE)
77316       Montgomery city (49128)         Comcast                                               ---                                           AT&T                                    ViaSat
                                                                                                                                                                                                                 T-Mobile (LTE)
            Unincorporated Area (n|a)       Consolidated Communications                                                                                                                 VSAT Systems
                                                                                                                                                                                                                 T-Mobile (5G)
                                            En-Touch Systems
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
            Conroe city (16432)             Altice                                                AirLink
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Panorama Village city (55008)   Comcast                                               JAB Wireless
77318                                                                                                                                           ---                                     ViaSat                   T-Mobile (LTE)
            Willis city (79408)             Consolidated Communications                           LAW Wireless
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)       En-Touch Systems                                      Razer Wireless
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            Altice                                                                                                                                                               AT&T Mobility (5G)
            Huntsville city (35528)                                                                                                                                                     Hughes Network Systems
                                            Comcast                                               AirLink                                                                                                        Sprint (LTE)
77320       Riverside city (62408)                                                                                                              AT&T                                    ViaSat
                                            Eastex Telephone Cooperative                          Razer Wireless                                                                                                 T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                                                                   VSAT Systems
                                            Windstream Holdings                                                                                                                                                  T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            Altice                                                                                                                                                               AT&T Mobility (5G)
            Cleveland city (15436)                                                                                                                                                      Hughes Network Systems
                                            Cable One                                             Texas CellNet                                                                                                  Sprint (LTE)
77327       Plum Grove city (58448)                                                                                                             AT&T                                    ViaSat
                                            Eastex Telephone Cooperative                          TISD                                                                                                           T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                                                                   VSAT Systems
                                            Frontier Communications                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            Cable One                                                                                                                                                            AT&T Mobility (5G)
            Cleveland city (15436)                                                                                                                                                      Hughes Network Systems
                                            Comcast                                                                                                                                                              Sprint (LTE)
77328       North Cleveland city (51984)                                                          ---                                           AT&T                                    ViaSat
                                            Consolidated Communications                                                                                                                                          T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                                                                   VSAT Systems
                                            Eastex Telephone Cooperative                                                                                                                                         T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            Altice
                                                                                                                                                                                                                 AT&T Mobility (5G)
                                            Cable One                                                                                                                                   Hughes Network Systems
            Coldspring city (15892)                                                               AirLink                                                                                                        Sprint (LTE)
77331                                       Comcast                                                                                             ---                                     ViaSat
            Unincorporated Area (n|a)                                                             AT&T                                                                                                           T-Mobile (LTE)
                                            Eastex Telephone Cooperative                                                                                                                VSAT Systems
                                                                                                                                                                                                                 T-Mobile (5G)
                                            Lake Livingston Telephone Company
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                                                 AT&T Mobility (5G)
                                            Eastex Telephone Cooperative                                                                                                                Hughes Network Systems
            Goodrich city (30224)                                                                                                                                                                                Sprint (LTE)
77335                                       Lake Livingston Telephone Company                     ---                                           ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                            T-Mobile (LTE)
                                            USConnect Holdings                                                                                                                          VSAT Systems
                                                                                                                                                                                                                 T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                            Altice                                                                                                                                                               AT&T Mobility (LTE)
                                            CenturyLink                                                                                                                                 Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77336                                       Comcast                                               JAB Wireless                                  ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                            En-Touch Systems                                                                                                                            VSAT Systems             T-Mobile (5G)
                                            Frontier Communications                                                                                                                                              Verizon Wireless (LTE)
                                            AT&T                                                                                                                                                                 AT&T Mobility (LTE)
            Houston city (35000)            CenturyLink                                                                                                                                 Hughes Network Systems   Sprint (LTE)
77338       Humble city (35348)             Charter Communications                                ---                                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Comcast                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                            En-Touch Systems                                                                                                                                                     Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            Altice
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Houston city (35000)            CenturyLink
77339                                                                                             Verizon Communications                        ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Comcast
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                            En-Touch Systems
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            Altice                                                                                                                                                               AT&T Mobility (5G)
                                                                                                  AirLink                                                                               Hughes Network Systems
            Huntsville city (35528)         Eastex Telephone Cooperative                                                                                                                                         Sprint (LTE)
77340                                                                                             JAB Wireless                                  AT&T                                    ViaSat
            Unincorporated Area (n|a)       Radiate Holdings, LP                                                                                                                                                 T-Mobile (LTE)
                                                                                                  Razer Wireless                                                                        VSAT Systems
                                            Windstream Holdings                                                                                                                                                  T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                                                 AT&T Mobility (5G)
                                                                                                                                                                                        Hughes Network Systems
                                                                                                  AirLink                                                                                                        Sprint (LTE)
77342       Huntsville city (35528)         Altice                                                                                              AT&T                                    ViaSat
                                                                                                  Razer Wireless                                                                                                 T-Mobile (LTE)
                                                                                                                                                                                        VSAT Systems
                                                                                                                                                                                                                 T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            Altice
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
                                            CenturyLink
77345       Houston city (35000)                                                                  ---                                           ---                                     ViaSat                   T-Mobile (LTE)
                                            Comcast
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                            En-Touch Systems
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            AT&T
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Houston city (35000)            CenturyLink
77346                                                                                             ---                                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Comcast
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                            En-Touch Systems
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                                                 AT&T Mobility (5G)
                                                                                                                                                                                        Hughes Network Systems
            Seven Oaks city (66884)                                                                                                                                                                              Sprint (LTE)
77350                                       Eastex Telephone Cooperative                          AT&T                                          ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                            T-Mobile (LTE)
                                                                                                                                                                                        VSAT Systems
                                                                                                                                                                                                                 T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                            Altice                                                                                                                                                               AT&T Mobility (LTE)
                                            Comcast                                                                                                                                                              AT&T Mobility (5G)
                                                                                                                                                                                        Hughes Network Systems
            Livingston town (43132)         Eastex Telephone Cooperative                                                                                                                                         Sprint (LTE)
77351                                                                                             AT&T                                          ---                                     ViaSat
            Unincorporated Area (n|a)       En-Touch Systems                                                                                                                                                     T-Mobile (LTE)
                                                                                                                                                                                        VSAT Systems
                                            Lake Livingston Telephone Company                                                                                                                                    T-Mobile (5G)
                                            USConnect Holdings                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            Charter Communications
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Magnolia city (46056)           Comcast
77354                                                                                             JAB Wireless                                  AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Consolidated Communications
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                            En-Touch Systems
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            Charter Communications
            Magnolia city (46056)                                                                                                                                                       Hughes Network Systems   Sprint (LTE)
                                            Comcast
77355       Stagecoach town (69932)                                                               JAB Wireless                                  AT&T                                    ViaSat                   T-Mobile (LTE)
                                            En-Touch Systems
            Unincorporated Area (n|a)                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                            Windstream Holdings
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            Altice
                                                                                                                                                                                                                 AT&T Mobility (5G)
            Conroe city (16432)             CenturyLink                                           AirLink                                                                               Hughes Network Systems
                                                                                                                                                                                                                 Sprint (LTE)
77356       Montgomery city (49128)         Comcast                                               JAB Wireless                                  ---                                     ViaSat
                                                                                                                                                                                                                 T-Mobile (LTE)
            Unincorporated Area (n|a)       Consolidated Communications                           Verizon Communications                                                                VSAT Systems
                                                                                                                                                                                                                 T-Mobile (5G)
                                            En-Touch Systems
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                            Altice
            Roman Forest city (63044)                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                            CenturyLink
77357       Woodbranch city (80044)                                                               ---                                           AT&T                                    ViaSat                   T-Mobile (LTE)
                                            Comcast
            Unincorporated Area (n|a)                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                            En-Touch Systems
                                                                                                                                                                                                                 Verizon Wireless (LTE)




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                                                                                                                                                                                                                              Exhibit SET-C
                                                                                       Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                           FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                Wireline (DSL, Fiber, Cable)                              Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           Altice                                                AirLink                                                                                                       AT&T Mobility (5G)
                                                                                                                                                                                      Hughes Network Systems
            New Waverly city (51396)       Cable One                                             JAB Wireless                                                                                                  Sprint (LTE)
77358                                                                                                                                         AT&T                                    ViaSat
            Unincorporated Area (n|a)      Comcast                                               LAW Wireless                                                                                                  T-Mobile (LTE)
                                                                                                                                                                                      VSAT Systems
                                           Eastex Telephone Cooperative                          Razer Wireless                                                                                                T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                                               AT&T Mobility (5G)
                                                                                                                                                                                      Hughes Network Systems
            Onalaska city (54048)          Altice                                                                                                                                                              Sprint (LTE)
77360                                                                                            ---                                          ---                                     ViaSat
            Unincorporated Area (n|a)      Eastex Telephone Cooperative                                                                                                                                        T-Mobile (LTE)
                                                                                                                                                                                      VSAT Systems
                                                                                                                                                                                                               T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           CenturyLink                                                                                                                                                         AT&T Mobility (5G)
            Plantersville city (58040)                                                           AMG Technology Investment Group                                                      Hughes Network Systems
                                           Comcast                                                                                                                                                             Sprint (LTE)
77363       Todd Mission city (73224)                                                            Texas Broadband                              AT&T                                    ViaSat
                                           Consolidated Communications                                                                                                                                         T-Mobile (LTE)
            Unincorporated Area (n|a)                                                            Unified Communications                                                               VSAT Systems
                                           En-Touch Systems                                                                                                                                                    T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           Altice
                                                                                                                                                                                                               AT&T Mobility (5G)
                                           Comcast                                                                                                                                    Hughes Network Systems
            Point Blank city (58556)                                                                                                                                                                           Sprint (LTE)
77364                                      Eastex Telephone Cooperative                          ---                                          ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                          T-Mobile (LTE)
                                           Lake Livingston Telephone Company                                                                                                          VSAT Systems
                                                                                                                                                                                                               T-Mobile (5G)
                                           Windstream Holdings
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                                               AT&T Mobility (5G)
                                                                                                                                                                                      Hughes Network Systems
                                                                                                 AirLink                                                                                                       Sprint (LTE)
77367       Riverside city (62408)         Windstream Holdings                                                                                AT&T                                    ViaSat
                                                                                                 Razer Wireless                                                                                                T-Mobile (LTE)
                                                                                                                                                                                      VSAT Systems
                                                                                                                                                                                                               T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           Altice                                                                                                                                                              AT&T Mobility (5G)
                                                                                                                                                                                      Hughes Network Systems
            Shepherd city (67424)          Cable One                                                                                                                                                           Sprint (LTE)
77371                                                                                            Ridgewood Holdings                           AT&T                                    ViaSat
            Unincorporated Area (n|a)      Eastex Telephone Cooperative                                                                                                                                        T-Mobile (LTE)
                                                                                                                                                                                      VSAT Systems
                                           USConnect Holdings                                                                                                                                                  T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                           Altice                                                                                                                                                              AT&T Mobility (LTE)
            Patton Village city (56156)
                                           Cable One                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Plum Grove city (58448)
77372                                      Comcast                                               ---                                          AT&T                                    ViaSat                   T-Mobile (LTE)
            Splendora city (69548)
                                           En-Touch Systems                                                                                                                           VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)
                                           Lake Livingston Telephone Company                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Houston city (35000)           Charter Communications
77373                                                                                            ---                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Comcast
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                           En-Touch Systems
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           Charter Communications                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Tomball city (73316)                                                                 JAB Wireless
77375                                      Comcast                                                                                            AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                            Verizon Communications
                                           En-Touch Systems                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
            Houston city (35000)           Charter Communications                                                                                                                     Hughes Network Systems   Sprint (LTE)
77377       Tomball city (73316)           Comcast                                               JAB Wireless                                 AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      En-Touch Systems                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           Altice
                                                                                                 AirLink                                                                                                       AT&T Mobility (5G)
            Conroe city (16432)            AT&T                                                                                                                                       Hughes Network Systems
                                                                                                 JAB Wireless                                                                                                  Sprint (LTE)
77378       Willis city (79408)            Comcast                                                                                            ---                                     ViaSat
                                                                                                 LAW Wireless                                                                                                  T-Mobile (LTE)
            Unincorporated Area (n|a)      Eastex Telephone Cooperative                                                                                                               VSAT Systems
                                                                                                 Razer Wireless                                                                                                T-Mobile (5G)
                                           En-Touch Systems
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                           AT&T
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           Charter Communications
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Houston city (35000)           Comcast
77379                                                                                            Verizon Communications                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      En-Touch Systems
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                           Lake Livingston Telephone Company
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                           Radiate Holdings, LP
                                           AT&T                                                                                                                                                                AT&T Mobility (LTE)
                                           Charter Communications                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77380                                      Comcast                                               ---                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                           En-Touch Systems                                                                                                                           VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP                                                                                                                                                Verizon Wireless (LTE)
                                           AT&T
                                           Cable One                                                                                                                                                           AT&T Mobility (LTE)
                                           Charter Communications                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Shenandoah city (67400)
77381                                      Comcast                                               ---                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                           Consolidated Communications                                                                                                                VSAT Systems             T-Mobile (5G)
                                           En-Touch Systems                                                                                                                                                    Verizon Wireless (LTE)
                                           Lake Livingston Telephone Company
                                           Altice
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Conroe city (16432)            Charter Communications
77384                                                                                            ---                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Comcast
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                           Consolidated Communications
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                           En-Touch Systems
                                           Altice
                                                                                                                                                                                                               AT&T Mobility (LTE)
            Conroe city (16432)            AT&T
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Oak Ridge North city (53190)   Charter Communications
77385                                                                                            ---                                          ---                                     ViaSat                   T-Mobile (LTE)
            Shenandoah city (67400)        Comcast
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)      Consolidated Communications
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                           En-Touch Systems
                                           AT&T                                                                                                                                                                AT&T Mobility (LTE)
            Houston city (35000)           CenturyLink                                                                                                                                Hughes Network Systems   Sprint (LTE)
77386       Oak Ridge North city (53190)   Charter Communications                                Verizon Communications                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Comcast                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                           En-Touch Systems                                                                                                                                                    Verizon Wireless (LTE)
                                           AT&T                                                                                                                                                                AT&T Mobility (LTE)
                                           Charter Communications                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77388                                      Comcast                                               ---                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                           En-Touch Systems                                                                                                                           VSAT Systems             T-Mobile (5G)
                                           Lake Livingston Telephone Company                                                                                                                                   Verizon Wireless (LTE)
                                           AT&T
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           CenturyLink
            Houston city (35000)                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                           Comcast
77396       Humble city (35348)                                                                  Verizon Communications                       ---                                     ViaSat                   T-Mobile (LTE)
                                           En-Touch Systems
            Unincorporated Area (n|a)                                                                                                                                                 VSAT Systems             T-Mobile (5G)
                                           Lake Livingston Telephone Company
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                           Windstream Holdings




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                                                                                                                                                                                                                              Exhibit SET-C
                                                                                       Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                           FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                Wireline (DSL, Fiber, Cable)                              Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                                               Sprint (LTE)
                                           AT&T                                                                                                                                       Hughes Network Systems
            Bellaire city (07300)                                                                                                                                                                              T-Mobile (LTE)
77401                                      Comcast                                               Verizon Communications                       ---                                     ViaSat
            Houston city (35000)                                                                                                                                                                               T-Mobile (5G)
                                           En-Touch Systems                                                                                                                           VSAT Systems
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               Verizon Wireless (5G)
                                           AT&T                                                                                                                                                                AT&T Mobility (LTE)
            Fulshear city (27876)
                                           Comcast                                               JAB Wireless                                                                         Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77406                                      En-Touch Systems                                      One Ring Networks                            ---                                     ViaSat                   T-Mobile (LTE)
            Richmond city (61892)
                                           Radiate Holdings, LP                                  Stratosnet Technologies                                                              VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)
                                           Windstream Holdings                                                                                                                                                 Verizon Wireless (LTE)
                                           AT&T                                                                                                                                                                AT&T Mobility (LTE)
                                           Comcast                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77407                                      En-Touch Systems                                      ---                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                           Radiate Holdings, LP                                                                                                                       VSAT Systems             T-Mobile (5G)
                                           Windstream Holdings                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                                               Evolve Broadband (LTE)
                                                                                                 Craighead Elecric Cooperative
                                           Cable One                                                                                                                                  Hughes Network Systems   Evolve Broadband (5G)
            Bay City city (05984)                                                                Stratosnet Technologies                      AT&T
77414                                      Comcast                                                                                                                                    ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)                                                            TISD                                         Jackson Electric Cooperative
                                           Ganado Telephone Company                                                                                                                   VSAT Systems             T-Mobile (LTE)
                                                                                                 Wharton County Electric Cooperative
                                                                                                                                                                                                               T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
            Beasley city (06272)                                                                 EBTX Wireless                                                                        Hughes Network Systems   Sprint (LTE)
                                           Consolidated Communications
77417       Kendleton city (38848)                                                               JAB Wireless                                 ---                                     ViaSat                   T-Mobile (LTE)
                                           En-Touch Systems
            Unincorporated Area (n|a)                                                            Stratosnet Technologies                                                              VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                 AMG Technology Investment Group
                                                                                                                                                                                                               Evolve Broadband (5G)
                                           Cable One                                             JAB Wireless                                                                         Hughes Network Systems
            Bellville city (07432)                                                                                                                                                                             Sprint (LTE)
77418                                      En-Touch Systems                                      Jet Jet Internet                             AT&T                                    ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                          T-Mobile (LTE)
                                           Industry Telephone Company                            Texas Broadband                                                                      VSAT Systems
                                                                                                                                                                                                               T-Mobile (5G)
                                                                                                 Unified Communications
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           Brazoria Telephone Company                            AT&T
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Brazoria city (10072)          CenturyLink                                           JAB Wireless
77422                                                                                                                                         ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Comcast                                               Jackson Electric Cooperative
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                           Windstream Holdings                                   Stratosnet Technologies
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                 JAB Wireless
                                                                                                                                                                                                               Evolve Broadband (5G)
            Brookshire city (10636)        Comcast                                               Jet Jet Internet                                                                     Hughes Network Systems
                                                                                                                                                                                                               Sprint (LTE)
77423       Pattison city (56108)          Consolidated Communications                           South Central Tower Company                  AT&T                                    ViaSat
                                                                                                                                                                                                               T-Mobile (LTE)
            Unincorporated Area (n|a)      En-Touch Systems                                      Texas Broadband                                                                      VSAT Systems
                                                                                                                                                                                                               T-Mobile (5G)
                                                                                                 Unified Communications
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                                               Evolve Broadband (5G)
                                                                                                                                                                                      Hughes Network Systems
            Palacios city (54684)                                                                AT&T                                                                                                          Sprint (LTE)
77428                                      Cable One                                                                                          ---                                     ViaSat
            Unincorporated Area (n|a)                                                            Jackson Electric Cooperative                                                                                  T-Mobile (LTE)
                                                                                                                                                                                      VSAT Systems
                                                                                                                                                                                                               T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           Charter Communications
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Houston city (35000)           Comcast                                               JAB Wireless
77433                                                                                                                                         AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Consolidated Communications                           Verizon Communications
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                           En-Touch Systems
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                 EBTX Wireless                                                                                                 AT&T Mobility (LTE)
                                                                                                 JAB Wireless                                                                                                  Evolve Broadband (LTE)
                                                                                                 Jet Jet Internet                                                                     Hughes Network Systems   Evolve Broadband (5G)
            Eagle Lake city (21844)        Cable One
77434                                                                                            South Central Tower Company                  AT&T                                    ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)      Charter Communications
                                                                                                 Stratosnet Technologies                                                              VSAT Systems             T-Mobile (LTE)
                                                                                                 Texas Broadband                                                                                               T-Mobile (5G)
                                                                                                 Wharton County Electric Cooperative                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                 EBTX Wireless                                                                                                 Evolve Broadband (LTE)
                                                                                                 JAB Wireless                                                                         Hughes Network Systems   Evolve Broadband (5G)
            East Bernard city (21988)      AT&T
77435                                                                                            Jet Jet Internet                             ---                                     ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)      Cable One
                                                                                                 South Central Tower Company                                                          VSAT Systems             T-Mobile (LTE)
                                                                                                 Stratosnet Technologies                                                                                       T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                                               Evolve Broadband (LTE)
                                                                                                 South Central Tower Company                                                          Hughes Network Systems   Evolve Broadband (5G)
            El Campo city (22864)          Cable One
77437                                                                                            Stratosnet Technologies                      AT&T                                    ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)      Ganado Telephone Company
                                                                                                 Wharton County Electric Cooperative                                                  VSAT Systems             T-Mobile (LTE)
                                                                                                                                                                                                               T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
            Fulshear city (27876)          AT&T                                                  JAB Wireless
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Orchard city (54192)           Comcast                                               Jet Jet Internet
77441                                                                                                                                         ---                                     ViaSat                   T-Mobile (LTE)
            Weston Lakes city (77746)      Consolidated Communications                           Stratosnet Technologies
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)      En-Touch Systems                                      Texas Broadband
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                 AMG Technology Investment Group
                                                                                                                                                                                                               AT&T Mobility (5G)
            Hempstead city (33200)                                                               JAB Wireless
                                           Cable One                                                                                                                                  Hughes Network Systems   Evolve Broadband (5G)
            Pine Island town (57615)                                                             Jet Jet Internet
77445                                      CenturyLink                                                                                        AT&T                                    ViaSat                   Sprint (LTE)
            Prairie View city (59336)                                                            South Central Tower Company
                                           En-Touch Systems                                                                                                                           VSAT Systems             T-Mobile (LTE)
            Unincorporated Area (n|a)                                                            Texas Broadband
                                                                                                                                                                                                               T-Mobile (5G)
                                                                                                 Unified Communications
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           AT&T                                                                                                                                       Hughes Network Systems   Sprint (LTE)
                                                                                                 JAB Wireless
77446       Prairie View city (59336)      Cable One                                                                                          ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                 Texas Broadband
                                           Hotwire Communications, Ltd.                                                                                                               VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                           AT&T
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           Charter Communications
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Houston city (35000)           Comcast                                               JAB Wireless
77449                                                                                                                                         Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Consolidated Communications                           One Ring Networks
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                           En-Touch Systems
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                           Lake Livingston Telephone Company
                                           AT&T                                                                                                                                                                AT&T Mobility (LTE)
                                           Cable One                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Houston city (35000)                                                                 JAB Wireless
77450                                      Comcast                                                                                            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                            Verizon Communications
                                           Consolidated Communications                                                                                                                VSAT Systems             T-Mobile (5G)
                                           En-Touch Systems                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                                               Evolve Broadband (LTE)
                                                                                                                                                                                      Hughes Network Systems
            Kendleton city (38848)                                                                                                                                                                             Sprint (LTE)
77451                                      ---                                                   JAB Wireless                                 ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                          T-Mobile (LTE)
                                                                                                                                                                                      VSAT Systems
                                                                                                                                                                                                               T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)




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                                                                                                                                                                                                                           Exhibit SET-C
                                                                                      Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                        FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                Wireline (DSL, Fiber, Cable)                            Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                          AT&T                                                                                                                                                              AT&T Mobility (LTE)
                                          Comcast                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Missouri City city (48804)
77459                                     En-Touch Systems                                      Stratosnet Technologies                    ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          Frontier Communications                                                                                                                  VSAT Systems             T-Mobile (5G)
                                          Windstream Holdings                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
            Fairchilds village (25068)    AT&T
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Needville city (50628)        Cable One                                             JAB Wireless
77461                                                                                                                                      ---                                     ViaSat                   T-Mobile (LTE)
            Pleak village (58088)         Comcast                                               Stratosnet Technologies
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)     Consolidated Communications
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                JAB Wireless                                                                       Hughes Network Systems   Sprint (LTE)
            Orchard city (54192)
77464                                     ---                                                   Jet Jet Internet                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                Stratosnet Technologies                                                            VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            Evolve Broadband (LTE)
                                          AT&T
                                                                                                                                                                                   Hughes Network Systems   Evolve Broadband (5G)
            Palacios city (54684)         Cable One
77465                                                                                           TISD                                       Jackson Electric Cooperative            ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)     Ganado Telephone Company
                                                                                                                                                                                   VSAT Systems             T-Mobile (LTE)
                                          La Ward Telephone Exchange
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            Evolve Broadband (5G)
                                                                                                JAB Wireless                                                                       Hughes Network Systems
            Pattison city (56108)         Comcast                                                                                                                                                           Sprint (LTE)
77466                                                                                           Jet Jet Internet                           ---                                     ViaSat
            Unincorporated Area (n|a)     Consolidated Communications                                                                                                                                       T-Mobile (LTE)
                                                                                                Texas Broadband                                                                    VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
            Fairchilds village (25068)    AT&T                                                                                                                                                              AT&T Mobility (LTE)
            Richmond city (61892)         Comcast                                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                                                                                JAB Wireless
77469       Rosenberg city (63284)        Consolidated Communications                                                                      ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                Stratosnet Technologies
            Thompsons town (72740)        En-Touch Systems                                                                                                                         VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)     Radiate Holdings, LP                                                                                                                                              Verizon Wireless (LTE)
                                          AT&T
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                          Comcast
            Pleak village (58088)                                                               JAB Wireless                                                                       Hughes Network Systems   Sprint (LTE)
                                          Consolidated Communications
77471       Rosenberg city (63284)                                                              Jet Jet Internet                           ---                                     ViaSat                   T-Mobile (LTE)
                                          En-Touch Systems
            Unincorporated Area (n|a)                                                           Stratosnet Technologies                                                            VSAT Systems             T-Mobile (5G)
                                          ENMR Telephone Cooperative
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                          Radiate Holdings, LP
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                JAB Wireless
                                                                                                                                                                                   Hughes Network Systems   Evolve Broadband (5G)
                                          AT&T                                                  Jet Jet Internet
77473       San Felipe town (65372)                                                                                                        ---                                     ViaSat                   T-Mobile (LTE)
                                          Cable One                                             Texas Broadband
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                Unified Communications
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                JAB Wireless                                                                                                Evolve Broadband (LTE)
            Brazos Country city (10090)
                                          AT&T                                                  Jet Jet Internet                                                                   Hughes Network Systems   Evolve Broadband (5G)
            San Felipe town (65372)
77474                                     Cable One                                             Stratosnet Technologies                    ---                                     ViaSat                   Sprint (LTE)
            Sealy city (66464)
                                          Comcast                                               Texas Broadband                                                                    VSAT Systems             T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                Unified Communications                                                                                      T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                JAB Wireless                                                                                                Evolve Broadband (5G)
                                                                                                                                                                                   Hughes Network Systems
            Simonton city (67964)         AT&T                                                  Jet Jet Internet                                                                                            Sprint (LTE)
77476                                                                                                                                      ---                                     ViaSat
            Unincorporated Area (n|a)     En-Touch Systems                                      Stratosnet Technologies                                                                                     T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                                                                                Texas Broadband                                                                                             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                          Alphabet
            Houston city (35000)                                                                                                                                                                            AT&T Mobility (LTE)
                                          AT&T
            Meadows Place city (47337)                                                                                                                                             Hughes Network Systems   Sprint (LTE)
                                          Comcast
77477       Missouri City city (48804)                                                          Verizon Communications                     ---                                     ViaSat                   T-Mobile (LTE)
                                          En-Touch Systems
            Stafford city (69908)                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                          Frontier Communications
            Unincorporated Area (n|a)                                                                                                                                                                       Verizon Wireless (LTE)
                                          Windstream Holdings
                                          AT&T                                                                                                                                                              AT&T Mobility (LTE)
                                          Comcast                                                                                                                                  Hughes Network Systems   Sprint (LTE)
77478       Sugar Land city (70808)       En-Touch Systems                                      Verizon Communications                     ---                                     ViaSat                   T-Mobile (LTE)
                                          Frontier Communications                                                                                                                  VSAT Systems             T-Mobile (5G)
                                          Windstream Holdings                                                                                                                                               Verizon Wireless (LTE)
                                          Access Media Holdings
                                          AT&T                                                                                                                                                              AT&T Mobility (LTE)
                                          Comcast                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Sugar Land city (70808)
77479                                     En-Touch Systems                                      Stratosnet Technologies                    ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          Frontier Communications                                                                                                                  VSAT Systems             T-Mobile (5G)
                                          Lake Livingston Telephone Company                                                                                                                                 Verizon Wireless (LTE)
                                          Windstream Holdings
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                          Brazoria Telephone Company                                                                                                                                        Evolve Broadband (LTE)
                                          Cable One                                                                                                                                Hughes Network Systems   Evolve Broadband (5G)
            Sweeny city (71492)                                                                 JAB Wireless                               AT&T
77480                                     CenturyLink                                                                                                                              ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)                                                           Stratosnet Technologies                    Jackson Electric Cooperative
                                          Comcast                                                                                                                                  VSAT Systems             T-Mobile (LTE)
                                          Windstream Holdings                                                                                                                                               T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Thompsons town (72740)        Comcast
77481                                                                                           ---                                        ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     En-Touch Systems
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                AMG Technology Investment Group
                                          CenturyLink                                                                                                                                                       AT&T Mobility (5G)
                                                                                                JAB Wireless                                                                       Hughes Network Systems
            Waller city (76228)           Comcast                                                                                                                                                           Sprint (LTE)
77484                                                                                           Jet Jet Internet                           AT&T                                    ViaSat
            Unincorporated Area (n|a)     En-Touch Systems                                                                                                                                                  T-Mobile (LTE)
                                                                                                Stratosnet Technologies                                                            VSAT Systems
                                          Windstream Holdings                                                                                                                                               T-Mobile (5G)
                                                                                                Texas Broadband
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                EBTX Wireless                                                                                               Evolve Broadband (LTE)
            Simonton city (67964)         AT&T                                                  JAB Wireless                                                                       Hughes Network Systems   Evolve Broadband (5G)
77485       Wallis city (76240)           Cable One                                             Jet Jet Internet                           ---                                     ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)     En-Touch Systems                                      Stratosnet Technologies                                                            VSAT Systems             T-Mobile (LTE)
                                                                                                Texas Broadband                                                                                             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                          Brazoria Telephone Company
                                                                                                AT&T                                                                               Hughes Network Systems   Sprint (LTE)
            West Columbia city (77416)    Cable One
77486                                                                                           JAB Wireless                               ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     CenturyLink
                                                                                                Stratosnet Technologies                                                            VSAT Systems             T-Mobile (5G)
                                          Comcast
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                JAB Wireless
                                                                                                                                                                                                            Evolve Broadband (LTE)
                                          Cable One                                             Legacy ISP                                                                         Hughes Network Systems
            Wharton city (78136)                                                                                                                                                                            Sprint (LTE)
77488                                     Comcast                                               South Central Tower Company                AT&T                                    ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                       T-Mobile (LTE)
                                          Radiate Holdings, LP                                  Stratosnet Technologies                                                            VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                Wharton County Electric Cooperative
                                                                                                                                                                                                            Verizon Wireless (LTE)




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                                                                                                                                                                                                                                   Exhibit SET-C
                                                                                            Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                                FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                     Wireline (DSL, Fiber, Cable)                              Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                               AT&T                                                                                                                                                                 AT&T Mobility (LTE)
                                               Comcast                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Houston city (35000)                                                                      One Ring Networks
77489                                          En-Touch Systems                                                                                    ---                                     ViaSat                   T-Mobile (LTE)
            Missouri City city (48804)                                                                Ridgewood Holdings
                                               Frontier Communications                                                                                                                     VSAT Systems             T-Mobile (5G)
                                               Lake Livingston Telephone Company                                                                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                               AT&T
            Houston city (35000)                                                                                                                                                           Hughes Network Systems   Sprint (LTE)
                                               Comcast
77493       Katy city (38476)                                                                         JAB Wireless                                 ---                                     ViaSat                   T-Mobile (LTE)
                                               Consolidated Communications
            Unincorporated Area (n|a)                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                               En-Touch Systems
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                               AT&T
                                                                                                                                                                                                                    AT&T Mobility (LTE)
            Fulshear city (27876)              Cable One
                                                                                                                                                                                           Hughes Network Systems   Sprint (LTE)
            Houston city (35000)               Comcast
77494                                                                                                 JAB Wireless                                 ---                                     ViaSat                   T-Mobile (LTE)
            Katy city (38476)                  Computers, Electronics, Office Etc.
                                                                                                                                                                                           VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)          Consolidated Communications
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                               En-Touch Systems
                                               AT&T                                                                                                                                                                 AT&T Mobility (LTE)
                                               Comcast                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Sugar Land city (70808)
77498                                          En-Touch Systems                                       ---                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                               Radiate Holdings, LP                                                                                                                        VSAT Systems             T-Mobile (5G)
                                               Windstream Holdings                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                               AT&T
                                                                                                                                                                                           Hughes Network Systems   Sprint (LTE)
                                               Comcast
77502       Pasadena city (56000)                                                                     ---                                          ---                                     ViaSat                   T-Mobile (LTE)
                                               En-Touch Systems
                                                                                                                                                                                           VSAT Systems             T-Mobile (5G)
                                               Radiate Holdings, LP
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                               AT&T                                                                                                                                        Hughes Network Systems   Sprint (LTE)
77503       Pasadena city (56000)              Comcast                                                ---                                          ---                                     ViaSat                   T-Mobile (LTE)
                                               En-Touch Systems                                                                                                                            VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                               AT&T                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Houston city (35000)
77504                                          Comcast                                                ---                                          ---                                     ViaSat                   T-Mobile (LTE)
            Pasadena city (56000)
                                               En-Touch Systems                                                                                                                            VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                               AT&T                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Deer Park city (19624)
77505                                          Comcast                                                ---                                          ---                                     ViaSat                   T-Mobile (LTE)
            Pasadena city (56000)
                                               En-Touch Systems                                                                                                                            VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                                                                                                                                                                           Hughes Network Systems   Sprint (LTE)
                                               AT&T
77506       Pasadena city (56000)                                                                     ---                                          ---                                     ViaSat                   T-Mobile (LTE)
                                               Comcast
                                                                                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
            La Porte city (41440)                                                                                                                                                          Hughes Network Systems   Sprint (LTE)
                                               AT&T
77507       Pasadena city (56000)                                                                     ---                                          ---                                     ViaSat                   T-Mobile (LTE)
                                               Comcast
            Unincorporated Area (n|a)                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
            Hitchcock city (34220)             AT&T                                                                                                                                        Hughes Network Systems   Sprint (LTE)
                                                                                                      Southern Broadband
77510       Santa Fe city (65726)              Comcast                                                                                             ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                      Stratosnet Technologies
            Unincorporated Area (n|a)          Frontier Communications                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                               Comcast                                                Brazos WiFi
            Alvin city (02272)                                                                                                                                                             Hughes Network Systems   Sprint (LTE)
                                               En-Touch Systems                                       JAB Wireless
77511       Hillcrest village (33980)                                                                                                              AT&T                                    ViaSat                   T-Mobile (LTE)
                                               Frontier Communications                                Southern Broadband
            Unincorporated Area (n|a)                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                               Telephone and Data Systems                             Stratosnet Technologies
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                               AT&T                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Anahuac city (03144)
77514                                          Comcast                                                JAB Wireless                                 ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                               Windstream Holdings                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                               Brazoria Telephone Company                                                                                                                                           AT&T Mobility (LTE)
            Angleton city (03264)                                                                     ADT Systems
                                               Cable One                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Bailey's Prairie village (05288)                                                          JAB Wireless
77515                                          CenturyLink                                                                                         AT&T                                    ViaSat                   T-Mobile (LTE)
            Holiday Lakes town (34502)                                                                LAW Wireless
                                               Comcast                                                                                                                                     VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)                                                                 Stratosnet Technologies
                                               Frontier Communications                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                                                                                                                                                                           Hughes Network Systems   Sprint (LTE)
            Santa Fe city (65726)              Comcast                                                JAB Wireless
77517                                                                                                                                              ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)          Frontier Communications                                Stratosnet Technologies
                                                                                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                                                                                                                                                                           Hughes Network Systems   Sprint (LTE)
            Baytown city (06128)               Comcast                                                JAB Wireless
77520                                                                                                                                              ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)          Frontier Communications                                Stratosnet Technologies
                                                                                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                               Altice                                                                                                                                                               AT&T Mobility (LTE)
                                               Comcast                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Baytown city (06128)                                                                      JAB Wireless
77521                                          En-Touch Systems                                                                                    ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                 Razer Wireless
                                               Frontier Communications                                                                                                                     VSAT Systems             T-Mobile (5G)
                                               Windstream Holdings                                                                                                                                                  Verizon Wireless (LTE)
                                               Altice
            Baytown city (06128)
                                               AT&T                                                                                                                                                                 AT&T Mobility (LTE)
            Beach City city (06200)
                                               City of Mont Belvieu                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Cove city (17336)
77523                                          Comcast                                                JAB Wireless                                 ---                                     ViaSat                   T-Mobile (LTE)
            Mont Belvieu city (49068)
                                               Frontier Communications                                                                                                                     VSAT Systems             T-Mobile (5G)
            Old River-Winfree city (53824)
                                               Lake Livingston Telephone Company                                                                                                                                    Verizon Wireless (LTE)
            Unincorporated Area (n|a)
                                               Windstream Holdings
                                                                                                                                                                                                                    AT&T Mobility (LTE)
            Clute city (15652)                 Comcast                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                                                                                      JAB Wireless
77531       Richwood city (61904)              En-Touch Systems                                                                                    AT&T                                    ViaSat                   T-Mobile (LTE)
                                                                                                      Stratosnet Technologies
            Unincorporated Area (n|a)          Windstream Holdings                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                               Altice                                                                                                                                                               AT&T Mobility (LTE)
                                               Comcast                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Houston city (35000)                                                                      JAB Wireless
77532                                          En-Touch Systems                                                                                    ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                 Stratosnet Technologies
                                               Frontier Communications                                                                                                                     VSAT Systems             T-Mobile (5G)
                                               One Ring Networks                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                                                                                                                                                                           Hughes Network Systems   Sprint (LTE)
            Daisetta city (18476)
77533                                          Frontier Communications                                JAB Wireless                                 ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                    Verizon Wireless (LTE)
                                                                                                                                                                                                                    AT&T Mobility (LTE)
                                               Cable One                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Danbury city (19120)                                                                      JAB Wireless
77534                                          Comcast                                                                                             AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                 Stratosnet Technologies
                                               En-Touch Systems                                                                                                                            VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                    Verizon Wireless (LTE)



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                                                                                                                                                                                                                                 Exhibit SET-C
                                                                                         Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                              FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                   Wireline (DSL, Fiber, Cable)                               Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                             Altice
            Dayton city (19432)              City of Mont Belvieu                                                                                                                                                 AT&T Mobility (LTE)
            Kenefick town (38872)            Comcast                                                                                                                                     Hughes Network Systems   Sprint (LTE)
77535       Mont Belvieu city (49068)        En-Touch Systems                                      JAB Wireless                                  AT&T                                    ViaSat                   T-Mobile (LTE)
            Old River-Winfree city (53824)   Frontier Communications                                                                                                                     VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)        Lake Livingston Telephone Company                                                                                                                                    Verizon Wireless (LTE)
                                             Windstream Holdings
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                             AT&T
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
                                             Comcast
77536       Deer Park city (19624)                                                                 ---                                           ---                                     ViaSat                   T-Mobile (LTE)
                                             En-Touch Systems
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                             Radiate Holdings, LP
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                             American Broadband Communications
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
            Devers city (20140)              Cable One
77538                                                                                              ---                                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)        Frontier Communications
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                             Windstream Holdings
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                             AT&T
            Dickinson city (20344)           Comcast                                                                                                                                                              AT&T Mobility (LTE)
            League City city (41980)         En-Touch Systems                                                                                                                            Hughes Network Systems   Sprint (LTE)
77539       Santa Fe city (65726)            Frontier Communications                               Southern Broadband                            ---                                     ViaSat                   T-Mobile (LTE)
            Texas City city (72392)          Lake Livingston Telephone Company                                                                                                           VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)        One Ring Networks                                                                                                                                                    Verizon Wireless (LTE)
                                             Victoria Electric Cooperative
            Freeport city (27420)                                                                                                                                                                                 AT&T Mobility (LTE)
                                             Brazoria Telephone Company
            Jones Creek village (37984)                                                            JAB Wireless                                                                          Hughes Network Systems   Sprint (LTE)
                                             Cable One
77541       Oyster Creek city (54528)                                                              Stratosnet Technologies                       AT&T                                    ViaSat                   T-Mobile (LTE)
                                             Comcast
            Surfside Beach city (71384)                                                            TISD                                                                                  VSAT Systems             T-Mobile (5G)
                                             En-Touch Systems
            Unincorporated Area (n|a)                                                                                                                                                                             Verizon Wireless (LTE)
                                             AT&T                                                                                                                                                                 AT&T Mobility (LTE)
                                             Cable One                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Missouri City city (48804)
77545                                        Comcast                                               ---                                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                             En-Touch Systems                                                                                                                            VSAT Systems             T-Mobile (5G)
                                             Frontier Communications                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
            Friendswood city (27648)         Comcast                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                                                                                   Southern Broadband
77546       Houston city (35000)             En-Touch Systems                                                                                    AT&T                                    ViaSat                   T-Mobile (LTE)
                                                                                                   Verizon Communications
            Unincorporated Area (n|a)        Frontier Communications                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
                                             AT&T
77547       Galena Park city (27996)                                                               ---                                           ---                                     ViaSat                   T-Mobile (LTE)
                                             Comcast
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
                                             AT&T
77550       Galveston city (28068)                                                                 ---                                           ---                                     ViaSat                   T-Mobile (LTE)
                                             Comcast
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                             AT&T                                                                                                                                        Hughes Network Systems   Sprint (LTE)
77551       Galveston city (28068)           Comcast                                               ---                                           ---                                     ViaSat                   T-Mobile (LTE)
                                             En-Touch Systems                                                                                                                            VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
            Galveston city (28068)           Access Media Holdings
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
            Jamaica Beach city (37252)       AT&T
77554                                                                                              ---                                           ---                                     ViaSat                   T-Mobile (LTE)
            Texas City city (72392)          Comcast
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
            Tiki Island village (72989)      En-Touch Systems
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                                                                                                         Hughes Network Systems
                                                                                                                                                                                                                  Sprint (LTE)
77561       Hardin city (32240)              Frontier Communications                               JAB Wireless                                  ---                                     ViaSat
                                                                                                                                                                                                                  T-Mobile (LTE)
                                                                                                                                                                                         VSAT Systems
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
            Bayou Vista city (06060)         AT&T
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
            Hitchcock city (34220)           Comcast
77563                                                                                              ---                                           ---                                     ViaSat                   T-Mobile (LTE)
            La Marque city (41116)           En-Touch Systems
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)        Frontier Communications
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
            Clear Lake Shores city (15328)   AT&T
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
            Kemah city (38776)               Comcast
77565                                                                                              ---                                           ---                                     ViaSat                   T-Mobile (LTE)
            League City city (41980)         En-Touch Systems
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)        Frontier Communications
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                             AT&T
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                             Brazoria Telephone Company
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
            Lake Jackson city (40588)        Cable One                                             JAB Wireless
77566                                                                                                                                            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)        Comcast                                               TISD
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                             Jackson Electric Cooperative
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                             Lake Livingston Telephone Company
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                             AT&T                                                                                                                                        Hughes Network Systems   Sprint (LTE)
77568       La Marque city (41116)           Comcast                                               ---                                           ---                                     ViaSat                   T-Mobile (LTE)
                                             Frontier Communications                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
            La Porte city (41440)            AT&T                                                                                                                                        Hughes Network Systems   Sprint (LTE)
77571       Morgan's Point city (49380)      Comcast                                               ---                                           ---                                     ViaSat                   T-Mobile (LTE)
            Shoreacres city (67688)          En-Touch Systems                                                                                                                            VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                             AT&T
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                             Comcast
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
                                             En-Touch Systems                                      Southern Broadband
77573       League City city (41980)                                                                                                             Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
                                             Frontier Communications                               Stratosnet Technologies
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                             Lake Livingston Telephone Company
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                             Windstream Holdings
                                                                                                                                                                                                                  AT&T Mobility (LTE)
            Ames city (03072)                Cable One
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
            Hardin city (32240)              Comcast                                               JAB Wireless
77575                                                                                                                                            AT&T                                    ViaSat                   T-Mobile (LTE)
            Liberty city (42568)             Frontier Communications                               Texas CellNet
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)        Windstream Holdings
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                                                                                                         Hughes Network Systems   Sprint (LTE)
            Liverpool city (43120)                                                                 JAB Wireless
77577                                        ---                                                                                                 AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                              Stratosnet Technologies
                                                                                                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                             Cable One                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Manvel city (46500)
77578                                        Comcast                                               Stratosnet Technologies                       AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                             En-Touch Systems                                                                                                                            VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)




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                                                                                                                                                                                                                                  Exhibit SET-C
                                                                                           Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                               FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                    Wireline (DSL, Fiber, Cable)                              Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                               Altice
                                                                                                                                                                                          Hughes Network Systems   Sprint (LTE)
            Mont Belvieu city (49068)          City of Mont Belvieu
77580                                                                                                JAB Wireless                                 ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)          Comcast
                                                                                                                                                                                          VSAT Systems             T-Mobile (5G)
                                               Frontier Communications
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                               AT&T                                                                                                                                                                AT&T Mobility (LTE)
            Brookside Village city (10648)     Cable One                                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                                                                                     Razer Wireless
77581       Pearland city (56348)              Comcast                                                                                            ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                     TPT Global Technologies
            Unincorporated Area (n|a)          En-Touch Systems                                                                                                                           VSAT Systems             T-Mobile (5G)
                                               Radiate Holdings, LP                                                                                                                                                Verizon Wireless (LTE)
            Alvin city (02272)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
            Arcola city (03708)                Cable One
                                                                                                                                                                                          Hughes Network Systems   Sprint (LTE)
            Bonney village (09388)             Comcast                                               JAB Wireless
77583                                                                                                                                             AT&T                                    ViaSat                   T-Mobile (LTE)
            Iowa Colony village (36092)        En-Touch Systems                                      Stratosnet Technologies
                                                                                                                                                                                          VSAT Systems             T-Mobile (5G)
            Pearland city (56348)              Frontier Communications
                                                                                                                                                                                                                   Verizon Wireless (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                               Cable One                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Pearland city (56348)
77584                                          Comcast                                               Stratosnet Technologies                      AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                               En-Touch Systems                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
            El Lago city (23164)               AT&T
                                                                                                                                                                                          Hughes Network Systems   Sprint (LTE)
            Pasadena city (56000)              Comcast
77586                                                                                                ---                                          Southern Broadband                      ViaSat                   T-Mobile (LTE)
            Seabrook city (66392)              En-Touch Systems
                                                                                                                                                                                          VSAT Systems             T-Mobile (5G)
            Taylor Lake Village city (71960)   Frontier Communications
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                          Hughes Network Systems   Sprint (LTE)
                                               AT&T
77587       South Houston city (69020)                                                               ---                                          ---                                     ViaSat                   T-Mobile (LTE)
                                               Comcast
                                                                                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                               AT&T                                                                                                                                       Hughes Network Systems   Sprint (LTE)
77590       Texas City city (72392)            Comcast                                               Verizon Communications                       ---                                     ViaSat                   T-Mobile (LTE)
                                               En-Touch Systems                                                                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                               AT&T                                                                                                                                       Hughes Network Systems   Sprint (LTE)
77591       Texas City city (72392)            Comcast                                               ---                                          ---                                     ViaSat                   T-Mobile (LTE)
                                               Frontier Communications                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
            Houston city (35000)               AT&T
                                                                                                                                                                                          Hughes Network Systems   Sprint (LTE)
            League City city (41980)           Comcast                                               Southern Broadband
77598                                                                                                                                             ---                                     ViaSat                   T-Mobile (LTE)
            Webster city (76948)               En-Touch Systems                                      Verizon Communications
                                                                                                                                                                                          VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)          Frontier Communications
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                                                   AT&T Mobility (5G)
                                                                                                                                                                                          Hughes Network Systems
            Bridge City city (10252)           AT&T                                                                                                                                                                Sprint (LTE)
77611                                                                                                ---                                          ---                                     ViaSat
            Unincorporated Area (n|a)          Charter Communications                                                                                                                                              T-Mobile (LTE)
                                                                                                                                                                                          VSAT Systems
                                                                                                                                                                                                                   T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
            China city (14704)                                                                                                                                                            Hughes Network Systems   Sprint (LTE)
                                               American Broadband Communications
77613       Nome city (51720)                                                                        ---                                          AT&T                                    ViaSat                   T-Mobile (LTE)
                                               Cable One
            Unincorporated Area (n|a)                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                                                   AT&T Mobility (5G)
                                                                                                                                                                                          Hughes Network Systems
                                               AT&T                                                                                                                                                                Sprint (LTE)
77619       Groves city (31328)                                                                      ---                                          ---                                     ViaSat
                                               Charter Communications                                                                                                                                              T-Mobile (LTE)
                                                                                                                                                                                          VSAT Systems
                                                                                                                                                                                                                   T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                               Cable One                                                                                                                                                           AT&T Mobility (5G)
                                                                                                                                                                                          Hughes Network Systems
            Kountze city (39868)               Charter Communications                                                                                                                                              Sprint (LTE)
77625                                                                                                ---                                          AT&T                                    ViaSat
            Unincorporated Area (n|a)          Comcast                                                                                                                                                             T-Mobile (LTE)
                                                                                                                                                                                          VSAT Systems
                                               Frontier Communications                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                               AT&T                                                                                                                                       Hughes Network Systems   Sprint (LTE)
            Nederland city (50580)
77627                                          Charter Communications                                ---                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                               Comcast                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                               American Broadband Communications                                                                                                          Hughes Network Systems   Sprint (LTE)
            Nome city (51720)
77629                                          AT&T                                                  JAB Wireless                                 ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                               Windstream Holdings                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
            Bridge City city (10252)
                                                                                                                                                                                                                   AT&T Mobility (5G)
            Orange city (54132)                Charter Communications                                                                                                                     Hughes Network Systems
                                                                                                                                                                                                                   Sprint (LTE)
77630       Pinehurst city (57608)             En-Touch Systems                                      ---                                          AT&T                                    ViaSat
                                                                                                                                                                                                                   T-Mobile (LTE)
            West Orange city (77752)           Windstream Holdings                                                                                                                        VSAT Systems
                                                                                                                                                                                                                   T-Mobile (5G)
            Unincorporated Area (n|a)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                                                   AT&T Mobility (5G)
                                                                                                                                                                                          Hughes Network Systems
            Orange city (54132)                Charter Communications                                                                                                                                              Sprint (LTE)
77632                                                                                                ---                                          AT&T                                    ViaSat
            Unincorporated Area (n|a)          Comcast                                                                                                                                                             T-Mobile (LTE)
                                                                                                                                                                                          VSAT Systems
                                                                                                                                                                                                                   T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                                                   AT&T Mobility (5G)
                                               AT&T                                                                                                                                       Hughes Network Systems
            Port Arthur city (58820)                                                                                                                                                                               Sprint (LTE)
77640                                          Charter Communications                                ---                                          ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                              T-Mobile (LTE)
                                               Comcast                                                                                                                                    VSAT Systems
                                                                                                                                                                                                                   T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                                                   AT&T Mobility (5G)
                                                                                                                                                                                          Hughes Network Systems
            Nederland city (50580)             AT&T                                                                                                                                                                Sprint (LTE)
77642                                                                                                ---                                          ---                                     ViaSat
            Port Arthur city (58820)           Charter Communications                                                                                                                                              T-Mobile (LTE)
                                                                                                                                                                                          VSAT Systems
                                                                                                                                                                                                                   T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                                                   AT&T Mobility (5G)
                                                                                                                                                                                          Hughes Network Systems
            Port Neches city (58940)           AT&T                                                                                                                                                                Sprint (LTE)
77651                                                                                                ---                                          ---                                     ViaSat
            Unincorporated Area (n|a)          Charter Communications                                                                                                                                              T-Mobile (LTE)
                                                                                                                                                                                          VSAT Systems
                                                                                                                                                                                                                   T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)




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                                                                                                                                                                                                                             Exhibit SET-C
                                                                                      Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                          FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities               Wireline (DSL, Fiber, Cable)                              Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Port Arthur city (58820)       AT&T
77655                                                                                           ---                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Charter Communications
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
            Silsbee city (67832)           Charter Communications                                                                                                                                             Sprint (LTE)
77656                                                                                           ---                                          AT&T                                    ViaSat
            Unincorporated Area (n|a)      Comcast                                                                                                                                                            T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
            Lumberton city (45120)                                                                                                                                                   Hughes Network Systems
                                           Cable One                                                                                                                                                          Sprint (LTE)
77657       Rose Hill Acres city (63272)                                                        ---                                          AT&T                                    ViaSat
                                           Charter Communications                                                                                                                                             T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                                                                VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
            Sour Lake city (68828)         Cable One                                                                                                                                                          Sprint (LTE)
77659                                                                                           JAB Wireless                                 AT&T                                    ViaSat
            Unincorporated Area (n|a)      Windstream Holdings                                                                                                                                                T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
            Pine Forest city (57524)                                                                                                                                                                          AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
            Rose City city (63200)         Charter Communications                                                                                                                                             Sprint (LTE)
77662                                                                                           ---                                          AT&T                                    ViaSat
            Vidor city (75476)             Comcast                                                                                                                                                            T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
            Unincorporated Area (n|a)                                                                                                                                                                         T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
                                           Cable One                                                                                                                                                          Sprint (LTE)
77701       Beaumont city (07000)                                                               ---                                          AT&T                                    ViaSat
                                           Charter Communications                                                                                                                                             T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
                                           AT&T                                                                                                                                                               Sprint (LTE)
77702       Beaumont city (07000)                                                               Southern Broadband                           ---                                     ViaSat
                                           Charter Communications                                                                                                                                             T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
                                           Cable One                                                                                                                                                          Sprint (LTE)
77703       Beaumont city (07000)                                                               ---                                          AT&T                                    ViaSat
                                           Charter Communications                                                                                                                                             T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           American Broadband Communications                                                                                                                                  AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
            Beaumont city (07000)          Charter Communications                                                                            AT&T                                                             Sprint (LTE)
77705                                                                                           LocaLoop                                                                             ViaSat
            Unincorporated Area (n|a)      En-Touch Systems                                                                                  Southern Broadband                                               T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                           Windstream Holdings                                                                                                                                                T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
                                           AMG Technology Investment Group                                                                                                           Hughes Network Systems
                                                                                                                                             AT&T                                                             Sprint (LTE)
77706       Beaumont city (07000)          Cable One                                            ---                                                                                  ViaSat
                                                                                                                                             Southern Broadband                                               T-Mobile (LTE)
                                           Charter Communications                                                                                                                    VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
                                           Cable One                                                                                                                                                          Sprint (LTE)
77707       Beaumont city (07000)                                                               ---                                          AT&T                                    ViaSat
                                           Charter Communications                                                                                                                                             T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T                                                                                                                                                               AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
                                           Charter Communications                                                                                                                                             Sprint (LTE)
77708       Beaumont city (07000)                                                               ---                                          ---                                     ViaSat
                                           Comcast                                                                                                                                                            T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                           En-Touch Systems                                                                                                                                                   T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
            Beaumont city (07000)                                                                                                                                                                             AT&T Mobility (5G)
                                           Cable One                                                                                                                                 Hughes Network Systems
            Bevil Oaks city (08128)                                                                                                                                                                           Sprint (LTE)
77713                                      Charter Communications                               Southern Broadband                           AT&T                                    ViaSat
            China city (14704)                                                                                                                                                                                T-Mobile (LTE)
                                           Comcast                                                                                                                                   VSAT Systems
            Unincorporated Area (n|a)                                                                                                                                                                         T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                Brazos WiFi
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                           Altice                                               JAB Wireless
77801       Bryan city (10912)                                                                                                               ---                                     ViaSat                   T-Mobile (LTE)
                                           Frontier Communications                              Texas Broadband
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                Unified Communications
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                AT&T
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           Altice                                               Brazos WiFi
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                           Comcast                                              JAB Wireless
77802       Bryan city (10912)                                                                                                               Computers, Electronics, Office Etc.     ViaSat                   T-Mobile (LTE)
                                           En-Touch Systems                                     Texas Broadband
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                           Frontier Communications                              Unified Communications
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                Verizon Communications
                                                                                                AT&T
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                Brazos WiFi
                                           Altice                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                                                                                Computers, Electronics, Office Etc.
77803       Bryan city (10912)             Comcast                                                                                           ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                JAB Wireless
                                           Frontier Communications                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                Texas Broadband
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                Unified Communications
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                Brazos WiFi
                                                                                                                                                                                                              Evolve Broadband (5G)
                                           Altice                                               JAB Wireless                                                                         Hughes Network Systems
            Bryan city (10912)                                                                                                               AT&T                                                             Sprint (LTE)
77807                                      Comcast                                              Ridgewood Holdings                                                                   ViaSat
            Unincorporated Area (n|a)                                                                                                        Computers, Electronics, Office Etc.                              T-Mobile (LTE)
                                           Frontier Communications                              Texas Broadband                                                                      VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                Unified Communications
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                AMG Technology Investment Group
                                                                                                AT&T                                                                                                          AT&T Mobility (LTE)
            Bryan city (10912)
                                                                                                Computers, Electronics, Office Etc.                                                  Hughes Network Systems   Sprint (LTE)
            Kurten town (39940)            Altice
77808                                                                                           JAB Wireless                                 Brazos WiFi                             ViaSat                   T-Mobile (LTE)
            Wixon Valley city (79919)      Frontier Communications
                                                                                                Stratosnet Technologies                                                              VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)
                                                                                                Texas Broadband                                                                                               Verizon Wireless (LTE)
                                                                                                Unified Communications
                                                                                                AMG Technology Investment Group
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                Brazos WiFi
                                           CenturyLink                                                                                                                               Hughes Network Systems   AT&T Mobility (5G)
            Anderson city (03192)                                                               GrimesCountyNET
77830                                      Consolidated Communications                                                                       ---                                     ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)                                                           JAB Wireless
                                           Windstream Holdings                                                                                                                       VSAT Systems             T-Mobile (LTE)
                                                                                                Texas Broadband
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                Unified Communications



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                                                                                                                                                                                                                              Exhibit SET-C
                                                                                        Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                           FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                 Wireline (DSL, Fiber, Cable)                             Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                  AirLink                                                                                                      AT&T Mobility (LTE)
                                                                                                  Brazos WiFi                                                                                                  AT&T Mobility (5G)
                                           CenturyLink                                                                                                                                Hughes Network Systems
            Bedias city (07144)                                                                   Centex Web Access                                                                                            Sprint (LTE)
77831                                      GCTR                                                                                               AT&T                                    ViaSat
            Unincorporated Area (n|a)                                                             Razer Wireless                                                                                               T-Mobile (LTE)
                                           Windstream Holdings                                                                                                                        VSAT Systems
                                                                                                  Texas Broadband                                                                                              T-Mobile (5G)
                                                                                                  Unified Communications                                                                                       Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           Altice                                                                                                                                                              Evolve Broadband (5G)
                                                                                                  AMG Technology Investment Group                                                     Hughes Network Systems
            Brenham city (10156)           Comcast                                                                                            AT&T                                                             Sprint (LTE)
77833                                                                                             JAB Wireless                                                                        ViaSat
            Unincorporated Area (n|a)      Frontier Communications                                                                            Unified Communications                                           T-Mobile (LTE)
                                                                                                  Texas Broadband                                                                     VSAT Systems
                                           Industry Telephone Company                                                                                                                                          T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group                                                                              Evolve Broadband (5G)
                                                                                                                                                                                      Hughes Network Systems
            Burton city (11536)            Colorado Valley Telephone Cooperative                  AT&T                                                                                                         Sprint (LTE)
77835                                                                                                                                         Unified Communications                  ViaSat
            Unincorporated Area (n|a)      Industry Telephone Company                             JAB Wireless                                                                                                 T-Mobile (LTE)
                                                                                                                                                                                      VSAT Systems
                                                                                                  Texas Broadband                                                                                              T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                  AMG Technology Investment Group                                                                              AT&T Mobility (LTE)
                                                                                                  AT&T                                                                                                         Evolve Broadband (5G)
                                                                                                                                                                                      Hughes Network Systems
            Caldwell city (11836)          Altice                                                 Brazos WiFi                                                                                                  Sprint (LTE)
77836                                                                                                                                         Unified Communications                  ViaSat
            Unincorporated Area (n|a)      Frontier Communications                                Centex Web Access                                                                                            T-Mobile (LTE)
                                                                                                                                                                                      VSAT Systems
                                                                                                  JAB Wireless                                                                                                 T-Mobile (5G)
                                                                                                  Texas Broadband                                                                                              Verizon Wireless (LTE)
                                                                                                  AMG Technology Investment Group                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                      Hughes Network Systems
            Calvert city (11992)                                                                  Brazos WiFi                                                                                                  Sprint (LTE)
77837                                      CenturyLink                                                                                        AT&T                                    ViaSat
            Unincorporated Area (n|a)                                                             Texas Broadband                                                                                              T-Mobile (LTE)
                                                                                                                                                                                      VSAT Systems
                                                                                                  Unified Communications                                                                                       Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           Altice
                                                                                                  JAB Wireless                                                                        Hughes Network Systems   Sprint (LTE)
                                           Comcast                                                                                            Brazos WiFi
77840       College Station city (15976)                                                          Texas Broadband                                                                     ViaSat                   T-Mobile (LTE)
                                           Frontier Communications                                                                            Computers, Electronics, Office Etc.
                                                                                                  Unified Communications                                                              VSAT Systems             T-Mobile (5G)
                                           Windstream Holdings
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           Altice                                                                                                                                                              AT&T Mobility (5G)
                                                                                                  AMG Technology Investment Group
                                           CenturyLink                                                                                                                                Hughes Network Systems   Evolve Broadband (5G)
            College Station city (15976)                                                          JAB Wireless                                Brazos WiFi
77845                                      Comcast                                                                                                                                    ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)                                                             Texas Broadband                             Computers, Electronics, Office Etc.
                                           En-Touch Systems                                                                                                                           VSAT Systems             T-Mobile (LTE)
                                                                                                  Unified Communications
                                           Frontier Communications                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                  American Broadband Communications
                                                                                                  AMG Technology Investment Group
                                                                                                  Brazos WiFi                                                                                                  AT&T Mobility (LTE)
                                           Altice                                                                                                                                     Hughes Network Systems
            Franklin city (27288)                                                                 Computers, Electronics, Office Etc.                                                                          Sprint (LTE)
77856                                      Windstream Holdings                                                                                AT&T                                    ViaSat
            Unincorporated Area (n|a)                                                             Express WISP                                                                                                 T-Mobile (LTE)
                                           Zito Media, LP                                                                                                                             VSAT Systems
                                                                                                  JAB Wireless                                                                                                 Verizon Wireless (LTE)
                                                                                                  Texas Broadband
                                                                                                  Unified Communications
                                                                                                  AMG Technology Investment Group                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                      Hughes Network Systems
            Hearne city (32972)            Computers, Electronics, Office Etc.                    JAB Wireless                                AT&T                                                             Sprint (LTE)
77859                                                                                                                                                                                 ViaSat
            Unincorporated Area (n|a)      Windstream Holdings                                    Texas Broadband                             Brazos WiFi                                                      T-Mobile (LTE)
                                                                                                                                                                                      VSAT Systems
                                                                                                  Unified Communications                                                                                       Verizon Wireless (LTE)
                                                                                                  AirLink
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                  Brazos WiFi
                                                                                                                                                                                                               AT&T Mobility (5G)
                                           CenturyLink                                            Computers, Electronics, Office Etc.                                                 Hughes Network Systems
            Iola city (36068)                                                                                                                                                                                  Sprint (LTE)
77861                                      En-Touch Systems                                       JAB Wireless                                ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                          T-Mobile (LTE)
                                           Windstream Holdings                                    Razer Wireless                                                                      VSAT Systems
                                                                                                                                                                                                               T-Mobile (5G)
                                                                                                  Texas Broadband
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                  Unified Communications
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                  AirLink                                                                                                      AT&T Mobility (5G)
                                           Comcast                                                                                                                                    Hughes Network Systems
            Madisonville city (45996)                                                             Computers, Electronics, Office Etc.                                                                          Sprint (LTE)
77864                                      GCTR                                                                                               AT&T                                    ViaSat
            Unincorporated Area (n|a)                                                             Razer Wireless                                                                                               T-Mobile (LTE)
                                           Windstream Holdings                                                                                                                        VSAT Systems
                                                                                                  Unified Communications                                                                                       T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                  JAB Wireless                                                                        Hughes Network Systems   AT&T Mobility (LTE)
            Marquez city (46752)
77865                                      Windstream Holdings                                    Texas Broadband                             AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                  Unified Communications                                                              VSAT Systems             Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group
                                                                                                                                                                                                               AT&T Mobility (5G)
                                                                                                  Brazos WiFi
                                           Altice                                                                                                                                     Hughes Network Systems   Evolve Broadband (5G)
            Navasota city (50472)                                                                 GrimesCountyNET
77868                                      CenturyLink                                                                                        AT&T                                    ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)                                                             JAB Wireless
                                           Comcast                                                                                                                                    VSAT Systems             T-Mobile (LTE)
                                                                                                  Texas Broadband
                                                                                                                                                                                                               T-Mobile (5G)
                                                                                                  Unified Communications
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                  AirLink                                                                                                      AT&T Mobility (LTE)
                                                                                                  AT&T                                                                                                         AT&T Mobility (5G)
                                                                                                                                                                                      Hughes Network Systems
            Normangee town (51840)                                                                Brazos WiFi                                                                                                  Sprint (LTE)
77871                                      Windstream Holdings                                                                                ---                                     ViaSat
            Unincorporated Area (n|a)                                                             Razer Wireless                                                                                               T-Mobile (LTE)
                                                                                                                                                                                      VSAT Systems
                                                                                                  Texas Broadband                                                                                              T-Mobile (5G)
                                                                                                  Unified Communications                                                                                       Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                  JAB Wireless                                                                        Hughes Network Systems   Evolve Broadband (5G)
            Snook city (68576)             Cable One
77878                                                                                             Texas Broadband                             ---                                     ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)      Frontier Communications
                                                                                                  Unified Communications                                                              VSAT Systems             T-Mobile (LTE)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                  AMG Technology Investment Group
            Snook city (68576)                                                                                                                                                        Hughes Network Systems   Evolve Broadband (5G)
                                                                                                  Brazos WiFi
77879       Somerville city (68720)        Frontier Communications                                                                            Unified Communications                  ViaSat                   Sprint (LTE)
                                                                                                  JAB Wireless
            Unincorporated Area (n|a)                                                                                                                                                 VSAT Systems             T-Mobile (LTE)
                                                                                                  Texas Broadband
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                  JAB Wireless                                                                        Hughes Network Systems   Sprint (LTE)
                                           Altice
77901       Victoria city (75428)                                                                 TISD                                        AT&T                                    ViaSat                   T-Mobile (LTE)
                                           Cable One
                                                                                                  Victoria Electric Cooperative                                                       VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           Altice                                                 Gtek Communications                                                                 Hughes Network Systems   Sprint (LTE)
            Victoria city (75428)                                                                                                             AT&T
77904                                      Comcast                                                JAB Wireless                                                                        ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                         Dell Telephone Cooperative
                                           En-Touch Systems                                       TISD                                                                                VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Austwell city (05036)
77950                                      ---                                                    TISD                                        ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                  JAB Wireless                                                                        Hughes Network Systems   Sprint (LTE)
            Cuero city (18092)             Charter Communications
77954                                                                                             TISD                                        AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Guadalupe Valley Telephone Cooperative
                                                                                                  Valley Telephone Cooperative (TX)                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)




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                                                                                                                                                                                                                           Exhibit SET-C
                                                                                       Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                         FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                 Wireline (DSL, Fiber, Cable)                            Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             Evolve Broadband (5G)
                                           Cable One                                             Hallettsville Communications                                                       Hughes Network Systems
            Edna city (22720)                                                                                                               AT&T                                                             Sprint (LTE)
77957                                      Comcast                                               Jackson Electric Cooperative                                                       ViaSat
            Unincorporated Area (n|a)                                                                                                       Victoria Electric Cooperative                                    T-Mobile (LTE)
                                           Ganado Telephone Company                              TISD                                                                               VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             Evolve Broadband (5G)
                                           Cable One                                                                                                                                Hughes Network Systems
            Ganado city (28080)                                                                                                                                                                              Sprint (LTE)
77962                                      Ganado Telephone Company                              AT&T                                       Jackson Electric Cooperative            ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                        T-Mobile (LTE)
                                           La Ward Telephone Exchange                                                                                                               VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                 Gtek Communications
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Goliad city (30080)                                                                  JAB Wireless
77963                                      CoomZoom Communications                                                                          AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                            TISD
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                 Valley Telephone Cooperative (TX)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                 Gtek Communications                                                                                         Evolve Broadband (LTE)
                                           Cable One
                                                                                                 Hallettsville Communications                                                       Hughes Network Systems   Evolve Broadband (5G)
            Hallettsville city (31868)     Colorado Valley Telephone Cooperative
77964                                                                                            South Central Tower Company                AT&T                                    ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)      Comcast
                                                                                                 TISD                                                                               VSAT Systems             T-Mobile (LTE)
                                           Ganado Telephone Company
                                                                                                 Valley Telephone Cooperative (TX)                                                                           T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             Evolve Broadband (5G)
                                                                                                                                                                                    Hughes Network Systems
            La Ward city (41848)           Cable One                                                                                                                                                         Sprint (LTE)
77970                                                                                            Jackson Electric Cooperative               ---                                     ViaSat
            Unincorporated Area (n|a)      La Ward Telephone Exchange                                                                                                                                        T-Mobile (LTE)
                                                                                                                                                                                    VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             Evolve Broadband (LTE)
                                                                                                 Hallettsville Communications                                                       Hughes Network Systems
            Moulton town (49560)                                                                                                            AT&T                                                             Sprint (LTE)
77975                                      ---                                                   JAB Wireless                                                                       ViaSat
            Unincorporated Area (n|a)                                                                                                       Colorado Valley Telephone Cooperative                            T-Mobile (LTE)
                                                                                                 Valley Telephone Cooperative (TX)                                                  VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Point Comfort city (58568)     Cable One
77978                                                                                            TISD                                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      La Ward Telephone Exchange
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           Cable One
                                                                                                                                            Dell Telephone Cooperative                                       Evolve Broadband (5G)
                                           Comcast                                                                                                                                  Hughes Network Systems
            Port Lavaca city (58916)                                                                                                        Jackson Electric Cooperative                                     Sprint (LTE)
77979                                      En-Touch Systems                                      ---                                                                                ViaSat
            Unincorporated Area (n|a)                                                                                                       TISD                                                             T-Mobile (LTE)
                                           Frontier Communications                                                                                                                  VSAT Systems
                                                                                                                                            Victoria Electric Cooperative                                    T-Mobile (5G)
                                           La Ward Telephone Exchange
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Seadrift city (66416)
77983                                      Charter Communications                                ---                                        Victoria Electric Cooperative           ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             Evolve Broadband (LTE)
                                                                                                 Gtek Communications                                                                Hughes Network Systems
            Shiner city (67640)                                                                                                                                                                              Sprint (LTE)
77984                                      Comcast                                               Hallettsville Communications               AT&T                                    ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                        T-Mobile (LTE)
                                                                                                 Valley Telephone Cooperative (TX)                                                  VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             Evolve Broadband (LTE)
                                                                                                 Hallettsville Communications
                                                                                                                                                                                    Hughes Network Systems   Evolve Broadband (5G)
            Yoakum city (80560)                                                                  JAB Wireless
77995                                      Charter Communications                                                                           AT&T                                    ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)                                                            TISD
                                                                                                                                                                                    VSAT Systems             T-Mobile (LTE)
                                                                                                 Valley Telephone Cooperative (TX)
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             AT&T Mobility (5G)
                                           Bandera Electric Cooperative                          BM Service Corp.
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Bandera city (05528)           Comcast                                               Central Texas Telephone Cooperative
78003                                                                                                                                       AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      CoomZoom Communications                               JAB Wireless
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                           Hill Country Telephone Cooperative                    Rio Broadband
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             West Central Wireless (LTE)
                                           AT&T                                                                                                                                                              AT&T Mobility (LTE)
                                           Bandera Electric Cooperative                          Bee Creek Communications                                                                                    AT&T Mobility (5G)
                                           Charter Communications                                BM Service Corp.                                                                   Hughes Network Systems   Sprint (LTE)
            Boerne city (09160)
78006                                      Comcast                                               CellTex Networks                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                           Frontier Communications                               Central Texas Telephone Cooperative                                                VSAT Systems             T-Mobile (5G)
                                           Guadalupe Valley Telephone Cooperative                JAB Wireless                                                                                                Verizon Wireless (LTE)
                                           Hill Country Telephone Cooperative                                                                                                                                West Central Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Castroville city (13312)       Charter Communications
78009                                                                                            BM Service Corp.                           AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      CoomZoom Communications
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Charlotte city (14404)
78011                                      Frontier Communications                               ---                                        Valley Telephone Cooperative (TX)       ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems
            Christine town (14860)                                                               Rio Broadband                                                                                               T-Mobile (LTE)
78012                                      AT&T                                                                                             ---                                     ViaSat
            Unincorporated Area (n|a)                                                            Valley Telephone Cooperative (TX)                                                                           T-Mobile (5G)
                                                                                                                                                                                    VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                            Alenco Communications                   Hughes Network Systems   Sprint (LTE)
            Cotulla city (17216)           Charter Communications                                ADT Systems
78014                                                                                                                                       AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Smartcom Telephone                                    BM Service Corp.
                                                                                                                                            Valley Telephone Cooperative (TX)       VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                           AT&T                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems
            Fair Oaks Ranch city (25168)   Charter Communications                                                                                                                                            Sprint (LTE)
78015                                                                                            CellTex Networks                           ---                                     ViaSat
            Unincorporated Area (n|a)      En-Touch Systems                                                                                                                                                  T-Mobile (LTE)
                                                                                                                                                                                    VSAT Systems
                                           Guadalupe Valley Telephone Cooperative                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                 BM Service Corp.
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Devine city (20152)                                                                  JAB Wireless
78016                                      CoomZoom Communications                                                                          AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                            rNetworks
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                 Valley Telephone Cooperative (TX)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           AT&T                                                  ADT Systems                                                                        Hughes Network Systems   Sprint (LTE)
            Dilley city (20428)
78017                                      Charter Communications                                BM Service Corp.                           Valley Telephone Cooperative (TX)       ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                           Comcast                                               rNetworks                                                                          VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)




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                                                                                                                                                                                                                            Exhibit SET-C
                                                                                      Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                         FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                Wireline (DSL, Fiber, Cable)                             Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                            Alenco Communications                   Hughes Network Systems   Sprint (LTE)
            Encinal city (24240)
78019                                     ---                                                   ADT Systems                                 AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                                                            Valley Telephone Cooperative (TX)       VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            George West city (29348)                                                                                                        AT&T
78022                                     Charter Communications                                Gtek Communications                                                                 ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                       Valley Telephone Cooperative (TX)
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
            Grey Forest city (31100)
                                                                                                BM Service Corp.                                                                    Hughes Network Systems   Sprint (LTE)
            Helotes city (33146)          Charter Communications
78023                                                                                           CellTex Networks                            AT&T                                    ViaSat                   T-Mobile (LTE)
            San Antonio city (65000)      Radiate Holdings, LP
                                                                                                JAB Wireless                                                                        VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             AT&T Mobility (5G)
                                          Altice                                                Bee Creek Communications                                                            Hughes Network Systems   Sprint (LTE)
            Ingram city (36032)
78025                                     Hill Country Telephone Cooperative                    BM Service Corp.                            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          Windstream Holdings                                   Central Texas Telephone Cooperative                                                 VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             West Central Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                CellTex Networks                                                                    Hughes Network Systems   Sprint (LTE)
            Jourdanton city (38116)       AT&T
78026                                                                                           JAB Wireless                                Valley Telephone Cooperative (TX)       ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     CoomZoom Communications
                                                                                                Rio Broadband                                                                       VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                          Altice                                                                                                                                                             AT&T Mobility (LTE)
                                          AT&T                                                                                                                                                               AT&T Mobility (5G)
                                          Cable One                                             Bee Creek Communications                                                            Hughes Network Systems   Sprint (LTE)
            Kerrville city (39040)
78028                                     Charter Communications                                BM Service Corp.                            Hill Country Telephone Cooperative      ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          Comcast                                               Central Texas Telephone Cooperative                                                 VSAT Systems             T-Mobile (5G)
                                          Etex Telephone Cooperative                                                                                                                                         Verizon Wireless (LTE)
                                          Windstream Holdings                                                                                                                                                West Central Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                          Charter Communications                                                                                                                    Hughes Network Systems   Sprint (LTE)
            LaCoste city (40108)
78039                                     CoomZoom Communications                               BM Service Corp.                            AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          Windstream Holdings                                                                                                                       VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                          Charter Communications                                                                                                                    Hughes Network Systems   Sprint (LTE)
78040       Laredo city (41464)           Radiate Holdings, LP                                  B&B Communications, Ltd.                    AT&T                                    ViaSat                   T-Mobile (LTE)
                                          Smartcom Telephone                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                          Alphabet
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                          Charter Communications
78041       Laredo city (41464)                                                                 B&B Communications, Ltd.                    AT&T                                    ViaSat                   T-Mobile (LTE)
                                          Comcast
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                          Smartcom Telephone
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                          Alenco Communications
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                          AT&T
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Laredo city (41464)           Charter Communications
78043                                                                                           B&B Communications, Ltd.                    ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Comcast
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                          Smartcom Telephone
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                          Valley Telephone Cooperative (TX)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                          Charter Communications
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Laredo city (41464)           Comcast                                                                                           Alenco Communications
78045                                                                                           B&B Communications, Ltd.                                                            ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     En-Touch Systems                                                                                  AT&T
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                          Smartcom Telephone
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                          AT&T                                                                                                                                                               AT&T Mobility (LTE)
            El Cenizo city (22905)
                                          Charter Communications                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Laredo city (41464)
78046                                     Hilliary Communications                               B&B Communications, Ltd.                    ---                                     ViaSat                   T-Mobile (LTE)
            Rio Bravo city (62138)
                                          Smartcom Telephone                                                                                                                        VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)
                                          Valley Telephone Cooperative (TX)                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                          AT&T                                                  BM Service Corp.                                                                    Hughes Network Systems   Sprint (LTE)
            Lytle city (45288)
78052                                     Charter Communications                                JAB Wireless                                ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          CoomZoom Communications                               Valley Telephone Cooperative (TX)                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)      Bandera Electric Cooperative                          BM Service Corp.
78056                                                                                                                                       AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Charter Communications                                JAB Wireless
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                BM Service Corp.                                                                    Hughes Network Systems   Sprint (LTE)
            Natalia city (50400)
78059                                     CoomZoom Communications                               JAB Wireless                                AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                Valley Telephone Cooperative (TX)                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                ADT Systems
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Pearsall city (56384)         Charter Communications                                BM Service Corp.                            AT&T
78061                                                                                                                                                                               ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Comcast                                               rNetworks                                   Valley Telephone Cooperative (TX)
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                TPT Global Technologies
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                Alamo Broadband
                                          Comcast                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Pleasanton city (58280)                                                             CellTex Networks                            AT&T
78064                                     CoomZoom Communications                                                                                                                   ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                           JAB Wireless                                Valley Telephone Cooperative (TX)
                                          Frontier Communications                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                Rio Broadband
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                ADT Systems
                                                                                                Alamo Broadband                                                                                              AT&T Mobility (LTE)
                                          AT&T                                                  BM Service Corp.                                                                    Hughes Network Systems   Sprint (LTE)
            Poteet city (59084)
78065                                     Charter Communications                                CellTex Networks                            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          CoomZoom Communications                               JAB Wireless                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                Rio Broadband                                                                                                Verizon Wireless (LTE)
                                                                                                Valley Telephone Cooperative (TX)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                          AT&T                                                  Alamo Broadband                                                                     Hughes Network Systems   Sprint (LTE)
            Somerset city (68708)
78069                                     Charter Communications                                BM Service Corp.                            Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          Frontier Communications                               Valley Telephone Cooperative (TX)                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             AT&T Mobility (5G)
                                          Charter Communications                                                                                                                    Hughes Network Systems
            Bulverde city (11224)                                                                                                                                                                            Sprint (LTE)
78070                                     Comcast                                               Valley Telephone Cooperative (TX)           ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                        T-Mobile (LTE)
                                          Guadalupe Valley Telephone Cooperative                                                                                                    VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Three Rivers city (72872)                                                                                                       AT&T
78071                                     CoomZoom Communications                               Gtek Communications                                                                 ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                       Valley Telephone Cooperative (TX)
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)



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                                                                                                                                                                                                                            Exhibit SET-C
                                                                                       Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                         FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                 Wireline (DSL, Fiber, Cable)                            Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                 Alamo Broadband
            San Antonio city (65000)      AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                                                                                 BM Service Corp.
78073       Von Ormy city (75764)         Charter Communications                                                                            ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                 CellTex Networks
            Unincorporated Area (n|a)     Frontier Communications                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                 Valley Telephone Cooperative (TX)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                 Alamo Broadband                                                                                             AT&T Mobility (LTE)
                                                                                                 CellTex Networks                                                                   Hughes Network Systems   Sprint (LTE)
            St. Hedwig town (64172)       AT&T
78101                                                                                            JAB Wireless                               ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Frontier Communications
                                                                                                 LVWifi.com                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                 Valley Telephone Cooperative (TX)                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                          Charter Communications                                 Gtek Communications                                                                Hughes Network Systems   Sprint (LTE)
            Beeville city (07192)
78102                                     Grayson Collin Electric Cooperative                    Valley Telephone Cooperative (TX)          AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          Smartcom Telephone                                     WavSpeed                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
            Cibolo city (14920)                                                                  CellTex Networks                                                                   Hughes Network Systems   Sprint (LTE)
                                          AT&T
78108       Schertz city (66128)                                                                 JAB Wireless                               ---                                     ViaSat                   T-Mobile (LTE)
                                          Charter Communications
            Unincorporated Area (n|a)                                                            Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
            Converse city (16468)         AT&T                                                   CellTex Networks                                                                   Hughes Network Systems   Sprint (LTE)
78109       San Antonio city (65000)      Charter Communications                                 JAB Wireless                               ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Comcast                                                Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
            Elmendorf city (23272)                                                               CellTex Networks
                                          AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)                                                             JAB Wireless
78112                                     Charter Communications                                                                            Alamo Broadband                         ViaSat                   T-Mobile (LTE)
            Sandy Oaks city (65344)                                                              Rio Broadband
                                          Frontier Communications                                                                                                                   VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)                                                            Valley Telephone Cooperative (TX)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                 CellTex Networks
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Falls City city (25392)                                                              JAB Wireless                               AT&T
78113                                     Comcast                                                                                                                                   ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                            Rio Broadband                              Frontier Communications
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                 Valley Telephone Cooperative (TX)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                 Alamo Broadband
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                 CellTex Networks
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Floresville city (26160)      AT&T                                                   JAB Wireless
78114                                                                                                                                       Frontier Communications                 ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Charter Communications                                 LVWifi.com
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                 Rio Broadband
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                 Valley Telephone Cooperative (TX)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                 ADT Systems                                                                        Hughes Network Systems   Sprint (LTE)
            Karnes City city (38452)
78118                                     Frontier Communications                                CellTex Networks                           AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                 Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                 Gtek Communications                                                                Hughes Network Systems   Sprint (LTE)
            Kenedy city (38860)
78119                                     ---                                                    Valley Telephone Cooperative (TX)          AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                 WavSpeed                                                                           VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                 CellTex Networks
            La Vernia city (41764)        AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                                                                                 JAB Wireless
78121       New Berlin city (50796)       CoomZoom Communications                                                                           ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                 LVWifi.com
            Unincorporated Area (n|a)     Frontier Communications                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                 Valley Telephone Cooperative (TX)
                                                                                                                                                                                                             Verizon Wireless (LTE)
            Cibolo city (14920)                                                                                                                                                                              AT&T Mobility (LTE)
            Marion city (46692)                                                                  CellTex Networks                                                                   Hughes Network Systems   Sprint (LTE)
78124       New Berlin city (50796)       Charter Communications                                 JAB Wireless                               AT&T                                    ViaSat                   T-Mobile (LTE)
            Santa Clara city (65690)                                                             Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)                                                                                                                                                                        Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                          CenturyLink                                            CellTex Networks                                                                   Hughes Network Systems   Sprint (LTE)
            New Braunfels city (50820)                                                                                                      AT&T
78130                                     Charter Communications                                 Unified Communications                                                             ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                       Dell Telephone Cooperative
                                          Comcast                                                Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                          AT&T
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                          CenturyLink
            New Braunfels city (50820)                                                                                                                                              Hughes Network Systems   Sprint (LTE)
                                          Charter Communications                                 CellTex Networks
78132       Schertz city (66128)                                                                                                            ---                                     ViaSat                   T-Mobile (LTE)
                                          Comcast                                                Valley Telephone Cooperative (TX)
            Unincorporated Area (n|a)                                                                                                                                               VSAT Systems             T-Mobile (5G)
                                          Guadalupe Valley Telephone Cooperative
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                          Radiate Holdings, LP
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                 AT&T                                                                               Hughes Network Systems
            Nixon city (51588)                                                                                                                                                                               Sprint (LTE)
78140                                     Guadalupe Valley Telephone Cooperative                 CellTex Networks                           Frontier Communications                 ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                        T-Mobile (LTE)
                                                                                                 Valley Telephone Cooperative (TX)                                                  VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Nordheim city (51792)                                                                AT&T
78141                                     ---                                                                                               ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                            Valley Telephone Cooperative (TX)
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                          Charter Communications                                 CellTex Networks
78147       Poth town (59096)                                                                                                               ---                                     ViaSat                   T-Mobile (LTE)
                                          Frontier Communications                                Valley Telephone Cooperative (TX)
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
            Live Oak city (43096)         AT&T                                                   CellTex Networks                                                                   Hughes Network Systems   Sprint (LTE)
78148       Universal City city (74408)   Charter Communications                                 JAB Wireless                               ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Radiate Holdings, LP                                   Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Runge town (63788)
78151                                     ---                                                    Valley Telephone Cooperative (TX)          AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                 Alamo Broadband                                                                                             AT&T Mobility (LTE)
                                                                                                 CellTex Networks                                                                   Hughes Network Systems   Sprint (LTE)
            St. Hedwig town (64172)       AT&T
78152                                                                                            JAB Wireless                               ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Charter Communications
                                                                                                 LVWifi.com                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                 Valley Telephone Cooperative (TX)                                                                           Verizon Wireless (LTE)
                                          Alphabet                                                                                                                                                           AT&T Mobility (LTE)
                                          AT&T                                                   CellTex Networks                                                                   Hughes Network Systems   Sprint (LTE)
            Schertz city (66128)
78154                                     Charter Communications                                 JAB Wireless                               ---                                     ViaSat                   T-Mobile (LTE)
            Selma city (66704)
                                          Comcast                                                Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Seguin city (66644)           Charter Communications                                 CellTex Networks
78155                                                                                                                                       AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Guadalupe Valley Telephone Cooperative                 Valley Telephone Cooperative (TX)
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)




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                                                                                                                                                                                                                              Exhibit SET-C
                                                                                         Listing of Texas Municipalities and Internet Service Providers by Zip Code

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      [1]
Code                      Municipalities                  Wireline (DSL, Fiber, Cable)                            Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                                               Evolve Broadband (LTE)
                                                                                                   AT&T                                                                               Hughes Network Systems
            Smiley city (68300)             Frontier Communications                                                                                                                                            Sprint (LTE)
78159                                                                                              CellTex Networks                           ---                                     ViaSat
            Unincorporated Area (n|a)       Guadalupe Valley Telephone Cooperative                                                                                                                             T-Mobile (LTE)
                                                                                                   Valley Telephone Cooperative (TX)                                                  VSAT Systems
                                                                                                                                                                                                               T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                   CellTex Networks                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                      Hughes Network Systems
            Stockdale city (70376)                                                                 JAB Wireless                                                                                                Sprint (LTE)
78160                                       CenturyLink                                                                                       Frontier Communications                 ViaSat
            Unincorporated Area (n|a)                                                              LVWifi.com                                                                                                  T-Mobile (LTE)
                                                                                                                                                                                      VSAT Systems
                                                                                                   Valley Telephone Cooperative (TX)                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
            Bulverde city (11224)                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                            Charter Communications
78163       Fair Oaks Ranch city (25168)                                                           Valley Telephone Cooperative (TX)          ---                                     ViaSat                   T-Mobile (LTE)
                                            Guadalupe Valley Telephone Cooperative
            Unincorporated Area (n|a)                                                                                                                                                 VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Yorktown city (80584)                                                                  JAB Wireless
78164                                       ---                                                                                               AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                              Valley Telephone Cooperative (TX)
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                            Alphabet                                                                                                                                                           AT&T Mobility (LTE)
                                            AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Balcones Heights city (05384)
78201                                       Charter Communications                                 CellTex Networks                           ---                                     ViaSat                   T-Mobile (LTE)
            San Antonio city (65000)
                                            En-Touch Systems                                                                                                                          VSAT Systems             T-Mobile (5G)
                                            Radiate Holdings, LP                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                                               Sprint (LTE)
                                            AT&T                                                                                                                                      Hughes Network Systems
                                                                                                   CellTex Networks                                                                                            T-Mobile (LTE)
78202       San Antonio city (65000)        Charter Communications                                                                            ---                                     ViaSat
                                                                                                   Valley Telephone Cooperative (TX)                                                                           T-Mobile (5G)
                                            Radiate Holdings, LP                                                                                                                      VSAT Systems
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               Verizon Wireless (5G)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                                               Sprint (LTE)
                                            AT&T                                                                                                                                      Hughes Network Systems
                                                                                                   CellTex Networks                                                                                            T-Mobile (LTE)
78203       San Antonio city (65000)        Charter Communications                                                                            ---                                     ViaSat
                                                                                                   Valley Telephone Cooperative (TX)                                                                           T-Mobile (5G)
                                            Radiate Holdings, LP                                                                                                                      VSAT Systems
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               Verizon Wireless (5G)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                            Charter Communications                                 BM Service Corp.
78204       San Antonio city (65000)                                                                                                          AT&T                                    ViaSat                   T-Mobile (LTE)
                                            Radiate Holdings, LP                                   Valley Telephone Cooperative (TX)
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                            AT&T                                                                                                                                                               Sprint (LTE)
                                                                                                                                                                                      Hughes Network Systems
                                            Charter Communications                                 Alamo Broadband                                                                                             T-Mobile (LTE)
78205       San Antonio city (65000)                                                                                                          Dell Telephone Cooperative              ViaSat
                                            JumpFiber                                              Valley Telephone Cooperative (TX)                                                                           T-Mobile (5G)
                                                                                                                                                                                      VSAT Systems
                                            Radiate Holdings, LP                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               Verizon Wireless (5G)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                            Alphabet
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                            AT&T
78207       San Antonio city (65000)                                                               BM Service Corp.                           ---                                     ViaSat                   T-Mobile (LTE)
                                            Charter Communications
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                            Radiate Holdings, LP
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                                               Sprint (LTE)
                                            AT&T                                                                                                                                      Hughes Network Systems
                                                                                                   CellTex Networks                                                                                            T-Mobile (LTE)
78208       San Antonio city (65000)        Charter Communications                                                                            ---                                     ViaSat
                                                                                                   Valley Telephone Cooperative (TX)                                                                           T-Mobile (5G)
                                            Radiate Holdings, LP                                                                                                                      VSAT Systems
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               Verizon Wireless (5G)
                                            Alphabet
                                            AT&T                                                                                                                                                               AT&T Mobility (LTE)
            Alamo Heights city (01600)      Cable One                                                                                                                                 Hughes Network Systems   Sprint (LTE)
                                                                                                   CellTex Networks
78209       San Antonio city (65000)        Charter Communications                                                                            ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                   VGI Technology
            Terrell Hills city (72296)      Comcast                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                            JumpFiber                                                                                                                                                          Verizon Wireless (LTE)
                                            Radiate Holdings, LP
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                                               Sprint (LTE)
                                            AT&T                                                                                                                                      Hughes Network Systems
                                                                                                   CellTex Networks                                                                                            T-Mobile (LTE)
78210       San Antonio city (65000)        Charter Communications                                                                            ---                                     ViaSat
                                                                                                   Valley Telephone Cooperative (TX)                                                                           T-Mobile (5G)
                                            Radiate Holdings, LP                                                                                                                      VSAT Systems
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               Verizon Wireless (5G)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                            AT&T
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                            Charter Communications                                 BM Service Corp.
78211       San Antonio city (65000)                                                                                                          ---                                     ViaSat                   T-Mobile (LTE)
                                            Comcast                                                Valley Telephone Cooperative (TX)
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                            Radiate Holdings, LP
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                                               Sprint (LTE)
                                            AT&T                                                                                                                                      Hughes Network Systems
            Olmos Park city (53988)                                                                CellTex Networks                                                                                            T-Mobile (LTE)
78212                                       Charter Communications                                                                            ---                                     ViaSat
            San Antonio city (65000)                                                               TISD                                                                                                        T-Mobile (5G)
                                            Radiate Holdings, LP                                                                                                                      VSAT Systems
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               Verizon Wireless (5G)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                            AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Castle Hills city (13276)                                                              BM Service Corp.
78213                                       Charter Communications                                                                            ---                                     ViaSat                   T-Mobile (LTE)
            San Antonio city (65000)                                                               CellTex Networks
                                            Radiate Holdings, LP                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                   Alamo Broadband                                                                    Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)        AT&T
78214                                                                                              CellTex Networks                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Charter Communications
                                                                                                   Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                            AT&T                                                                                                                                                               Sprint (LTE)
                                                                                                                                                                                      Hughes Network Systems
                                            Charter Communications                                                                                                                                             T-Mobile (LTE)
78215       San Antonio city (65000)                                                               CellTex Networks                           ---                                     ViaSat
                                            JumpFiber                                                                                                                                                          T-Mobile (5G)
                                                                                                                                                                                      VSAT Systems
                                            Radiate Holdings, LP                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               Verizon Wireless (5G)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                            AT&T                                                   Alamo Broadband
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Castle Hills city (13276)       Charter Communications                                 BM Service Corp.
78216                                                                                                                                         ---                                     ViaSat                   T-Mobile (LTE)
            San Antonio city (65000)        En-Touch Systems                                       CellTex Networks
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                            Radiate Holdings, LP                                   Valley Telephone Cooperative (TX)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                            Alphabet                                                                                                                                                           AT&T Mobility (LTE)
                                            AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                                                                                   CellTex Networks
78217       San Antonio city (65000)        Charter Communications                                                                            ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                   Valley Telephone Cooperative (TX)
                                            Comcast                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                            Radiate Holdings, LP                                                                                                                                               Verizon Wireless (LTE)




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                                                                                                                                                                                                                                Exhibit SET-C
                                                                                           Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                             FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                    Wireline (DSL, Fiber, Cable)                            Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                Alphabet
                                                                                                     CellTex Networks                                                                   Hughes Network Systems   Sprint (LTE)
                                                AT&T
78218       San Antonio city (65000)                                                                 Legacy ISP                                 ---                                     ViaSat                   T-Mobile (LTE)
                                                Charter Communications
                                                                                                     Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
                                                Radiate Holdings, LP
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
            Kirby city (39448)                  AT&T                                                 Alamo Broadband                                                                    Hughes Network Systems   Sprint (LTE)
78219       San Antonio city (65000)            Charter Communications                               CellTex Networks                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)           Radiate Holdings, LP                                 Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                AT&T
                                                                                                     Alamo Broadband                                                                    Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)            Charter Communications
78220                                                                                                CellTex Networks                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)           Comcast
                                                                                                     Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
                                                Radiate Holdings, LP
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                     Alamo Broadband
                                                AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)                                                                 CellTex Networks
78221                                           Charter Communications                                                                          Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                Rio Broadband
                                                Radiate Holdings, LP                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                     Valley Telephone Cooperative (TX)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                AT&T
                                                                                                     Alamo Broadband                                                                    Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)            Charter Communications
78222                                                                                                CellTex Networks                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)           Comcast
                                                                                                     Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
                                                Radiate Holdings, LP
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                     Alamo Broadband                                                                                             AT&T Mobility (LTE)
                                                Alphabet
                                                                                                     CellTex Networks                                                                   Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)            AT&T
78223                                                                                                JAB Wireless                               ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)           Charter Communications
                                                                                                     Rio Broadband                                                                      VSAT Systems             T-Mobile (5G)
                                                Radiate Holdings, LP
                                                                                                     Valley Telephone Cooperative (TX)                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                AT&T                                                 BM Service Corp.                                                                   Hughes Network Systems   Sprint (LTE)
78224       San Antonio city (65000)            Charter Communications                               CellTex Networks                           ---                                     ViaSat                   T-Mobile (LTE)
                                                Comcast                                              Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
                                                AT&T
78225       San Antonio city (65000)                                                                 BM Service Corp.                           ---                                     ViaSat                   T-Mobile (LTE)
                                                Charter Communications
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
                                                AT&T
78226       San Antonio city (65000)                                                                 BM Service Corp.                           ---                                     ViaSat                   T-Mobile (LTE)
                                                Charter Communications
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                AT&T
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)            Charter Communications
78227                                                                                                BM Service Corp.                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)           En-Touch Systems
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                Radiate Holdings, LP
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                Alphabet
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
                                                AT&T                                                 BM Service Corp.
78228       San Antonio city (65000)                                                                                                            ---                                     ViaSat                   T-Mobile (LTE)
                                                Charter Communications                               CellTex Networks
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                Radiate Holdings, LP
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                Alphabet
                                                                                                                                                                                                                 Sprint (LTE)
                                                AT&T                                                                                                                                    Hughes Network Systems
                                                                                                     BM Service Corp.                                                                                            T-Mobile (LTE)
78229       San Antonio city (65000)            Charter Communications                                                                          ---                                     ViaSat
                                                                                                     CellTex Networks                                                                                            T-Mobile (5G)
                                                Radiate Holdings, LP                                                                                                                    VSAT Systems
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                Windstream Holdings
                                                                                                                                                                                                                 Verizon Wireless (5G)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                Alphabet
                                                                                                                                                                                                                 Sprint (LTE)
                                                AT&T                                                 BM Service Corp.                                                                   Hughes Network Systems
            San Antonio city (65000)                                                                                                                                                                             T-Mobile (LTE)
78230                                           Charter Communications                               CellTex Networks                           ---                                     ViaSat
            Shavano Park city (67268)                                                                                                                                                                            T-Mobile (5G)
                                                Comcast                                              TPT Global Technologies                                                            VSAT Systems
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                Radiate Holdings, LP
                                                                                                                                                                                                                 Verizon Wireless (5G)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)                                                                 BM Service Corp.
78231                                           Charter Communications                                                                          ---                                     ViaSat                   T-Mobile (LTE)
            Shavano Park city (67268)                                                                CellTex Networks
                                                Radiate Holdings, LP                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                AT&T
            Hill Country Village city (33968)                                                        BM Service Corp.                                                                   Hughes Network Systems   Sprint (LTE)
                                                Charter Communications
78232       Hollywood Park town (34628)                                                              CellTex Networks                           ---                                     ViaSat                   T-Mobile (LTE)
                                                Comcast
            San Antonio city (65000)                                                                 Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
                                                Radiate Holdings, LP
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                Alphabet
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Live Oak city (43096)               AT&T                                                 CellTex Networks
78233                                                                                                                                           ---                                     ViaSat                   T-Mobile (LTE)
            San Antonio city (65000)            Charter Communications                               Valley Telephone Cooperative (TX)
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                Radiate Holdings, LP
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                                                                                     CellTex Networks
78234       San Antonio city (65000)            Charter Communications                                                                          ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                     Valley Telephone Cooperative (TX)
                                                Radiate Holdings, LP                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
                                                AT&T                                                 CellTex Networks
78235       San Antonio city (65000)                                                                                                            ---                                     ViaSat                   T-Mobile (LTE)
                                                Charter Communications                               Valley Telephone Cooperative (TX)
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)            AT&T
78236                                                                                                BM Service Corp.                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)           Charter Communications
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
78237       San Antonio city (65000)            Charter Communications                               BM Service Corp.                           ---                                     ViaSat                   T-Mobile (LTE)
                                                Radiate Holdings, LP                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                Alphabet                                                                                                                                Hughes Network Systems   Sprint (LTE)
            Leon Valley city (42388)                                                                 BM Service Corp.
78238                                           Charter Communications                                                                          AT&T                                    ViaSat                   T-Mobile (LTE)
            San Antonio city (65000)                                                                 CellTex Networks
                                                Radiate Holdings, LP                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                Alphabet                                                                                                                                                         AT&T Mobility (LTE)
            San Antonio city (65000)            AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                                                                                     CellTex Networks
78239       Windcrest city (79672)              Cable One                                                                                       ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                     Valley Telephone Cooperative (TX)
            Unincorporated Area (n|a)           Charter Communications                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)




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                                                                                                                                                                                                                          Exhibit SET-C
                                                                                     Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                       FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities               Wireline (DSL, Fiber, Cable)                            Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          Alphabet
                                                                                                                                                                                                           Sprint (LTE)
                                          AT&T                                                                                                                                    Hughes Network Systems
            Leon Valley city (42388)                                                           BM Service Corp.                                                                                            T-Mobile (LTE)
78240                                     Charter Communications                                                                          ---                                     ViaSat
            San Antonio city (65000)                                                           CellTex Networks                                                                                            T-Mobile (5G)
                                          Comcast                                                                                                                                 VSAT Systems
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                          Radiate Holdings, LP
                                                                                                                                                                                                           Verizon Wireless (5G)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                          AT&T
78242       San Antonio city (65000)                                                           BM Service Corp.                           ---                                     ViaSat                   T-Mobile (LTE)
                                          Charter Communications
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)      AT&T
78243                                                                                          BM Service Corp.                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Charter Communications
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                          Alphabet                                                                                                                                                         AT&T Mobility (LTE)
                                          AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)                                                           CellTex Networks
78244                                     Charter Communications                                                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                          Valley Telephone Cooperative (TX)
                                          Comcast                                                                                                                                 VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
                                          AT&T                                                                                                                                                             AT&T Mobility (LTE)
                                          Charter Communications                                                                                                                  Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)
78245                                     Comcast                                              BM Service Corp.                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          CoomZoom Communications                                                                                                                 VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          AT&T
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                          Charter Communications                               CellTex Networks
78247       San Antonio city (65000)                                                                                                      ---                                     ViaSat                   T-Mobile (LTE)
                                          Comcast                                              Valley Telephone Cooperative (TX)
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                          AT&T                                                 BM Service Corp.
78248       San Antonio city (65000)                                                                                                      ---                                     ViaSat                   T-Mobile (LTE)
                                          Charter Communications                               CellTex Networks
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                          Alphabet                                                                                                                                                         AT&T Mobility (LTE)
                                          AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)                                                           BM Service Corp.
78249                                     Charter Communications                                                                          ---                                     ViaSat                   T-Mobile (LTE)
            Shavano Park city (67268)                                                          CellTex Networks
                                          Comcast                                                                                                                                 VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          Alphabet                                                                                                                                Hughes Network Systems   Sprint (LTE)
                                                                                               BM Service Corp.
78250       San Antonio city (65000)      AT&T                                                                                            ---                                     ViaSat                   T-Mobile (LTE)
                                                                                               CellTex Networks
                                          Charter Communications                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                          Alphabet                                                                                                                                                         AT&T Mobility (LTE)
                                          AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)                                                           BM Service Corp.
78251                                     Charter Communications                                                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                          CellTex Networks
                                          En-Touch Systems                                                                                                                        VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)      Charter Communications
78252                                                                                          BM Service Corp.                           AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     CoomZoom Communications
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          Charter Communications                                                                                                                  Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)                                                           BM Service Corp.
78253                                     Comcast                                                                                         AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                          Legacy ISP
                                          Radiate Holdings, LP                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          Alphabet                                             Alamo Broadband                                                                    Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)
78254                                     Charter Communications                               BM Service Corp.                           AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          Radiate Holdings, LP                                 CellTex Networks                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                          AT&T                                                                                                                                                             AT&T Mobility (LTE)
                                          Charter Communications                                                                                                                  Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)                                                           Alamo Broadband
78255                                     Comcast                                                                                         ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                          CellTex Networks
                                          Guadalupe Valley Telephone Cooperative                                                                                                  VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          AT&T
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)      Charter Communications                               BM Service Corp.
78256                                                                                                                                     ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Comcast                                              CellTex Networks
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                          AT&T
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          Charter Communications
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)      Comcast                                              BM Service Corp.
78257                                                                                                                                     ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     En-Touch Systems                                     CellTex Networks
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                          Guadalupe Valley Telephone Cooperative
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                          Radiate Holdings, LP
                                          AT&T                                                                                                                                                             AT&T Mobility (LTE)
                                          Charter Communications                               BM Service Corp.                                                                   Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)
78258                                     Guadalupe Valley Telephone Cooperative               CellTex Networks                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          Lake Livingston Telephone Company                    Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          AT&T
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)      Charter Communications                               CellTex Networks
78259                                                                                                                                     ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     En-Touch Systems                                     Valley Telephone Cooperative (TX)
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                          AT&T                                                                                                                                                             AT&T Mobility (LTE)
                                          Charter Communications                                                                                                                  Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)                                                           CellTex Networks
78260                                     Comcast                                                                                         ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                          Valley Telephone Cooperative (TX)
                                          En-Touch Systems                                                                                                                        VSAT Systems             T-Mobile (5G)
                                          Guadalupe Valley Telephone Cooperative                                                                                                                           Verizon Wireless (LTE)
                                                                                               Alamo Broadband                                                                                             AT&T Mobility (LTE)
            China Grove town (14716)      AT&T                                                 CellTex Networks                                                                   Hughes Network Systems   Sprint (LTE)
78263       San Antonio city (65000)      Charter Communications                               JAB Wireless                               ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Comcast                                              LVWifi.com                                                                         VSAT Systems             T-Mobile (5G)
                                                                                               Valley Telephone Cooperative (TX)                                                                           Verizon Wireless (LTE)
                                                                                               Alamo Broadband                                                                                             AT&T Mobility (LTE)
                                                                                               BM Service Corp.                                                                   Hughes Network Systems   Sprint (LTE)
            San Antonio city (65000)      AT&T
78264                                                                                          CellTex Networks                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Charter Communications
                                                                                               Rio Broadband                                                                      VSAT Systems             T-Mobile (5G)
                                                                                               Valley Telephone Cooperative (TX)                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          AT&T
            Garden Ridge city (28248)                                                                                                                                             Hughes Network Systems   Sprint (LTE)
                                          Charter Communications                               CellTex Networks
78266       San Antonio city (65000)                                                                                                      ---                                     ViaSat                   T-Mobile (LTE)
                                          Guadalupe Valley Telephone Cooperative               Valley Telephone Cooperative (TX)
            Unincorporated Area (n|a)                                                                                                                                             VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP
                                                                                                                                                                                                           Verizon Wireless (LTE)




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                                                                                                                                                                                                                                Exhibit SET-C
                                                                                           Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                             FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                    Wireline (DSL, Fiber, Cable)                            Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Agua Dulce city (01396)             Cable One
78330                                                                                                Gtek Communications                        Valley Telephone Cooperative (TX)       ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)           Charter Communications
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                Charter Communications                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Alice city (01852)                                                                       CellTex Networks                           AT&T
78332                                           Comcast                                                                                                                                 ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                Gtek Communications                        Valley Telephone Cooperative (TX)
                                                Smartcom Telephone                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
78335       Aransas Pass city (03600)           ---                                                  Gtek Communications                        ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Aransas Pass city (03600)                                                                Gtek Communications
78336                                           Cable One                                                                                       Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                Valley Telephone Cooperative (TX)
                                                Charter Communications                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Bayside town (06104)                                                                     Gtek Communications
78340                                           AT&T                                                                                            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                Valley Telephone Cooperative (TX)
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Benavides city (07528)              Alenco Communications                                                                           AT&T
78341                                                                                                Gtek Communications                                                                ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)           Charter Communications                                                                          Valley Telephone Cooperative (TX)
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                     Frontier Communications
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Bishop city (08392)                                                                      Gtek Communications
78343                                           Charter Communications                                                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                Riviera Telephone Company
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                     Valley Telephone Cooperative (TX)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Driscoll city (21436)                                                                    Gtek Communications
78351                                           Charter Communications                                                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                Valley Telephone Cooperative (TX)
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                Charter Communications                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Falfurrias city (25368)
78355                                           Riviera Telephone Company                            Gtek Communications                        Valley Telephone Cooperative (TX)       ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                Smartcom Telephone                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Freer city (27432)                  Alenco Communications                                                                           AT&T
78357                                                                                                ---                                                                                ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)           Charter Communications                                                                          Valley Telephone Cooperative (TX)
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
78358       Fulton town (27888)                 Cable One                                            Gtek Communications                        ---                                     ViaSat                   T-Mobile (LTE)
                                                Charter Communications                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Gregory city (31064)                Cable One                                            Gtek Communications
78359                                                                                                                                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)           Charter Communications                               Valley Telephone Cooperative (TX)
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
            Ingleside city (36008)                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                                Cable One
78362       Ingleside on the Bay city (36020)                                                        Gtek Communications                        ---                                     ViaSat                   T-Mobile (LTE)
                                                Comcast
            Unincorporated Area (n|a)                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                Cable One
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Kingsville city (39352)             Charter Communications                               Gtek Communications                        AT&T
78363                                                                                                                                                                                   ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)           Radiate Holdings, LP                                 Valley Telephone Cooperative (TX)          Riviera Telephone Company
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                Smartcom Telephone
                                                                                                                                                                                                                 Verizon Wireless (LTE)
            Lake City town (40472)                                                                                                                                                                               AT&T Mobility (LTE)
            Lakeside town (40738)               Charter Communications                               Gtek Communications                                                                Hughes Network Systems   Sprint (LTE)
78368       Mathis city (47040)                 Radiate Holdings, LP                                 Signalnet Broadband                        AT&T                                    ViaSat                   T-Mobile (LTE)
            San Patricio city (65612)           Smartcom Telephone                                   Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Odem city (53376)                                                                        Gtek Communications
78370                                           Charter Communications                                                                          AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                Valley Telephone Cooperative (TX)
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Orange Grove city (54168)                                                                AT&T                                       Frontier Communications
78372                                           Charter Communications                                                                                                                  ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                Gtek Communications                        Valley Telephone Cooperative (TX)
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Corpus Christi city (17000)         CenturyLink
78373                                                                                                Gtek Communications                        ---                                     ViaSat                   T-Mobile (LTE)
            Port Aransas city (58808)           Charter Communications
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                     Gtek Communications
            Ingleside city (36008)              Cable One                                                                                                                               Hughes Network Systems   Sprint (LTE)
                                                                                                     Razer Wireless
78374       Portland city (58904)               Charter Communications                                                                          ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                     Riviera Telephone Company
            Unincorporated Area (n|a)           Comcast                                                                                                                                 VSAT Systems             T-Mobile (5G)
                                                                                                     Valley Telephone Cooperative (TX)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Premont city (59384)                Charter Communications
78375                                                                                                Gtek Communications                        Valley Telephone Cooperative (TX)       ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)           Smartcom Telephone
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                        Hughes Network Systems   Sprint (LTE)
            Refugio town (61436)                                                                     Gtek Communications
78377                                           Charter Communications                                                                          AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                TISD
                                                                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                AT&T                                    Hughes Network Systems   Sprint (LTE)
            Robstown city (62600)                                                                    Gtek Communications
78380                                           Charter Communications                                                                          Frontier Communications                 ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                Unified Communications
                                                                                                                                                Valley Telephone Cooperative (TX)       VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                 Verizon Wireless (LTE)




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                                                                                                                                                                                                                            Exhibit SET-C
                                                                                       Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                         FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                Wireline (DSL, Fiber, Cable)                            Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           AT&T
            Fulton town (27888)                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                           Cable One
78382       Rockport city (62804)                                                                Gtek Communications                        ---                                     ViaSat                   T-Mobile (LTE)
                                           Charter Communications
            Unincorporated Area (n|a)                                                                                                                                               VSAT Systems             T-Mobile (5G)
                                           En-Touch Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            San Diego city (65180)                                                               Gtek Communications                        AT&T
78384                                      Charter Communications                                                                                                                   ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                            Riviera Telephone Company                  Valley Telephone Cooperative (TX)
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Sinton city (68036)                                                                  Gtek Communications
78387                                      Charter Communications                                                                           AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                            Valley Telephone Cooperative (TX)
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Taft city (71684)              Cable One                                             Gtek Communications
78390                                                                                                                                       AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Charter Communications                                Valley Telephone Cooperative (TX)
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Woodsboro town (80176)                                                               Gtek Communications
78393                                      Charter Communications                                                                           AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                            Valley Telephone Cooperative (TX)
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                           AT&T                                                                                                                                                              AT&T Mobility (LTE)
                                           Cable One                                                                                                                                Hughes Network Systems   Sprint (LTE)
                                                                                                 Gtek Communications
78401       Corpus Christi city (17000)    Charter Communications                                                                           ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                 Riviera Telephone Company
                                           Radiate Holdings, LP                                                                                                                     VSAT Systems             T-Mobile (5G)
                                           Valley Telephone Cooperative (TX)                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                           AT&T                                                  Gtek Communications
78402       Corpus Christi city (17000)                                                                                                     ---                                     ViaSat                   T-Mobile (LTE)
                                           Charter Communications                                Valley Telephone Cooperative (TX)
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
78404       Corpus Christi city (17000)    Charter Communications                                Gtek Communications                        ---                                     ViaSat                   T-Mobile (LTE)
                                           Radiate Holdings, LP                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                                                                                 Gtek Communications
78405       Corpus Christi city (17000)    Charter Communications                                                                           ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                 Riviera Telephone Company
                                           Radiate Holdings, LP                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Corpus Christi city (17000)    AT&T                                                  Gtek Communications
78406                                                                                                                                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Charter Communications                                Valley Telephone Cooperative (TX)
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Corpus Christi city (17000)    AT&T
78407                                                                                            ---                                        Valley Telephone Cooperative (TX)       ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Charter Communications
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
78408       Corpus Christi city (17000)    Charter Communications                                Gtek Communications                        ---                                     ViaSat                   T-Mobile (LTE)
                                           Valley Telephone Cooperative (TX)                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Corpus Christi city (17000)                                                          Gtek Communications
78409                                      Charter Communications                                                                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                            Valley Telephone Cooperative (TX)
                                           Radiate Holdings, LP                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                           Charter Communications                                Gtek Communications
78410       Corpus Christi city (17000)                                                                                                     Valley Telephone Cooperative (TX)       ViaSat                   T-Mobile (LTE)
                                           Comcast                                               Riviera Telephone Company
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
78411       Corpus Christi city (17000)    Charter Communications                                ---                                        ---                                     ViaSat                   T-Mobile (LTE)
                                           Radiate Holdings, LP                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
78412       Corpus Christi city (17000)    Charter Communications                                Gtek Communications                        ---                                     ViaSat                   T-Mobile (LTE)
                                           Radiate Holdings, LP                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                           1stel                                                                                                                                                             AT&T Mobility (LTE)
                                           AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
78413       Corpus Christi city (17000)    Charter Communications                                Gtek Communications                        ---                                     ViaSat                   T-Mobile (LTE)
                                           Comcast                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                           Charter Communications                                Gtek Communications
78414       Corpus Christi city (17000)                                                                                                     ---                                     ViaSat                   T-Mobile (LTE)
                                           En-Touch Systems                                      TISD
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           AT&T                                                  Frontier Communications                                                            Hughes Network Systems   Sprint (LTE)
            Corpus Christi city (17000)
78415                                      Charter Communications                                Gtek Communications                        ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                           Radiate Holdings, LP                                  Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                           AT&T                                                                                                                                                              AT&T Mobility (LTE)
                                           Charter Communications                                                                                                                   Hughes Network Systems   Sprint (LTE)
78416       Corpus Christi city (17000)    Comcast                                               ---                                        ---                                     ViaSat                   T-Mobile (LTE)
                                           Radiate Holdings, LP                                                                                                                     VSAT Systems             T-Mobile (5G)
                                           Smartcom Telephone                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
78417       Corpus Christi city (17000)    Charter Communications                                Gtek Communications                        ---                                     ViaSat                   T-Mobile (LTE)
                                           Radiate Holdings, LP                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                           CenturyLink
78418       Corpus Christi city (17000)                                                          Gtek Communications                        ---                                     ViaSat                   T-Mobile (LTE)
                                           Charter Communications
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP
                                                                                                                                                                                                             Verizon Wireless (LTE)




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                                                                                                                                                                                                                           Exhibit SET-C
                                                                                      Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                        FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities               Wireline (DSL, Fiber, Cable)                            Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                           AT&T
78419       Corpus Christi city (17000)                                                         ---                                        ---                                     ViaSat                   T-Mobile (LTE)
                                           Charter Communications
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                           AT&T                                                                                                                                                             AT&T Mobility (LTE)
                                           Charter Communications                               Power Broadband                                                                    Hughes Network Systems   Sprint (LTE)
78501       McAllen city (45384)           En-Touch Systems                                     TWIN Communications                        Coba Systems                            ViaSat                   T-Mobile (LTE)
                                           Radiate Holdings, LP                                 Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
                                           Smartcom Telephone                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                Power Broadband
                                           AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                                                                                TWIN Communications
78503       McAllen city (45384)           Charter Communications                                                                          Coba Systems                            ViaSat                   T-Mobile (LTE)
                                                                                                Valley Telephone Cooperative (TX)
                                           Smartcom Telephone                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                Verizon Communications
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T
                                                                                                Power Broadband                                                                    Hughes Network Systems   Sprint (LTE)
            McAllen city (45384)           Charter Communications
78504                                                                                           TWIN Communications                        Coba Systems                            ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Comcast
                                                                                                Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
                                           Smartcom Telephone
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Alamo city (01576)             Cable One                                            TWIN Communications
78516                                                                                                                                      Coba Systems                            ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Charter Communications                               Valley Telephone Cooperative (TX)
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                           Smartcom Telephone
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Brownsville city (10768)       Charter Communications                               TWIN Communications
78520                                                                                                                                      ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Radiate Holdings, LP                                 Valley Telephone Cooperative (TX)
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                           Smartcom Telephone
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           1stel
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Brownsville city (10768)       AT&T                                                 Unified Communications
78521                                                                                                                                      ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Charter Communications                               Valley Telephone Cooperative (TX)
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                           Smartcom Telephone
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                           1stel                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems
            Brownsville city (10768)       AT&T                                                                                                                                                             Sprint (LTE)
78526                                                                                           Valley Telephone Cooperative (TX)          ---                                     ViaSat
            Unincorporated Area (n|a)      Charter Communications                                                                                                                                           T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                           Smartcom Telephone                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems
            Combes town (16204)            AT&T                                                 TWIN Communications                                                                                         Sprint (LTE)
78535                                                                                                                                      ---                                     ViaSat
            Unincorporated Area (n|a)      Charter Communications                               Valley Telephone Cooperative (TX)                                                                           T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T                                                 Smith Internet Solutions                                                           Hughes Network Systems   Sprint (LTE)
            Donna city (20884)
78537                                      Charter Communications                               TWIN Communications                        Coba Systems                            ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                           Smartcom Telephone                                   Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T                                                                                                                                    Hughes Network Systems
            Edcouch city (22528)                                                                                                           Coba Systems                                                     Sprint (LTE)
78538                                      Charter Communications                               TWIN Communications                                                                ViaSat
            Unincorporated Area (n|a)                                                                                                      Valley Telephone Cooperative (TX)                                T-Mobile (LTE)
                                           Smartcom Telephone                                                                                                                      VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                           Charter Communications                               Power Broadband                            Coba Systems
78539       Edinburg city (22660)                                                                                                                                                  ViaSat                   T-Mobile (LTE)
                                           Comcast                                              TWIN Communications                        Valley Telephone Cooperative (TX)
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                           Smartcom Telephone
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
            Edinburg city (22660)          AT&T                                                 Power Broadband                            Coba Systems                            Hughes Network Systems   Sprint (LTE)
78541       McAllen city (45384)           Charter Communications                               TWIN Communications                        Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Smartcom Telephone                                   WIFIRUS                                    Valley Telephone Cooperative (TX)       VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                           Coba Systems                            Hughes Network Systems   Sprint (LTE)
            Edinburg city (22660)          AT&T                                                 Power Broadband
78542                                                                                                                                      Smartcom Telephone                      ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Charter Communications                               TWIN Communications
                                                                                                                                           Valley Telephone Cooperative (TX)       VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T                                                 Smith Internet Solutions                                                           Hughes Network Systems
            Elsa city (24036)                                                                                                                                                                               Sprint (LTE)
78543                                      Charter Communications                               TWIN Communications                        Coba Systems                            ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                       T-Mobile (LTE)
                                           Smartcom Telephone                                   Valley Telephone Cooperative (TX)                                                  VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems
            La Grulla city (40288)                                                                                                                                                                          Sprint (LTE)
78548                                      Charter Communications                               Valley Telephone Cooperative (TX)          ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                       T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                           1stel
                                           802Networks                                                                                                                                                      AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems
            Harlingen city (32372)         AT&T                                                                                                                                                             Sprint (LTE)
78550                                                                                           TWIN Communications                        Valley Telephone Cooperative (TX)       ViaSat
            Unincorporated Area (n|a)      Charter Communications                                                                                                                                           T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                           Comcast                                                                                                                                                          Verizon Wireless (LTE)
                                           Smartcom Telephone
            Combes town (16204)
                                                                                                                                                                                                            AT&T Mobility (LTE)
            Harlingen city (32372)         AT&T                                                                                                                                    Hughes Network Systems
                                                                                                TWIN Communications                                                                                         Sprint (LTE)
78552       Palm Valley city (54798)       Charter Communications                                                                          ---                                     ViaSat
                                                                                                Valley Telephone Cooperative (TX)                                                                           T-Mobile (LTE)
            Primera town (59540)           Smartcom Telephone                                                                                                                      VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T                                                 Smith Internet Solutions                                                           Hughes Network Systems   Sprint (LTE)
78557       Hidalgo city (33560)           Charter Communications                               TWIN Communications                        Coba Systems                            ViaSat                   T-Mobile (LTE)
                                           Smartcom Telephone                                   Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            La Feria city (40204)          Charter Communications
78559                                                                                           TWIN Communications                        Valley Telephone Cooperative (TX)       ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Comcast
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                           Smartcom Telephone
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
            La Joya city (40384)           AT&T                                                                                                                                    Hughes Network Systems
                                                                                                TWIN Communications                                                                                         Sprint (LTE)
78560       Penitas city (56696)           Charter Communications                                                                          Coba Systems                            ViaSat
                                                                                                Valley Telephone Cooperative (TX)                                                                           T-Mobile (LTE)
            Unincorporated Area (n|a)      Smartcom Telephone                                                                                                                      VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T                                                                                                                                    Hughes Network Systems
            La Villa city (41788)                                                               TWIN Communications                                                                                         Sprint (LTE)
78562                                      Charter Communications                                                                          ---                                     ViaSat
            Unincorporated Area (n|a)                                                           Valley Telephone Cooperative (TX)                                                                           T-Mobile (LTE)
                                           Smartcom Telephone                                                                                                                      VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
            Bayview town (06140)                                                                                                                                                                            AT&T Mobility (LTE)
            Brownsville city (10768)       AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                                                                                TWIN Communications
78566       Indian Lake town (35918)       Charter Communications                                                                          ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                Valley Telephone Cooperative (TX)
            Los Fresnos city (44116)       Smartcom Telephone                                                                                                                      VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)                                                                                                                                                                       Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems
            Los Indios town (44128)        AT&T                                                                                                                                                             Sprint (LTE)
78567                                                                                           TWIN Communications                        Valley Telephone Cooperative (TX)       ViaSat
            Unincorporated Area (n|a)      Charter Communications                                                                                                                                           T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)



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                                                                                                                                                                                                                               Exhibit SET-C
                                                                                          Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                            FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                    Wireline (DSL, Fiber, Cable)                            Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                              Charter Communications                                                                                                                   Hughes Network Systems
            Lyford city (45228)                                                                     Riviera Telephone Company                                                                                   Sprint (LTE)
78569                                         Comcast                                                                                          Valley Telephone Cooperative (TX)       ViaSat
            Unincorporated Area (n|a)                                                               TWIN Communications                                                                                         T-Mobile (LTE)
                                              Smartcom Telephone                                                                                                                       VSAT Systems
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                              1stel
                                                                                                    Smith Internet Solutions                                                           Hughes Network Systems   Sprint (LTE)
            Mercedes city (47700)             AT&T
78570                                                                                               TWIN Communications                        Coba Systems                            ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)         Charter Communications
                                                                                                    Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
                                              Smartcom Telephone
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                              AMG Technology Investment Group                                                                                                                                   AT&T Mobility (LTE)
            Mission city (48768)                                                                    Power Broadband
                                              AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Palmview city (54804)                                                                   TWIN Communications
78572                                         Charter Communications                                                                           Coba Systems                            ViaSat                   T-Mobile (LTE)
            Penitas city (56696)                                                                    Valley Telephone Cooperative (TX)
                                              En-Touch Systems                                                                                                                         VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)                                                               WIFIRUS
                                              Smartcom Telephone                                                                                                                                                Verizon Wireless (LTE)
            Alton city (02212)                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                    Power Broadband
            McAllen city (45384)                                                                                                                                                       Hughes Network Systems   Sprint (LTE)
                                              AT&T                                                  TWIN Communications                        Coba Systems
78573       Mission city (48768)                                                                                                                                                       ViaSat                   T-Mobile (LTE)
                                              Charter Communications                                Valley Telephone Cooperative (TX)          Smartcom Telephone
            Palmhurst city (54780)                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                    WIFIRUS
            Unincorporated Area (n|a)                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
            Mission city (48768)              AT&T                                                  Power Broadband                            Coba Systems                            Hughes Network Systems   Sprint (LTE)
78574       Palmview city (54804)             Charter Communications                                TWIN Communications                        Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)         Smartcom Telephone                                    WIFIRUS                                    Valley Telephone Cooperative (TX)       VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
            Brownsville city (10768)          AT&T                                                                                                                                     Hughes Network Systems
                                                                                                    TWIN Communications                                                                                         Sprint (LTE)
78575       Rancho Viejo town (60544)         Charter Communications                                                                           ---                                     ViaSat
                                                                                                    Valley Telephone Cooperative (TX)                                                                           T-Mobile (LTE)
            Unincorporated Area (n|a)         Smartcom Telephone                                                                                                                       VSAT Systems
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
            La Joya city (40384)                                                                                                                                                       Hughes Network Systems   Sprint (LTE)
                                              AT&T                                                  TWIN Communications                        Coba Systems
78576       Penitas city (56696)                                                                                                                                                       ViaSat                   T-Mobile (LTE)
                                              Charter Communications                                Valley Telephone Cooperative (TX)          Smartcom Telephone
            Unincorporated Area (n|a)                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                              AT&T
                                                                                                    Power Broadband                            Coba Systems                            Hughes Network Systems   Sprint (LTE)
                                              Cable One
78577       Pharr city (57200)                                                                      Smith Internet Solutions                   Smartcom Telephone                      ViaSat                   T-Mobile (LTE)
                                              Charter Communications
                                                                                                    TWIN Communications                        Valley Telephone Cooperative (TX)       VSAT Systems             T-Mobile (5G)
                                              Comcast
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                              AT&T
            Laguna Vista town (40336)                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                              Cable One                                             Riviera Telephone Company
78578       Port Isabel city (58892)                                                                                                           ---                                     ViaSat                   T-Mobile (LTE)
                                              Charter Communications                                Valley Telephone Cooperative (TX)
            Unincorporated Area (n|a)                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                              Smartcom Telephone
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                              AT&T                                                  Smith Internet Solutions                                                           Hughes Network Systems
            Progreso city (59636)                                                                                                                                                                               Sprint (LTE)
78579                                         Charter Communications                                TWIN Communications                        Coba Systems                            ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                           T-Mobile (LTE)
                                              Smartcom Telephone                                    Valley Telephone Cooperative (TX)                                                  VSAT Systems
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
            Raymondville city (60836)                                                                                                                                                  Hughes Network Systems
                                              Charter Communications                                                                                                                                            Sprint (LTE)
78580       San Perlita city (65636)                                                                TWIN Communications                        Valley Telephone Cooperative (TX)       ViaSat
                                              Smartcom Telephone                                                                                                                                                T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                                                                  VSAT Systems
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
            La Grulla city (40288)            AT&T                                                  Smith Internet Solutions                                                           Hughes Network Systems   Sprint (LTE)
                                                                                                                                               Coba Systems
78582       Rio Grande City city (62168)      Charter Communications                                Texas CellNet                                                                      ViaSat                   T-Mobile (LTE)
                                                                                                                                               Valley Telephone Cooperative (TX)
            Unincorporated Area (n|a)         Smartcom Telephone                                    TWIN Communications                                                                VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                              AT&T                                                                                                                                     Hughes Network Systems
            Rio Hondo city (62180)                                                                  TWIN Communications                                                                                         Sprint (LTE)
78583                                         Charter Communications                                                                           ---                                     ViaSat
            Unincorporated Area (n|a)                                                               Valley Telephone Cooperative (TX)                                                                           T-Mobile (LTE)
                                              Smartcom Telephone                                                                                                                       VSAT Systems
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                              AT&T                                                                                                                                                              AT&T Mobility (LTE)
            Escobares city (24552)                                                                                                                                                     Hughes Network Systems
                                              Charter Communications                                                                                                                                            Sprint (LTE)
78584       Roma city (63020)                                                                       ---                                        ---                                     ViaSat
                                              Smartcom Telephone                                                                                                                                                T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                                                                  VSAT Systems
                                              Valley Telephone Cooperative (TX)                                                                                                                                 Verizon Wireless (LTE)
                                                                                                    Gtek Communications                                                                                         AT&T Mobility (LTE)
            Brownsville city (10768)          AT&T                                                                                                                                     Hughes Network Systems
                                                                                                    Riviera Telephone Company                                                                                   Sprint (LTE)
78586       San Benito city (65036)           Charter Communications                                                                           ---                                     ViaSat
                                                                                                    TWIN Communications                                                                                         T-Mobile (LTE)
            Unincorporated Area (n|a)         Smartcom Telephone                                                                                                                       VSAT Systems
                                                                                                    Valley Telephone Cooperative (TX)                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                              AT&T
                                                                                                    Power Broadband                                                                    Hughes Network Systems   Sprint (LTE)
            San Juan city (65516)             Charter Communications
78589                                                                                               TWIN Communications                        Coba Systems                            ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)         Comcast
                                                                                                    Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
                                              Smartcom Telephone
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                                                                                                                                                       Hughes Network Systems
            San Perlita city (65636)                                                                                                                                                                            Sprint (LTE)
78590                                         ---                                                   TWIN Communications                        Valley Telephone Cooperative (TX)       ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                           T-Mobile (LTE)
                                                                                                                                                                                       VSAT Systems
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                              AT&T                                                                                                                                     Hughes Network Systems
            Santa Rosa town (65768)                                                                                                                                                                             Sprint (LTE)
78593                                         Charter Communications                                TWIN Communications                        Valley Telephone Cooperative (TX)       ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                           T-Mobile (LTE)
                                              Smartcom Telephone                                                                                                                       VSAT Systems
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                              AT&T                                                                                                                                     Hughes Network Systems
            Sullivan City city (70868)                                                              TWIN Communications                                                                                         Sprint (LTE)
78595                                         Charter Communications                                                                           ---                                     ViaSat
            Unincorporated Area (n|a)                                                               Valley Telephone Cooperative (TX)                                                                           T-Mobile (LTE)
                                              Smartcom Telephone                                                                                                                       VSAT Systems
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                    Current Electric, Heating and Air
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                                                                    Riviera Telephone Company
            Progreso city (59636)             AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                                                                                    Smith Internet Solutions                   Coba Systems
78596       Weslaco city (77272)              Charter Communications                                                                                                                   ViaSat                   T-Mobile (LTE)
                                                                                                    TWIN Communications                        Dell Telephone Cooperative
            Unincorporated Area (n|a)         Smartcom Telephone                                                                                                                       VSAT Systems             T-Mobile (5G)
                                                                                                    Valley Telephone Cooperative (TX)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                    Verizon Communications
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                              AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            South Padre Island town (69140)                                                         Riviera Telephone Company
78597                                         Charter Communications                                                                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                               Valley Telephone Cooperative (TX)
                                              Smartcom Telephone                                                                                                                       VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                                                                    Choice Providers TX                                                                                         Evolve Broadband (LTE)
                                              Altice                                                Ridgewood Holdings                                                                 Hughes Network Systems   Evolve Broadband (5G)
            Bastrop city (05864)
78602                                         AT&T                                                  South Central Tower Company                ---                                     ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)
                                              Charter Communications                                Unified Communications                                                             VSAT Systems             T-Mobile (LTE)
                                                                                                    Valley Telephone Cooperative (TX)                                                                           T-Mobile (5G)
                                                                                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                                AT&T Mobility (LTE)
                                                                                                    AT&T                                                                               Hughes Network Systems   AT&T Mobility (5G)
            Bertram city (07864)
78605                                         Charter Communications                                Electronic Corporate Pages                 Roll Call Security & Communications     ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)
                                                                                                    Heritage Broadband                                                                 VSAT Systems             T-Mobile (LTE)
                                                                                                                                                                                                                Verizon Wireless (LTE)




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                                                                                                                                                                                                                            Exhibit SET-C
                                                                                       Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                         FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                 Wireline (DSL, Fiber, Cable)                            Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                 4ip Technology and Media
                                            Charter Communications                                                                                                                                           AT&T Mobility (5G)
                                                                                                 Anvil Communications
                                            Frontier Communications                                                                                                                 Hughes Network Systems   Sprint (LTE)
            Blanco city (08536)                                                                  Bee Creek Communications
78606                                       GCTR                                                                                            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                            Central Texas Telephone Cooperative
                                            Guadalupe Valley Telephone Cooperative                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                 HC Wireless
                                            Hill Country Telephone Cooperative                                                                                                                               Verizon Wireless (LTE)
                                                                                                 JAB Wireless
                                                                                                                                                                                                             West Central Wireless (LTE)
            Buda city (11080)               Alphabet
                                                                                                                                                                                                             AT&T Mobility (LTE)
            Creedmoor city (17612)          AT&T
                                                                                                 Etex Telephone Cooperative                                                         Hughes Network Systems   Sprint (LTE)
            Hays city (32906)               Charter Communications
78610                                                                                            Spry Wireless Communications               ---                                     ViaSat                   T-Mobile (LTE)
            Mountain City city (49600)      Comcast
                                                                                                 Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
            Mustang Ridge city (50200)      Frontier Communications
                                                                                                                                                                                                             Verizon Wireless (LTE)
            Unincorporated Area (n|a)       Radiate Holdings, LP
                                                                                                 Electronic Corporate Pages
                                                                                                 Helmsco                                                                                                     AT&T Mobility (LTE)
                                            Charter Communications                               JAB Wireless                                                                                                AT&T Mobility (5G)
                                                                                                                                                                                    Hughes Network Systems
            Burnet city (11464)             Frontier Communications                              Rio Broadband                              AT&T                                                             Sprint (LTE)
78611                                                                                                                                                                               ViaSat
            Unincorporated Area (n|a)       GCTR                                                 Riviera Telephone Company                  Roll Call Security & Communications                              T-Mobile (LTE)
                                                                                                                                                                                    VSAT Systems
                                            Radiate Holdings, LP                                 TexasData                                                                                                   T-Mobile (5G)
                                                                                                 Unified Communications                                                                                      Verizon Wireless (LTE)
                                                                                                 VGI Technology
                                            Alphabet
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                            AT&T
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Cedar Park city (13552)         Charter Communications
78613                                                                                            Electronic Corporate Pages                 ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Comcast
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                            En-Touch Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                            Radiate Holdings, LP
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                 Electronic Corporate Pages
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Coupland city (17312)                                                                JAB Wireless
78615                                       AT&T                                                                                            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                            Unified Communications
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                 Valley Telephone Cooperative (TX)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             Evolve Broadband (LTE)
                                            Charter Communications                                                                                                                  Hughes Network Systems
            Mustang Ridge city (50200)                                                           Spry Wireless Communications                                                                                Sprint (LTE)
78616                                       Comcast                                                                                         AT&T                                    ViaSat
            Unincorporated Area (n|a)                                                            Valley Telephone Cooperative (TX)                                                                           T-Mobile (LTE)
                                            Guadalupe Valley Telephone Cooperative                                                                                                  VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             Evolve Broadband (LTE)
                                            Alphabet                                                                                                                                Hughes Network Systems
            Austin city (05000)                                                                  Spry Wireless Communications                                                                                Sprint (LTE)
78617                                       AT&T                                                                                            ---                                     ViaSat
            Unincorporated Area (n|a)                                                            Valley Telephone Cooperative (TX)                                                                           T-Mobile (LTE)
                                            Charter Communications                                                                                                                  VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                 Anvil Communications
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Dripping Springs city (21424)   Charter Communications                               Spry Wireless Communications
78619                                                                                                                                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Frontier Communications                              TexasData
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                 Valley Telephone Cooperative (TX)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                 Anvil Communications                                                                                        AT&T Mobility (LTE)
                                            AT&T
                                                                                                 HC Wireless                                                                        Hughes Network Systems   Sprint (LTE)
            Dripping Springs city (21424)   Charter Communications
78620                                                                                            Spry Wireless Communications               ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Frontier Communications
                                                                                                 TexasData                                                                          VSAT Systems             T-Mobile (5G)
                                            Radiate Holdings, LP
                                                                                                 Unified Communications                                                                                      Verizon Wireless (LTE)
                                                                                                 AMG Technology Investment Group                                                                             AT&T Mobility (LTE)
                                                                                                 Choice Providers TX                                                                                         Evolve Broadband (LTE)
            Elgin city (23044)              AT&T                                                                                                                                    Hughes Network Systems
                                                                                                 Electronic Corporate Pages                                                                                  Sprint (LTE)
78621       Webberville village (76924)     Charter Communications                                                                          ---                                     ViaSat
                                                                                                 JAB Wireless                                                                                                T-Mobile (LTE)
            Unincorporated Area (n|a)       Comcast                                                                                                                                 VSAT Systems
                                                                                                 Unified Communications                                                                                      T-Mobile (5G)
                                                                                                 Valley Telephone Cooperative (TX)                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                            Charter Communications                               4ip Technology and Media                                                                                    AT&T Mobility (5G)
                                            Comcast                                              Bee Creek Communications                                                           Hughes Network Systems   Sprint (LTE)
            Fredericksburg city (27348)
78624                                       CoomZoom Communications                              BM Service Corp.                           Hill Country Telephone Cooperative      ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                            Frontier Communications                              Central Texas Telephone Cooperative                                                VSAT Systems             T-Mobile (5G)
                                            Windstream Holdings                                  HC Wireless                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                             West Central Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                            Altice                                               BM Service Corp.
            Georgetown city (29336)                                                                                                                                                 Hughes Network Systems   Sprint (LTE)
                                            AT&T                                                 Electronic Corporate Pages
78626       Weir city (77056)                                                                                                               ---                                     ViaSat                   T-Mobile (LTE)
                                            Charter Communications                               JAB Wireless
            Unincorporated Area (n|a)                                                                                                                                               VSAT Systems             T-Mobile (5G)
                                            Frontier Communications                              Riviera Telephone Company
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                            Altice
                                            AT&T                                                 BM Service Corp.                                                                                            AT&T Mobility (LTE)
            Georgetown city (29336)         Cable One                                            Electronic Corporate Pages                                                         Hughes Network Systems   Sprint (LTE)
78628       Leander city (42016)            Charter Communications                               Heritage Broadband                         Roll Call Security & Communications     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Comcast                                              JAB Wireless                                                                       VSAT Systems             T-Mobile (5G)
                                            Frontier Communications                              Unified Communications                                                                                      Verizon Wireless (LTE)
                                            Radiate Holdings, LP
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             Evolve Broadband (LTE)
                                            Charter Communications                                                                                                                  Hughes Network Systems
            Gonzales city (30116)                                                                AT&T                                                                                                        Sprint (LTE)
78629                                       Frontier Communications                                                                         ---                                     ViaSat
            Unincorporated Area (n|a)                                                            Valley Telephone Cooperative (TX)                                                                           T-Mobile (LTE)
                                            Guadalupe Valley Telephone Cooperative                                                                                                  VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                            Altice
                                            AMG Technology Investment Group                      BM Service Corp.
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                            AT&T                                                 Electronic Corporate Pages
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Georgetown city (29336)         CenturyLink                                          Heritage Broadband
78633                                                                                                                                       Roll Call Security & Communications     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Charter Communications                               JAB Wireless
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                            Comcast                                              Razer Wireless
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                            En-Touch Systems                                     Verizon Communications
                                            Frontier Communications
                                            Altice
                                            AT&T                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                 Electronic Corporate Pages
                                            CenturyLink                                                                                                                             Hughes Network Systems   Sprint (LTE)
            Hutto city (35624)                                                                   JAB Wireless
78634                                       Charter Communications                                                                          Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                            Valley Telephone Cooperative (TX)
                                            Comcast                                                                                                                                 VSAT Systems             T-Mobile (5G)
                                                                                                 VGI Technology
                                            Frontier Communications                                                                                                                                          Verizon Wireless (LTE)
                                            Radiate Holdings, LP
                                                                                                 4ip Technology and Media                                                                                    AT&T Mobility (LTE)
                                                                                                 Bee Creek Communications                                                                                    AT&T Mobility (5G)
                                                                                                 Central Texas Telephone Cooperative                                                Hughes Network Systems   Sprint (LTE)
            Johnson City city (37780)       Charter Communications
78636                                                                                            HC Wireless                                ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)       Frontier Communications
                                                                                                 JAB Wireless                                                                       VSAT Systems             T-Mobile (5G)
                                                                                                 Spry Wireless Communications                                                                                Verizon Wireless (LTE)
                                                                                                 TexasData                                                                                                   West Central Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             Evolve Broadband (LTE)
            Kingsbury city (39292)                                                                                                                                                  Hughes Network Systems
                                                                                                                                                                                                             Sprint (LTE)
78638       Staples city (70052)            Guadalupe Valley Telephone Cooperative               Valley Telephone Cooperative (TX)          AT&T                                    ViaSat
                                                                                                                                                                                                             T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                                                               VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)



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                                                                                                                                                                                                                                  Exhibit SET-C
                                                                                             Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                               FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                       Wireline (DSL, Fiber, Cable)                            Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                 CenturyLink                                                                                                                                                       AT&T Mobility (LTE)
            Kyle city (39952)
                                                 Charter Communications                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Niederwald city (51492)                                                                    Spry Wireless Communications
78640                                            Comcast                                                                                          ---                                     ViaSat                   T-Mobile (LTE)
            Uhland city (74216)                                                                        Valley Telephone Cooperative (TX)
                                                 Frontier Communications                                                                                                                  VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)
                                                 Radiate Holdings, LP                                                                                                                                              Verizon Wireless (LTE)
                                                 Alphabet
                                                                                                                                                                                                                   AT&T Mobility (LTE)
            Cedar Park city (13552)              Altice
                                                                                                       BM Service Corp.                                                                   Hughes Network Systems   Sprint (LTE)
            Leander city (42016)                 AT&T
78641                                                                                                  Electronic Corporate Pages                 Roll Call Security & Communications     ViaSat                   T-Mobile (LTE)
            Volente village (75752)              Charter Communications
                                                                                                       Heritage Broadband                                                                 VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)            Etex Telephone Cooperative
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                 Radiate Holdings, LP
                                                 Altice
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                 AT&T
                                                                                                       BM Service Corp.                                                                   Hughes Network Systems   Sprint (LTE)
            Liberty Hill city (42664)            CenturyLink
78642                                                                                                  Electronic Corporate Pages                 Roll Call Security & Communications     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)            Charter Communications
                                                                                                       Heritage Broadband                                                                 VSAT Systems             T-Mobile (5G)
                                                 En-Touch Systems
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                 Frontier Communications
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                                                   AT&T Mobility (5G)
                                                                                                       Bee Creek Communications
            Llano city (43144)                   Frontier Communications                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                                                                                       JAB Wireless                               Central Texas Telephone Cooperative
78643       Sunrise Beach Village city (71228)   GCTR                                                                                                                                     ViaSat                   T-Mobile (LTE)
                                                                                                       Riviera Telephone Company                  Roll Call Security & Communications
            Unincorporated Area (n|a)            Hill Country Telephone Cooperative                                                                                                       VSAT Systems             T-Mobile (5G)
                                                                                                       VGI Technology
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   West Central Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                 Alphabet
                                                                                                                                                                                                                   Evolve Broadband (LTE)
                                                 Cable One                                                                                                                                Hughes Network Systems
            Lockhart city (43240)                                                                      Spry Wireless Communications                                                                                Sprint (LTE)
78644                                            Charter Communications                                                                           AT&T                                    ViaSat
            Unincorporated Area (n|a)                                                                  Valley Telephone Cooperative (TX)                                                                           T-Mobile (LTE)
                                                 En-Touch Systems                                                                                                                         VSAT Systems
                                                                                                                                                                                                                   T-Mobile (5G)
                                                 Radiate Holdings, LP
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
            Jonestown city (38020)               AT&T
                                                                                                                                                                                          Hughes Network Systems   Sprint (LTE)
            Lago Vista city (40264)              Charter Communications
78645                                                                                                  Electronic Corporate Pages                 ---                                     ViaSat                   T-Mobile (LTE)
            Point Venture village (58586)        Comcast
                                                                                                                                                                                          VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)            Radiate Holdings, LP
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                 Charter Communications                                                                                                                                            Evolve Broadband (LTE)
                                                                                                                                                                                          Hughes Network Systems
            Luling city (45096)                  Comcast                                               Riviera Telephone Company                                                                                   Sprint (LTE)
78648                                                                                                                                             AT&T                                    ViaSat
            Unincorporated Area (n|a)            Guadalupe Valley Telephone Cooperative                Valley Telephone Cooperative (TX)                                                                           T-Mobile (LTE)
                                                                                                                                                                                          VSAT Systems
                                                 Radiate Holdings, LP                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                 Alphabet
            Austin city (05000)                                                                                                                                                           Hughes Network Systems   Sprint (LTE)
                                                 AT&T
78652       San Leanna village (65552)                                                                 Valley Telephone Cooperative (TX)          ---                                     ViaSat                   T-Mobile (LTE)
                                                 Charter Communications
            Unincorporated Area (n|a)                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                 Frontier Communications
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
            Austin city (05000)                  Alphabet                                              Choice Providers TX
                                                                                                                                                                                          Hughes Network Systems   Sprint (LTE)
            Manor city (46440)                   AT&T                                                  Electronic Corporate Pages
78653                                                                                                                                             ---                                     ViaSat                   T-Mobile (LTE)
            Webberville village (76924)          Charter Communications                                JAB Wireless
                                                                                                                                                                                          VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)            Comcast                                               Valley Telephone Cooperative (TX)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
            Granite Shoals city (30584)          Charter Communications                                JAB Wireless
                                                                                                                                                                                                                   AT&T Mobility (5G)
            Highland Haven city (33794)          Comcast                                               Rio Broadband                              AT&T                                    Hughes Network Systems
                                                                                                                                                                                                                   Sprint (LTE)
78654       Marble Falls city (46584)            Frontier Communications                               TexasData                                  Dell Telephone Cooperative              ViaSat
                                                                                                                                                                                                                   T-Mobile (LTE)
            Meadowlakes city (47330)             GCTR                                                  VGI Technology                             Roll Call Security & Communications     VSAT Systems
                                                                                                                                                                                                                   T-Mobile (5G)
            Unincorporated Area (n|a)            Radiate Holdings, LP                                  Zero2 Wireless
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                                                   Evolve Broadband (LTE)
            Martindale city (46848)              CenturyLink                                                                                                                              Hughes Network Systems
                                                                                                       Riviera Telephone Company                                                                                   Sprint (LTE)
78655       Staples city (70052)                 Charter Communications                                                                           ---                                     ViaSat
                                                                                                       Valley Telephone Cooperative (TX)                                                                           T-Mobile (LTE)
            Unincorporated Area (n|a)            Comcast                                                                                                                                  VSAT Systems
                                                                                                                                                                                                                   T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
            Cottonwood Shores city (17208)       Cable One                                                                                                                                                         AT&T Mobility (5G)
                                                                                                                                                                                          Hughes Network Systems
            Horseshoe Bay city (34862)           Charter Communications                                Engineer Austin                                                                                             Sprint (LTE)
78657                                                                                                                                             ---                                     ViaSat
            Marble Falls city (46584)            Frontier Communications                               VGI Technology                                                                                              T-Mobile (LTE)
                                                                                                                                                                                          VSAT Systems
            Unincorporated Area (n|a)            GCTR                                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                 Altice                                                                                                                                                            AT&T Mobility (LTE)
            Austin city (05000)                  AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                                                                                       Electronic Corporate Pages
78660       Pflugerville city (57176)            Charter Communications                                                                           ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                       Valley Telephone Cooperative (TX)
            Unincorporated Area (n|a)            Comcast                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                 Radiate Holdings, LP                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                                                   AT&T Mobility (5G)
                                                                                                       Central Texas Telephone Cooperative
                                                                                                                                                                                          Hughes Network Systems   Sprint (LTE)
            Round Mountain town (63476)                                                                Engineer Austin
78663                                            Charter Communications                                                                           ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                  TexasData
                                                                                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                                                                       VGI Technology
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   West Central Wireless (LTE)
                                                 Altice
                                                 AT&T                                                                                                                                                              AT&T Mobility (LTE)
            Pflugerville city (57176)            CenturyLink                                                                                                                              Hughes Network Systems   Sprint (LTE)
                                                                                                       Electronic Corporate Pages
78664       Round Rock city (63500)              Charter Communications                                                                           ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                       Riviera Telephone Company
            Unincorporated Area (n|a)            Comcast                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                 En-Touch Systems                                                                                                                                                  Verizon Wireless (LTE)
                                                 Radiate Holdings, LP
                                                 AT&T
                                                 Cable One                                                                                                                                                         AT&T Mobility (LTE)
                                                 Charter Communications                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Round Rock city (63500)
78665                                            Comcast                                               ---                                        ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                 Frontier Communications                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                 Radiate Holdings, LP                                                                                                                                              Verizon Wireless (LTE)
                                                 Windstream Holdings
                                                 American Broadband Communications
                                                 AT&T                                                                                                                                                              AT&T Mobility (LTE)
            Kyle city (39952)                    CenturyLink                                           Anvil Communications                                                               Hughes Network Systems   Sprint (LTE)
78666       San Marcos city (65600)              Charter Communications                                Spry Wireless Communications               ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)            Comcast                                               Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (5G)
                                                 Guadalupe Valley Telephone Cooperative                                                                                                                            Verizon Wireless (LTE)
                                                 Radiate Holdings, LP
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                 AT&T                                                  Electronic Corporate Pages
                                                                                                                                                                                                                   AT&T Mobility (5G)
            Briarcliff village (10197)           Charter Communications                                Engineer Austin                                                                    Hughes Network Systems
                                                                                                                                                                                                                   Sprint (LTE)
78669       Lakeway city (40984)                 Comcast                                               JAB Wireless                               ---                                     ViaSat
                                                                                                                                                                                                                   T-Mobile (LTE)
            Unincorporated Area (n|a)            Frontier Communications                               TexasData                                                                          VSAT Systems
                                                                                                                                                                                                                   T-Mobile (5G)
                                                 Lake Livingston Telephone Company                     VGI Technology
                                                                                                                                                                                                                   Verizon Wireless (LTE)




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                                                                                                                                                                                                                         Exhibit SET-C
                                                                                     Listing of Texas Municipalities and Internet Service Providers by Zip Code

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                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                                           Evolve Broadband (LTE)
                                                                                                                                                                                  Hughes Network Systems
            Staples city (70052)                                                               Riviera Telephone Company                                                                                   Sprint (LTE)
78670                                     Charter Communications                                                                          ---                                     ViaSat
            Unincorporated Area (n|a)                                                          Valley Telephone Cooperative (TX)                                                                           T-Mobile (LTE)
                                                                                                                                                                                  VSAT Systems
                                                                                                                                                                                                           T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                          1stel                                                                                                                                                            AT&T Mobility (LTE)
                                          CenturyLink                                          Aerux Boardband                                                                                             AT&T Mobility (5G)
            Wimberley city (79624)                                                                                                                                                Hughes Network Systems
                                          Charter Communications                               Anvil Communications                                                                                        Sprint (LTE)
78676       Woodcreek city (80058)                                                                                                        ---                                     ViaSat
                                          Frontier Communications                              Spry Wireless Communications                                                                                T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                                                             VSAT Systems
                                          Guadalupe Valley Telephone Cooperative               Valley Telephone Cooperative (TX)                                                                           T-Mobile (5G)
                                          Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
                                          AT&T                                                                                                                                                             AT&T Mobility (LTE)
                                          Charter Communications                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Round Rock city (63500)                                                            Riviera Telephone Company
78681                                     Comcast                                                                                         Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                          South Central Tower Company
                                          En-Touch Systems                                                                                                                        VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
                                          AT&T                                                                                                                                                             AT&T Mobility (LTE)
                                          Cable One                                                                                                                               Hughes Network Systems   Sprint (LTE)
                                                                                                                                          Alphabet
78701       Austin city (05000)           Charter Communications                               ---                                                                                ViaSat                   T-Mobile (LTE)
                                                                                                                                          Dell Telephone Cooperative
                                          Radiate Holdings, LP                                                                                                                    VSAT Systems             T-Mobile (5G)
                                          USFon                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          Alphabet
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                          AT&T
78702       Austin city (05000)                                                                ---                                        ---                                     ViaSat                   T-Mobile (LTE)
                                          Charter Communications
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          AT&T                                                 Alphabet
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                          Charter Communications                               Electronic Corporate Pages
78703       Austin city (05000)                                                                                                           ---                                     ViaSat                   T-Mobile (LTE)
                                          Comcast                                              Riviera Telephone Company
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP                                 Verizon Communications
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                          Alphabet                                                                                                                                                         AT&T Mobility (LTE)
                                          AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
78704       Austin city (05000)           Charter Communications                               ---                                        ---                                     ViaSat                   T-Mobile (LTE)
                                          Comcast                                                                                                                                 VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
78705       Austin city (05000)           Charter Communications                               ---                                        Alphabet                                ViaSat                   T-Mobile (LTE)
                                          Radiate Holdings, LP                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
78712       Austin city (05000)           Charter Communications                               Riviera Telephone Company                  ---                                     ViaSat                   T-Mobile (LTE)
                                          Radiate Holdings, LP                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          AT&T
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Austin city (05000)           Charter Communications
78717                                                                                          ---                                        ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Comcast
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
            Austin city (05000)           AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                                                                               Spry Wireless Communications
78719       Mustang Ridge city (50200)    Charter Communications                                                                          ---                                     ViaSat                   T-Mobile (LTE)
                                                                                               Valley Telephone Cooperative (TX)
            Unincorporated Area (n|a)     Radiate Holdings, LP                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          Alphabet
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                          AT&T
78721       Austin city (05000)                                                                ---                                        ---                                     ViaSat                   T-Mobile (LTE)
                                          Charter Communications
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          Alphabet
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                          AT&T
78722       Austin city (05000)                                                                ---                                        ---                                     ViaSat                   T-Mobile (LTE)
                                          Charter Communications
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                          Alphabet                                                                                                                                                         AT&T Mobility (LTE)
                                          AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
78723       Austin city (05000)           Charter Communications                               Riviera Telephone Company                  ---                                     ViaSat                   T-Mobile (LTE)
                                          En-Touch Systems                                                                                                                        VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
                                          Alphabet                                                                                                                                                         AT&T Mobility (LTE)
                                          AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Austin city (05000)                                                                Electronic Corporate Pages
78724                                     Charter Communications                                                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                          Valley Telephone Cooperative (TX)
                                          Comcast                                                                                                                                 VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          Alphabet                                                                                                                                Hughes Network Systems   Sprint (LTE)
            Austin city (05000)                                                                Electronic Corporate Pages
78725                                     AT&T                                                                                            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                          Valley Telephone Cooperative (TX)
                                          Charter Communications                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
            Austin city (05000)           AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
78726       Cedar Park city (13552)       Charter Communications                               Chaparral CableVision                      ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Radiate Holdings, LP                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
78727       Austin city (05000)           Charter Communications                               ---                                        ---                                     ViaSat                   T-Mobile (LTE)
                                          Radiate Holdings, LP                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          AT&T
            Austin city (05000)                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                          Charter Communications                               Electronic Corporate Pages
78728       Round Rock city (63500)                                                                                                       ---                                     ViaSat                   T-Mobile (LTE)
                                          En-Touch Systems                                     Riviera Telephone Company
            Unincorporated Area (n|a)                                                                                                                                             VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          AT&T
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Austin city (05000)           Cable One
78729                                                                                          Electronic Corporate Pages                 ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Charter Communications
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Austin city (05000)
78730                                     Charter Communications                               ---                                        ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          Radiate Holdings, LP                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                          AT&T                                                                                                                                                             AT&T Mobility (LTE)
                                          Charter Communications                                                                                                                  Hughes Network Systems   Sprint (LTE)
                                                                                               CellTex Networks
78731       Austin city (05000)           Comcast                                                                                         ---                                     ViaSat                   T-Mobile (LTE)
                                                                                               Riviera Telephone Company
                                          En-Touch Systems                                                                                                                        VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)




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                                                                                                                                                                                                                           Exhibit SET-C
                                                                                      Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                        FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                Wireline (DSL, Fiber, Cable)                            Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           Alphabet
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Austin city (05000)            AT&T
78732                                                                                           Riviera Telephone Company                  ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Charter Communications
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Austin city (05000)            Charter Communications
78733                                                                                           ---                                        ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      En-Touch Systems
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                           Alphabet
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T
            Austin city (05000)                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                           Charter Communications                               Riviera Telephone Company
78734       Lakeway city (40984)                                                                                                           ---                                     ViaSat                   T-Mobile (LTE)
                                           Comcast                                              TexasData
            Unincorporated Area (n|a)                                                                                                                                              VSAT Systems             T-Mobile (5G)
                                           En-Touch Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                           Radiate Holdings, LP
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           Alphabet
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Austin city (05000)            AT&T
78735                                                                                           Riviera Telephone Company                  ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Charter Communications
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           1stel
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Austin city (05000)            Alphabet
78736                                                                                           TexasData                                  ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      AT&T
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                           Charter Communications
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                           1stel
                                           Alphabet
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T
            Austin city (05000)                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                           Charter Communications                               TexasData
78737       Bear Creek village (06242)                                                                                                     ---                                     ViaSat                   T-Mobile (LTE)
                                           Comcast                                              Valley Telephone Cooperative (TX)
            Unincorporated Area (n|a)                                                                                                                                              VSAT Systems             T-Mobile (5G)
                                           En-Touch Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                           Frontier Communications
                                           Radiate Holdings, LP
                                                                                                                                                                                                            AT&T Mobility (LTE)
            Bee Cave city (07156)          Alphabet
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Lakeway city (40984)           AT&T
78738                                                                                           TexasData                                  ---                                     ViaSat                   T-Mobile (LTE)
            The Hills village (72578)      Charter Communications
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)      Radiate Holdings, LP
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           Alphabet
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Austin city (05000)            AT&T                                                 Spry Wireless Communications
78739                                                                                                                                      ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Charter Communications                               Valley Telephone Cooperative (TX)
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                           Comcast
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           Alphabet
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                           AT&T
78741       Austin city (05000)                                                                 Valley Telephone Cooperative (TX)          ---                                     ViaSat                   T-Mobile (LTE)
                                           Charter Communications
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           Alphabet
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Austin city (05000)            AT&T
78742                                                                                           Valley Telephone Cooperative (TX)          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Charter Communications
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                           Alphabet                                                                                                                                                         AT&T Mobility (LTE)
                                           AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Austin city (05000)
78744                                      Charter Communications                               Valley Telephone Cooperative (TX)          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                           Comcast                                                                                                                                 VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
                                           Alphabet
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Austin city (05000)            Cable One
78745                                                                                           Riviera Telephone Company                  ---                                     ViaSat                   T-Mobile (LTE)
            Sunset Valley city (71324)     Charter Communications
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                           Comcast
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                           Radiate Holdings, LP
                                           Alphabet                                                                                                                                                         AT&T Mobility (LTE)
            Austin city (05000)
                                           AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Rollingwood city (63008)
78746                                      Charter Communications                               ---                                        ---                                     ViaSat                   T-Mobile (LTE)
            West Lake Hills city (77632)
                                           Comcast                                                                                                                                 VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)
                                           Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
                                           Alphabet                                                                                                                                                         AT&T Mobility (LTE)
            Austin city (05000)            AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                                                                                Spry Wireless Communications
78747       Creedmoor city (17612)         Charter Communications                                                                          ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                Valley Telephone Cooperative (TX)
            Unincorporated Area (n|a)      Comcast                                                                                                                                 VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
                                           Alphabet                                                                                                                                                         AT&T Mobility (LTE)
            Austin city (05000)            AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
78748       San Leanna village (65552)     Charter Communications                               Valley Telephone Cooperative (TX)          Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Comcast                                                                                                                                 VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           Alphabet
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                           AT&T
78749       Austin city (05000)                                                                 ---                                        ---                                     ViaSat                   T-Mobile (LTE)
                                           Charter Communications
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                           Alphabet
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                           Charter Communications                               Electronic Corporate Pages
78750       Austin city (05000)                                                                                                            ---                                     ViaSat                   T-Mobile (LTE)
                                           Comcast                                              TISD
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                           Lake Livingston Telephone Company
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                           Radiate Holdings, LP
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           Alphabet
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                           AT&T
78751       Austin city (05000)                                                                 ---                                        ---                                     ViaSat                   T-Mobile (LTE)
                                           Charter Communications
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
78752       Austin city (05000)            Charter Communications                               ---                                        ---                                     ViaSat                   T-Mobile (LTE)
                                           Radiate Holdings, LP                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                           Altice                                                                                                                                                           AT&T Mobility (LTE)
                                           AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Austin city (05000)
78753                                      Charter Communications                               ---                                        ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                           Comcast                                                                                                                                 VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
                                           Alphabet                                                                                                                                                         AT&T Mobility (LTE)
                                           AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Austin city (05000)                                                                 Texas CellNet
78754                                      Charter Communications                                                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                           Valley Telephone Cooperative (TX)
                                           Comcast                                                                                                                                 VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)




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                                                                                                                                                                                                                            Exhibit SET-C
                                                                                       Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                          FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                Wireline (DSL, Fiber, Cable)                             Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
78756       Austin city (05000)            Charter Communications                                Electronic Corporate Pages                  ---                                     ViaSat                   T-Mobile (LTE)
                                           Radiate Holdings, LP                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                           Alphabet                                                                                                                                                           AT&T Mobility (LTE)
                                           AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
78757       Austin city (05000)            Charter Communications                                Riviera Telephone Company                   ---                                     ViaSat                   T-Mobile (LTE)
                                           En-Touch Systems                                                                                                                          VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                           Charter Communications
78758       Austin city (05000)                                                                  ---                                         ---                                     ViaSat                   T-Mobile (LTE)
                                           En-Touch Systems
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                           Radiate Holdings, LP
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                           AT&T                                                                                                                                                               AT&T Mobility (LTE)
                                           Charter Communications                                                                                                                    Hughes Network Systems   Sprint (LTE)
78759       Austin city (05000)            Comcast                                               ---                                         ---                                     ViaSat                   T-Mobile (LTE)
                                           Radiate Holdings, LP                                                                                                                      VSAT Systems             T-Mobile (5G)
                                           Windstream Holdings                                                                                                                                                Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           Alenco Communications
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Uvalde city (74588)            Charter Communications                                ADT Systems                                 AT&T
78801                                                                                                                                                                                ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      En-Touch Systems                                      rNetworks                                   Southwest Texas Telcom
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                           Hill Country Telephone Cooperative
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Asherton city (04300)
78827                                      Charter Communications                                ADT Systems                                 AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                 ADT Systems                                                                         Hughes Network Systems   Sprint (LTE)
            Big Wells city (08260)
78830                                      ---                                                   Riviera Telephone Company                   AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                 Valley Telephone Cooperative (TX)                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
            Brackettville city (09868)                                                                                                                                               Hughes Network Systems   Sprint (LTE)
78832       Spofford city (69560)          Southwest Texas Telcom                                rNetworks                                   AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                                                                VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems
            Camp Wood city (12388)                                                                                                                                                                            T-Mobile (LTE)
78833                                      Hill Country Telephone Cooperative                    rNetworks                                   Southwest Texas Telcom                  ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                         T-Mobile (5G)
                                                                                                                                                                                     VSAT Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Carrizo Springs city (12988)                                                                                                     ADT Systems
78834                                      Charter Communications                                Alenco Communications                                                               ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                        AT&T
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Crystal City city (18020)
78839                                      Charter Communications                                ADT Systems                                 AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                             Dell Telephone Cooperative              Hughes Network Systems   Sprint (LTE)
            Del Rio city (19792)           Charter Communications
78840                                                                                            ---                                         Nevill Holdings                         ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Frontier Communications
                                                                                                                                             Southwest Texas Telcom                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Eagle Pass city (21892)        Charter Communications
78852                                                                                            Alenco Communications                       AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Comcast
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           CoomZoom Communications                               BM Service Corp.
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Hondo city (34676)             En-Touch Systems                                      Riviera Telephone Company
78861                                                                                                                                        AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Hill Country Telephone Cooperative                    rNetworks
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                           Southwest Texas Telcom                                Valley Telephone Cooperative (TX)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           AT&T                                                                                                                                      Hughes Network Systems   T-Mobile (LTE)
            Leakey city (42004)                                                                  Central Texas Telephone Cooperative
78873                                      En-Touch Systems                                                                                  Hill Country Telephone Cooperative      ViaSat                   T-Mobile (5G)
            Unincorporated Area (n|a)                                                            Texas CellNet
                                           Southwest Texas Telcom                                                                                                                    VSAT Systems             Verizon Wireless (LTE)
                                                                                                                                                                                                              West Central Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                 Central Texas Telephone Cooperative                                                 Hughes Network Systems   T-Mobile (LTE)
            Rocksprings town (62816)                                                                                                         Hill Country Telephone Cooperative
78880                                      ---                                                   Riviera Telephone Company                                                           ViaSat                   T-Mobile (5G)
            Unincorporated Area (n|a)                                                                                                        Southwest Texas Telcom
                                                                                                 SonicNet                                                                            VSAT Systems             Verizon Wireless (LTE)
                                                                                                                                                                                                              West Central Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                           Alenco Communications                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Sabinal city (64004)
78881                                      Hill Country Telephone Cooperative                    rNetworks                                   AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                           Southwest Texas Telcom                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                 AMG Technology Investment Group
                                                                                                                                                                                     Hughes Network Systems   Evolve Broadband (5G)
            Carmine city (12916)           Colorado Valley Telephone Cooperative                 JAB Wireless
78932                                                                                                                                        ---                                     ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)      Industry Telephone Company                            Texas Broadband
                                                                                                                                                                                     VSAT Systems             T-Mobile (LTE)
                                                                                                 Unified Communications
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                 Colorado Valley Telephone Cooperative
                                                                                                                                                                                                              Evolve Broadband (LTE)
                                                                                                 JAB Wireless
                                                                                                                                                                                     Hughes Network Systems   Evolve Broadband (5G)
            Columbus city (16168)          Charter Communications                                South Central Tower Company
78934                                                                                                                                        AT&T                                    ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)      Industry Telephone Company                            Unified Communications
                                                                                                                                                                                     VSAT Systems             T-Mobile (LTE)
                                                                                                 Valley Telephone Cooperative (TX)
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                 Wharton County Electric Cooperative
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                 AMG Technology Investment Group
                                                                                                                                                                                                              Evolve Broadband (LTE)
                                                                                                 South Central Tower Company
                                                                                                                                                                                     Hughes Network Systems   Evolve Broadband (5G)
            Fayetteville city (25644)      Frontier Communications                               Texas Broadband                             AT&T
78940                                                                                                                                                                                ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)      Industry Telephone Company                            TISD                                        Colorado Valley Telephone Cooperative
                                                                                                                                                                                     VSAT Systems             T-Mobile (LTE)
                                                                                                 Unified Communications
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                 Valley Telephone Cooperative (TX)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              Evolve Broadband (LTE)
                                                                                                                                             AT&T                                    Hughes Network Systems   Evolve Broadband (5G)
            Flatonia town (26028)                                                                JAB Wireless
78941                                      Guadalupe Valley Telephone Cooperative                                                            Colorado Valley Telephone Cooperative   ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)                                                            Valley Telephone Cooperative (TX)
                                                                                                                                             South Central Tower Company             VSAT Systems             T-Mobile (LTE)
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)




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                                                                                                                                                                                                                          Exhibit SET-C
                                                                                      Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                        FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                Wireline (DSL, Fiber, Cable)                            Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                AMG Technology Investment Group                                                                             Evolve Broadband (5G)
                                          Cable One                                                                                                                                Hughes Network Systems
            Giddings city (29432)                                                               South Central Tower Company                                                                                 Sprint (LTE)
78942                                     Colorado Valley Telephone Cooperative                                                            Unified Communications                  ViaSat
            Unincorporated Area (n|a)                                                           Texas Broadband                                                                                             T-Mobile (LTE)
                                          Frontier Communications                                                                                                                  VSAT Systems
                                                                                                Valley Telephone Cooperative (TX)                                                                           T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            Evolve Broadband (LTE)
                                                                                                Colorado Valley Telephone Cooperative                                              Hughes Network Systems
            Columbus city (16168)                                                                                                                                                                           Sprint (LTE)
78943                                     Charter Communications                                JAB Wireless                               AT&T                                    ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                       T-Mobile (LTE)
                                                                                                Valley Telephone Cooperative (TX)                                                  VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                AMG Technology Investment Group
                                                                                                                                                                                   Hughes Network Systems   Evolve Broadband (5G)
            Industry city (35984)                                                               AT&T
78944                                     Industry Telephone Company                                                                       ---                                     ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)                                                           Texas Broadband
                                                                                                                                                                                   VSAT Systems             T-Mobile (LTE)
                                                                                                Unified Communications
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            Evolve Broadband (LTE)
                                          Cable One                                             Texas Broadband                                                                    Hughes Network Systems   Evolve Broadband (5G)
            La Grange city (40276)                                                                                                         Colorado Valley Telephone Cooperative
78945                                     Comcast                                               Unified Communications                                                             ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)                                                                                                      South Central Tower Company
                                          Frontier Communications                               Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (LTE)
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            Evolve Broadband (LTE)
                                                                                                AMG Technology Investment Group                                                    Hughes Network Systems   Evolve Broadband (5G)
            Lexington town (42532)        En-Touch Systems
78947                                                                                           Texas Broadband                            Unified Communications                  ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)     Frontier Communications
                                                                                                Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (LTE)
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                AMG Technology Investment Group
                                                                                                                                                                                                            Evolve Broadband (5G)
                                                                                                AT&T                                                                               Hughes Network Systems
            Round Top town (63524)        Colorado Valley Telephone Cooperative                                                                                                                             Sprint (LTE)
78954                                                                                           JAB Wireless                               ---                                     ViaSat
            Unincorporated Area (n|a)     Industry Telephone Company                                                                                                                                        T-Mobile (LTE)
                                                                                                Texas Broadband                                                                    VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                Unified Communications
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            Evolve Broadband (LTE)
                                                                                                Gtek Communications
                                                                                                                                           AT&T                                    Hughes Network Systems   Evolve Broadband (5G)
            Schulenburg city (66188)      Cable One                                             Hallettsville Communications
78956                                                                                                                                      Colorado Valley Telephone Cooperative   ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)     Frontier Communications                               JAB Wireless
                                                                                                                                           South Central Tower Company             VSAT Systems             T-Mobile (LTE)
                                                                                                Valley Telephone Cooperative (TX)
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            Evolve Broadband (LTE)
                                          AT&T
                                                                                                                                                                                   Hughes Network Systems   Evolve Broadband (5G)
            Smithville city (68456)       Charter Communications                                Texas Broadband                            South Central Tower Company
78957                                                                                                                                                                              ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)     Colorado Valley Telephone Cooperative                 Valley Telephone Cooperative (TX)          Unified Communications
                                                                                                                                                                                   VSAT Systems             T-Mobile (LTE)
                                          Guadalupe Valley Telephone Cooperative
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                AT&T                                                                               Hughes Network Systems   Evolve Broadband (LTE)
            Waelder city (76024)
78959                                     Guadalupe Valley Telephone Cooperative                JAB Wireless                               ---                                     ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)
                                                                                                Valley Telephone Cooperative (TX)                                                  VSAT Systems             T-Mobile (LTE)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                Hallettsville Communications
                                                                                                                                                                                                            Evolve Broadband (LTE)
                                                                                                JAB Wireless                                                                       Hughes Network Systems
            Weimar city (77020)           Cable One                                                                                        AT&T                                                             Sprint (LTE)
78962                                                                                           South Central Tower Company                                                        ViaSat
            Unincorporated Area (n|a)     Frontier Communications                                                                          Colorado Valley Telephone Cooperative                            T-Mobile (LTE)
                                                                                                Stratosnet Technologies                                                            VSAT Systems
                                                                                                                                                                                                            T-Mobile (5G)
                                                                                                Valley Telephone Cooperative (TX)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                          ENMR Telephone Cooperative
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Adrian city (01324)           West Texas Rural Telephone Cooperative
79001                                                                                           American Broadband Communications          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Windstream Holdings
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                          XIT Rural Telephone Cooperative
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems
            Booker town (09448)                                                                 American Broadband Communications                                                                           T-Mobile (LTE)
79005                                     Windstream Holdings                                                                              Panhandle Telephone Cooperative         ViaSat
            Unincorporated Area (n|a)                                                           PCC Holdings                                                                                                T-Mobile (5G)
                                                                                                                                                                                   VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                Innovative Financial Technologies
                                          AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Borger city (09556)                                                                 JAB Wireless
79007                                     Cable One                                                                                        American Broadband Communications       ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                           PCC Holdings
                                          Windstream Holdings                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                Plains Internet
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Bovina city (09628)           West Texas Rural Telephone Cooperative
79009                                                                                           ---                                        ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Windstream Holdings
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                American Broadband Communications                                                  Hughes Network Systems   Sprint (LTE)
            Cactus city (11692)           Cable One
79013                                                                                           Innovative Financial Technologies          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Windstream Holdings
                                                                                                Plains Internet                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                American Broadband Communications                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems
            Canadian city (12412)                                                               JAB Wireless                                                                                                T-Mobile (LTE)
79014                                     Dobson Technologies                                                                              AT&T                                    ViaSat
            Unincorporated Area (n|a)                                                           PCC Holdings                                                                                                T-Mobile (5G)
                                                                                                                                                                                   VSAT Systems
                                                                                                Resound Networks                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                          Altice
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Canyon city (12532)           AT&T                                                  Innovative Financial Technologies
79015                                                                                                                                      American Broadband Communications       ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Mid-Plains Rural Telephone Cooperative                Plains Internet
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                          PATHWAYZ Communications
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                                                                                Innovative Financial Technologies
79016       Canyon city (12532)           Altice                                                                                           ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                Plains Internet
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                American Broadband Communications                                                  Hughes Network Systems   Sprint (LTE)
            Channing city (14260)         GCTR
79018                                                                                           Innovative Financial Technologies          XIT Rural Telephone Cooperative         ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Windstream Holdings
                                                                                                Plains Internet                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                          Cable One                                             American Broadband Communications                                                  Hughes Network Systems   Sprint (LTE)
            Claude city (15196)
79019                                     Mid-Plains Rural Telephone Cooperative                Innovative Financial Technologies          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          Windstream Holdings                                   PCC Holdings                                                                       VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)




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                                                                                                                                                                                                                            Exhibit SET-C
                                                                                     Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                        FCC Fixed Broadband Deployment Data [2]                                                              FCC Mobile Broadband Deployment Data [3]
      [1]
Code                    Municipalities                Wireline (DSL, Fiber, Cable)                             Fixed Wireless                     Both Wireline & Fixed Wireless              Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                         GCTR                                                                                                                                       Hughes Network Systems   Sprint (LTE)
            Dalhart city (18524)                                                               American Broadband Communications
79022                                    Mid-Plains Rural Telephone Cooperative                                                            XIT Rural Telephone Cooperative          ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                          PCC Holdings
                                         Windstream Holdings                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                               American Broadband Communications                                                    Hughes Network Systems
            Darrouzett town (19288)      Mid-Plains Rural Telephone Cooperative                                                                                                                              T-Mobile (LTE)
79024                                                                                          Panhandle Telephone Cooperative             ---                                      ViaSat
            Unincorporated Area (n|a)    Windstream Holdings                                                                                                                                                 T-Mobile (5G)
                                                                                               PCC Holdings                                                                         VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                           American Broadband Communications        Hughes Network Systems
            Dimmitt city (20464)         Mid-Plains Rural Telephone Cooperative                                                                                                                              T-Mobile (LTE)
79027                                                                                          Plains Internet                             Five Area Telephone Cooperative          ViaSat
            Unincorporated Area (n|a)    Windstream Holdings                                                                                                                                                 T-Mobile (5G)
                                                                                                                                           Innovative Financial Technologies        VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                         Cable One
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Dumas city (21556)           Mid-Plains Rural Telephone Cooperative                Innovative Financial Technologies
79029                                                                                                                                      American Broadband Communications        ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)    Windstream Holdings                                   Plains Internet
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                         XIT Rural Telephone Cooperative
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Earth city (21928)           American Broadband Communications                                                                 Five Area Telephone Cooperative
79031                                                                                          Plains Internet                                                                      ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)    Mid-Plains Rural Telephone Cooperative                                                            Innovative Financial Technologies
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             ClearTalk (LTE)
                                                                                                                                                                                    Hughes Network Systems
            Edmonson town (22708)        Mid-Plains Rural Telephone Cooperative                PCC Holdings                                                                                                  Sprint (LTE)
79032                                                                                                                                      ---                                      ViaSat
            Unincorporated Area (n|a)    South Plains Telephone Cooperative                    Plains Internet                                                                                               T-Mobile (LTE)
                                                                                                                                                                                    VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                               American Broadband Communications                                                    Hughes Network Systems
            Follett city (26328)         Mid-Plains Rural Telephone Cooperative                                                                                                                              T-Mobile (LTE)
79034                                                                                          Panhandle Telephone Cooperative             ---                                      ViaSat
            Unincorporated Area (n|a)    Windstream Holdings                                                                                                                                                 T-Mobile (5G)
                                                                                               PCC Holdings                                                                         VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                         AT&T
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Friona city (27660)          ENMR Telephone Cooperative                            AWC                                         Five Area Telephone Cooperative
79035                                                                                                                                                                               ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)    Mid-Plains Rural Telephone Cooperative                Innovative Financial Technologies           West Texas Rural Telephone Cooperative
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                         Windstream Holdings
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                               American Broadband Communications                                                                             AT&T Mobility (LTE)
                                         Cable One
                                                                                               Innovative Financial Technologies                                                    Hughes Network Systems   Sprint (LTE)
            Fritch city (27696)          Comcast
79036                                                                                          JAB Wireless                                ---                                      ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)    Mid-Plains Rural Telephone Cooperative
                                                                                               PCC Holdings                                                                         VSAT Systems             T-Mobile (5G)
                                         Windstream Holdings
                                                                                               Plains Internet                                                                                               Verizon Wireless (LTE)
                                                                                               American Broadband Communications
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                               Innovative Financial Technologies
                                         Cable One                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Groom town (31292)                                                                 JAB Wireless
79039                                    Mid-Plains Rural Telephone Cooperative                                                            ---                                      ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                          PCC Holdings
                                         Windstream Holdings                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                               Plains Internet
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                               Resound Networks
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                               MEL AeroFlight                                                                       Hughes Network Systems   ClearTalk (LTE)
            Gruver city (31412)          Mid-Plains Rural Telephone Cooperative                                                            American Broadband Communications
79040                                                                                          Panhandle Telephone Cooperative                                                      ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)    XIT Rural Telephone Cooperative                                                                   AT&T
                                                                                               PCC Holdings                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                         AT&T                                                                                                                                                                AT&T Mobility (5G)
                                         Mid-Plains Rural Telephone Cooperative                                                                                                     Hughes Network Systems   ClearTalk (LTE)
            Hale Center city (31820)                                                           PCC Holdings
79041                                    NTS                                                                                               Five Area Telephone Cooperative          ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)                                                          Plains Internet
                                         South Plains Telephone Cooperative                                                                                                         VSAT Systems             T-Mobile (LTE)
                                         Windstream Holdings                                                                                                                                                 T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                               American Broadband Communications                                                    Hughes Network Systems   Sprint (LTE)
            Happy town (32156)           Mid-Plains Rural Telephone Cooperative
79042                                                                                          Innovative Financial Technologies           ---                                      ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)    Windstream Holdings
                                                                                               Plains Internet                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                         Mid-Plains Rural Telephone Cooperative                American Broadband Communications                                                    Hughes Network Systems   ClearTalk (LTE)
            Hart city (32576)
79043                                    South Plains Telephone Cooperative                    Innovative Financial Technologies           Five Area Telephone Cooperative          ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                         Windstream Holdings                                   Plains Internet                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                               American Broadband Communications
                                         AT&T                                                                                                                                       Hughes Network Systems   Sprint (LTE)
            Hereford city (33320)                                                              Five Area Telephone Cooperative
79045                                    Mid-Plains Rural Telephone Cooperative                                                            West Texas Rural Telephone Cooperative   ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                          Innovative Financial Technologies
                                         Windstream Holdings                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                               Plains Internet
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                               American Broadband Communications                                                    Hughes Network Systems   AT&T Mobility (LTE)
            Higgins city (33608)         Mid-Plains Rural Telephone Cooperative
79046                                                                                          AT&T                                        ---                                      ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)    Windstream Holdings
                                                                                               PCC Holdings                                                                         VSAT Systems             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             ClearTalk (LTE)
                                                                                                                                                                                    Hughes Network Systems
            Kress city (39904)           Mid-Plains Rural Telephone Cooperative                PCC Holdings                                                                                                  Sprint (LTE)
79052                                                                                                                                      ---                                      ViaSat
            Unincorporated Area (n|a)    South Plains Telephone Cooperative                    Plains Internet                                                                                               T-Mobile (LTE)
                                                                                                                                                                                    VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                               American Broadband Communications
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                               JAB Wireless                                                                         Hughes Network Systems
            Lefors town (42148)          AT&T                                                                                                                                                                T-Mobile (LTE)
79054                                                                                          PCC Holdings                                ---                                      ViaSat
            Unincorporated Area (n|a)    Mid-Plains Rural Telephone Cooperative                                                                                                                              T-Mobile (5G)
                                                                                               Plains Internet                                                                      VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                               Resound Networks
                                                                                               American Broadband Communications
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                               AT&T
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            McLean town (45780)          Mid-Plains Rural Telephone Cooperative                JAB Wireless
79057                                                                                                                                      ---                                      ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)    Windstream Holdings                                   PCC Holdings
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                               Plains Internet
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                               Resound Networks
                                                                                               American Broadband Communications                                                                             AT&T Mobility (LTE)
                                                                                               Panhandle Telephone Cooperative                                                      Hughes Network Systems   ClearTalk (LTE)
            Miami city (47988)           Mid-Plains Rural Telephone Cooperative
79059                                                                                          PCC Holdings                                ---                                      ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)    Windstream Holdings
                                                                                               Plains Internet                                                                      VSAT Systems             T-Mobile (5G)
                                                                                               Resound Networks                                                                                              Verizon Wireless (LTE)
                                                                                               American Broadband Communications
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                               AT&T                                                                                 Hughes Network Systems
            Mobeetie city (48852)        Mid-Plains Rural Telephone Cooperative                                                                                                                              T-Mobile (LTE)
79061                                                                                          JAB Wireless                                ---                                      ViaSat
            Unincorporated Area (n|a)    Windstream Holdings                                                                                                                                                 T-Mobile (5G)
                                                                                               PCC Holdings                                                                         VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                               Resound Networks
                                                                                               American Broadband Communications                                                                             AT&T Mobility (LTE)
                                         Etex Telephone Cooperative                                                                                                                 Hughes Network Systems
            Nazareth city (50496)                                                              Five Area Telephone Cooperative                                                                               T-Mobile (LTE)
79063                                    Mid-Plains Rural Telephone Cooperative                                                            ---                                      ViaSat
            Unincorporated Area (n|a)                                                          Innovative Financial Technologies                                                                             T-Mobile (5G)
                                         Windstream Holdings                                                                                                                        VSAT Systems
                                                                                               Plains Internet                                                                                               Verizon Wireless (LTE)




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                                                                                                                                                                                                                             Exhibit SET-C
                                                                                      Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                          FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                Wireline (DSL, Fiber, Cable)                              Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                          Mid-Plains Rural Telephone Cooperative                American Broadband Communications                                                    Hughes Network Systems   ClearTalk (LTE)
            Olton city (54012)
79064                                     NTS                                                   Innovative Financial Technologies            Five Area Telephone Cooperative         ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          South Plains Telephone Cooperative                    Plains Internet                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                          AT&T                                                  JAB Wireless
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Pampa city (54912)            Cable One                                             Panhandle Telephone Cooperative              American Broadband Communications
79065                                                                                                                                                                                ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Mid-Plains Rural Telephone Cooperative                PCC Holdings                                 Resound Networks
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                          NTS                                                   Plains Internet
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                American Broadband Communications                                                                             AT&T Mobility (LTE)
                                          Cable One                                             Innovative Financial Technologies                                                    Hughes Network Systems   Sprint (LTE)
            Panhandle town (54960)
79068                                     Mid-Plains Rural Telephone Cooperative                PCC Holdings                                 AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          Windstream Holdings                                   Plains Internet                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                Resound Networks                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                          GCTR                                                                                                                                       Hughes Network Systems   ClearTalk (LTE)
            Perryton city (56912)                                                                                                            American Broadband Communications
79070                                     Mid-Plains Rural Telephone Cooperative                PCC Holdings                                                                         ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                        Panhandle Telephone Cooperative
                                          Windstream Holdings                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                          Altice                                                                                                                                                              AT&T Mobility (LTE)
                                          American Broadband Communications                     Innovative Financial Technologies                                                                             ClearTalk (LTE)
                                                                                                                                                                                     Hughes Network Systems
            Plainview city (57980)        AT&T                                                  PCC Holdings                                                                                                  Sprint (LTE)
79072                                                                                                                                        Five Area Telephone Cooperative         ViaSat
            Unincorporated Area (n|a)     Mid-Plains Rural Telephone Cooperative                Plains Internet                                                                                               T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                          NTS                                                   Resound Networks                                                                                              T-Mobile (5G)
                                          South Plains Telephone Cooperative                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                Innovative Financial Technologies
                                          AT&T                                                                                                                                       Hughes Network Systems   Sprint (LTE)
            Sanford town (65384)                                                                JAB Wireless
79078                                     Mid-Plains Rural Telephone Cooperative                                                             ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                           PCC Holdings
                                          Windstream Holdings                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                Plains Internet
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                American Broadband Communications
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Shamrock city (67160)         Altice                                                JAB Wireless                                 AT&T
79079                                                                                                                                                                                ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Mid-Plains Rural Telephone Cooperative                Omega 1 Communications                       Resound Networks
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                PCC Holdings
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                American Broadband Communications
                                                                                                AT&T                                                                                                          AT&T Mobility (LTE)
                                                                                                Innovative Financial Technologies                                                    Hughes Network Systems   Sprint (LTE)
            Skellytown town (68120)
79080                                     Mid-Plains Rural Telephone Cooperative                JAB Wireless                                 ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                PCC Holdings                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                Plains Internet                                                                                               Verizon Wireless (LTE)
                                                                                                Resound Networks
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                American Broadband Communications
                                                                                                                                                                                     Hughes Network Systems   ClearTalk (LTE)
            Spearman city (69476)         Mid-Plains Rural Telephone Cooperative                MEL AeroFlight                               AT&T
79081                                                                                                                                                                                ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Windstream Holdings                                   PCC Holdings                                 Panhandle Telephone Cooperative
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                Plains Internet
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              ClearTalk (LTE)
                                                                                                                                                                                     Hughes Network Systems
            Springlake town (69764)       AT&T                                                  American Broadband Communications                                                                             Sprint (LTE)
79082                                                                                                                                        Five Area Telephone Cooperative         ViaSat
            Unincorporated Area (n|a)     Mid-Plains Rural Telephone Cooperative                Innovative Financial Technologies                                                                             T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                American Broadband Communications
                                                                                                                                                                                                              ClearTalk (LTE)
                                          Cable One                                             Innovative Financial Technologies                                                    Hughes Network Systems
            Stinnett city (70340)                                                                                                                                                                             Sprint (LTE)
79083                                     Mid-Plains Rural Telephone Cooperative                Panhandle Telephone Cooperative              AT&T                                    ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                         T-Mobile (LTE)
                                          Windstream Holdings                                   PCC Holdings                                                                         VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                Plains Internet
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                          Mid-Plains Rural Telephone Cooperative                American Broadband Communications                                                    Hughes Network Systems   Sprint (LTE)
            Stratford city (70544)
79084                                     Windstream Holdings                                   Innovative Financial Technologies            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          XIT Rural Telephone Cooperative                       PCC Holdings                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                American Broadband Communications                                                                             AT&T Mobility (LTE)
                                                                                                AT&T                                                                                 Hughes Network Systems   Sprint (LTE)
            Sunray city (71180)           Cable One
79086                                                                                           Innovative Financial Technologies            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Windstream Holdings
                                                                                                PCC Holdings                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                Plains Internet                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems
            Texline town (72476)          Mid-Plains Rural Telephone Cooperative                                                                                                                              T-Mobile (LTE)
79087                                                                                           ---                                          ---                                     ViaSat
            Unincorporated Area (n|a)     XIT Rural Telephone Cooperative                                                                                                                                     T-Mobile (5G)
                                                                                                                                                                                     VSAT Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                American Broadband Communications                                                                             AT&T Mobility (LTE)
                                          Altice                                                Etex Telephone Cooperative                                                           Hughes Network Systems   Sprint (LTE)
            Tulia city (73868)
79088                                     Mid-Plains Rural Telephone Cooperative                Innovative Financial Technologies            ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          Windstream Holdings                                   PCC Holdings                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                Plains Internet                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                          Mid-Plains Rural Telephone Cooperative
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Vega city (75188)             West Texas Rural Telephone Cooperative                American Broadband Communications
79092                                                                                                                                        ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Windstream Holdings                                   Innovative Financial Technologies
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                          XIT Rural Telephone Cooperative
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                American Broadband Communications
                                                                                                AT&T
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                          Altice                                                Omega 1 Communications                                                               Hughes Network Systems
            Wellington city (77152)                                                                                                                                                                           T-Mobile (LTE)
79095                                     Mid-Plains Rural Telephone Cooperative                PCC Holdings                                 ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                         T-Mobile (5G)
                                          Windstream Holdings                                   Resound Networks                                                                     VSAT Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                Southwest Oklahoma Telephone Company
                                                                                                Telephone and Data Systems
                                                                                                American Broadband Communications                                                                             AT&T Mobility (LTE)
                                          Dobson Technologies                                   JAB Wireless                                                                         Hughes Network Systems   Sprint (LTE)
            Wheeler city (78208)
79096                                     Mid-Plains Rural Telephone Cooperative                Omega 1 Communications                       AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          Windstream Holdings                                   PCC Holdings                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                Resound Networks                                                                                              Verizon Wireless (LTE)
                                                                                                American Broadband Communications
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                Innovative Financial Technologies
                                          Cable One                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            White Deer town (78316)                                                             JAB Wireless
79097                                     Mid-Plains Rural Telephone Cooperative                                                             ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                           PCC Holdings
                                          Windstream Holdings                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                Plains Internet
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                Resound Networks
                                          Altice                                                                                                                                                              AT&T Mobility (LTE)
                                          AT&T                                                                                                                                       Hughes Network Systems   Sprint (LTE)
                                                                                                Innovative Financial Technologies            American Broadband Communications
79101       Amarillo city (03000)         Mid-Plains Rural Telephone Cooperative                                                                                                     ViaSat                   T-Mobile (LTE)
                                                                                                Plains Internet                              PATHWAYZ Communications
                                          NTS                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                          Windstream Holdings                                                                                                                                                 Verizon Wireless (LTE)
                                          Altice                                                                                                                                                              AT&T Mobility (LTE)
                                          AT&T                                                                                                                                       Hughes Network Systems   Sprint (LTE)
                                                                                                Innovative Financial Technologies
79102       Amarillo city (03000)         Mid-Plains Rural Telephone Cooperative                                                             American Broadband Communications       ViaSat                   T-Mobile (LTE)
                                                                                                Plains Internet
                                          NTS                                                                                                                                        VSAT Systems             T-Mobile (5G)
                                          PATHWAYZ Communications                                                                                                                                             Verizon Wireless (LTE)




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                                                                                                                                                                                                                                  Exhibit SET-C
                                                                                             Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                               FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                       Wireline (DSL, Fiber, Cable)                            Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                 Altice                                                                                                                                                            AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                                                                                       Innovative Financial Technologies
79103       Amarillo city (03000)                Mid-Plains Rural Telephone Cooperative                                                           American Broadband Communications       ViaSat                   T-Mobile (LTE)
                                                                                                       Plains Internet
                                                 NTS                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                 PATHWAYZ Communications                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                 Altice
                                                                                                                                                                                          Hughes Network Systems   Sprint (LTE)
                                                 AT&T                                                  Innovative Financial Technologies          American Broadband Communications
79104       Amarillo city (03000)                                                                                                                                                         ViaSat                   T-Mobile (LTE)
                                                 Mid-Plains Rural Telephone Cooperative                Plains Internet                            PATHWAYZ Communications
                                                                                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                 NTS
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                 Altice
                                                                                                                                                  American Broadband Communications       Hughes Network Systems   Sprint (LTE)
                                                 AT&T                                                  Innovative Financial Technologies
79106       Amarillo city (03000)                                                                                                                 Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
                                                 Mid-Plains Rural Telephone Cooperative                Plains Internet
                                                                                                                                                  PATHWAYZ Communications                 VSAT Systems             T-Mobile (5G)
                                                 NTS
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                 Altice
                                                                                                                                                                                          Hughes Network Systems   Sprint (LTE)
                                                 AT&T                                                  Innovative Financial Technologies          American Broadband Communications
79107       Amarillo city (03000)                                                                                                                                                         ViaSat                   T-Mobile (LTE)
                                                 Mid-Plains Rural Telephone Cooperative                Plains Internet                            PATHWAYZ Communications
                                                                                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                 NTS
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                 Altice
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                 Cable One
                                                                                                                                                  American Broadband Communications       Hughes Network Systems   Sprint (LTE)
            Amarillo city (03000)                ENMR Telephone Cooperative                            Innovative Financial Technologies
79108                                                                                                                                             AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)            Mid-Plains Rural Telephone Cooperative                Plains Internet
                                                                                                                                                  PATHWAYZ Communications                 VSAT Systems             T-Mobile (5G)
                                                 NTS
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                 Windstream Holdings
                                                 Altice                                                                                                                                                            AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                                                                                       Innovative Financial Technologies
79109       Amarillo city (03000)                Mid-Plains Rural Telephone Cooperative                                                           American Broadband Communications       ViaSat                   T-Mobile (LTE)
                                                                                                       Plains Internet
                                                 NTS                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                 PATHWAYZ Communications                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                 Altice
                                                                                                                                                                                          Hughes Network Systems   Sprint (LTE)
                                                 AT&T                                                  Innovative Financial Technologies          American Broadband Communications
79110       Amarillo city (03000)                                                                                                                                                         ViaSat                   T-Mobile (LTE)
                                                 Mid-Plains Rural Telephone Cooperative                Plains Internet                            PATHWAYZ Communications
                                                                                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                 NTS
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                 Altice                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Amarillo city (03000)                                                                      Innovative Financial Technologies
79111                                            AT&T                                                                                             American Broadband Communications       ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                  Plains Internet
                                                 Mid-Plains Rural Telephone Cooperative                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
            Amarillo city (03000)                                                                                                                                                                                  AT&T Mobility (LTE)
                                                 Altice                                                                                           American Broadband Communications
            Lake Tanglewood village (40804)                                                                                                                                               Hughes Network Systems   Sprint (LTE)
                                                 ENMR Telephone Cooperative                            Innovative Financial Technologies          AT&T
79118       Palisades village (54726)                                                                                                                                                     ViaSat                   T-Mobile (LTE)
                                                 Mid-Plains Rural Telephone Cooperative                Plains Internet                            Dell Telephone Cooperative
            Timbercreek Canyon village (73030)                                                                                                                                            VSAT Systems             T-Mobile (5G)
                                                 NTS                                                                                              PATHWAYZ Communications
            Unincorporated Area (n|a)                                                                                                                                                                              Verizon Wireless (LTE)
                                                 Altice
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                 AT&T
                                                                                                                                                                                          Hughes Network Systems   Sprint (LTE)
            Amarillo city (03000)                Mid-Plains Rural Telephone Cooperative                Innovative Financial Technologies
79119                                                                                                                                             American Broadband Communications       ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)            NTS                                                   Plains Internet
                                                                                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                 PATHWAYZ Communications
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                 West Texas Rural Telephone Cooperative
                                                 Altice                                                                                                                                                            AT&T Mobility (LTE)
                                                 AT&T                                                                                                                                     Hughes Network Systems   Sprint (LTE)
                                                                                                       Innovative Financial Technologies
79121       Amarillo city (03000)                Mid-Plains Rural Telephone Cooperative                                                           American Broadband Communications       ViaSat                   T-Mobile (LTE)
                                                                                                       Plains Internet
                                                 NTS                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                 PATHWAYZ Communications                                                                                                                                           Verizon Wireless (LTE)
                                                 Altice                                                                                                                                                            AT&T Mobility (LTE)
            Amarillo city (03000)                Mid-Plains Rural Telephone Cooperative                                                           American Broadband Communications       Hughes Network Systems   Sprint (LTE)
                                                                                                       Innovative Financial Technologies
79124       Bishop Hills town (08398)            NTS                                                                                              AT&T                                    ViaSat                   T-Mobile (LTE)
                                                                                                       Plains Internet
            Unincorporated Area (n|a)            West Texas Rural Telephone Cooperative                                                           PATHWAYZ Communications                 VSAT Systems             T-Mobile (5G)
                                                 Windstream Holdings                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                       PCC Holdings
                                                 Altice                                                                                                                                                            Sprint (LTE)
                                                                                                       Pinnacle Network Solutions                                                         Hughes Network Systems
            Childress city (14668)               American Broadband Communications                                                                AT&T                                                             T-Mobile (LTE)
79201                                                                                                  Resound Networks                                                                   ViaSat
            Unincorporated Area (n|a)            Cap Rock Telephone Cooperative                                                                   Santa Rosa Telephone Cooperative                                 T-Mobile (5G)
                                                                                                       Southwest Oklahoma Telephone Company                                               VSAT Systems
                                                 Mid-Plains Rural Telephone Cooperative                                                                                                                            United States Cellular Corporation (LTE)
                                                                                                       Telephone and Data Systems
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                                                   Sprint (LTE)
                                                 AT&T                                                  Pinnacle Network Solutions                                                         Hughes Network Systems
            Chillicothe city (14680)                                                                                                                                                                               T-Mobile (LTE)
79225                                            Mid-Plains Rural Telephone Cooperative                Southwest Oklahoma Telephone Company       ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                              T-Mobile (5G)
                                                 Santa Rosa Telephone Cooperative                      Telephone and Data Systems                                                         VSAT Systems
                                                                                                                                                                                                                   United States Cellular Corporation (LTE)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                       American Broadband Communications                                                                           Sprint (LTE)
            Clarendon city (15112)               Altice                                                                                                                                   Hughes Network Systems
                                                                                                       Innovative Financial Technologies                                                                           T-Mobile (LTE)
79226       Howardwick city (35072)              Mid-Plains Rural Telephone Cooperative                                                           ---                                     ViaSat
                                                                                                       PCC Holdings                                                                                                T-Mobile (5G)
            Unincorporated Area (n|a)            Windstream Holdings                                                                                                                      VSAT Systems
                                                                                                       Telephone and Data Systems                                                                                  United States Cellular Corporation (LTE)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                 American Broadband Communications
                                                                                                       AT&T                                                                               Hughes Network Systems   T-Mobile (LTE)
            Crowell city (17948)                 Cap Rock Telephone Cooperative
79227                                                                                                  Pinnacle Network Solutions                 ---                                     ViaSat                   T-Mobile (5G)
            Unincorporated Area (n|a)            Mid-Plains Rural Telephone Cooperative
                                                                                                       Telephone and Data Systems                                                         VSAT Systems             United States Cellular Corporation (LTE)
                                                 Santa Rosa Telephone Cooperative
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                          Hughes Network Systems
            Dickens city (20332)                 Cap Rock Telephone Cooperative                                                                                                                                    Sprint (LTE)
79229                                                                                                  ---                                        ---                                     ViaSat
            Unincorporated Area (n|a)            Mid-Plains Rural Telephone Cooperative                                                                                                                            T-Mobile (LTE)
                                                                                                                                                                                          VSAT Systems
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                       PCC Holdings
                                                                                                                                                                                          Hughes Network Systems   T-Mobile (LTE)
            Dodson town (20716)                  Mid-Plains Rural Telephone Cooperative                Resound Networks
79230                                                                                                                                             ---                                     ViaSat                   T-Mobile (5G)
            Unincorporated Area (n|a)            Windstream Holdings                                   Southwest Oklahoma Telephone Company
                                                                                                                                                                                          VSAT Systems             United States Cellular Corporation (LTE)
                                                                                                       Telephone and Data Systems
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                                                   Sprint (LTE)
                                                                                                       American Broadband Communications                                                  Hughes Network Systems
            Estelline town (24636)               Mid-Plains Rural Telephone Cooperative                                                                                                                            T-Mobile (LTE)
79233                                                                                                  PCC Holdings                               ---                                     ViaSat
            Unincorporated Area (n|a)            Windstream Holdings                                                                                                                                               T-Mobile (5G)
                                                                                                       Telephone and Data Systems                                                         VSAT Systems
                                                                                                                                                                                                                   United States Cellular Corporation (LTE)
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                 Altice                                                Fiber Wave
                                                                                                                                                                                          Hughes Network Systems   Sprint (LTE)
            Floydada city (26268)                Cap Rock Telephone Cooperative                        Innovative Financial Technologies          American Broadband Communications
79235                                                                                                                                                                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)            Mid-Plains Rural Telephone Cooperative                PCC Holdings                               AT&T
                                                                                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                 South Plains Telephone Cooperative                    Plains Internet
                                                                                                                                                                                                                   Verizon Wireless (LTE)
                                                                                                                                                                                                                   AT&T Mobility (LTE)
                                                                                                                                                                                          Hughes Network Systems   Sprint (LTE)
            Hedley city (33044)                  Mid-Plains Rural Telephone Cooperative                American Broadband Communications
79237                                                                                                                                             ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)            Windstream Holdings                                   PCC Holdings
                                                                                                                                                                                          VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                   Verizon Wireless (LTE)




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                                                                                                                                                                                                                              Exhibit SET-C
                                                                                       Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                           FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                 Wireline (DSL, Fiber, Cable)                              Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                                               Sprint (LTE)
                                                                                                                                                                                      Hughes Network Systems
            Lakeview town (40888)          Mid-Plains Rural Telephone Cooperative                PCC Holdings                                                                                                  T-Mobile (LTE)
79239                                                                                                                                         ---                                     ViaSat
            Unincorporated Area (n|a)      Windstream Holdings                                   Telephone and Data Systems                                                                                    T-Mobile (5G)
                                                                                                                                                                                      VSAT Systems
                                                                                                                                                                                                               United States Cellular Corporation (LTE)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Lockney town (43252)                                                                 PCC Holdings                                 AT&T
79241                                      Mid-Plains Rural Telephone Cooperative                                                                                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                            Plains Internet                              Innovative Financial Technologies
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                      Hughes Network Systems   AT&T Mobility (LTE)
            Matador town (47004)
79244                                      Cap Rock Telephone Cooperative                        PCC Holdings                                 ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                      VSAT Systems             Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                 American Broadband Communications                                                                             Sprint (LTE)
                                                                                                                                                                                      Hughes Network Systems
            Memphis city (47616)           Mid-Plains Rural Telephone Cooperative                PCC Holdings                                                                                                  T-Mobile (LTE)
79245                                                                                                                                         ---                                     ViaSat
            Unincorporated Area (n|a)      Windstream Holdings                                   Resound Networks                                                                                              T-Mobile (5G)
                                                                                                                                                                                      VSAT Systems
                                                                                                 Telephone and Data Systems                                                                                    United States Cellular Corporation (LTE)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           Altice
                                                                                                                                                                                      Hughes Network Systems   T-Mobile (LTE)
            Paducah town (54600)           Cap Rock Telephone Cooperative                        Legacy ISP
79248                                                                                                                                         ---                                     ViaSat                   T-Mobile (5G)
            Unincorporated Area (n|a)      Mid-Plains Rural Telephone Cooperative                Telephone and Data Systems
                                                                                                                                                                                      VSAT Systems             United States Cellular Corporation (LTE)
                                           Santa Rosa Telephone Cooperative
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                 Innovative Financial Technologies                                                                             AT&T Mobility (5G)
                                                                                                                                                                                      Hughes Network Systems
            Petersburg city (56996)        South Plains Telephone Cooperative                    PCC Holdings                                                                                                  Sprint (LTE)
79250                                                                                                                                         ---                                     ViaSat
            Unincorporated Area (n|a)      Windstream Holdings                                   Plains Internet                                                                                               T-Mobile (LTE)
                                                                                                                                                                                      VSAT Systems
                                                                                                 Resound Networks                                                                                              T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           Altice                                                                                                                                                              Sprint (LTE)
                                                                                                 Pinnacle Network Solutions                                                           Hughes Network Systems
            Quanah city (60044)            AT&T                                                                                                                                                                T-Mobile (LTE)
79252                                                                                            Southwest Oklahoma Telephone Company         ---                                     ViaSat
            Unincorporated Area (n|a)      Mid-Plains Rural Telephone Cooperative                                                                                                                              T-Mobile (5G)
                                                                                                 Telephone and Data Systems                                                           VSAT Systems
                                           Santa Rosa Telephone Cooperative                                                                                                                                    United States Cellular Corporation (LTE)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                 PCC Holdings                                                                         Hughes Network Systems
            Quitaque city (60176)          Cap Rock Telephone Cooperative                                                                                                                                      T-Mobile (LTE)
79255                                                                                            Plains Internet                              ---                                     ViaSat
            Unincorporated Area (n|a)      Mid-Plains Rural Telephone Cooperative                                                                                                                              T-Mobile (5G)
                                                                                                 Telephone and Data Systems                                                           VSAT Systems
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                      Hughes Network Systems
            Roaring Springs town (62528)   Cap Rock Telephone Cooperative                                                                                                                                      T-Mobile (LTE)
79256                                                                                            ---                                          ---                                     ViaSat
            Unincorporated Area (n|a)      Mid-Plains Rural Telephone Cooperative                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                      VSAT Systems
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                      Hughes Network Systems
            Silverton city (67904)                                                               PCC Holdings                                                                                                  T-Mobile (LTE)
79257                                      Mid-Plains Rural Telephone Cooperative                                                             ---                                     ViaSat
            Unincorporated Area (n|a)                                                            South Central Tower Company                                                                                   T-Mobile (5G)
                                                                                                                                                                                      VSAT Systems
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                      Hughes Network Systems   T-Mobile (LTE)
            Turkey city (73964)                                                                  PCC Holdings
79261                                      Cap Rock Telephone Cooperative                                                                     ---                                     ViaSat                   T-Mobile (5G)
            Unincorporated Area (n|a)                                                            Telephone and Data Systems
                                                                                                                                                                                      VSAT Systems             United States Cellular Corporation (LTE)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           AT&T                                                                                                                                                                AT&T Mobility (5G)
                                                                                                 Innovative Financial Technologies
                                           Mid-Plains Rural Telephone Cooperative                                                                                                     Hughes Network Systems   ClearTalk (LTE)
            Abernathy city (00160)                                                               PCC Holdings
79311                                      NTS                                                                                                ---                                     ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)                                                            Plains Internet
                                           South Plains Telephone Cooperative                                                                                                         VSAT Systems             T-Mobile (LTE)
                                                                                                 Resound Networks
                                           Windstream Holdings                                                                                                                                                 T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           Cable One                                                                                                                                                           ClearTalk (LTE)
                                                                                                                                                                                      Hughes Network Systems
            Amherst city (03084)           Mid-Plains Rural Telephone Cooperative                                                             Five Area Telephone Cooperative                                  Sprint (LTE)
79312                                                                                            PCC Holdings                                                                         ViaSat
            Unincorporated Area (n|a)      South Plains Telephone Cooperative                                                                 Innovative Financial Technologies                                T-Mobile (LTE)
                                                                                                                                                                                      VSAT Systems
                                           Windstream Holdings                                                                                                                                                 T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                                               AT&T Mobility (5G)
                                           Mid-Plains Rural Telephone Cooperative                                                                                                     Hughes Network Systems   ClearTalk (LTE)
            Anton city (03540)                                                                   PCC Holdings
79313                                      South Plains Telephone Cooperative                                                                 ---                                     ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)                                                            Resound Networks
                                           Windstream Holdings                                                                                                                        VSAT Systems             T-Mobile (LTE)
                                                                                                                                                                                                               T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                                               AT&T Mobility (5G)
                                                                                                 JAB Wireless                                 Dell Telephone Cooperative              Hughes Network Systems   ClearTalk (LTE)
            Brownfield city (10720)        Mid-Plains Rural Telephone Cooperative
79316                                                                                            PCC Holdings                                 NTS                                     ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)      Windstream Holdings
                                                                                                 Resound Networks                             Poka Lambro Telephone Cooperative       VSAT Systems             T-Mobile (LTE)
                                                                                                                                                                                                               T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           Cap Rock Telephone Cooperative
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Crosbyton city (17768)         Mid-Plains Rural Telephone Cooperative                Fiber Wave
79322                                                                                                                                         Innovative Financial Technologies       ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      South Plains Telephone Cooperative                    PCC Holdings
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                           Windstream Holdings
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           Comcast                                                                                                                                                             ClearTalk (LTE)
                                                                                                 JAB Wireless                                                                         Hughes Network Systems
            Denver City town (19984)       Mid-Plains Rural Telephone Cooperative                                                                                                                              Sprint (LTE)
79323                                                                                            PCC Holdings                                 Resound Networks                        ViaSat
            Unincorporated Area (n|a)      Telephone and Data Systems                                                                                                                                          T-Mobile (LTE)
                                                                                                 Zion Broadband                                                                       VSAT Systems
                                           Windstream Holdings                                                                                                                                                 T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                           Altice
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           ENMR Telephone Cooperative
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Farwell city (25548)           Mid-Plains Rural Telephone Cooperative                American Broadband Communications
79325                                                                                                                                         Five Area Telephone Cooperative         ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      NTS                                                   Southwestern Wireless
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                           West Texas Rural Telephone Cooperative
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                           Windstream Holdings
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           American Broadband Communications                                                                                                                                   AT&T Mobility (5G)
                                                                                                                                                                                      Hughes Network Systems
            Idalou city (35732)            Mid-Plains Rural Telephone Cooperative                Innovative Financial Technologies                                                                             Sprint (LTE)
79329                                                                                                                                         Resound Networks                        ViaSat
            Unincorporated Area (n|a)      South Plains Telephone Cooperative                    PCC Holdings                                                                                                  T-Mobile (LTE)
                                                                                                                                                                                      VSAT Systems
                                           Windstream Holdings                                                                                                                                                 T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                           Comcast
                                                                                                                                              NTS                                     Hughes Network Systems   Sprint (LTE)
            Lamesa city (41164)            Mid-Plains Rural Telephone Cooperative                JAB Wireless
79331                                                                                                                                         Poka Lambro Telephone Cooperative       ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Wes-Tex Telephone Cooperative                         PCC Holdings
                                                                                                                                              Resound Networks                        VSAT Systems             T-Mobile (5G)
                                           Windstream Holdings
                                                                                                                                                                                                               Verizon Wireless (LTE)




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                                                                                                                                                                                                                            Exhibit SET-C
                                                                                     Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                         FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                    Municipalities                Wireline (DSL, Fiber, Cable)                              Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                         Comcast
                                                                                                                                                                                                             AT&T Mobility (5G)
                                         Mid-Plains Rural Telephone Cooperative
            Levelland city (42448)                                                                                                                                                  Hughes Network Systems   ClearTalk (LTE)
                                         NTS                                                   JAB Wireless                                 Five Area Telephone Cooperative
79336       Opdyke West town (54075)                                                                                                                                                ViaSat                   Sprint (LTE)
                                         Poka Lambro Telephone Cooperative                     PCC Holdings                                 Resound Networks
            Unincorporated Area (n|a)                                                                                                                                               VSAT Systems             T-Mobile (LTE)
                                         South Plains Telephone Cooperative
                                                                                                                                                                                                             T-Mobile (5G)
                                         Windstream Holdings
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                         Mid-Plains Rural Telephone Cooperative                                                                                                                              ClearTalk (LTE)
                                                                                               JAB Wireless                                                                         Hughes Network Systems
            Littlefield city (43024)     NTS                                                                                                                                                                 Sprint (LTE)
79339                                                                                          PCC Holdings                                 Five Area Telephone Cooperative         ViaSat
            Unincorporated Area (n|a)    South Plains Telephone Cooperative                                                                                                                                  T-Mobile (LTE)
                                                                                               Resound Networks                                                                     VSAT Systems
                                         Windstream Holdings                                                                                                                                                 T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                               Fiber Wave                                                                                                    AT&T Mobility (5G)
                                         Mid-Plains Rural Telephone Cooperative                                                                                                     Hughes Network Systems
            Lorenzo city (44032)                                                               Innovative Financial Technologies                                                                             Sprint (LTE)
79343                                    South Plains Telephone Cooperative                                                                 ---                                     ViaSat
            Unincorporated Area (n|a)                                                          PCC Holdings                                                                                                  T-Mobile (LTE)
                                         Windstream Holdings                                                                                                                        VSAT Systems
                                                                                               Resound Networks                                                                                              T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             AT&T Mobility (5G)
                                         Mid-Plains Rural Telephone Cooperative                                                                                                     Hughes Network Systems   ClearTalk (LTE)
            Meadow town (47316)                                                                PCC Holdings
79345                                    NTS                                                                                                Poka Lambro Telephone Cooperative       ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)                                                          Resound Networks
                                         Windstream Holdings                                                                                                                        VSAT Systems             T-Mobile (LTE)
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                         Mid-Plains Rural Telephone Cooperative                                                                                                     Hughes Network Systems   ClearTalk (LTE)
            Morton city (49464)
79346                                    South Plains Telephone Cooperative                    PCC Holdings                                 Five Area Telephone Cooperative         ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                         Windstream Holdings                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             ClearTalk (LTE)
                                                                                                                                                                                    Hughes Network Systems
            Muleshoe city (49968)        Mid-Plains Rural Telephone Cooperative                PCC Holdings                                 Five Area Telephone Cooperative                                  Sprint (LTE)
79347                                                                                                                                                                               ViaSat
            Unincorporated Area (n|a)    West Texas Rural Telephone Cooperative                Plains Internet                              Innovative Financial Technologies                                T-Mobile (LTE)
                                                                                                                                                                                    VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             AT&T Mobility (5G)
                                         AT&T                                                                                                                                       Hughes Network Systems
            New Deal town (50916)                                                              PCC Holdings                                                                                                  Sprint (LTE)
79350                                    Mid-Plains Rural Telephone Cooperative                                                             ---                                     ViaSat
            Unincorporated Area (n|a)                                                          Resound Networks                                                                                              T-Mobile (LTE)
                                         NTS                                                                                                                                        VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            O'Donnell city (53436)                                                             PCC Holdings
79351                                    Mid-Plains Rural Telephone Cooperative                                                             Poka Lambro Telephone Cooperative       ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                          Resound Networks
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             ClearTalk (LTE)
                                         Mid-Plains Rural Telephone Cooperative                                                                                                     Hughes Network Systems
            Plains town (57968)                                                                PCC Holdings                                                                                                  Sprint (LTE)
79355                                    Poka Lambro Telephone Cooperative                                                                  ---                                     ViaSat
            Unincorporated Area (n|a)                                                          Resound Networks                                                                                              T-Mobile (LTE)
                                         Windstream Holdings                                                                                                                        VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                         Altice                                                                                                                                                              AT&T Mobility (LTE)
                                         Cap Rock Telephone Cooperative                                                                                                                                      AT&T Mobility (5G)
                                                                                               JAB Wireless                                                                         Hughes Network Systems
            Post city (59012)            Mid-Plains Rural Telephone Cooperative                                                                                                                              Sprint (LTE)
79356                                                                                          PCC Holdings                                 ---                                     ViaSat
            Unincorporated Area (n|a)    Poka Lambro Telephone Cooperative                                                                                                                                   T-Mobile (LTE)
                                                                                               Resound Networks                                                                     VSAT Systems
                                         South Plains Telephone Cooperative                                                                                                                                  T-Mobile (5G)
                                         Windstream Holdings                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                               AT&T                                                                                                          AT&T Mobility (5G)
                                         Mid-Plains Rural Telephone Cooperative                                                                                                     Hughes Network Systems
            Ralls city (60356)                                                                 Fiber Wave                                                                                                    Sprint (LTE)
79357                                    South Plains Telephone Cooperative                                                                 Innovative Financial Technologies       ViaSat
            Unincorporated Area (n|a)                                                          PCC Holdings                                                                                                  T-Mobile (LTE)
                                         Windstream Holdings                                                                                                                        VSAT Systems
                                                                                               Resound Networks                                                                                              T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             AT&T Mobility (5G)
                                         NTS                                                   JAB Wireless                                                                         Hughes Network Systems
            Ropesville city (63140)                                                                                                                                                                          Sprint (LTE)
79358                                    South Plains Telephone Cooperative                    PCC Holdings                                 Poka Lambro Telephone Cooperative       ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                        T-Mobile (LTE)
                                         Windstream Holdings                                   Resound Networks                                                                     VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                               JAB Wireless                                                                                                  ClearTalk (LTE)
                                         Mid-Plains Rural Telephone Cooperative                                                                                                     Hughes Network Systems
            Seagraves city (66440)                                                             PCC Holdings                                                                                                  Sprint (LTE)
79359                                    Telephone and Data Systems                                                                         Poka Lambro Telephone Cooperative       ViaSat
            Unincorporated Area (n|a)                                                          Resound Networks                                                                                              T-Mobile (LTE)
                                         Windstream Holdings                                                                                                                        VSAT Systems
                                                                                               Zion Broadband                                                                                                T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                         AT&T                                                                                                                                                                AT&T Mobility (LTE)
                                         Mid-Plains Rural Telephone Cooperative                JAB Wireless                                                                         Hughes Network Systems   Sprint (LTE)
            Seminole city (66764)                                                                                                           Dell Telephone Cooperative
79360                                    Poka Lambro Telephone Cooperative                     PCC Holdings                                                                         ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                       Resound Networks
                                         Telephone and Data Systems                            Zion Broadband                                                                       VSAT Systems             T-Mobile (5G)
                                         Windstream Holdings                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                         Altice                                                                                                                                                              AT&T Mobility (5G)
                                         AT&T                                                  JAB Wireless                                                                         Hughes Network Systems   ClearTalk (LTE)
            Shallowater city (67136)
79363                                    Mid-Plains Rural Telephone Cooperative                PCC Holdings                                 ---                                     ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)
                                         South Plains Telephone Cooperative                    Resound Networks                                                                     VSAT Systems             T-Mobile (LTE)
                                         Windstream Holdings                                                                                                                                                 T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                         American Broadband Communications                                                                                                                                   AT&T Mobility (LTE)
                                         AT&T                                                  Innovative Financial Technologies                                                                             AT&T Mobility (5G)
                                                                                                                                                                                    Hughes Network Systems
            Slaton city (68180)          Mid-Plains Rural Telephone Cooperative                JAB Wireless                                                                                                  Sprint (LTE)
79364                                                                                                                                       NTS                                     ViaSat
            Unincorporated Area (n|a)    Poka Lambro Telephone Cooperative                     PCC Holdings                                                                                                  T-Mobile (LTE)
                                                                                                                                                                                    VSAT Systems
                                         South Plains Telephone Cooperative                    Resound Networks                                                                                              T-Mobile (5G)
                                         Windstream Holdings                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             AT&T Mobility (5G)
                                         Mid-Plains Rural Telephone Cooperative                                                                                                     Hughes Network Systems
                                                                                               PCC Holdings                                                                                                  Sprint (LTE)
79366       Ransom Canyon town (60672)   NTS                                                                                                ---                                     ViaSat
                                                                                               Resound Networks                                                                                              T-Mobile (LTE)
                                         South Plains Telephone Cooperative                                                                                                         VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             AT&T Mobility (5G)
                                         AT&T
                                                                                               JAB Wireless                                                                         Hughes Network Systems   ClearTalk (LTE)
            Smyer town (68504)           Mid-Plains Rural Telephone Cooperative
79367                                                                                          PCC Holdings                                 ---                                     ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)    NTS
                                                                                               Resound Networks                                                                     VSAT Systems             T-Mobile (LTE)
                                         Windstream Holdings
                                                                                                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)




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                                                                                                                                                                                                                                 Exhibit SET-C
                                                                                          Listing of Texas Municipalities and Internet Service Providers by Zip Code

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                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                              Cap Rock Telephone Cooperative                                                                                                             Hughes Network Systems   Sprint (LTE)
            Spur city (69848)
79370                                         Mid-Plains Rural Telephone Cooperative                PCC Holdings                                 ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                              South Plains Telephone Cooperative                                                                                                         VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                                                                                                                                  ClearTalk (LTE)
                                                                                                                                                                                         Hughes Network Systems
            Sudan city (70772)                                                                      Innovative Financial Technologies                                                                             Sprint (LTE)
79371                                         Windstream Holdings                                                                                Five Area Telephone Cooperative         ViaSat
            Unincorporated Area (n|a)                                                               PCC Holdings                                                                                                  T-Mobile (LTE)
                                                                                                                                                                                         VSAT Systems
                                                                                                                                                                                                                  T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                                                                                                         Hughes Network Systems
            Sundown city (71060)              Mid-Plains Rural Telephone Cooperative                PCC Holdings                                                                                                  T-Mobile (LTE)
79372                                                                                                                                            ---                                     ViaSat
            Unincorporated Area (n|a)         Windstream Holdings                                   Resound Networks                                                                                              T-Mobile (5G)
                                                                                                                                                                                         VSAT Systems
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                              Mid-Plains Rural Telephone Cooperative                                                                                                                              AT&T Mobility (5G)
                                                                                                                                                                                         Hughes Network Systems
            Tahoka city (71708)               NTS                                                   PCC Holdings                                                                                                  Sprint (LTE)
79373                                                                                                                                            Poka Lambro Telephone Cooperative       ViaSat
            Unincorporated Area (n|a)         South Plains Telephone Cooperative                    Resound Networks                                                                                              T-Mobile (LTE)
                                                                                                                                                                                         VSAT Systems
                                              Windstream Holdings                                                                                                                                                 T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                                                                                                         Hughes Network Systems   ClearTalk (LTE)
            Wellman city (77164)              Mid-Plains Rural Telephone Cooperative                PCC Holdings
79378                                                                                                                                            Poka Lambro Telephone Cooperative       ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)         Windstream Holdings                                   Resound Networks
                                                                                                                                                                                         VSAT Systems             T-Mobile (LTE)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                              Five Area Telephone Cooperative                                                                                                            Hughes Network Systems   ClearTalk (LTE)
            Whiteface town (78328)                                                                  PCC Holdings
79379                                         South Plains Telephone Cooperative                                                                 ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                               Resound Networks
                                              Windstream Holdings                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                              Mid-Plains Rural Telephone Cooperative
                                                                                                                                                                                                                  AT&T Mobility (5G)
            New Home city (51012)             NTS                                                                                                                                        Hughes Network Systems
                                                                                                    PCC Holdings                                                                                                  Sprint (LTE)
79381       Wilson city (79612)               Poka Lambro Telephone Cooperative                                                                  ---                                     ViaSat
                                                                                                    Resound Networks                                                                                              T-Mobile (LTE)
            Unincorporated Area (n|a)         South Plains Telephone Cooperative                                                                                                         VSAT Systems
                                                                                                                                                                                                                  T-Mobile (5G)
                                              Windstream Holdings
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                              Altice
                                                                                                                                                                                                                  AT&T Mobility (5G)
                                              Mid-Plains Rural Telephone Cooperative                JAB Wireless                                                                         Hughes Network Systems
            Wolfforth city (79972)                                                                                                                                                                                Sprint (LTE)
79382                                         NTS                                                   PCC Holdings                                 ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                             T-Mobile (LTE)
                                              South Plains Telephone Cooperative                    Resound Networks                                                                     VSAT Systems
                                                                                                                                                                                                                  T-Mobile (5G)
                                              Windstream Holdings
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                              Altice
                                                                                                                                                                                                                  AT&T Mobility (5G)
                                              American Broadband Communications                     JAB Wireless                                                                         Hughes Network Systems
                                                                                                                                                                                                                  Sprint (LTE)
79401       Lubbock city (45000)              AT&T                                                  PCC Holdings                                 Dell Telephone Cooperative              ViaSat
                                                                                                                                                                                                                  T-Mobile (LTE)
                                              Mid-Plains Rural Telephone Cooperative                Resound Networks                                                                     VSAT Systems
                                                                                                                                                                                                                  T-Mobile (5G)
                                              NTS
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                              Altice
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                              American Broadband Communications
                                                                                                    Innovative Financial Technologies                                                                             AT&T Mobility (5G)
            Lubbock city (45000)              AT&T                                                                                                                                       Hughes Network Systems
                                                                                                    JAB Wireless                                                                                                  Sprint (LTE)
79403       New Deal town (50916)             Mid-Plains Rural Telephone Cooperative                                                             ---                                     ViaSat
                                                                                                    PCC Holdings                                                                                                  T-Mobile (LTE)
            Unincorporated Area (n|a)         NTS                                                                                                                                        VSAT Systems
                                                                                                    Resound Networks                                                                                              T-Mobile (5G)
                                              South Plains Telephone Cooperative
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                              Windstream Holdings
                                              Altice                                                                                                                                                              AT&T Mobility (LTE)
                                              American Broadband Communications                                                                                                                                   AT&T Mobility (5G)
            Buffalo Springs village (11155)                                                         JAB Wireless                                                                         Hughes Network Systems
                                              AT&T                                                                                                                                                                Sprint (LTE)
79404       Lubbock city (45000)                                                                    PCC Holdings                                 ---                                     ViaSat
                                              Mid-Plains Rural Telephone Cooperative                                                                                                                              T-Mobile (LTE)
            Unincorporated Area (n|a)                                                               Resound Networks                                                                     VSAT Systems
                                              NTS                                                                                                                                                                 T-Mobile (5G)
                                              South Plains Telephone Cooperative                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                                                                                                                                                                                                  AT&T Mobility (5G)
                                              AT&T                                                  JAB Wireless                                                                         Hughes Network Systems
                                                                                                                                                                                                                  Sprint (LTE)
79406       Lubbock city (45000)              Mid-Plains Rural Telephone Cooperative                PCC Holdings                                 ---                                     ViaSat
                                                                                                                                                                                                                  T-Mobile (LTE)
                                              NTS                                                   Resound Networks                                                                     VSAT Systems
                                                                                                                                                                                                                  T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                              Altice                                                                                                                                                              AT&T Mobility (LTE)
                                              American Broadband Communications                                                                                                                                   AT&T Mobility (5G)
                                              AT&T                                                  JAB Wireless                                                                         Hughes Network Systems   ClearTalk (LTE)
            Lubbock city (45000)
79407                                         Mid-Plains Rural Telephone Cooperative                PCC Holdings                                 ---                                     ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)
                                              NTS                                                   Resound Networks                                                                     VSAT Systems             T-Mobile (LTE)
                                              South Plains Telephone Cooperative                                                                                                                                  T-Mobile (5G)
                                              Windstream Holdings                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                              Altice                                                                                                                                                              AT&T Mobility (5G)
                                                                                                    JAB Wireless                                                                         Hughes Network Systems
                                              American Broadband Communications                                                                                                                                   Sprint (LTE)
79410       Lubbock city (45000)                                                                    PCC Holdings                                 ---                                     ViaSat
                                              AT&T                                                                                                                                                                T-Mobile (LTE)
                                                                                                    Resound Networks                                                                     VSAT Systems
                                              NTS                                                                                                                                                                 T-Mobile (5G)
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                              Altice
                                                                                                                                                                                                                  AT&T Mobility (5G)
                                              American Broadband Communications                     JAB Wireless                                                                         Hughes Network Systems
                                                                                                                                                                                                                  Sprint (LTE)
79411       Lubbock city (45000)              AT&T                                                  PCC Holdings                                 ---                                     ViaSat
                                                                                                                                                                                                                  T-Mobile (LTE)
                                              Mid-Plains Rural Telephone Cooperative                Resound Networks                                                                     VSAT Systems
                                                                                                                                                                                                                  T-Mobile (5G)
                                              NTS
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                              Altice
                                                                                                                                                                                                                  AT&T Mobility (5G)
                                              American Broadband Communications                     JAB Wireless                                                                         Hughes Network Systems
                                                                                                                                                                                                                  Sprint (LTE)
79412       Lubbock city (45000)              AT&T                                                  PCC Holdings                                 ---                                     ViaSat
                                                                                                                                                                                                                  T-Mobile (LTE)
                                              Mid-Plains Rural Telephone Cooperative                Resound Networks                                                                     VSAT Systems
                                                                                                                                                                                                                  T-Mobile (5G)
                                              NTS
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                              Altice
                                                                                                                                                                                                                  AT&T Mobility (5G)
                                              American Broadband Communications                     JAB Wireless                                                                         Hughes Network Systems
                                                                                                                                                                                                                  Sprint (LTE)
79413       Lubbock city (45000)              AT&T                                                  PCC Holdings                                 ---                                     ViaSat
                                                                                                                                                                                                                  T-Mobile (LTE)
                                              Mid-Plains Rural Telephone Cooperative                Resound Networks                                                                     VSAT Systems
                                                                                                                                                                                                                  T-Mobile (5G)
                                              NTS
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                              Altice
                                                                                                                                                                                                                  AT&T Mobility (5G)
                                              American Broadband Communications                     JAB Wireless                                                                         Hughes Network Systems
                                                                                                                                                                                                                  Sprint (LTE)
79414       Lubbock city (45000)              AT&T                                                  PCC Holdings                                 ---                                     ViaSat
                                                                                                                                                                                                                  T-Mobile (LTE)
                                              Mid-Plains Rural Telephone Cooperative                Resound Networks                                                                     VSAT Systems
                                                                                                                                                                                                                  T-Mobile (5G)
                                              NTS
                                                                                                                                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                                  AT&T Mobility (LTE)
                                              Altice
                                                                                                                                                                                                                  AT&T Mobility (5G)
                                              AT&T
                                                                                                    JAB Wireless                                                                         Hughes Network Systems   ClearTalk (LTE)
            Lubbock city (45000)              Mid-Plains Rural Telephone Cooperative
79415                                                                                               PCC Holdings                                 American Broadband Communications       ViaSat                   Sprint (LTE)
            Unincorporated Area (n|a)         NTS
                                                                                                    Resound Networks                                                                     VSAT Systems             T-Mobile (LTE)
                                              South Plains Telephone Cooperative
                                                                                                                                                                                                                  T-Mobile (5G)
                                              Windstream Holdings
                                                                                                                                                                                                                  Verizon Wireless (LTE)




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                                                                                                                                                                                                                             Exhibit SET-C
                                                                                      Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                          FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                Wireline (DSL, Fiber, Cable)                              Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                          Altice
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                          American Broadband Communications
                                                                                                                                                                                                              AT&T Mobility (5G)
                                          AT&T                                                                                                                                       Hughes Network Systems
            Lubbock city (45000)                                                                JAB Wireless                                                                                                  Sprint (LTE)
79416                                     Mid-Plains Rural Telephone Cooperative                                                             ---                                     ViaSat
            Unincorporated Area (n|a)                                                           PCC Holdings                                                                                                  T-Mobile (LTE)
                                          NTS                                                                                                                                        VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                          Resound Networks
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                          Windstream Holdings
                                          Altice
                                          American Broadband Communications                                                                                                                                   AT&T Mobility (LTE)
                                          AT&T                                                                                                                                                                AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
            Lubbock city (45000)          En-Touch Systems                                      JAB Wireless                                                                                                  Sprint (LTE)
79423                                                                                                                                        Resound Networks                        ViaSat
            Unincorporated Area (n|a)     Mid-Plains Rural Telephone Cooperative                PCC Holdings                                                                                                  T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                          NTS                                                                                                                                                                 T-Mobile (5G)
                                          Poka Lambro Telephone Cooperative                                                                                                                                   Verizon Wireless (LTE)
                                          South Plains Telephone Cooperative
                                          Altice
                                          American Broadband Communications
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                          AT&T
                                                                                                                                                                                                              AT&T Mobility (5G)
                                          Cable One                                             JAB Wireless                                                                         Hughes Network Systems
            Lubbock city (45000)                                                                                                                                                                              Sprint (LTE)
79424                                     Comcast                                               PCC Holdings                                 Dell Telephone Cooperative              ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                         T-Mobile (LTE)
                                          Mid-Plains Rural Telephone Cooperative                Resound Networks                                                                     VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                          NTS
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                          South Plains Telephone Cooperative
                                          Windstream Holdings
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                          Altice                                                                                                                                                              AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
            Anson city (03372)            AT&T                                                                                                                                                                Sprint (LTE)
79501                                                                                           PCC Holdings                                 ---                                     ViaSat
            Unincorporated Area (n|a)     Mid-Plains Rural Telephone Cooperative                                                                                                                              T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                          Taylor Telephone Cooperative                                                                                                                                        T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Aspermont town (04408)        Santa Rosa Telephone Cooperative                      American Broadband Communications            AT&T
79502                                                                                                                                                                                ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Windstream Holdings                                   PCC Holdings                                 Cap Rock Telephone Cooperative
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                American Broadband Communications                                                                             AT&T Mobility (5G)
                                                                                                AMG Technology Investment Group                                                      Hughes Network Systems   Sprint (LTE)
            Baird city (05336)            Taylor Telephone Cooperative
79504                                                                                           Central Texas Telephone Cooperative          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Windstream Holdings
                                                                                                New Source Broadband                                                                 VSAT Systems             T-Mobile (5G)
                                                                                                PCC Holdings                                                                                                  Verizon Wireless (LTE)
                                                                                                                                                                                                              West Central Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                American Broadband Communications                                                    Hughes Network Systems   T-Mobile (LTE)
            Benjamin city (07636)         Santa Rosa Telephone Cooperative
79505                                                                                           Pinnacle Network Solutions                   ---                                     ViaSat                   T-Mobile (5G)
            Unincorporated Area (n|a)     Windstream Holdings
                                                                                                Telephone and Data Systems                                                           VSAT Systems             United States Cellular Corporation (LTE)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                          Alenco Communications                                                                                                                                               AT&T Mobility (LTE)
                                                                                                American Broadband Communications                                                    Hughes Network Systems
            Blackwell city (08488)        Mid-Plains Rural Telephone Cooperative                                                                                                                              T-Mobile (LTE)
79506                                                                                           Central Texas Telephone Cooperative          ---                                     ViaSat
            Unincorporated Area (n|a)     Taylor Telephone Cooperative                                                                                                                                        Verizon Wireless (LTE)
                                                                                                JAB Wireless                                                                         VSAT Systems
                                          Windstream Holdings                                                                                                                                                 West Central Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                          AT&T                                                                                                                                                                AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
            Buffalo Gap town (11128)      Mid-Plains Rural Telephone Cooperative                                                                                                                              Sprint (LTE)
79508                                                                                           JAB Wireless                                 ---                                     ViaSat
            Unincorporated Area (n|a)     Taylor Electric Cooperative                                                                                                                                         T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                          Taylor Telephone Cooperative                                                                                                                                        T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                          Coleman County Telephone Cooperative                                                                                                                                AT&T Mobility (5G)
                                          Mid-Plains Rural Telephone Cooperative                AMG Technology Investment Group                                                      Hughes Network Systems   Sprint (LTE)
            Clyde city (15676)
79510                                     NTS                                                   Central Texas Telephone Cooperative          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          Taylor Telephone Cooperative                          PCC Holdings                                                                         VSAT Systems             T-Mobile (5G)
                                          Windstream Holdings                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                              West Central Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Coahoma town (15700)          Altice
79511                                                                                           Basin 2 Way Radio                            Wes-Tex Telephone Cooperative           ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Mid-Plains Rural Telephone Cooperative
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                American Broadband Communications                                                                             AT&T Mobility (LTE)
                                                                                                Basin 2 Way Radio                                                                                             Sprint (LTE)
                                                                                                                                             AT&T                                    Hughes Network Systems
            Colorado City city (16120)    NTS                                                   Central Texas Telephone Cooperative                                                                           T-Mobile (LTE)
79512                                                                                                                                        Dell Telephone Cooperative              ViaSat
            Unincorporated Area (n|a)     Windstream Holdings                                   JAB Wireless                                                                                                  T-Mobile (5G)
                                                                                                                                             Wes-Tex Telephone Cooperative           VSAT Systems
                                                                                                PCC Holdings                                                                                                  Verizon Wireless (LTE)
                                                                                                TPT Global Technologies                                                                                       West Central Wireless (LTE)
                                          Alenco Communications                                                                                                                                               AT&T Mobility (LTE)
                                          Altice                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Hamlin city (31964)
79520                                     AT&T                                                  PCC Holdings                                 ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          Mid-Plains Rural Telephone Cooperative                                                                                                     VSAT Systems             T-Mobile (5G)
                                          Taylor Telephone Cooperative                                                                                                                                        Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
            Haskell city (32696)          Mid-Plains Rural Telephone Cooperative                                                                                                     Hughes Network Systems   Sprint (LTE)
                                                                                                PCC Holdings
79521       Stamford city (69980)         Santa Rosa Telephone Cooperative                                                                   ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                Pinnacle Network Solutions
            Unincorporated Area (n|a)     Windstream Holdings                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
                                                                                                                                                                                     Hughes Network Systems
            Hawley city (32840)           Mid-Plains Rural Telephone Cooperative                                                                                                                              Sprint (LTE)
79525                                                                                           PCC Holdings                                 ---                                     ViaSat
            Unincorporated Area (n|a)     Taylor Telephone Cooperative                                                                                                                                        T-Mobile (LTE)
                                                                                                                                                                                     VSAT Systems
                                                                                                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                     Hughes Network Systems
            Jayton city (37468)           Cap Rock Telephone Cooperative                                                                                                                                      T-Mobile (LTE)
79528                                                                                           PCC Holdings                                 ---                                     ViaSat
            Unincorporated Area (n|a)     Mid-Plains Rural Telephone Cooperative                                                                                                                              T-Mobile (5G)
                                                                                                                                                                                     VSAT Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                          Mid-Plains Rural Telephone Cooperative                American Broadband Communications                                                    Hughes Network Systems   T-Mobile (LTE)
            Knox City town (39700)
79529                                     Santa Rosa Telephone Cooperative                      Pinnacle Network Solutions                   ---                                     ViaSat                   T-Mobile (5G)
            Unincorporated Area (n|a)
                                          Windstream Holdings                                   Telephone and Data Systems                                                           VSAT Systems             United States Cellular Corporation (LTE)
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                                                                                                                              AT&T Mobility (5G)
                                                                                                Central Texas Telephone Cooperative                                                  Hughes Network Systems
            Lawn town (41872)                                                                                                                                                                                 Sprint (LTE)
79530                                     Taylor Telephone Cooperative                          JAB Wireless                                 ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                         T-Mobile (LTE)
                                                                                                PCC Holdings                                                                         VSAT Systems
                                                                                                                                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                              West Central Wireless (LTE)
                                                                                                                                                                                                              AT&T Mobility (LTE)
                                                                                                American Broadband Communications
                                                                                                                                                                                     Hughes Network Systems   Sprint (LTE)
            Loraine town (43996)                                                                Balatize Broadband Services
79532                                     Windstream Holdings                                                                                ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                           JAB Wireless
                                                                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                PCC Holdings
                                                                                                                                                                                                              Verizon Wireless (LTE)




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                                                                                                                                                                                                                            Exhibit SET-C
                                                                                     Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                         FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                    Municipalities                Wireline (DSL, Fiber, Cable)                              Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Lueders city (45048)         Mid-Plains Rural Telephone Cooperative
79533                                                                                          PCC Holdings                                 ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)    Taylor Telephone Cooperative
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                         AT&T                                                                                                                                                                AT&T Mobility (LTE)
                                         Cable One                                                                                                                                                           AT&T Mobility (5G)
                                                                                                                                                                                    Hughes Network Systems
            Merkel town (47796)          Mid-Plains Rural Telephone Cooperative                American Broadband Communications                                                                             Sprint (LTE)
79536                                                                                                                                       ---                                     ViaSat
            Unincorporated Area (n|a)    Taylor Electric Cooperative                           PCC Holdings                                                                                                  T-Mobile (LTE)
                                                                                                                                                                                    VSAT Systems
                                         Taylor Telephone Cooperative                                                                                                                                        T-Mobile (5G)
                                         Windstream Holdings                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                                             AT&T Mobility (5G)
                                                                                               AMG Technology Investment Group
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Novice city (52668)          Coleman County Telephone Cooperative                  Central Texas Telephone Cooperative
79538                                                                                                                                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)    Taylor Telephone Cooperative                          JAB Wireless
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                               PCC Holdings
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             West Central Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                         Mid-Plains Rural Telephone Cooperative                                                                                                     Hughes Network Systems
            O'Brien city (53304)                                                               American Broadband Communications                                                                             T-Mobile (LTE)
79539                                    Santa Rosa Telephone Cooperative                                                                   ---                                     ViaSat
            Unincorporated Area (n|a)                                                          Pinnacle Network Solutions                                                                                    T-Mobile (5G)
                                         Windstream Holdings                                                                                                                        VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Roby city (62612)            Alenco Communications
79543                                                                                          PCC Holdings                                 AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)    Taylor Telephone Cooperative
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Rochester town (62636)       Santa Rosa Telephone Cooperative                      American Broadband Communications
79544                                                                                                                                       ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)    Windstream Holdings                                   Pinnacle Network Solutions
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                         Alenco Communications
                                                                                               American Broadband Communications                                                    Hughes Network Systems   Sprint (LTE)
            Roscoe city (63176)          AT&T
79545                                                                                          Balatize Broadband Services                  ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)    Mid-Plains Rural Telephone Cooperative
                                                                                               PCC Holdings                                                                         VSAT Systems             T-Mobile (5G)
                                         Windstream Holdings
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                         Altice                                                                                                                                     Hughes Network Systems
            Rotan city (63464)                                                                                                                                                                               T-Mobile (LTE)
79546                                    Cap Rock Telephone Cooperative                        PCC Holdings                                 AT&T                                    ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                        T-Mobile (5G)
                                         Mid-Plains Rural Telephone Cooperative                                                                                                     VSAT Systems
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                         Mid-Plains Rural Telephone Cooperative                                                                                                     Hughes Network Systems   Sprint (LTE)
            Rule town (63752)                                                                  PCC Holdings
79547                                    Santa Rosa Telephone Cooperative                                                                   ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                          Pinnacle Network Solutions
                                         Windstream Holdings                                                                                                                        VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                         Altice
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                         American Broadband Communications
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Snyder city (68624)          Cap Rock Telephone Cooperative
79549                                                                                          PCC Holdings                                 AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)    Comcast
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                         Mid-Plains Rural Telephone Cooperative
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                         Windstream Holdings
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                         AT&T
                                                                                               JAB Wireless                                                                         Hughes Network Systems   Sprint (LTE)
            Stamford city (69980)        Mid-Plains Rural Telephone Cooperative
79553                                                                                          PCC Holdings                                 ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)    Santa Rosa Telephone Cooperative
                                                                                               Pinnacle Network Solutions                                                           VSAT Systems             T-Mobile (5G)
                                         Windstream Holdings
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                         Alenco Communications                                                                                                                                               AT&T Mobility (LTE)
                                         Altice                                                Balatize Broadband Services                                                          Hughes Network Systems   Sprint (LTE)
            Sweetwater city (71540)
79556                                    Mid-Plains Rural Telephone Cooperative                Central Texas Telephone Cooperative          AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                         Taylor Telephone Cooperative                          PCC Holdings                                                                         VSAT Systems             T-Mobile (5G)
                                         Windstream Holdings                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                         Alenco Communications                                                                                                                                               AT&T Mobility (5G)
                                                                                               American Broadband Communications                                                    Hughes Network Systems
            Trent town (73580)           Mid-Plains Rural Telephone Cooperative                                                                                                                              Sprint (LTE)
79561                                                                                          AT&T                                         ---                                     ViaSat
            Unincorporated Area (n|a)    Taylor Electric Cooperative                                                                                                                                         T-Mobile (LTE)
                                                                                               PCC Holdings                                                                         VSAT Systems
                                         Windstream Holdings                                                                                                                                                 T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                         Altice                                                                                                                                                              AT&T Mobility (5G)
                                         AT&T                                                  Central Texas Telephone Cooperative                                                  Hughes Network Systems   Sprint (LTE)
            Tuscola city (74048)
79562                                    Mid-Plains Rural Telephone Cooperative                JAB Wireless                                 ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                         Taylor Electric Cooperative                           PCC Holdings                                                                         VSAT Systems             T-Mobile (5G)
                                         Taylor Telephone Cooperative                                                                                                                                        Verizon Wireless (LTE)
                                                                                                                                                                                                             West Central Wireless (LTE)
                                         Altice                                                                                                                                                              AT&T Mobility (LTE)
                                         AT&T                                                                                                                                                                AT&T Mobility (5G)
                                                                                                                                                                                    Hughes Network Systems
            Tye city (74132)             Mid-Plains Rural Telephone Cooperative                                                                                                                              Sprint (LTE)
79563                                                                                          American Broadband Communications            ---                                     ViaSat
            Unincorporated Area (n|a)    NTS                                                                                                                                                                 T-Mobile (LTE)
                                                                                                                                                                                    VSAT Systems
                                         Taylor Electric Cooperative                                                                                                                                         T-Mobile (5G)
                                         Windstream Holdings                                                                                                                                                 Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Westbrook city (77380)
79565                                    ---                                                   Basin 2 Way Radio                            AT&T                                    ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                                                                               AMG Technology Investment Group
                                                                                                                                                                                                             AT&T Mobility (5G)
                                                                                               Central Texas Telephone Cooperative
                                                                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Winters city (79876)         GCTR                                                  JAB Wireless
79567                                                                                                                                       Frontier Communications                 ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)    Taylor Telephone Cooperative                          PCC Holdings
                                                                                                                                                                                    VSAT Systems             T-Mobile (5G)
                                                                                               South Central Tower Company
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                                                                               VGI Technology
                                                                                                                                                                                                             West Central Wireless (LTE)
                                         Altice
                                         AT&T                                                                                                                                                                AT&T Mobility (LTE)
                                         Mid-Plains Rural Telephone Cooperative                                                                                                                              AT&T Mobility (5G)
                                                                                               AMG Technology Investment Group                                                      Hughes Network Systems
            Abilene city (01000)         NTS                                                                                                                                                                 Sprint (LTE)
79601                                                                                          JAB Wireless                                 ---                                     ViaSat
            Unincorporated Area (n|a)    One Ring Networks                                                                                                                                                   T-Mobile (LTE)
                                                                                               PCC Holdings                                                                         VSAT Systems
                                         Taylor Electric Cooperative                                                                                                                                         T-Mobile (5G)
                                         Taylor Telephone Cooperative                                                                                                                                        Verizon Wireless (LTE)
                                         Windstream Holdings
                                         Alphabet
                                         Altice
                                                                                                                                                                                                             AT&T Mobility (LTE)
                                         American Broadband Communications
                                                                                                                                                                                                             AT&T Mobility (5G)
                                         AT&T                                                                                                                                       Hughes Network Systems
            Abilene city (01000)                                                               AMG Technology Investment Group                                                                               Sprint (LTE)
79602                                    Mid-Plains Rural Telephone Cooperative                                                             ---                                     ViaSat
            Unincorporated Area (n|a)                                                          JAB Wireless                                                                                                  T-Mobile (LTE)
                                         NTS                                                                                                                                        VSAT Systems
                                                                                                                                                                                                             T-Mobile (5G)
                                         Taylor Electric Cooperative
                                                                                                                                                                                                             Verizon Wireless (LTE)
                                         Taylor Telephone Cooperative
                                         Windstream Holdings




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                                                                                                                                                                                                                              Exhibit SET-C
                                                                                      Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                           FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                Wireline (DSL, Fiber, Cable)                               Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                          Altice                                                                                                                                                               AT&T Mobility (LTE)
                                          AT&T                                                                                                                                                                 AT&T Mobility (5G)
                                                                                                                                                                                      Hughes Network Systems
            Abilene city (01000)          Mid-Plains Rural Telephone Cooperative                                                                                                                               Sprint (LTE)
79603                                                                                           JAB Wireless                                  ---                                     ViaSat
            Unincorporated Area (n|a)     NTS                                                                                                                                                                  T-Mobile (LTE)
                                                                                                                                                                                      VSAT Systems
                                          Taylor Electric Cooperative                                                                                                                                          T-Mobile (5G)
                                          Taylor Telephone Cooperative                                                                                                                                         Verizon Wireless (LTE)
                                          Altice
                                          American Broadband Communications                                                                                                                                    AT&T Mobility (LTE)
                                          AT&T                                                                                                                                                                 AT&T Mobility (5G)
                                                                                                                                                                                      Hughes Network Systems
                                          Comcast                                                                                                                                                              Sprint (LTE)
79605       Abilene city (01000)                                                                JAB Wireless                                  ---                                     ViaSat
                                          Mid-Plains Rural Telephone Cooperative                                                                                                                               T-Mobile (LTE)
                                                                                                                                                                                      VSAT Systems
                                          NTS                                                                                                                                                                  T-Mobile (5G)
                                          Taylor Telephone Cooperative                                                                                                                                         Verizon Wireless (LTE)
                                          Windstream Holdings
                                          Altice
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                          AT&T
                                                                                                                                                                                                               AT&T Mobility (5G)
                                          Comcast                                                                                                                                     Hughes Network Systems
            Abilene city (01000)                                                                                                                                                                               Sprint (LTE)
79606                                     NTS                                                   Hot Spot Broadband                            ---                                     ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                          T-Mobile (LTE)
                                          Taylor Electric Cooperative                                                                                                                 VSAT Systems
                                                                                                                                                                                                               T-Mobile (5G)
                                          Taylor Telephone Cooperative
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                          Windstream Holdings
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                                               AT&T Mobility (5G)
                                          Altice                                                                                                                                      Hughes Network Systems
                                                                                                                                                                                                               Sprint (LTE)
79607       Abilene city (01000)          AT&T                                                  Texas CellNet                                 ---                                     ViaSat
                                                                                                                                                                                                               T-Mobile (LTE)
                                          Mid-Plains Rural Telephone Cooperative                                                                                                      VSAT Systems
                                                                                                                                                                                                               T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                                               AT&T Mobility (5G)
                                                                                                                                                                                      Hughes Network Systems
                                                                                                AMG Technology Investment Group                                                                                Sprint (LTE)
79699       Abilene city (01000)          AT&T                                                                                                ---                                     ViaSat
                                                                                                JAB Wireless                                                                                                   T-Mobile (LTE)
                                                                                                                                                                                      VSAT Systems
                                                                                                                                                                                                               T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                          Altice
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                          American Broadband Communications                     KLW Communications
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                          AT&T                                                  Resound Networks
79701       Midland city (48072)                                                                                                              Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
                                          Mid-Plains Rural Telephone Cooperative                Ridgewood Holdings
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                          NTS                                                   Rio Broadband
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                          Radiate Holdings, LP
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                          Altice
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                          AT&T                                                  KLW Communications
79703       Midland city (48072)                                                                                                              ---                                     ViaSat                   T-Mobile (LTE)
                                          NTS                                                   Ridgewood Holdings
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                          Altice
                                          American Broadband Communications
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                          AT&T
                                                                                                KLW Communications                                                                    Hughes Network Systems   Sprint (LTE)
            Midland city (48072)          Cable One
79705                                                                                           Ridgewood Holdings                            Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Comcast
                                                                                                Verizon Communications                                                                VSAT Systems             T-Mobile (5G)
                                          Mid-Plains Rural Telephone Cooperative
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                          NTS
                                          Radiate Holdings, LP
                                          Altice
                                                                                                Cobalt Ridge                                                                                                   AT&T Mobility (LTE)
                                          Cable One
            Midland city (48072)                                                                KLW Communications                            AT&T                                    Hughes Network Systems   Sprint (LTE)
                                          Mid-Plains Rural Telephone Cooperative
79706       Odessa city (53388)                                                                 Net Ops Communications                        Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
                                          Nevill Holdings
            Unincorporated Area (n|a)                                                           Ridgewood Holdings                            Wes-Tex Telephone Cooperative           VSAT Systems             T-Mobile (5G)
                                          NTS
                                                                                                Rio Broadband                                                                                                  Verizon Wireless (LTE)
                                          Radiate Holdings, LP
                                          Altice
                                          American Broadband Communications
                                          AT&T                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                KLW Communications
                                          Cable One                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Midland city (48072)                                                                Net Ops Communications
79707                                     Comcast                                                                                             ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                           Ridgewood Holdings
                                          En-Touch Systems                                                                                                                            VSAT Systems             T-Mobile (5G)
                                                                                                Rio Broadband
                                          Mid-Plains Rural Telephone Cooperative                                                                                                                               Verizon Wireless (LTE)
                                          NTS
                                          Radiate Holdings, LP
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                      Hughes Network Systems
            Ackerly city (01108)                                                                Basin 2 Way Radio                             Poka Lambro Telephone Cooperative                                T-Mobile (LTE)
79713                                     Mid-Plains Rural Telephone Cooperative                                                                                                      ViaSat
            Unincorporated Area (n|a)                                                           PCC Holdings                                  Wes-Tex Telephone Cooperative                                    T-Mobile (5G)
                                                                                                                                                                                      VSAT Systems
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                          Altice
                                                                                                Resound Networks                                                                      Hughes Network Systems   Sprint (LTE)
            Andrews city (03216)          AT&T
79714                                                                                           Ridgewood Holdings                            Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Cable One
                                                                                                Zion Broadband                                                                        VSAT Systems             T-Mobile (5G)
                                          Windstream Holdings
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Balmorhea city (05468)        Neu Ventures                                                                                        Dell Telephone Cooperative
79718                                                                                           American Broadband Communications                                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Windstream Holdings                                                                                 Nevill Holdings
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Barstow city (05720)          Mid-Plains Rural Telephone Cooperative
79719                                                                                           Resound Networks                              Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Windstream Holdings
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                          Altice                                                American Broadband Communications                                                                              Sprint (LTE)
                                                                                                                                                                                      Hughes Network Systems
            Big Spring city (08236)       AT&T                                                  Basin 2 Way Radio                                                                                              T-Mobile (LTE)
79720                                                                                                                                         Wes-Tex Telephone Cooperative           ViaSat
            Unincorporated Area (n|a)     Mid-Plains Rural Telephone Cooperative                Central Texas Telephone Cooperative                                                                            T-Mobile (5G)
                                                                                                                                                                                      VSAT Systems
                                          Windstream Holdings                                   Poka Lambro Telephone Cooperative                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                               West Central Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                          Altice                                                                                                                                      Hughes Network Systems
            Crane city (17516)                                                                  Ridgewood Holdings                            Dell Telephone Cooperative                                       T-Mobile (LTE)
79731                                     AT&T                                                                                                                                        ViaSat
            Unincorporated Area (n|a)                                                           Rio Broadband                                 Nevill Holdings                                                  T-Mobile (5G)
                                          Mid-Plains Rural Telephone Cooperative                                                                                                      VSAT Systems
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                      Hughes Network Systems
            Forsan city (26640)           AT&T                                                  American Broadband Communications                                                                              Sprint (LTE)
79733                                                                                                                                         ---                                     ViaSat
            Unincorporated Area (n|a)     Windstream Holdings                                   Basin 2 Way Radio                                                                                              T-Mobile (LTE)
                                                                                                                                                                                      VSAT Systems
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                          AT&T                                                                                                                                                                 AT&T Mobility (LTE)
                                                                                                                                                                                      Hughes Network Systems
            Fort Stockton city (26808)    Comcast                                                                                             Dell Telephone Cooperative                                       Sprint (LTE)
79735                                                                                           ---                                                                                   ViaSat
            Unincorporated Area (n|a)     Mid-Plains Rural Telephone Cooperative                                                              Nevill Holdings                                                  T-Mobile (LTE)
                                                                                                                                                                                      VSAT Systems
                                          Telephone and Data Systems                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
            Goldsmith city (30044)                                                              Net Ops Communications
79741                                     AT&T                                                                                                ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                           Ridgewood Holdings
                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                                                                                                                                                      Hughes Network Systems
            Grandfalls town (30440)       AT&T                                                  American Broadband Communications                                                                              T-Mobile (LTE)
79742                                                                                                                                         ---                                     ViaSat
            Unincorporated Area (n|a)     Mid-Plains Rural Telephone Cooperative                Resound Networks                                                                                               T-Mobile (5G)
                                                                                                                                                                                      VSAT Systems
                                                                                                                                                                                                               Verizon Wireless (LTE)



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                                                                                                                                                                                                                          Exhibit SET-C
                                                                                      Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                       FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                     Municipalities                Wireline (DSL, Fiber, Cable)                           Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Iraan city (36128)                                                                                                            AT&T
79744                                     Mid-Plains Rural Telephone Cooperative                ---                                                                               ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                     Nevill Holdings
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          Altice                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Kermit city (39004)
79745                                     AT&T                                                  Resound Networks                          Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          Mid-Plains Rural Telephone Cooperative                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                  Hughes Network Systems
            McCamey city (45432)                                                                                                                                                                           T-Mobile (LTE)
79752                                     AT&T                                                  ---                                       Nevill Holdings                         ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                      T-Mobile (5G)
                                                                                                                                                                                  VSAT Systems
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          Altice
            Monahans city (48936)                                                                                                                                                 Hughes Network Systems   Sprint (LTE)
                                          AT&T                                                                                            Dell Telephone Cooperative
79756       Thorntonville town (72800)                                                          ---                                                                               ViaSat                   T-Mobile (LTE)
                                          Cable One                                                                                       Resound Networks
            Unincorporated Area (n|a)                                                                                                                                             VSAT Systems             T-Mobile (5G)
                                          Mid-Plains Rural Telephone Cooperative
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                          AT&T                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                Net Ops Communications
                                          Cable One                                                                                                                               Hughes Network Systems   Sprint (LTE)
                                                                                                Resound Networks
79761       Odessa city (53388)           Mid-Plains Rural Telephone Cooperative                                                          ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                Ridgewood Holdings
                                          NTS                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                Rio Broadband
                                          Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
                                          AT&T                                                  KLW Communications                                                                                         AT&T Mobility (LTE)
                                          Cable One                                             Net Ops Communications                                                            Hughes Network Systems   Sprint (LTE)
            Odessa city (53388)
79762                                     Mid-Plains Rural Telephone Cooperative                Reach Broadband                           Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                          NTS                                                   Ridgewood Holdings                                                                VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP                                  Rio Broadband                                                                                              Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          AT&T
                                                                                                LocaLoop                                  Dell Telephone Cooperative              Hughes Network Systems   Sprint (LTE)
            Odessa city (53388)           Cable One
79763                                                                                           Net Ops Communications                    Reach Broadband                         ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     NTS
                                                                                                Ridgewood Holdings                        Rio Broadband                           VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                          AT&T                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                LocaLoop
                                          Cable One                                                                                                                               Hughes Network Systems   Sprint (LTE)
            Odessa city (53388)                                                                 Net Ops Communications
79764                                     Mid-Plains Rural Telephone Cooperative                                                          Reach Broadband                         ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                           Ridgewood Holdings
                                          NTS                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                Rio Broadband
                                          Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          AT&T                                                  KLW Communications
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Odessa city (53388)           Cable One                                             Net Ops Communications
79765                                                                                                                                     ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     NTS                                                   Ridgewood Holdings
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                          Radiate Holdings, LP                                  Rio Broadband
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                          AT&T                                                                                                                                                             AT&T Mobility (LTE)
                                                                                                LocaLoop
                                          Cable One                                                                                                                               Hughes Network Systems   Sprint (LTE)
            Odessa city (53388)                                                                 Net Ops Communications
79766                                     Mid-Plains Rural Telephone Cooperative                                                          Reach Broadband                         ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                           Ridgewood Holdings
                                          NTS                                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                Rio Broadband
                                          Radiate Holdings, LP                                                                                                                                             Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          Altice
                                                                                                ADT Systems                                                                       Hughes Network Systems   Sprint (LTE)
            Pecos city (56516)            Cable One
79772                                                                                           American Broadband Communications         Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Mid-Plains Rural Telephone Cooperative
                                                                                                Resound Networks                                                                  VSAT Systems             T-Mobile (5G)
                                          Windstream Holdings
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Pyote town (59996)            AT&T
79777                                                                                           Resound Networks                          Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Windstream Holdings
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                  Hughes Network Systems
            Rankin city (60668)           AT&T                                                                                                                                                             T-Mobile (LTE)
79778                                                                                           ---                                       ---                                     ViaSat
            Unincorporated Area (n|a)     Mid-Plains Rural Telephone Cooperative                                                                                                                           T-Mobile (5G)
                                                                                                                                                                                  VSAT Systems
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                Basin 2 Way Radio                                                                 Hughes Network Systems   Sprint (LTE)
            Stanton city (70040)
79782                                     AT&T                                                  KLW Communications                        Wes-Tex Telephone Cooperative           ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                Ridgewood Holdings                                                                VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                  Hughes Network Systems
            Toyah town (73496)                                                                                                                                                                             T-Mobile (LTE)
79785                                     Windstream Holdings                                   American Broadband Communications         Dell Telephone Cooperative              ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                      T-Mobile (5G)
                                                                                                                                                                                  VSAT Systems
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Wickett town (79036)
79788                                     AT&T                                                  Resound Networks                          Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                  Hughes Network Systems   Sprint (LTE)
            Wink city (79768)             AT&T
79789                                                                                           ---                                       Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)     Mid-Plains Rural Telephone Cooperative
                                                                                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                                           AT&T Mobility (5G)
            Anthony town (03432)                                                                                                                                                  Hughes Network Systems
                                          AT&T                                                                                                                                                             Sprint (LTE)
79821       Vinton village (75668)                                                              ---                                       ---                                     ViaSat
                                          Charter Communications                                                                                                                                           T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                                                             VSAT Systems
                                                                                                                                                                                                           T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          AT&T                                                                                                                                    Hughes Network Systems
            Alpine city (02104)                                                                                                           Dell Telephone Cooperative                                       T-Mobile (LTE)
79830                                     Mid-Plains Rural Telephone Cooperative                Neu Ventures                                                                      ViaSat
            Unincorporated Area (n|a)                                                                                                     Nevill Holdings                                                  T-Mobile (5G)
                                          Telephone and Data Systems                                                                                                              VSAT Systems
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                                                                                           AT&T Mobility (5G)
            El Paso city (24000)                                                                                                                                                  Hughes Network Systems
                                          AT&T                                                                                                                                                             Sprint (LTE)
79835       Vinton village (75668)                                                              Southwestern Wireless                     ---                                     ViaSat
                                          Charter Communications                                                                                                                                           T-Mobile (LTE)
            Unincorporated Area (n|a)                                                                                                                                             VSAT Systems
                                                                                                                                                                                                           T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                          AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            Clint town (15544)                                                                  Mission Valley Communications
79836                                     Charter Communications                                                                          Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                           Southwestern Wireless
                                          Windstream Holdings                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                           Verizon Wireless (LTE)
                                                                                                                                                                                  Hughes Network Systems   AT&T Mobility (LTE)
            Dell City city (19708)
79837                                     ---                                                   ---                                       Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                  VSAT Systems             Verizon Wireless (LTE)
                                                                                                                                                                                                           AT&T Mobility (LTE)
                                                                                                                                          AT&T                                    Hughes Network Systems
            Marfa city (46620)                                                                                                                                                                             T-Mobile (LTE)
79843                                     ---                                                   ---                                       Neu Ventures                            ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                      T-Mobile (5G)
                                                                                                                                          Nevill Holdings                         VSAT Systems
                                                                                                                                                                                                           Verizon Wireless (LTE)




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                                                                                                                                                                                                                           Exhibit SET-C
                                                                                       Listing of Texas Municipalities and Internet Service Providers by Zip Code

  ZIP                                                                                                        FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
      [1]
Code                      Municipalities                Wireline (DSL, Fiber, Cable)                           Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T                                                                                                                                    Hughes Network Systems
            Presidio city (59396)                                                                                                                                                                           T-Mobile (LTE)
79845                                      Mid-Plains Rural Telephone Cooperative                ---                                       Nevill Holdings                         ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                       T-Mobile (5G)
                                           Neu Ventures                                                                                                                            VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            San Elizario city (65360)                                                            Mission Valley Communications
79849                                      Charter Communications                                                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                            Southwestern Wireless
                                           Windstream Holdings                                                                                                                     VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems
            Valentine town (74648)                                                                                                                                                                          T-Mobile (LTE)
79854                                      Windstream Holdings                                   American Broadband Communications         Nevill Holdings                         ViaSat
            Unincorporated Area (n|a)                                                                                                                                                                       T-Mobile (5G)
                                                                                                                                                                                   VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            Van Horn town (75032)
79855                                      Windstream Holdings                                   American Broadband Communications         Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                                            Sprint (LTE)
                                           AT&T                                                                                                                                    Hughes Network Systems
                                                                                                 Chaparral CableVision                                                                                      T-Mobile (LTE)
79901       El Paso city (24000)           Charter Communications                                                                          Dell Telephone Cooperative              ViaSat
                                                                                                 Southwestern Wireless                                                                                      T-Mobile (5G)
                                           Mid-Plains Rural Telephone Cooperative                                                                                                  VSAT Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            Verizon Wireless (5G)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                           AT&T                                                  Chaparral CableVision
79902       El Paso city (24000)                                                                                                           ---                                     ViaSat                   T-Mobile (LTE)
                                           Charter Communications                                Southwestern Wireless
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
79903       El Paso city (24000)           Cable One                                             Southwestern Wireless                     ---                                     ViaSat                   T-Mobile (LTE)
                                           Charter Communications                                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                           AT&T                                                  Chaparral CableVision
79904       El Paso city (24000)                                                                                                           Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
                                           Charter Communications                                Southwestern Wireless
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                           AT&T                                                  Chaparral CableVision
79905       El Paso city (24000)                                                                                                           ---                                     ViaSat                   T-Mobile (LTE)
                                           Charter Communications                                Southwestern Wireless
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            El Paso city (24000)           AT&T                                                  Chaparral CableVision
79906                                                                                                                                      ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)      Charter Communications                                Southwestern Wireless
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                           AT&T
79907       El Paso city (24000)                                                                 Southwestern Wireless                     Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
                                           Charter Communications
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
            El Paso city (24000)                                                                 Chaparral CableVision
79908                                      Charter Communications                                                                          ---                                     ViaSat                   T-Mobile (LTE)
            Unincorporated Area (n|a)                                                            Southwestern Wireless
                                           Mid-Plains Rural Telephone Cooperative                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                           AT&T                                                  JackRabbit Wireless
79911       El Paso city (24000)                                                                                                           ---                                     ViaSat                   T-Mobile (LTE)
                                           Charter Communications                                Southwestern Wireless
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T                                                  Chaparral CableVision                                                             Hughes Network Systems   Sprint (LTE)
79912       El Paso city (24000)           Charter Communications                                JackRabbit Wireless                       Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
                                           Mid-Plains Rural Telephone Cooperative                Southwestern Wireless                                                             VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                           AT&T                                                  Southwestern Wireless
79915       El Paso city (24000)                                                                                                           Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
                                           Charter Communications                                WIFIRUS
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
79920       El Paso city (24000)           Charter Communications                                ---                                       ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                                                                                 JackRabbit Wireless
79922       El Paso city (24000)           Charter Communications                                                                          ---                                     ViaSat                   T-Mobile (LTE)
                                                                                                 Southwestern Wireless
                                           Mid-Plains Rural Telephone Cooperative                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                           Charter Communications                                Chaparral CableVision
79924       El Paso city (24000)                                                                                                           ---                                     ViaSat                   T-Mobile (LTE)
                                           Comcast                                               Southwestern Wireless
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                           Mid-Plains Rural Telephone Cooperative
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           American Broadband Communications
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
                                           AT&T                                                  Southwestern Wireless
79925       El Paso city (24000)                                                                                                           Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
                                           Charter Communications                                Verizon Communications
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                           En-Touch Systems
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
            El Paso city (24000)
                                                                                                                                                                                   Hughes Network Systems   Sprint (LTE)
            San Elizario city (65360)      AT&T                                                  Mission Valley Communications
79927                                                                                                                                      Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
            Socorro city (68636)           Charter Communications                                Southwestern Wireless
                                                                                                                                                                                   VSAT Systems             T-Mobile (5G)
            Unincorporated Area (n|a)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
            El Paso city (24000)           AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
                                                                                                 Mission Valley Communications
79928       Horizon City city (34832)      Charter Communications                                                                          Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
                                                                                                 Southwestern Wireless
            Unincorporated Area (n|a)      Comcast                                                                                                                                 VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)
                                                                                                                                                                                                            AT&T Mobility (LTE)
                                           AT&T                                                                                                                                    Hughes Network Systems   Sprint (LTE)
79930       El Paso city (24000)           Charter Communications                                Southwestern Wireless                     ---                                     ViaSat                   T-Mobile (LTE)
                                           Mid-Plains Rural Telephone Cooperative                                                                                                  VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                            Verizon Wireless (LTE)




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                                                                                                                                                                                                                                              Exhibit SET-C
                                                                                                        Listing of Texas Municipalities and Internet Service Providers by Zip Code

        ZIP                                                                                                                     FCC Fixed Broadband Deployment Data [2]                                                             FCC Mobile Broadband Deployment Data [3]
            [1]
      Code                      Municipalities                           Wireline (DSL, Fiber, Cable)                             Fixed Wireless                     Both Wireline & Fixed Wireless             Satellite                        Mobile (LTE, 5G)
                                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                            AT&T                                                   Chaparral CableVision                                                              Hughes Network Systems   Sprint (LTE)
                  El Paso city (24000)
      79932                                                 Charter Communications                                 JackRabbit Wireless                        Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
                  Unincorporated Area (n|a)
                                                            Comcast                                                Southwestern Wireless                                                              VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                            AT&T                                                                                                                                                               AT&T Mobility (5G)
                                                                                                                                                                                                      Hughes Network Systems
                                                            Charter Communications                                 Chaparral CableVision                                                                                       Sprint (LTE)
      79934       El Paso city (24000)                                                                                                                        ---                                     ViaSat
                                                            Comcast                                                Southwestern Wireless                                                                                       T-Mobile (LTE)
                                                                                                                                                                                                      VSAT Systems
                                                            Mid-Plains Rural Telephone Cooperative                                                                                                                             T-Mobile (5G)
                                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                            AT&T
                                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                                            Charter Communications                                 Chaparral CableVision
      79935       El Paso city (24000)                                                                                                                        Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
                                                            Mid-Plains Rural Telephone Cooperative                 Southwestern Wireless
                                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                            Windstream Holdings
                                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                            AT&T
                                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                            Charter Communications
                                                                                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                                                            Comcast
      79936       El Paso city (24000)                                                                             Southwestern Wireless                      Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
                                                            En-Touch Systems
                                                                                                                                                                                                      VSAT Systems             T-Mobile (5G)
                                                            ENMR Telephone Cooperative
                                                                                                                                                                                                                               Verizon Wireless (LTE)
                                                            Mid-Plains Rural Telephone Cooperative
                                                                                                                                                                                                                               AT&T Mobility (LTE)
                                                            AT&T                                                                                                                                      Hughes Network Systems   Sprint (LTE)
                  El Paso city (24000)                                                                             Chaparral CableVision
      79938                                                 Charter Communications                                                                            Dell Telephone Cooperative              ViaSat                   T-Mobile (LTE)
                  Unincorporated Area (n|a)                                                                        Southwestern Wireless
                                                            Comcast                                                                                                                                   VSAT Systems             T-Mobile (5G)
                                                                                                                                                                                                                               Verizon Wireless (LTE)


[1]
      Four ZIP Codes (76402, 76597, 76798, and 79016) have no households. This can happen, for example, on college campuses or for post offices.
[2]
      FCC Fixed Broadband Deployment Data.
[3]
      FCC Mobile Broadband Deployment Data.




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